Case: 22-10312, 04/25/2023, ID: 12702996, DktEntry: 36-11, Page 1 of 204




                 EXHIBIT 10
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1285 DktEntry:  36-11, Page
                                               Filed 01/18/22   Page 12 of
                                                                        of 203
                                                                           204
                                                                                 5671


 1

 2                           UNITED STATES DISTRICT COURT

 3                          NORTHERN DISTRICT OF CALIFORNIA

 4                                  SAN JOSE DIVISION

 5
         UNITED STATES OF AMERICA,                )   CR-18-00258-EJD
 6                                                )
                             PLAINTIFF,           )   SAN JOSE, CALIFORNIA
 7                                                )
                      VS.                         )   VOLUME 30
 8                                                )
         ELIZABETH A. HOLMES,                     )   NOVEMBER 9, 2021
 9                                                )
                             DEFENDANT.           )   PAGES 5671 - 5872
10                                                )

11
                           TRANSCRIPT OF TRIAL PROCEEDINGS
12                      BEFORE THE HONORABLE EDWARD J. DAVILA
                             UNITED STATES DISTRICT JUDGE
13
        A P P E A R A N C E S:
14
        FOR THE PLAINTIFF:          UNITED STATES ATTORNEY'S OFFICE
15                                  BY: JOHN C. BOSTIC
                                         JEFFREY B. SCHENK
16                                  150 ALMADEN BOULEVARD, SUITE 900
                                    SAN JOSE, CALIFORNIA 95113
17
                                    BY:  ROBERT S. LEACH
18                                       KELLY VOLKAR
                                    1301 CLAY STREET, SUITE 340S
19                                  OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER



                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1285 DktEntry:  36-11, Page
                                               Filed 01/18/22   Page 23 of
                                                                        of 203
                                                                           204
                                                                                 5672


 1
        A P P E A R A N C E S: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:       WILLIAMS & CONNOLLY LLP
                                    BY: KEVIN M. DOWNEY
 4                                       LANCE A. WADE
                                         KATHERINE TREFZ
 5                                       PATRICK LOOBY
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 6                                       J.R. FLEURMONT
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 7                                  WASHINGTON, D.C. 20005

 8                                  LAW OFFICE OF JOHN D. CLINE
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                                    SAN FRANCISCO, CALIFORNIA 94111
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11      ALSO PRESENT:               FEDERAL BUREAU OF INVESTIGATION
                                    BY: ADELAIDA HERNANDEZ
12
                                    OFFICE OF THE U.S. ATTORNEY
13                                  BY: LAKISHA HOLLIMAN, PARALEGAL
                                         MADDI WACHS, PARALEGAL
14
                                    WILLIAMS & CONNOLLY
15                                  BY: TIMIKA ADAMS-SHERMAN, PARALEGAL

16                                  TBC
                                    BY:   BRIAN BENNETT, TECHNICIAN
17

18

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                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1285 DktEntry:  36-11, Page
                                               Filed 01/18/22   Page 34 of
                                                                        of 203
                                                                           204
                                                                                 5673


 1
                                  INDEX OF PROCEEDINGS
 2
        GOVERNMENT'S:
 3

 4      LYNETTE SAWYER
        CROSS-EXAM BY MR. WADE (RES.)                     P. 5730
 5      REDIRECT EXAM BY MR. LEACH                        P. 5772
        RECROSS-EXAM BY MR. WADE                          P. 5777
 6
        KINGSHUK DAS
 7      DIRECT EXAM BY MR. LEACH                          P. 5781
        CROSS-EXAM BY MR. WADE                            P. 5861
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1285 DktEntry:  36-11, Page
                                               Filed 01/18/22   Page 45 of
                                                                        of 203
                                                                           204
                                                                                 5674


 1                                 INDEX OF EXHIBITS

 2
                                                   IDENT.        EVIDENCE
 3      GOVERNMENT'S:

 4      4621,   PAGES 1 - 4                                      5802
        4621,   PAGES 51 - 53                                    5810
 5      4621,   PAGE 55                                          5814
        4943,   PAGES 1 AND 9                                    5827
 6      4621,   AS REDACTED                                      5852

 7

 8

 9      DEFENDANT'S:

10      13047                                                    5746
        13655                                                    5751
11      10584                                                    5765
        13158                                                    5770
12

13

14

15

16

17

18

19

20

21

22

23

24

25



                             UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 56 of
                                                                                  of 203
                                                                                     204
                                                                                           5675


           1      SAN JOSE, CALIFORNIA                               NOVEMBER 9, 2021

08:13AM    2                               P R O C E E D I N G S

08:23AM    3            (COURT CONVENED AT 8:23 A.M.)

08:23AM    4            (JURY OUT AT 8:23 A.M.)

08:23AM    5                   THE COURT:    ALL RIGHT.    LET'S GO ON THE RECORD IN

08:23AM    6      THE HOLMES MATTER.       ALL COUNSEL ARE PRESENT.      MS. HOLMES IS

08:23AM    7      PRESENT.

08:23AM    8            WE'RE OUTSIDE OF THE PRESENCE OF THE JURY TAKING UP A

08:23AM    9      COUPLE OF MATTERS REGARDING SOME EVIDENCE.

08:23AM   10            LET'S SEE.    I THINK WE'RE GOING TO TALK THIS MORNING ABOUT

08:23AM   11      DOCKET 1086, 1133, AND 1134, AMONGST OTHERS, WHICH WILL

08:24AM   12      PROBABLY INCLUDE A DISCUSSION OF 989 AS WELL.           THOSE ARE WHAT

08:24AM   13      I'VE IDENTIFIED.

08:24AM   14            HAVE YOU IDENTIFIED, FOLKS, WHO IS GOING TO SPEAK TO

08:24AM   15      THESE?    MR. LEACH AND MR. WADE?

08:24AM   16                   MR. LEACH:    I'LL BE SPEAKING TO THIS, YOUR HONOR.

08:24AM   17                   THE COURT:    ALL RIGHT.    THANK YOU.

08:24AM   18                   MR. WADE:    GOOD MORNING, YOUR HONOR.

08:24AM   19            LANCE WADE ON BEHALF OF MS. HOLMES.         I'LL DEAL WITH A

08:24AM   20      SUBSTANTIAL PART OF THIS.       THERE ARE CERTAIN ISSUED RELATING TO

08:24AM   21      THE CMS REPORT THAT I HAVE MR. LOOBY'S PRESENCE TO HELP THE

08:24AM   22      COURT WITH.

08:24AM   23                   THE COURT:    OKAY, GREAT.

08:24AM   24            WELL, WHERE DO WE START?       LET'S -- I HAVE 1133, WHICH IS A

08:24AM   25      SUPPLEMENTAL BRIEF REGARDING TRIAL EXHIBIT 4621.           WE HAD TALKED



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 67 of
                                                                                  of 203
                                                                                     204
                                                                                           5676


08:25AM    1      ABOUT THIS BEFORE.      THIS WAS THE -- IS THIS THE JANUARY 25TH

08:25AM    2      LETTER AND THE REPORT I THINK IT IS?

08:25AM    3                   MR. LEACH:    THIS IS, YOUR HONOR.      THIS IS THE CMS

08:25AM    4      STATEMENT OF DEFICIENCIES --

08:25AM    5                   THE COURT:    EXCUSE ME.

08:25AM    6                   MR. LEACH:    -- WHICH WAS ISSUED ON JANUARY 25TH,

08:25AM    7      2016.

08:25AM    8            DR. DAS IS THE LAB DIRECTOR AT THE TIME THAT 4621 WAS

08:25AM    9      ISSUED, AND ONE OF HIS RESPONSIBILITIES WAS TO INVESTIGATE THE

08:25AM   10      ALLEGED DEFICIENCIES IN THE 2567, REVIEW DOCUMENTS IN

08:25AM   11      CONNECTION WITH THAT TO RESPOND, AND TO PREPARE THE COMPANY'S

08:25AM   12      RESPONSE.

08:25AM   13            SO HE'S INTIMATELY FAMILIAR WITH THE DOCUMENT.           HE TOLD

08:25AM   14      THE GOVERNMENT PREVIOUSLY HE 100 PERCENT AGREES WITH THE

08:25AM   15      DEFICIENCIES THAT WERE FOUND.

08:25AM   16            WE INTEND TO EXAMINE HIM ABOUT A PORTION OF THE 2567,

08:25AM   17      INCLUDING THE COVER LETTER.

08:26AM   18            IN ADDITION TO BEING ADMISSIBLE IN THE CONTEXT OF

08:26AM   19      DR. DAS'S TESTIMONY FOR, YOU KNOW, HIS CORROBORATION OF THE

08:26AM   20      TRUTHFULNESS, WE THINK THE 2567 IS RELEVANT TO THE DEFENDANT'S

08:26AM   21      STATE OF MIND.     THE INVESTOR OR THE PATIENT CONSPIRACY COUNT

08:26AM   22      GOES THROUGH 2016.

08:26AM   23            THE DEFENDANT HAS INTRODUCED EVIDENCE FROM MARCH OF 2016

08:26AM   24      WHERE SHE'S RELAYING THE FINDINGS OF A SCIENTIFIC BOARD THAT

08:26AM   25      SHE CONVENED THAT DOCTORS AND OTHER PEOPLE WITH CONNECTIONS TO



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 78 of
                                                                                  of 203
                                                                                     204
                                                                                           5677


08:26AM    1      THE COMPANY ARE GLOWING ABOUT THE TECHNOLOGY, SAYING THE

08:26AM    2      VACUTAINER WORKS, SAYING THIS IS A LAB IN THE BOX AND IS A GAME

08:26AM    3      CHANGER.

08:26AM    4            AND THE PROFFER IN THE MOMENT WITH GENERAL MATTIS WAS THAT

08:26AM    5      THIS WAS RELEVANT TO THE DEFENDANT'S STATE OF MIND.

08:26AM    6            IF GLOWING REVIEWS ABOUT THE TECHNOLOGY ARE RELEVANT TO

08:27AM    7      HER STATE OF MIND IN MARCH OF 2016, THE CMS REPORT, WHICH IS

08:27AM    8      CRITICAL OF THERANOS'S TECHNOLOGY, IS EQUALLY RELEVANT TO HER

08:27AM    9      STATE OF MIND.

08:27AM   10            SO IT SHOULD COME IN FOR THAT PURPOSE.         AND DR. DAS WILL

08:27AM   11      ALSO REVIEW PORTIONS OF THE REPORT AND SAY, YES, I LOOKED INTO

08:27AM   12      THAT AND I AGREE WITH THAT COMPLETELY.          IN FACT, THE ISSUE IS

08:27AM   13      EVEN WORSE THAN WHAT IS DESCRIBED HERE.

08:27AM   14                   THE COURT:    THANK YOU.

08:27AM   15            WILL DR. DAS INDICATE THAT HE SPOKE WITH MS. HOLMES ABOUT

08:27AM   16      THE INFORMATION CONTAINED IN THIS?         IN OTHER WORDS, IS THERE

08:27AM   17      SOME EVIDENCE THAT WILL CONNECT MS. HOLMES TO THE DOCUMENT SUCH

08:27AM   18      THAT IT COULD BE INTRODUCED FOR STATE OF MIND?

08:27AM   19                   MR. LEACH:    YES.   HE WILL TESTIFY THAT HE WAS

08:27AM   20      INSTRUCTED BY MS. HOLMES TO REVIEW THE 2567 AND RESPOND TO IT.

08:27AM   21      I ANTICIPATE THAT'S WHAT HE'LL SAY.

08:27AM   22            IN ADDITION, HE WILL DESCRIBE HOW, IN THE COURSE OF

08:28AM   23      PREPARING THE RESPONSE TO THE 2567, HE RELAYED TO MS. HOLMES

08:28AM   24      WHAT HE WAS FINDING AND WHAT HE INTENDED TO REPORT BACK TO CMS,

08:28AM   25      AND THE COURT HAS FOUND IN THE MOTION IN LIMINE ORDER THAT THE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 89 of
                                                                                  of 203
                                                                                     204
                                                                                           5678


08:28AM    1      DIALOGUE BACK AND FORTH BETWEEN CMS AND THERANOS IS CLEARLY

08:28AM    2      RELEVANT.

08:28AM    3            AND DR. DAS IS GOING TO SAY NOT ONLY DID MS. HOLMES

08:28AM    4      UNDERSTAND WHAT I WAS FINDING AND WHAT OUR INVESTIGATION OF THE

08:28AM    5      DEFICIENCIES ENTAILED, SHE INSISTED THAT I CHARACTERIZE THIS AS

08:28AM    6      A QUALITY SYSTEMS ISSUE AND NOT AN ISSUE WITH THE DEVICE, WHICH

08:28AM    7      IS WHAT I WAS ACTUALLY SEEING.

08:28AM    8            SO DR. DAS, I ANTICIPATE, WILL TESTIFY MS. HOLMES ASKED

08:28AM    9      HIM TO MINIMIZE THE EXTENT OF THE PROBLEM TO CMS.

08:28AM   10            THAT GOES DIRECTLY TO HER STATE OF MIND, NOT JUST HER

08:28AM   11      KNOWLEDGE OF PROBLEMS, BUT HER DESIRE TO MINIMIZE THEM WHEN

08:28AM   12      CONFRONTED WITH ISSUES.

08:28AM   13                   THE COURT:    I THINK YOUR PLEADINGS CALL THIS PUSH

08:28AM   14      BACK.

08:29AM   15                   MR. LEACH:    YES.    AND THOSE ARE HIS WORDS IN OUR

08:29AM   16      PRIOR INTERVIEWS.

08:29AM   17            SO HE WILL CONNECT THE 2567 DIRECTLY TO MS. HOLMES, AND I

08:29AM   18      THINK HER REACTION AND HER DESIRE TO MINIMIZE WHAT IS

08:29AM   19      COMMUNICATED TO CMS IS HIGHLY RELEVANT TO HER STATE OF MIND.

08:29AM   20                   THE COURT:    OKAY.   ALL RIGHT.    THANK YOU.

08:29AM   21            THERE'S ANOTHER ISSUE ABOUT THIS, AND I THINK THIS

08:29AM   22      INVOLVES MR. LOOBY, AND WE SPOKE SOME TIME AGO ABOUT THIS AND

08:29AM   23      REDACTIONS IN THIS.       I THINK IT -- THERE'S SOME REDACTIONS.

08:29AM   24            MR. LOOBY IDENTIFIED CATEGORIES A, B, AND C, AND I THINK

08:29AM   25      IN YOUR PLEADING 1133 YOU SUGGEST, BASED ON THE COURT'S PRIOR



                                       UNITED STATES COURT REPORTERS
               Case:
                Case 22-10312, 04/25/2023,
                     5:18-cr-00258-EJD     ID: 12702996,
                                        Document   1285 DktEntry: 36-11, Page
                                                         Filed 01/18/22  Page 10
                                                                              9 ofof203
                                                                                     204
                                                                                           5679


08:29AM    1       COMMENTS, THAT YOU'RE GIVING NOTICE THAT YOU WANT THE ENTIRETY

08:29AM    2       OF THE DOCUMENT TO COME IN.       I THINK WE'LL HAVE TO TALK ABOUT

08:29AM    3       POSSIBLE REDACTIONS.

08:29AM    4             I DON'T KNOW IF YOU WANT TO DO THAT NOW OR BEFORE -- MAYBE

08:29AM    5       WE SHOULD ALLOW MR. WADE TO STATE HIS CURRENT POSITION ON THAT?

08:29AM    6                   MR. LEACH:    I'M HAPPY TO HEAR MR. WADE'S CURRENT

08:30AM    7       POSITION ON THAT, YOUR HONOR.

08:30AM    8             I WOULD LIKE TO NOTE THAT IN PREPARING FOR DR. DAS'S

08:30AM    9       DIRECT, THERE ARE ONLY CERTAIN PORTIONS OF THE CMS REPORT THAT

08:30AM   10       I INTEND TO DISPLAY TODAY.      I'M HAPPY TO GO THROUGH THOSE IN

08:30AM   11       ADVANCE.   I THINK THEY ELIMINATE A LOT OF THE REDACTIONS, BUT

08:30AM   12       NOT ALL OF THEM, BECAUSE I THINK THE ONE THING WE NEED TO BE

08:30AM   13       ABLE TO DISPLAY IS THE -- IT'S LAID OUT BY -- THERE'S A

08:30AM   14       PARTICULAR CITE TO A CODE SECTION, THERE'S A DESCRIPTION OF THE

08:30AM   15       LANGUAGE OF THE CODE SECTION, AND THEN IT SAYS THIS STANDARD OR

08:30AM   16       THIS CONDITION IS EITHER MET OR NOT MET, AND THERE'S A

08:30AM   17       DESCRIPTION OF THE EVIDENCE THAT CMS NOTED.

08:30AM   18             ALL OF THOSE, FOR THESE PARTICULAR PORTIONS, RELATE TO THE

08:30AM   19       EDISON DEVICE, THE TECHNOLOGY THAT THE DEFENDANT WAS HOLDING

08:30AM   20       OUT, SO I DON'T THINK IT RAISES ISSUES WITH ASSAYS THAT AREN'T

08:30AM   21       AT ISSUE OR OTHER ISSUES RAISED IN THE MOTION.

08:31AM   22             SO I ONLY INTEND TO DISPLAY THOSE TODAY, AND I'M HAPPY TO

08:31AM   23       GIVE THE COURT THOSE NUMBERS.

08:31AM   24             I DO THINK THAT THE ENTIRE EXHIBIT IS ADMISSIBLE FOR HER

08:31AM   25       STATE OF MIND, THE EXTENT OF THE ISSUES.         SO I THINK WE'VE --



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 10
                                                                               11 of
                                                                                  of 203
                                                                                     204
                                                                                           5680


08:31AM    1       AS THE TRIAL HAS PROGRESSED, WE'VE MOVED A LITTLE BIT PAST,

08:31AM    2       DOES IT REFER TO AN ASSAY THAT'S NOT IN THE BILL OF PARTICULARS

08:31AM    3       OR A PARTICULAR MORE MINOR ISSUE.

08:31AM    4             I DO THINK THE ENTIRETY IS RELEVANT TO HER STATE OF MIND,

08:31AM    5       AND FOR THAT REASON WE DON'T THINK ANY REDACTIONS ARE

08:31AM    6       APPROPRIATE.

08:31AM    7             BUT I'M HAPPY TO PREVIEW THE PARTICULAR PAGES THAT WE WANT

08:31AM    8       TO GO THROUGH TODAY WITH DR. DAS, WHICH I DON'T THINK SHOULD BE

08:31AM    9       REDACTED IN ANY WAY.

08:31AM   10                   THE COURT:    OKAY.

08:31AM   11             MR. WADE, DO YOU WANT TO HEAR THOSE LIMITATIONS TODAY OR

08:31AM   12       DO YOU WANT TO GO FORWARD WITH --

08:31AM   13                   MR. WADE:    YOUR HONOR, I THINK THERE ARE SEVERAL

08:31AM   14       ISSUES HERE.    LET ME TRY TO ADDRESS SOME OF THE POINTS THAT THE

08:31AM   15       COURT HAS RAISED AND MR. LEACH HAS RAISED, AND THEN WE CAN GET

08:32AM   16       TO PERHAPS THE PARTICULAR ASPECTS OF THE REPORT ITSELF.

08:32AM   17             I THINK THE SHORT ANSWER TO THAT QUESTION IS WE NEED TO

08:32AM   18       KNOW WHAT IS IN AND WHAT IS OUT IN ORDER TO BE IN A POSITION

08:32AM   19       WHERE WE CAN CROSS-EXAMINE THE WITNESS.

08:32AM   20             SO I UNDERSTAND MR. LEACH HAS SAID THAT HE ONLY INTENDS TO

08:32AM   21       GO INTO CERTAIN PARTS.      WE DON'T KNOW WHAT THOSE PARTS ARE.          WE

08:32AM   22       DON'T KNOW WHAT IS GOING TO GO IN, SO WE DON'T KNOW HOW TO

08:32AM   23       PREPARE CROSS-EXAMINATION THAT WILL ADDRESS THE RELEVANT

08:32AM   24       PIECES.

08:32AM   25             THAT'S ONE OF THE REASONS WHY, AS THE COURT KNOWS, WE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 11
                                                                               12 of
                                                                                  of 203
                                                                                     204
                                                                                           5681


08:32AM    1       RAISED THIS ISSUE EARLY ON SO WE COULD GET NOTICE AND BE IN A

08:32AM    2       POSITION TO FAIRLY CONFRONT THE WITNESS.

08:32AM    3             I THINK THERE IS A MORE FUNDAMENTAL THRESHOLD ISSUE THAT

08:32AM    4       RELATES TO DR. DAS AND THE CMS CORRESPONDENCE, AND THAT IS

08:32AM    5       WHETHER THAT -- AND THE CMS REPORT, THE 2567.

08:32AM    6             AS THE COURT KNOWS, THAT WAS THE SUBJECT OF EXTENSIVE

08:32AM    7       MOTIONS PRACTICE DURING THE MOTION IN LIMINE PHASE AND THE

08:32AM    8       SUBJECT OF THE COURT'S ORDER.

08:32AM    9             WE RAISED CONCERNS AT THAT TIME ABOUT HEARSAY, AND ABOUT

08:33AM   10       LAYERED HEARSAY IN PARTICULAR, THAT MANY OF THE ITEMS WITHIN

08:33AM   11       THE REPORT ARE BASED UPON STATEMENTS OF WITNESSES THAT WERE

08:33AM   12       MADE TO THE PEOPLE WHO WROTE THE REPORT, THAT PEOPLE WHO WROTE

08:33AM   13       THE REPORT THEN OBVIOUSLY MADE STATEMENTS WITHIN THE REPORT,

08:33AM   14       DIFFERENT PEOPLE MADE DIFFERENT STATEMENTS.

08:33AM   15             THERE ARE SOME SUBJECTIVE DETERMINATIONS WITHIN THE REPORT

08:33AM   16       THAT WE WERE CONCERNED ABOUT, AND I KNOW THE COURT IN ITS ORDER

08:33AM   17       NOTED THE CONCERN THAT THE -- THE REAL CONCERN THAT A CIVIL

08:33AM   18       VIOLATION HERE COULD CONFUSE THE JURY AND COULD CREATE THE

08:33AM   19       POSSIBILITY THAT, YOU KNOW, MS. HOLMES WOULD BE CONVICTED

08:33AM   20       BECAUSE OF SOME PERCEIVED VIOLATION OF LAW THAT IS A CIVIL

08:33AM   21       VIOLATION.    THAT REALLY ISN'T WHAT THIS CASE IS ABOUT.

08:33AM   22                    THE COURT:    WELL, THAT RELATES MORE TO THE 3217, NOT

08:33AM   23       SO MUCH TO THIS DOCUMENT.

08:33AM   24             BUT GO AHEAD.      I JUST WANT TO LET YOU KNOW THAT.

08:34AM   25                    MR. WADE:    AND WE NOTE THAT IN RAISING THOSE ISSUES



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 12
                                                                               13 of
                                                                                  of 203
                                                                                     204
                                                                                           5682


08:34AM    1       AND THE CONCERNS THAT WE HAD AND THE ABILITY TO CONFRONT THAT

08:34AM    2       EVIDENCE FAIRLY ON BEHALF OF OUR CLIENT, THE GOVERNMENT

08:34AM    3       ADDRESSED THOSE CONCERNS REPEATEDLY BY SAYING IT WAS GOING TO

08:34AM    4       OFFER IT THROUGH ONE OF THE AUTHORS OF THE REPORT SO MS. HOLMES

08:34AM    5       WOULD HAVE A CHANCE TO ADDRESS ALL OF THESE CONCERNS BY

08:34AM    6       CROSS-EXAMINATION OF THE WITNESS ON THE STAND.

08:34AM    7             IT APPEARS THAT THE GOVERNMENT NOW DOES NOT INTEND TO DO

08:34AM    8       THAT, OR AT LEAST INTENDS TO OFFER THIS THROUGH DR. DAS, WHO,

08:34AM    9       OF COURSE, WE CAN'T CROSS-EXAMINE ON THE PREPARATION OF THE

08:34AM   10       REPORT AND ALL OF THE STATEMENTS THAT WERE MADE IN THERE, WHICH

08:34AM   11       CREATES BOTH SIGNIFICANT 403 ISSUES, BUT ALSO CONSTITUTIONAL

08:34AM   12       ISSUES TO THE EXTENT THAT WE'RE NOT ABLE TO CONFRONT THE AUTHOR

08:34AM   13       OF THE REPORT, THE MULTIPLE LAYERS OF HEARSAY, ET CETERA.

08:35AM   14             AND I JUST NOTE AT DOCKET 675 AT PAGES 4, 2 -- 2, 4, 8 --

08:35AM   15       8 AND 9, THE GOVERNMENT REPEATEDLY REPRESENTED TO THE COURT IN

08:35AM   16       THE MOTIONS IN LIMINE PRACTICE THAT THESE WITNESSES WOULD BE

08:35AM   17       OFFERED, EITHER SARAH BENNETT OR GARY YAMAMOTO, THAT THEY WOULD

08:35AM   18       TESTIFY AS TO THE CONTENT AND WE WOULD HAVE THE ABILITY TO

08:35AM   19       CROSS-EXAMINE THEM.

08:35AM   20             I DON'T KNOW WHAT THE STATUS OF THAT IS NOW, BUT THEY NOW

08:35AM   21       WANT TO BRING THIS IN THROUGH DR. DAS, WHO, OF COURSE, DIDN'T

08:35AM   22       PREPARE THE REPORT, DOESN'T KNOW WHAT --

08:35AM   23                   THE COURT:    SO IF ONE OF THOSE WITNESSES TESTIFIED,

08:35AM   24       THAT WOULD ALLEVIATE YOUR CONCERN?

08:35AM   25                   MR. WADE:    IT WOULD ALLEVIATE OUR CONCERN.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 13
                                                                               14 of
                                                                                  of 203
                                                                                     204
                                                                                           5683


08:35AM    1             WE DO THINK THAT THAT WITNESS SHOULD ADMIT THE DOCUMENT,

08:35AM    2       SO IF THEY WANT DR. DAS TO TESTIFY AS TO THIS DOCUMENT AS A

08:35AM    3       THRESHOLD MATTER, IT HAS TO COME INTO EVIDENCE WITH AN

08:36AM    4       APPROPRIATE FOUNDATION.

08:36AM    5                   THE COURT:    SO YOU THINK WHOEVER COULD AUTHENTICATE

08:36AM    6       THE DOCUMENT SHOULD TESTIFY FIRST AND THEN DR. DAS COULD

08:36AM    7       TESTIFY TO IT, AND THAT'S YOUR SUGGESTION TO THE GOVERNMENT ON

08:36AM    8       HOW THEY SHOULD PUT THEIR CASE ON?

08:36AM    9                   MR. WADE:    WE DO.   WE RAISED THIS ISSUE WITH THE

08:36AM   10       GOVERNMENT.

08:36AM   11             IT'S NOT A SUGGESTION OF TRIAL PRESENTATION.         IT'S A 403

08:36AM   12       ISSUE AND A CONFRONTATION ISSUE, BECAUSE THEY WANT TO PUT IT IN

08:36AM   13       THROUGH A WITNESS WHO DIDN'T PREPARE IT, AND THEY WANT TO GO TO

08:36AM   14       THE END OF IT AND HAVE HIM AGREE WITH CERTAIN THINGS, AND WE

08:36AM   15       DON'T THINK THAT THAT'S APPROPRIATE FOR IT TO COME IN BEFORE

08:36AM   16       THE JURY UNDERSTANDS THE CONTEXT OF THE REPORT, WHAT IT IS, HOW

08:36AM   17       IT WAS PREPARED, THE SIGNIFICANCE OF IT, SO THEY CAN UNDERSTAND

08:36AM   18       HOW IT IS THAT DR. DAS RESPONDED TO IT.

08:36AM   19             BUT DIRECTLY TO THE COURT'S CONCERN, YES, IF THEY PUT UP

08:36AM   20       THAT WITNESS AND WERE ABLE TO CROSS-EXAMINE, WE OBVIOUSLY HAVE

08:36AM   21       THE ISSUES THAT WE RAISED IN THE MOTION IN LIMINE, BUT WE

08:36AM   22       UNDERSTAND THE COURT'S ORDER ON THAT.

08:36AM   23             BUT WE THINK AS A MATTER OF FAIRNESS AND CONSTITUTIONAL

08:36AM   24       PRINCIPLES, WE SHOULD HAVE THE ABILITY TO CONFRONT THAT

08:37AM   25       WITNESS.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 14
                                                                               15 of
                                                                                  of 203
                                                                                     204
                                                                                           5684


08:37AM    1             WE DON'T THINK IT NECESSARILY ELIMINATES THE CONCERN OF

08:37AM    2       PREJUDICE RELATING -- WE DON'T THINK NECESSARILY THINK THAT IT

08:37AM    3       COMPLETELY ADDRESSES THE CONCERNS WITH RESPECT TO THE CONFUSION

08:37AM    4       ON THE CIVIL ISSUES WITHIN THIS CRIMINAL CASE.

08:37AM    5             WE HAVE AN INSTRUCTION, PROPOSED INSTRUCTION, THAT WE HAD

08:37AM    6       SUBMITTED TO THE COURT AT DOCKET 809, PAGE 88, AND I'LL OFFER

08:37AM    7       THAT UP TO THE COURT.

08:37AM    8             (HANDING.)

08:37AM    9             WE DO THINK IN THESE UNIQUE CIRCUMSTANCES IF THE COURT IS

08:37AM   10       GOING TO ADMIT THIS, THAT THIS IS A CIRCUMSTANCE WHERE THIS

08:37AM   11       INSTRUCTION SHOULD BE, SHOULD BE GIVEN CONTEMPORANEOUS WITH THE

08:37AM   12       EVIDENCE SO THAT THE JURY UNDERSTANDS, YOU KNOW, THE

08:38AM   13       APPROPRIATE LIMITATION OF THE EVIDENCE WITH RESPECT TO THE

08:38AM   14       MATTERS THAT ARE AT ISSUE IN THE CASE.

08:38AM   15             WE THEN HAVE -- BEFORE WE GET TO MR. LOOBY'S ISSUES ON THE

08:38AM   16       PROPOSED REDACTIONS AND WHAT IS IN THE DOCUMENT, THERE ARE A

08:38AM   17       COUPLE OF OTHER ISSUES WITH RESPECT TO MR. DAS.

08:38AM   18             ONE RELATES TO VOIDING AND WHETHER HE IS PERMITTED TO

08:38AM   19       TESTIFY AS TO VOIDING OF THE RESULTS, AND THE OTHER RELATES TO

08:38AM   20       EXPERT TESTIMONY, WHICH WAS THE SUBJECT OF A PRETRIAL MOTION.

08:38AM   21             I KNOW THE COURT REMEMBERS THAT AND THE COURT ISSUED AN

08:38AM   22       ORDER ON THAT.     WE'RE SURE THE GOVERNMENT WILL HONOR THAT ORDER

08:39AM   23       AND ONLY OFFER PERCIPIENT WITNESS TESTIMONY.

08:39AM   24             THERE IS ONE REPRESENTATION THAT MR. LEACH JUST MADE THAT

08:39AM   25       GIVES ME, YOU KNOW, SIGNIFICANT PAUSE AS TO THAT.          THE -- A



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 15
                                                                               16 of
                                                                                  of 203
                                                                                     204
                                                                                           5685


08:39AM    1       JUDGMENT THAT THIS WITNESS IS GOING TO COME IN AND SAY, I AGREE

08:39AM    2       100 PERCENT WITH EACH AND EVERY FINDING IN THE REPORT IS --

08:39AM    3       CLEARLY GOES TO, YOU KNOW, EXPERT TESTIMONY.         THEY HAVEN'T

08:39AM    4       NOTICED -- THEY HAVEN'T PROVIDED NOTICE THAT THAT WAS AN

08:39AM    5       OPINION THAT HE WAS GOING TO OFFER.        IT WASN'T NECESSARY TO HIS

08:39AM    6       JOB.

08:39AM    7              THERE WERE MANY TIMES WITHIN HIS JOB WHERE HE WAS ACTUALLY

08:39AM    8       GOING BACK AND FORTH WITH CMS WITH RESPECT TO PARTICULAR ITEMS

08:39AM    9       WITHIN THE REPORT AND ACTUALLY RAISING DISAGREEMENT WITH ITEMS

08:39AM   10       IN THE REPORT OR SEEKING CLARIFICATION OR TRYING TO RESPOND ON

08:39AM   11       THE COMPANY'S BEHALF.

08:39AM   12                   THE COURT:    WAS HE HIRED -- AT THE TIME HE WAS

08:40AM   13       HIRED -- WHEN WAS THAT?      DECEMBER OF '15, WASN'T IT?

08:40AM   14                   MR. WADE:    HE WAS HIRED IN DECEMBER OF '15, YES.

08:40AM   15                   THE COURT:    AND WAS HE HIRED -- WAS HIS TASK TO

08:40AM   16       ADDRESS THE CMS AND DEAL WITH THE QUESTIONS, AND ALSO DEAL WITH

08:40AM   17       REALIGNMENT OF THE LABORATORY IN COMPLIANCE WITH REGULATIONS?

08:40AM   18       WASN'T THAT HIS TASK?

08:40AM   19                   MR. WADE:    THERE WAS CERTAINLY A PART OF THAT,

08:40AM   20       YOUR HONOR.    HE WAS ACTUALLY HIRED IN THIS PERIOD BETWEEN --

08:40AM   21       THERE HAD BEEN AN INSPECTION IN LATE 2015.

08:40AM   22                   THE COURT:    SEPTEMBER?

08:40AM   23                   MR. WADE:    AND THE 2567 WAS ISSUED IN LATE FEBRUARY

08:40AM   24       OF '15.    SO HE CAME IN ON A PART-TIME BASIS BEFORE THE NOTICE

08:40AM   25       WAS RECEIVED.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 16
                                                                               17 of
                                                                                  of 203
                                                                                     204
                                                                                           5686


08:40AM    1                   THE COURT:    AND THEN HE WAS CONTINUED ON AS A

08:40AM    2       FULL-TIME EMPLOYEE UNTIL WHEN WAS IT, 2018?         IS THAT WHEN HE

08:40AM    3       LEFT?

08:40AM    4                   MR. WADE:    HE DID, YES.

08:40AM    5                   THE COURT:    RIGHT.

08:40AM    6                   MR. WADE:    AND THERANOS MADE A DECISION TO -- THAT A

08:40AM    7       SETTLEMENT WITH CMS --

08:41AM    8                   THE COURT:    SURE, RIGHT.

08:41AM    9                   MR. WADE:    -- IN THE LATE SUMMER, EARLY FALL OF

08:41AM   10       2016.

08:41AM   11                   THE COURT:    SO MY POINT ABOUT THIS, PARDON ME --

08:41AM   12                   MR. WADE:    YEAH.

08:41AM   13                   THE COURT:    -- MY POINT WAS WHETHER OR NOT HE --

08:41AM   14       BECAUSE OF THE REASONS HE WAS HIRED, AND IF HE TESTIFIES, I WAS

08:41AM   15       HIRED TO DO X, Y, Z, PART OF THAT IS, IN RESPONSE TO YOUR

08:41AM   16       QUESTION, CAN HE SAY, I AGREED WITH IT OR NOT?

08:41AM   17             THAT MIGHT BE PART OF HIS JOB TITLE.        I DON'T KNOW.    WE'LL

08:41AM   18       HAVE TO SEE WHETHER OR NOT THAT EVIDENCE COMES IN.

08:41AM   19             I UNDERSTAND YOUR CONCERN ABOUT MORPHING OVER INTO EXPERT,

08:41AM   20       AND I THINK I WAS VERY SPECIFIC ABOUT THAT IN 798, AND OTHER

08:41AM   21       ORDERS, THAT HE COULD NOT -- 989 ALSO, THAT HE COULD NOT.

08:41AM   22             HE'S GOING TO TESTIFY AS A PERCIPIENT WITNESS, AND HE'S

08:41AM   23       NOT TO TESTIFY UNLESS THE FOUNDATION IS LAID, WHICH I DON'T

08:41AM   24       THINK THAT WOULD HAPPEN.      AS YOU POINT OUT, HE HASN'T BEEN

08:41AM   25       IDENTIFIED AS AN EXPERT.      YOU HAVE NO NOTICE ABOUT THAT.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 17
                                                                               18 of
                                                                                  of 203
                                                                                     204
                                                                                           5687


08:41AM    1             BUT HE CAN TESTIFY ABOUT A PERCIPIENT WITNESS.         WHETHER OR

08:42AM    2       NOT A FOUNDATION IS LAID AS TO THAT QUESTION THAT YOU HAVE

08:42AM    3       CONCERNS ABOUT REMAINS TO BE SEEN.

08:42AM    4             HE MAY BE ABLE TO ANSWER THAT QUESTION BASED ON

08:42AM    5       FOUNDATION.    I DON'T KNOW.

08:42AM    6                   MR. WADE:    YEAH.    I JUST WANT TO RAISE IT BECAUSE

08:42AM    7       OBVIOUSLY IT HAS PARTICULAR SIGNIFICANCE.

08:42AM    8                   THE COURT:    SURE.

08:42AM    9                   MR. WADE:    AND IT HAS PARTICULAR PREJUDICIAL IMPACT

08:42AM   10       IF IT HAPPENS IN FRONT OF THE JURY.

08:42AM   11             IN THIS PARTICULAR CASE, THE CORRESPONDENCE THROUGHOUT

08:42AM   12       2016 MAKES CLEAR THAT HE IS ENGAGING ACTIVELY WITH CMS TO

08:42AM   13       ADDRESS THESE CONCERNS.

08:42AM   14                   THE COURT:    RIGHT.

08:42AM   15                   MR. WADE:    HE'S CLEARLY COMING TO VIEWS AND

08:42AM   16       RESPONDING TO THE COMPANY, AND WE DON'T HAVE ANY ISSUE WITH

08:42AM   17       THAT.

08:42AM   18             HE'S CLEARLY OF THE VIEW THAT THERE WERE SIGNIFICANT

08:42AM   19       ISSUES WITHIN THE LAB.      WE DON'T HAVE ANY ISSUE WITH THAT.

08:42AM   20       THAT'S WHAT HE WAS HIRED TO DEAL WITH.

08:42AM   21             THE CONCERN THAT WE HAVE IS IT'S ONE THING FOR HIM TO GO

08:42AM   22       THROUGH IN REALTIME THE PARTICULAR POSITIONS THAT HE WAS TAKING

08:42AM   23       ON PARTICULAR ISSUES.

08:42AM   24             IT'S ANOTHER THING FOR HIM TO SAY, WHICH I HAVEN'T SEEN

08:42AM   25       ANY CONTEMPORANEOUS EVIDENCE OF, I AGREED 100 PERCENT WITH THE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 18
                                                                               19 of
                                                                                  of 203
                                                                                     204
                                                                                           5688


08:43AM    1       CMS REPORT, AND I'M GOING TO OFFER THIS IN FRONT OF THIS

08:43AM    2       JURY --

08:43AM    3                   THE COURT:    SURE.

08:43AM    4                   MR. WADE:    -- WHEN THERE'S NO INDICATION THAT THAT

08:43AM    5       WAS COMMUNICATED WITH MS. HOLMES THAT HE 100 PERCENT AGREED

08:43AM    6       WITH THE CMS REPORT.     THERE'S NO NOTICE FOR THAT OR A BASIS FOR

08:43AM    7       HIS CONCLUSIONS.

08:43AM    8             IN FACT, THE CONTEMPORANEOUS EVIDENCE SUGGESTS OTHERWISE.

08:43AM    9                   THE COURT:    SO WE'RE TALKING ABOUT THEORETICAL

08:43AM   10       THINGS HERE.    HE MAY LAY A FOUNDATION -- PARDON ME, MR. LEACH.

08:43AM   11             BUT THE GOVERNMENT MAY LAY A FOUNDATION FOR THIS.          YOU'RE

08:43AM   12       RAISING THIS AS A CONCERN, AND I APPRECIATE IT, AND I THINK

08:43AM   13       IT'S A WAIT AND SEE.     LET'S SEE WHAT HAPPENS.

08:43AM   14             I APPRECIATE YOUR CONCERN.      HE'S NOT GOING TO BE ABLE TO

08:43AM   15       TESTIFY AS AN EXPERT.      I THINK MR. LEACH'S TEAM KNOWS THAT.

08:43AM   16       THEY'VE CONFIRMED THAT IN THEIR RESPONSIVE PLEADINGS, SO I

08:43AM   17       THINK WE CAN EXPECT THAT THEY WILL CONDUCT THE EXAMINATION OF

08:43AM   18       DR. DAS ACCORDING TO THE LIMITATIONS THAT THE COURT HAS IMPOSED

08:43AM   19       ON THEM.

08:43AM   20                   MR. WADE:    THE OTHER ISSUE THAT I RELATED,

08:43AM   21       YOUR HONOR, WAS THE ISSUE OF VOIDING.

08:43AM   22                   THE COURT:    YES.

08:43AM   23                   MR. WADE:    AND THE GOVERNMENT HAD AN OBLIGATION, I

08:44AM   24       BELIEVE UNDER THE COURT'S ORDER, TO OFFER EVIDENCE OR PROFFER

08:44AM   25       EVIDENCE THAT THIS WAS A LEGAL VIOLATION.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 19
                                                                               20 of
                                                                                  of 203
                                                                                     204
                                                                                           5689


08:44AM    1             AS THE COURT MAY RECALL -- AND TO BE FRANK, THE RECORD IS

08:44AM    2       A LITTLE BIT MIXED ON THIS -- THERE WAS ANOTHER 302 MEMORANDUM

08:44AM    3       OF INTERVIEW THAT -- RELATING TO MR. DAS, OR DR. DAS, THAT THE

08:44AM    4       GOVERNMENT PROVIDED TO US AFTER IT FILED ITS SUBMISSION.

08:44AM    5       THERE'S SOME AMBIGUITY AS TO INITIALLY HE SAID THERE WAS A

08:44AM    6       REQUIREMENT --

08:44AM    7                   THE COURT:    HE SAID, I WAS REQUIRED TO REDACT OR

08:44AM    8       VOID AND I DID IT BECAUSE I THOUGHT IT WAS THE RIGHT THING.

08:44AM    9             IT SEEMED LIKE A SEMANTIC TYPE ISSUE, WHICH HAS

08:44AM   10       RAMIFICATIONS, I UNDERSTAND.       WAS HE REQUIRED OR DID HE DO IT

08:44AM   11       BECAUSE THIS FILTERS INTO HIS CONVERSATION WITH YOUR CLIENT, ET

08:44AM   12       CETERA.

08:44AM   13             SO I THINK I CAPTURE THAT.

08:45AM   14                   MR. WADE:    YEAH.   AND THAT HAS ISSUES UNDER 407.

08:45AM   15       AND I THINK IT'S A PRETTY IMPORTANT THRESHOLD ISSUE JUST IN

08:45AM   16       TERMS OF IF IT'S A LEGAL REQUIREMENT UNDER 407, AS THE COURT

08:45AM   17       KNOWS FROM PRIOR MOTIONS, THAT'S ONE THING.         IF IT'S A MATTER

08:45AM   18       OF DISCRETION, WE -- OF COURSE THERE'S TESTIMONY -- THE

08:45AM   19       GOVERNMENT HAS NOT POINTED TO A LEGAL REGULATION THAT DOES

08:45AM   20       REQUIRE VOIDING OF RESULTS.       IT'S UNCLEAR EXACTLY WHAT MR. --

08:45AM   21       DR. DAS'S VIEW ON THIS IS.

08:45AM   22             THERE'S TESTIMONY FROM THE PEOPLE WHO PREPARED THE REPORT,

08:45AM   23       MR. YAMAMOTO OF CMS WHO SAID THAT HE DIDN'T UNDERSTAND VOIDING

08:45AM   24       TO BE REQUIRED, IT WAS WITHIN THE DISCRETION AS A POSSIBLE WAY

08:45AM   25       TO REMEDY ISSUES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 20
                                                                               21 of
                                                                                  of 203
                                                                                     204
                                                                                           5690


08:45AM    1             AND SO I THINK THAT'S A PRETTY SIGNIFICANT ISSUE EMBEDDED

08:46AM    2       WITHIN A LOT OF WHAT DR. DAS IS DOING AND IS GOING TO TESTIFY

08:46AM    3       TO.

08:46AM    4             AND SO -- AND I THINK THERE IS NOT A CLEAR PROFFER ON

08:46AM    5       THAT, AND I WONDER WHETHER THAT'S AN ISSUE ON WHICH, OUTSIDE OF

08:46AM    6       THE PRESENCE OF THE JURY, WE OUGHT TO VOIR DIRE THE WITNESS TO

08:46AM    7       ASSESS THAT, OR MAYBE DEFER IT.

08:46AM    8             MAYBE THIS IS AN ISSUE -- LIKE I SAID, IF THE REPORT IS

08:46AM    9       GOING TO COME IN THROUGH A CMS WITNESS, MAYBE CMS CAN

08:46AM   10       APPROPRIATELY DEAL WITH THAT SINCE THEY'RE THE ONES WHO

08:46AM   11       DETERMINE WHAT IS REQUIRED AND WHAT IS NOT.

08:46AM   12             AND THAT'S THE POINT AT WHICH WE THINK THE EVIDENCE OF CMS

08:46AM   13       SHOULD COME IN.

08:46AM   14                   THE COURT:    OKAY.

08:46AM   15             MR. LEACH?

08:46AM   16                   MR. LEACH:    I'D LIKE TO RESPOND TO THE VOIDING POINT

08:46AM   17       FIRST, YOUR HONOR.

08:46AM   18                   THE COURT:    SURE.

08:46AM   19                   MR. LEACH:    407 APPLIES TO MEASURES.      IT DOESN'T

08:46AM   20       APPLY TO AN INVESTIGATION.        IT DOESN'T APPLY TO YOUR OWN

08:46AM   21       ANALYSIS.    IT DOESN'T APPLY TO INTERNAL THINGS THE COMPANY DOES

08:47AM   22       TO UNDERSTAND ITS PRODUCT, WHICH IS EXACTLY WHAT DR. DAS WAS

08:47AM   23       DOING.

08:47AM   24             WHAT IS LEGALLY REQUIRED IS ONCE DR. DAS FINDS AN ERROR,

08:47AM   25       THERE'S NO DISCRETION UNDER THE CLIA REGS -- I DON'T HAVE IT IN



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 21
                                                                               22 of
                                                                                  of 203
                                                                                     204
                                                                                           5691


08:47AM    1       FRONT OF ME -- I THINK IT'S 493.1290 OR 80.         I'M SORRY,

08:47AM    2       YOUR HONOR, I DON'T HAVE THE CITE IN FRONT OF ME.

08:47AM    3                   MR. WADE:    I'M SORRY, COUNSEL, I BELIEVE IT'S

08:47AM    4       .1840(A)(6).    IS THAT WHAT YOU'RE REFERRING TO?

08:47AM    5                   MR. LEACH:    I STAND CORRECTED.

08:47AM    6             ONCE THE ERROR IS IDENTIFIED, THERE'S NO DISCRETION TO

08:47AM    7       VOID THE TEST.    YOU MUST DO THAT.     AND THAT'S THE MEASURE.

08:47AM    8       THAT'S THE ACTION.

08:47AM    9             AND SO DR. DAS WILL SAY, AND I THINK THERE IS SOME

08:47AM   10       SEMANTICS IN IT FROM THE WITNESS'S POINT OF VIEW, BUT HE'LL

08:47AM   11       SAY, AS THE CLIA DIRECTOR, I HAD A RESPONSIBILITY TO GET TO THE

08:47AM   12       BOTTOM OF THIS PROBLEM.      I FOUND ERRORS.     ONCE I FOUND THE

08:48AM   13       ERROR, I HAD NO CHOICE.      I NEEDED TO VOID THE TESTS.

08:48AM   14             SO THERE'S NO 407 ISSUE.

08:48AM   15             AND EVEN IF THERE WERE, IT GOES TO MS. HOLMES'S OWNERSHIP

08:48AM   16       AND CONTROL OF THIS COMPANY.       IT GOES, YOU KNOW, TO ISSUES

08:48AM   17       OUTSIDE OF THE LIMITS OF 407.

08:48AM   18             SO I THINK WE HAVE PROFFERED A SUFFICIENT FOUNDATION, OR I

08:48AM   19       THINK YOU'LL HEAR THIS FROM DR. DAS WHEN HE SAYS, I HAD NO

08:48AM   20       CHOICE BUT TO VOID THESE TESTS ONCE I FOUND THE ERROR.

08:48AM   21             WITH RESPECT TO TYING IT TO MS. HOLMES'S STATE OF MIND,

08:48AM   22       YOUR HONOR, THERE'S TWO REASONS WHY IT CONNECTS.

08:48AM   23             FIRST OF ALL, SHE PUSHES BACK.       SHE SAYS, DON'T

08:48AM   24       CHARACTERIZE THIS AS A QUALITY SYSTEM -- OR DON'T CHARACTERIZE

08:48AM   25       THIS AS AN ACCURACY ISSUE TO CMS, CHARACTERIZE THIS AS A



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 22
                                                                               23 of
                                                                                  of 203
                                                                                     204
                                                                                           5692


08:48AM    1       QUALITY SYSTEMS ISSUE.

08:48AM    2             AND WHEN SHE TALKS TO LISA PETERSON, SHE AGAIN MINIMIZES

08:48AM    3       THE EXTENT OF WHAT DR. DAS IS FINDING.        THAT'S ONE WAY THAT IT

08:48AM    4       CONNECTS TO HER STATE OF MIND.

08:49AM    5             THE SECOND WAY IT CONNECTS IS THAT FOR ALL OF THE REASONS

08:49AM    6       THAT WE TALKED ABOUT WITH THE CMS REPORT, THAT THE DEFENDANT

08:49AM    7       HAS INJECTED EVIDENCE, AND THIS IS AT 7653 AND 1052 WHERE

08:49AM    8       DOCUMENTS HAVE BEEN OFFERED TO SHOW MS. HOLMES'S STATE OF MIND

08:49AM    9       IN 2016 GENERALLY ABOUT THE TECHNOLOGY.

08:49AM   10             AND THE FACT THAT THERANOS IS REQUIRED TO VOID THESE TESTS

08:49AM   11       IN THIS EXACT SAME TIME PERIOD GOES TO HER OVERALL KNOWLEDGE

08:49AM   12       AND STATE OF MIND, WHICH THE DEFENSE HAS PROFFERED AS RELEVANT.

08:49AM   13             SO 407 IS A RED HERRING IN THIS CASE.        THEY WERE REQUIRED

08:49AM   14       TO DO THIS.    DR. DAS WILL -- TO VOID THE TESTS.        HE WILL SAY

08:49AM   15       THAT.

08:49AM   16             AND IT GOES DIRECTLY TO THE ACCURACY OF THE TESTS, AND IT

08:49AM   17       GOES DIRECTLY TO MS. HOLMES'S STATE OF MIND.

08:49AM   18             FOR THAT REASON IT SHOULD COME IN.

08:49AM   19                   THE COURT:    OKAY.   DID YOU WANT TO SPEAK TO ANY OF

08:49AM   20       THE OTHER COMMENTS?

08:49AM   21                   MR. LEACH:    I DID, YOUR HONOR.

08:50AM   22             WITH RESPECT TO THE CONFRONTATION ISSUE, I DON'T THINK

08:50AM   23       THAT'S AN ISSUE.     THE CMS REPORT IS NOT TESTIMONIAL, AND, YOU

08:50AM   24       KNOW, IT'S NOT PREPARED IN A LAW ENFORCEMENT CONTEXT, SO I

08:50AM   25       DON'T THINK THERE'S A CONFRONTATION ISSUE.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 23
                                                                               24 of
                                                                                  of 203
                                                                                     204
                                                                                           5693


08:50AM    1             THE ENTIRETY OF THE DOCUMENT IS ADMISSIBLE FOR HER STATE

08:50AM    2       OF MIND FOR A NONHEARSAY PURPOSE.

08:50AM    3             AND THEN I THINK IT'S PERFECTLY APPROPRIATE TO SHOW THE

08:50AM    4       DOCUMENT TO DR. DAS -- HE'S INTIMATELY FAMILIAR WITH THIS, THIS

08:50AM    5       WAS A CORE PART OF HIS JOB -- AND TO ASK HIM, DID YOU LOOK AT

08:50AM    6       THIS?    WHAT DID YOU DO?    DID YOU COME TO THE SAME CONCLUSION

08:50AM    7       THAT IS LISTED HERE?

08:50AM    8             HE'S NO MORE OF AN EXPERT IN THAT CONTEXT THAN

08:50AM    9       SARAH BENNETT OR GARY YAMAMOTO ARE WHEN THEY ARE WRITING DOWN

08:50AM   10       THE WORDS.

08:50AM   11             SO THE FACT THAT CMS LOOKED AT THESE DOCUMENTS IN THE

08:50AM   12       FIRST INSTANCE AND REPORTED THE PERCENTAGE CV OR THE NUMBER OF

08:50AM   13       STANDARD DEVIATIONS THAT ARE AWAY, THAT'S THE SAME THING THAT

08:50AM   14       DR. DAS IS LOOKING AND HE'S PERFECTLY COMPETENT TO SAY WAS THAT

08:50AM   15       CONSISTENT OR INCONSISTENT WITH DOCUMENTS THAT YOU WERE LOOKING

08:51AM   16       AT.

08:51AM   17             SO I THINK THAT'S AN APPROPRIATE USE OF THE 2567.          HE CAN

08:51AM   18       AUTHENTICATE IT, HE GOT IT, AND IT'S BEING OFFERED HERE FOR A

08:51AM   19       NONHEARSAY PURPOSE.

08:51AM   20             CERTAINLY WE COULD AUTHENTICATE IT THROUGH SARAH BENNETT

08:51AM   21       OR GARY YAMAMOTO OR ANOTHER CMS WITNESS, BUT I DON'T THINK WE

08:51AM   22       HAVE TO FOR THE PURPOSES THAT WE'RE USING IT WITH FOR DR. DAS.

08:51AM   23             WITH RESPECT TO THE MULTIPLE LAYERS OF HEARSAY, I THINK

08:51AM   24       THIS ISSUE WAS RAISED AND REJECTED AT THE MOTION IN LIMINE

08:51AM   25       STAGE.   BUT I ALSO SUBMIT THAT THE PORTIONS WE'LL BE REFERRING



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 24
                                                                               25 of
                                                                                  of 203
                                                                                     204
                                                                                           5694


08:51AM    1       TO WITH DR. DAS, WHICH ARE ON PAGES 45 THROUGH 58 OF THE

08:51AM    2       REPORT, ARE LARGELY THE WITNESS JUST -- OR THE CMS SURVEYOR

08:51AM    3       REPORTING WHAT IS IN DOCUMENTS, NOT RELAYING CONVERSATIONS.

08:51AM    4             BUT I WOULD ALSO ADD, THROUGH THE COURSE OF THIS TRIAL,

08:52AM    5       THE COURT HAS HEARD EVIDENCE ABOUT WHO THE GENERAL SUPERVISOR

08:52AM    6       AND THE TECHNICAL SUPERVISOR AND THE OTHER PEOPLE WITHIN THE

08:52AM    7       LAB ARE.   THESE ARE NOT LOWER LEVEL PERSONNEL, YOU KNOW, IN

08:52AM    8       SOME FACTORY MILES AWAY FROM MS. HOLMES.

08:52AM    9             THESE ARE PEOPLE WHO REPORTED DIRECTLY TO THE LAB DIRECTOR

08:52AM   10       UNDER MS. HOLMES'S AND MR. BALWANI'S SUPERVISION.          SHE KNEW OF

08:52AM   11       THE INSPECTION IN ADVANCE, AND SHE HELD THESE PEOPLE OUT AS

08:52AM   12       BEING COMPETENT AND CAPABLE TO TALK TO THE ISSUES IN THE LAB.

08:52AM   13             SO I DON'T THINK THAT THERE'S A LAYERED HEARSAY ISSUE.

08:52AM   14                   THE COURT:    IN EXHIBIT 4 OF YOUR 1133, I THINK YOU

08:52AM   15       HAVE -- EXHIBIT 4 IS -- IT SEEMS LIKE IT'S A SLIDE PRESENTATION

08:52AM   16       THAT MAY HAVE BEEN USED FOR THAT INITIAL MEETING WITH CMS.

08:52AM   17             IS THAT WHAT THAT IS?

08:52AM   18                   MR. LEACH:    YES.   AND THAT WAS INTRODUCED BY THE

08:52AM   19       DEFENDANT WITH ONE OF THE LAB WITNESSES.

08:52AM   20                   THE COURT:    AND AT THAT INITIAL MEETING WITH CMS AT

08:52AM   21       THE COMPANY, THE LAB PEOPLE THAT YOU JUST MENTIONED WERE

08:53AM   22       PRESENT AND WERE THERE AS REPRESENTATIVES OF THE COMPANY?

08:53AM   23                   MR. LEACH:    MANY OF THEM, YES.

08:53AM   24                   THE COURT:    ALL RIGHT.    THANK YOU.    I'M SORRY TO

08:53AM   25       INTERRUPT YOU.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 25
                                                                               26 of
                                                                                  of 203
                                                                                     204
                                                                                           5695


08:53AM    1             GO AHEAD.

08:53AM    2                   MR. LEACH:    WITH RESPECT TO DR. DAS AND THE 701 AND

08:53AM    3       702 ISSUE, AGAIN, I THINK THIS WAS -- NOTHING HAS CHANGED SINCE

08:53AM    4       THE COURT'S ORDER IN 989.

08:53AM    5             DR. DAS IS TALKING ABOUT WHAT HE SAW, HEARD, AND DID IN

08:53AM    6       HIS JOB, AND THE CONCLUSIONS THAT HE COMMUNICATED DIRECTLY TO

08:53AM    7       THE DEFENDANT.    HE'S PROVIDING TESTIMONY DIRECTLY IN LINE WITH

08:53AM    8       WHAT THE COURT HAS HEARD FROM DR. ROSENDORFF.

08:53AM    9             HE HAPPENS TO HAVE AN M.D., BUT HE'S -- YOU KNOW, WE'RE

08:53AM   10       NOT ASKING HIM TO REVIEW SOMETHING THAT IS OUTSIDE OF THE

08:53AM   11       COURSE OF HIS DUTIES.      HE'S TALKING ABOUT WHAT HE SAW, HEARD,

08:53AM   12       AND DID IN HIS JOB AND COMMUNICATED TO MS. HOLMES, AND THAT'S

08:53AM   13       CLASSIC PERCIPIENT WITNESS TESTIMONY.

08:54AM   14             UNLESS THE COURT HAS FURTHER QUESTIONS, I THINK THAT'S --

08:54AM   15                   THE COURT:    NO.   THANK YOU.    THANK YOU.

08:54AM   16                   MR. WADE:    YOUR HONOR, IF I COULD MAYBE START WITH

08:54AM   17       THE LAST POINT, WHAT HE SAW, HEARD, AND COMMUNICATED TO

08:54AM   18       MS. HOLMES, I JUST WANT TO MAKE SURE THAT HIS CONCLUSION THAT

08:54AM   19       HE 100 PERCENT AGREED WITH WHAT WAS IN THE CMS REPORT MEETS THE

08:54AM   20       THRESHOLD STANDARD THAT THE GOVERNMENT JUST SAID BEFORE THEY

08:54AM   21       OFFER IT AND IT SPILLS OUT IN FRONT OF THIS JURY, BECAUSE

08:54AM   22       THAT'S THE PART THAT CONCERNS ME.       I HAVEN'T SEEN ANY EVIDENCE

08:54AM   23       TO THAT EFFECT, THAT IT MAY BE A LITTLE BIT OF RETROSPECTIVE

08:54AM   24       ANALYSIS OR CONCLUSIONS AFTER, YOU KNOW, THE COURSE OF DEALING.

08:54AM   25             SO ON THE EXPERT ISSUE, THAT'S WHAT CONCERNS US THE MOST.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 26
                                                                               27 of
                                                                                  of 203
                                                                                     204
                                                                                           5696


08:54AM    1             WITH RESPECT TO THE CMS REPORT, THE GOVERNMENT HAS SAID

08:54AM    2       THAT THIS IS EVIDENCE OF WHETHER THE TESTS WERE ACCURATE AND

08:54AM    3       RELIABLE.    THEY'VE MADE THAT REPRESENTATION TO THE COURT IN

08:54AM    4       NUMEROUS WRITTEN SUBMISSIONS TO THIS COURT.

08:54AM    5             THEY ALSO SAID THAT WE HAVE THE ABILITY TO CONFRONT THAT

08:55AM    6       EVIDENCE BY CROSS-EXAMINING THE AUTHORS OF THE REPORT.

08:55AM    7             NOW THEY'RE SAYING -- NOW THEY'RE KIND OF PIVOTING AND

08:55AM    8       SAYING IT'S SOMEHOW RELEVANT TO THE STATE OF MIND OF OUR

08:55AM    9       CLIENT, WHICH IS A RATIONALE THAT I DON'T FULLY UNDERSTAND, BUT

08:55AM   10       IT CERTAINLY --

08:55AM   11                   THE COURT:    IT COULD BE BOTH.

08:55AM   12                   MR. WADE:    IT COULD CONCEIVABLY BE BOTH, BUT THERE'S

08:55AM   13       CERTAIN LIMITATIONS ON THE USE OF THE DOCUMENT AND A FOUNDATION

08:55AM   14       THAT IS REQUIRED IF THEY'RE OFFERING IT JUST FOR THE STATE OF

08:55AM   15       MIND OF THE CLIENT.

08:55AM   16             AND THEN THAT WILL GO INTO WHETHER IT'S ACTUALLY RELEVANT

08:55AM   17       TO THE CASE, AND THOSE ARE MR. LOOBY'S ISSUES WITH RESPECT TO

08:55AM   18       PARTICULAR ITEMS.

08:55AM   19             BUT THE ABILITY TO CONFRONT THAT EVIDENCE AND TO AVOID THE

08:55AM   20       CONFUSION THAT IS NECESSARY AS A RESULT OF THAT DOCUMENT

08:55AM   21       REMAINS.    THE ENTIRE LITIGATION RECORD REMAINS.

08:55AM   22             THE NEED TO CONFRONT THE MULTIPLE LAYERS OF HEARSAY

08:56AM   23       REMAINS, AND THE GOVERNMENT HAS CONSISTENTLY SAID TO THIS

08:56AM   24       COURT, THE REMEDY TO THAT IS CROSS-EXAMINATION.          LET IT IN,

08:56AM   25       PLEASE LET IT IN, THE REMEDY IS CROSS-EXAMINATION.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 27
                                                                               28 of
                                                                                  of 203
                                                                                     204
                                                                                           5697


08:56AM    1             THE COURT AGREED TO LET IT IN, AND NOW THEY WANT TO SHIFT

08:56AM    2       THE TABLE A LITTLE BIT AND PREVENT US FROM FAIRLY CONFRONTING

08:56AM    3       THAT EVIDENCE.

08:56AM    4                    THE COURT:   BUT IF A WITNESS, AS I ASKED YOU

08:56AM    5       EARLIER, IF ONE OF THE WITNESSES THAT YOU IDENTIFIED,

08:56AM    6       MR. YAMAMOTO OR MS. BENNETT OR ANOTHER PERSON TESTIFIES, THEN

08:56AM    7       YOU'LL HAVE THE OPPORTUNITY TO CROSS-EXAMINE.

08:56AM    8                    MR. WADE:    EXACTLY.

08:56AM    9                    THE COURT:   OKAY.

08:56AM   10                    MR. WADE:    WE, WE -- AND I HAVEN'T HEARD THE

08:56AM   11       GOVERNMENT REPRESENT THAT YET.

08:56AM   12             BUT THE -- THOSE CONCERNS WOULD ADDRESS THAT.

08:56AM   13             WE STILL THINK, AS A MATTER OF FAIRNESS, THAT SHOULD COME

08:56AM   14       FIRST, FOR THE DOCUMENT TO COME IN SO THE JURY UNDERSTANDS IT.

08:56AM   15                    THE COURT:   SURE.   I UNDERSTAND THE LOGIC OF THAT.

08:56AM   16       I THINK I CAN SEE THAT.      SURE, OKAY.

08:56AM   17                    MR. WADE:    THE -- WITH RESPECT TO THE VOIDING ISSUE,

08:56AM   18       YOUR HONOR, THE REGULATION THAT THE GOVERNMENT POINTED TO,

08:57AM   19       WHICH IS 42 CFR 493.1840, WHICH IS WITHIN TRIAL EXHIBIT 7603,

08:57AM   20       WHICH I BELIEVE THE COURT HAS ABOUT SEVEN COPIES UP THERE IN

08:57AM   21       ITS BINDER, THAT REGULATION DOES NOT ACTUALLY ADDRESS THE --

08:57AM   22       I'M SORRY.    IT MIGHT BE -- I'M REFERRING TO A DIFFERENT

08:57AM   23       REGULATION.    I APOLOGIZE.    I'LL CORRECT THE CITE IN A SECOND.

08:57AM   24       THAT RELATES TO THE NEXT POINT THAT I WANTED TO RAISE.

08:57AM   25             THE REGULATION THAT THE GOVERNMENT HAS POINTED TO, WHICH



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 28
                                                                               29 of
                                                                                  of 203
                                                                                     204
                                                                                           5698


08:57AM    1       CAME OUT, I BELIEVE, FOR THE FIRST TIME IN AN INTERVIEW WITH

08:57AM    2       DR. DAS LAST NIGHT, IS A REGULATION THAT RELATES TO IF YOU FIND

08:57AM    3       AN ERROR IN A LAB REPORT, YOU HAVE AN OBLIGATION TO CORRECT

08:58AM    4       THAT ERROR.

08:58AM    5             THAT'S NOT WHAT HAPPENED HERE FOR THE MOST PART.

08:58AM    6             THEY CORRECTED ISSUES IN AN ABUNDANCE OF CAUTION BECAUSE

08:58AM    7       OF CONCERNS THAT THEY IDENTIFIED AS A RESULT OF THIS.           THAT

08:58AM    8       PROVISION DOESN'T RELATE TO VOIDING OF TEST RESULTS, IT RELATES

08:58AM    9       TO THE CORRECTION OF A KNOWN ERROR THAT IS IDENTIFIED.

08:58AM   10             HERE, IN AN ABUNDANCE OF CAUTION, BECAUSE OF CONCERNS THAT

08:58AM   11       THEY IDENTIFIED AND TO MAKE CLEAR THAT THE PATIENT SHOULD NOT

08:58AM   12       RELY UPON THESE RESULTS, THEY SAID, WE'RE GOING TO VOID THE

08:58AM   13       RESULTS AND GIVE NOTICE TO DOCTORS AND PATIENTS OF THAT.

08:58AM   14             THAT'S NOT THE LEGAL REQUIREMENT, AND --

08:58AM   15                   THE COURT:    IS THIS FODDER FOR CROSS-EXAMINATION OF

08:58AM   16       DR. DAS?

08:58AM   17                   MR. WADE:    WELL, IT'S A --

08:58AM   18                   THE COURT:    CAN'T YOU ASK HIM, YOU DID THE WRONG

08:58AM   19       THING?   YOU DIDN'T HAVE TO DO THAT?       IS THAT YOUR

08:58AM   20       CROSS-EXAMINATION?

08:58AM   21                   MR. WADE:    I THINK IT'S A THRESHOLD ISSUE AS TO

08:58AM   22       WHETHER THE EXAMINATION COMES IN AT ALL, THAT'S THE POINT.

08:59AM   23             BECAUSE UNDER 407 IT SHOULDN'T COME IN IF IT IS A

08:59AM   24       SUBSEQUENT REMEDIAL MEASURE.

08:59AM   25             AND IF THE -- DR. DAS CAME IN AND MADE VERY CLEAR THAT IN



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 29
                                                                               30 of
                                                                                  of 203
                                                                                     204
                                                                                           5699


08:59AM    1       THE RESPONSE WE WANT TO BE CONSERVATIVE.         THERE WAS A LOT OF

08:59AM    2       DISCUSSION BACK AND FORTH ABOUT THE APPROACH THAT SHOULD BE

08:59AM    3       TAKEN.   THERE ARE DIFFERENT OPTIONS ON THE TABLE, AND THEY

08:59AM    4       DECIDED TO TAKE WHAT DR. DAS DESCRIBED AS A CONSERVATIVE

08:59AM    5       APPROACH.

08:59AM    6             AND CONTRARY TO THE SUGGESTION OF THE GOVERNMENT, THAT WAS

08:59AM    7       SUPPORTED BY MY CLIENT, BUT IT WASN'T REQUIRED.

08:59AM    8             AND SO THAT'S HOW WE, THAT'S HOW WE END UP IN 407.          IT WAS

08:59AM    9       A MATTER OF DISCRETION.      IT WAS A REMEDIAL MEASURE.

08:59AM   10             WITH APOLOGIES FOR THE CONFUSION ON THE REGULATION, IT

09:00AM   11       RELATES TO ONE OTHER ISSUE, WHICH IS SOMETHING THAT MR. LEACH

09:00AM   12       TOUCHED UPON, WHICH, AGAIN, I BELIEVE CAME OUT IN INTERVIEWS

09:00AM   13       LAST NIGHT.

09:00AM   14             THERE'S SOME INDICATION THAT THE GOVERNMENT WANTS TO

09:00AM   15       SUGGEST THAT AN OWNER OR OPERATOR WHO AIDED AND ABETTED IN THE

09:00AM   16       VIOLATION OF CLIA OR A CLIA REGULATION CAN BE LIABLE.           THAT'S

09:00AM   17       THE PROVISION THAT I MENTIONED BY MISTAKE JUST A SECOND AGO,

09:00AM   18       WHICH IS 493.1840(A)(6).

09:00AM   19             THAT IS NOT THE PROVISION.      THE PROVISION FOR AIDING AND

09:00AM   20       ABETTING THE VIOLATION IS NOT THE PROVISION THAT WAS INVOKED IN

09:01AM   21       THE IMPOSITION OF PENALTIES IN THIS CASE.

09:01AM   22             THERE WAS A REVOCATION OF THE LICENSE IN THIS CASE.          THERE

09:01AM   23       WAS NO FINDING THAT MS. HOLMES AIDED AND ABETTED AS AN OWNER IN

09:01AM   24       THIS, AND I, I -- THAT WOULD BE AN EXTREMELY PREJUDICIAL

09:01AM   25       STATEMENT TO INJECT IN THIS CASE, AND I BELIEVE AN ERRONEOUS



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 30
                                                                               31 of
                                                                                  of 203
                                                                                     204
                                                                                           5700


09:01AM    1       ONE BASED UPON CMS.       IT JUST CAME UP FOR THE FIRST TIME LAST

09:01AM    2       NIGHT SO I WANTED --

09:01AM    3                    THE COURT:    THIS RELATES TO THE 3217, I THINK,

09:01AM    4       DOESN'T IT?

09:01AM    5                    MR. WADE:    IT MAY, YES, YOUR HONOR.

09:01AM    6                    THE COURT:    AND THAT'S THE -- THAT IS THE DOCUMENT

09:01AM    7       THAT IS THE PENALTY DOCUMENT, IT'S THE JULY 7, 2016, IMPOSITION

09:01AM    8       OF SANCTIONS?

09:01AM    9                    MR. WADE:    CORRECT.

09:01AM   10                    THE COURT:    AND I THINK WE'RE GOING TO HAVE A

09:01AM   11       SEPARATE CONVERSATION ABOUT THAT.

09:01AM   12              AND YOUR ARGUMENT ON THAT, I THINK, IS 403?        THAT'S WHAT

09:01AM   13       YOU TOLD ME PREVIOUSLY, I THINK.

09:01AM   14                    MR. WADE:    YEAH, CERTAINLY WITH RESPECT TO SOME OF

09:02AM   15       THE ULTIMATE CONCLUSIONS WITHIN THAT, WITHIN THAT DOCUMENT,

09:02AM   16       YES.

09:02AM   17                    THE COURT:    SURE.   SURE.

09:02AM   18                    MR. WADE:    AND IT RELATES TO IT, BUT IT'S SLIGHTLY

09:02AM   19       DIFFERENT.

09:02AM   20              EVEN THERE THE PROPOSED REVOCATION, WHICH ULTIMATELY WAS

09:02AM   21       NOT OF MY CLIENT'S ABILITY TO OPERATE A CLIA LAB, WAS NOT BASED

09:02AM   22       UPON THE PROVISION OF AIDING AND ABETTING A CLIA VIOLATION.

09:02AM   23       THERE'S NO EVIDENCE OF THAT IN THE RECORD.

09:02AM   24              THE GOVERNMENT APPEARS TO HAVE FOUND THAT REGULATION AND

09:02AM   25       PUT IT IN FRONT OF A COUPLE OF WITNESSES RECENTLY, AND I FEAR



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 31
                                                                               32 of
                                                                                  of 203
                                                                                     204
                                                                                           5701


09:02AM    1       THAT THEY'RE GOING TO TRY TO OBTAIN TESTIMONY IN CONNECTION

09:02AM    2       WITH THAT WHEN THAT WAS NOT -- THAT IS NOT IN THIS RECORD, AND

09:02AM    3       OBVIOUSLY IT WOULD BE EXTREMELY PREJUDICIAL, AND IT WOULD

09:02AM    4       CLEARLY BE AN EXPERT OPINION IF, IF -- GIVEN THAT DOCTOR --

09:02AM    5       THIS WAS NOWHERE IN DR. DAS'S SPHERE OF INFLUENCE.

09:02AM    6             SO I WANTED TO RAISE -- THAT'S AN IMPORTANT ISSUE FOR THE

09:02AM    7       DEFENSE AND A NEW ISSUE, AND I WANTED TO RAISE THAT AS WELL.

09:02AM    8                    THE COURT:   OKAY.

09:03AM    9                    MR. LEACH:   IF I COULD RESPOND BRIEFLY, YOUR HONOR,

09:03AM   10       BECAUSE I THINK THERE ARE TWO VERY DIFFERENT ISSUES, AND I

09:03AM   11       THINK ON THAT SECOND ISSUE I MIGHT BE ABLE TO CLEAR UP SOME OF

09:03AM   12       THE DEFENSE'S CONCERN.

09:03AM   13             WITH RESPECT TO THE VOIDING, DR. DAS IS THE AUTHORITY ON

09:03AM   14       THIS.   HE WAS THE LAB DIRECTOR AT THE TIME.        AND 407 APPLIES TO

09:03AM   15       VOLUNTARY MEASURES WHERE A COMPANY ON ITS OWN IN A MATTER OF

09:03AM   16       BEING CONSERVATIVE DECIDES TO DO SOMETHING.

09:03AM   17             HERE UNDER SERIOUS THREAT OF REGULATORY PRESSURE FROM CMS,

09:03AM   18       DR. DAS CONCLUDED THAT THERE WERE ERRORS IN THE TESTS.           ONCE HE

09:03AM   19       CONCLUDED THAT, AND I NOW HAVE THE RIGHT CITE, 493.1291,

09:03AM   20       REQUIRED HIM TO CORRECT THOSE REPORTS AND NOTIFY THE PATIENTS.

09:03AM   21             THE FACT THAT I CAN'T CORRECT THE REPORT TO SAY A VALUE IS

09:03AM   22       Y INSTEAD OF X AND INSTEAD WHOLESALE VOIDS IT IS NEITHER HERE

09:03AM   23       NOR THERE.

09:04AM   24             HE WILL NOT SAY THIS WAS OUT OF AN ABUNDANCE OF CAUTION.

09:04AM   25       HE WILL SAY I -- MY RESPONSIBILITIES AS THE CLIA LAB DIRECTOR



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 32
                                                                               33 of
                                                                                  of 203
                                                                                     204
                                                                                           5702


09:04AM    1       CAUSED ME TO INVESTIGATE THESE, I FOUND THESE ERRORS, I WAS

09:04AM    2       REQUIRED TO VOID THEM.

09:04AM    3             HE'S NOT GOING TO SAY THIS WAS OUT OF AN ABUNDANCE OF

09:04AM    4       CAUTION.

09:04AM    5             407 APPLIES TO MEASURES, NOT THE INTERNAL ANALYSIS.          I

09:04AM    6       THINK I'VE TOUCHED ON THAT POINT.

09:04AM    7             SO I REALLY THINK THERE'S NO 407 ISSUE AND THIS REALLY

09:04AM    8       TIES TO HER STATE OF MIND.

09:04AM    9             WITH RESPECT TO THE SECOND ISSUE, WE HAVE IN EVIDENCE

09:04AM   10       7603, A HUNDRED PAGES OF CLIA REGULATIONS, AND THE DEFENSE HAS

09:04AM   11       USED THESE CLIA REGULATIONS WITH THE LAB DIRECTOR TO SUGGEST

09:04AM   12       THAT THE BUCK STOPS WITH THE LAB DIRECTOR AND NOBODY ELSE.

09:04AM   13       THIS IS YOUR RESPONSIBILITY AND NOBODY ELSE'S, NOTHING BAD

09:04AM   14       COULD EVER HAPPEN TO THE OWNER OR OPERATOR OF A LAB.

09:05AM   15             ALL WE'VE DONE WITH THE WITNESSES, INCLUDING DR. DAS'S

09:05AM   16       INTERVIEWS AND MS. BENNETT IN INTERVIEWS, IS GO THROUGH THE

09:05AM   17       SAME EXHIBIT THAT IS ALREADY IN EVIDENCE AND NOTE THAT THERE

09:05AM   18       ARE PROVISIONS WHERE OWNERS AND OPERATORS CAN FACE

09:05AM   19       CONSEQUENCES, AND NOTHING MORE.       AND IT'S ESSENTIALLY TO REBUT

09:05AM   20       THE SUGGESTION THAT THE ONLY PERSON WITH RESPONSIBILITY HERE,

09:05AM   21       OR POTENTIAL RESPONSIBILITY, IS THE LAB DIRECTOR.

09:05AM   22             WE HAVE NEVER ASKED THESE WITNESSES, DID ELIZABETH HOLMES

09:05AM   23       AID AND ABET A VIOLATION OF THE CLIA REGULATIONS?          IT IS NOT

09:05AM   24       OUR INTENTION TO ASK THAT.

09:05AM   25             BUT THE GOVERNMENT DOES WANT TO REBUT THE FALSE SUGGESTION



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 33
                                                                               34 of
                                                                                  of 203
                                                                                     204
                                                                                           5703


09:05AM    1       THAT OWNERS AND OPERATORS OF LABORATORIES HAVE, YOU KNOW,

09:05AM    2       NOTHING TO FEAR FROM A CLIA INSPECTION OR HAVE NO POSSIBLE

09:05AM    3       EXPOSURE AT THE END OF THE DAY BECAUSE I THINK THE DEFENSE HAS

09:05AM    4       CREATED A PICTURE THAT IT'S THE LAB DIRECTOR AND NOBODY ELSE,

09:05AM    5       AND UNDER THE EVIDENCE THAT THEY HAVE SUBMITTED THAT'S JUST NOT

09:05AM    6       THE CASE.

09:05AM    7                   THE COURT:    THERE HAS BEEN TESTIMONY.

09:06AM    8       DR. ROSENDORFF WAS ON THE STAND FOR A LENGTHY PERIOD OF TIME.

09:06AM    9       AND I THINK THE CROSS-EXAMINATION AT LEAST FOCUSSED A

09:06AM   10       SIGNIFICANT DEAL ON, AS MR. LEACH JUST SAID, YOU WERE

09:06AM   11       RESPONSIBLE, YOU WERE ULTIMATELY RESPONSIBLE.

09:06AM   12              YOU WENT THROUGH THE REGULATIONS WITH HIM, MR. WADE, AND

09:06AM   13       OTHERS, I THINK MAYBE DHAWAN AS WELL, PARDON ME, DR. DHAWAN.

09:06AM   14       SO IT SEEMS LIKE IT'S RELEVANT FOR SOME ISSUE AS TO THAT, JUST

09:06AM   15       AS A, NOT NECESSARILY REBUTTAL, BUT JUST TO PRESENT ANOTHER

09:06AM   16       POSSIBILITY TO THE JURY.

09:06AM   17                   MR. WADE:    JUST SO WE'RE CLEAR, I DON'T ACTUALLY

09:06AM   18       THINK -- I DON'T THINK THAT WE WERE MISREPRESENTING ANYTHING.

09:06AM   19       ULTIMATELY --

09:06AM   20                   THE COURT:    NO, NO, I DIDN'T SAY THAT.

09:06AM   21                   MR. WADE:    NO, I KNOW THE COURT WASN'T, BUT COUNSEL

09:06AM   22       WAS.    SO I JUST WANT TO MAKE SURE THAT THE RECORD IS CLEAR AND

09:06AM   23       WHY THIS SPECIFIC PROVISION OF AIDING AND ABETTING A VIOLATION,

09:07AM   24       WHICH IS THE SPECIFIC SUB PROVISION THAT THE GOVERNMENT POINTED

09:07AM   25       THE WITNESS TO, IS NOT APPROPRIATE HERE.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 34
                                                                               35 of
                                                                                  of 203
                                                                                     204
                                                                                           5704


09:07AM    1                   THE COURT:    IS THAT PART OF THE -- IS THIS

09:07AM    2       REGULATION PART OF THE EVIDENCE THAT YOU -- THAT WAS SUBMITTED

09:07AM    3       THAT IS ADMITTED IN THE CASE?

09:07AM    4                   MR. LEACH:    YES.

09:07AM    5                   MR. WADE:    IT IS PART OF 7603.

09:07AM    6                   THE COURT:    RIGHT.   WELL, IF IT IS IN EVIDENCE,

09:07AM    7       CAN'T HE CALL ATTENTION TO IT NOW AND SAY WHAT DID THIS SAY?

09:07AM    8       IT SEEMS LIKE IT'S FAIR GAME NOW IF IT'S IN EVIDENCE.

09:07AM    9                   MR. WADE:    WELL, YOUR HONOR, HE CAN CALL ATTENTION

09:07AM   10       TO IT, BUT CREATING THE IMPRESSION IN FRONT OF THIS JURY,

09:07AM   11       AGAIN, WITH ALL OF THIS CONFUSION AROUND WHAT IS ALL OF THIS

09:07AM   12       CMS STUFF AND WHAT DOES IT MEAN AND IT'S A CIVIL VIOLATION.

09:07AM   13                   THE COURT:    RIGHT.

09:07AM   14                   MR. WADE:    AND THE CONCERNS ABOUT WHETHER SOMEONE

09:07AM   15       CAN BE CONVICTED AS A RESULT OF THIS.        THE PROVISION THAT

09:07AM   16       THEY'RE POINTING TO HAS NOTHING TO DO WITH THIS CASE.           THERE

09:07AM   17       WAS NO FINDING, ET CETERA.

09:07AM   18             ALL OF THE PROVISIONS THAT I HAVE POINTED WITNESSES TO

09:07AM   19       WERE THE GUIDING REGULATIONS THAT THEY ADMITTED, EACH AND EVERY

09:08AM   20       ONE OF THEM ARE WHAT FRAMED THEIR OBLIGATIONS FOR ACTING WITHIN

09:08AM   21       THE LABORATORY.

09:08AM   22             I'VE NEVER SUGGESTED THAT THERE'S NO POSSIBILITY OF

09:08AM   23       PENALTIES TO AN OWNER OF THE LAB.       WE'VE NEVER SUGGESTED THAT.

09:08AM   24       THERE IS.    THEY CAN HAVE THEIR STATUS.      IF YOU OWN MORE THAN

09:08AM   25       5 PERCENT, THEY CAN HAVE THE STATUS REVOKED.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 35
                                                                               36 of
                                                                                  of 203
                                                                                     204
                                                                                           5705


09:08AM    1             THAT DOES NOT MEAN THAT THEY HAVE AN AFFIRMATIVE

09:08AM    2       OBLIGATION TO STEP IN AND OVERRULE A LAB DIRECTOR.

09:08AM    3             IN FACT, THE GOVERNMENT HAS ARGUED THE OPPOSITE.          IF THE

09:08AM    4       OWNER WERE TO STEP IN, AND ISN'T QUALIFIED, AND OVERRULES THE

09:08AM    5       LAB DIRECTOR, THAT WOULD BE A DIFFERENT KIND OF PROBLEM.

09:08AM    6             SO TO CREATE THE IMPRESSION THAT THERE IS SOME VIOLATION

09:08AM    7       FOR AIDING AND ABETTING HERE WHEN THERE IS NO SUGGESTION OF

09:08AM    8       THAT AT ALL IN THIS RECORD IS INCREDIBLY PREJUDICIAL.

09:08AM    9                   THE COURT:    WELL, I UNDERSTAND THAT, BUT I DO THINK

09:08AM   10       THAT THERE MIGHT BE SOME BALANCE HERE.        THE CROSS-EXAMINATION,

09:08AM   11       THE VIGOROUS CROSS-EXAMINATION THAT YOU ENGAGED IN WITH THE TWO

09:08AM   12       PRIOR LAB DIRECTORS WERE VERY FOCUSSED ON INDICATING YOU, YOU,

09:08AM   13       YOU, YOU, YOU'RE RESPONSIBLE, YOU'RE RESPONSIBLE, ULTIMATELY

09:09AM   14       YOU'RE RESPONSIBLE.

09:09AM   15             YOU HAD -- DR. ROSENDORFF SAID THAT SEVERAL TIMES IN YOUR

09:09AM   16       CROSS-EXAMINATION AND AS DID DR. DHAWAN.         MAYBE IT DOESN'T HAVE

09:09AM   17       TO COME IN AS YOU SUGGEST AS MR. LEACH WON'T BE PERMITTED TO

09:09AM   18       SAY, WELL, SHE'S POTENTIALLY LIABLE AS A COCONSPIRATOR, OR

09:09AM   19       WHATEVER UNDER THAT, I CAPTURE THAT.

09:09AM   20             BUT IT SEEMS LIKE THERE SHOULD BE SOME BALANCING ABOUT

09:09AM   21       THAT ONE POINTING OUT THAT YOU ULTIMATELY WERE RESPONSIBLE.

09:09AM   22             WELL, THE CODE ALLOWS FOR RESPONSIBILITY OF THE OWNER, OR

09:09AM   23       SOMEBODY ELSE, BUT THAT'S NOT AN ISSUE IN THE CASE.          BUT JUST

09:09AM   24       TO SOFTEN THE BLOW, I SUPPOSE, OF WHAT YOU'VE SAID, IT SEEMS

09:09AM   25       LIKE THERE'S A BALANCE THAT CAN BE REACHED IN THAT.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 36
                                                                               37 of
                                                                                  of 203
                                                                                     204
                                                                                           5706


09:09AM    1                   MR. WADE:    WE'LL SEE WHAT THE GOVERNMENT SUGGESTS.

09:09AM    2             TO THE EXTENT THAT THEY TRY TO CREATE SOME IMPLICATION

09:09AM    3       THAT IT IS A FALSE ONE, THAT OUR CLIENT AIDED AND ABETTED A

09:10AM    4       CLIA VIOLATION, THAT WOULD BE EXTRAORDINARILY PREJUDICIAL.

09:10AM    5                   THE COURT:    RIGHT.   WELL, I DON'T THINK MR. LEACH IS

09:10AM    6       GOING TO DO THAT.     I DON'T THINK HE'S GOING TO SAY THAT SHE'S

09:10AM    7       ALSO AIDING AND ABETTING.

09:10AM    8             THAT'S NOT PART OF THE CASE, IS IT, MR. LEACH?

09:10AM    9                   MR. LEACH:    IT IS NOT, YOUR HONOR, BUT THE

09:10AM   10       POSSIBILITY OF THE SANCTIONS FOR AN OWNER AND OPERATOR OF THE

09:10AM   11       LAB DIRECTOR ARE IN EVIDENCE HERE AND IT NEGATES, ON SOME

09:10AM   12       LEVEL, THAT THE BUCK STOPS WITH THE LAB DIRECTOR.

09:10AM   13             BUT I WILL NOT IN ANY WAY SUGGEST THAT MS. HOLMES AIDED

09:10AM   14       AND ABETTED A VIOLATION.

09:10AM   15                   THE COURT:    RIGHT.

09:10AM   16                   MR. WADE:    YOUR HONOR, IF I MIGHT PASS UP THE

09:10AM   17       GOVERNMENT'S SUBMISSION WITH RESPECT TO DR. DAS ON THIS VOIDING

09:10AM   18       ISSUE DID NOT INCLUDE AN MOI FROM LAST FRIDAY.          IF I MIGHT PASS

09:10AM   19       THAT UP.

09:10AM   20                   THE COURT:    SURE.

09:10AM   21                   MR. WADE:    (HANDING.)

09:10AM   22             JUST SO THAT THE COURT HAS IT, BECAUSE THERE HAVE BEEN

09:10AM   23       REPRESENTATIONS IN THE PLEADINGS AND BY COUNSEL.          IF THE COURT

09:11AM   24       TURNS TO PAGE 3 OF THIS, AND THE SECOND PARAGRAPH ON PAGE 3

09:11AM   25       NOTES, "THE DECISION TO VOID CERTAIN TESTS WAS MADE SOME TIME



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 37
                                                                               38 of
                                                                                  of 203
                                                                                     204
                                                                                           5707


09:11AM    1       IN MARCH 2016.    DAS INITIALLY SAID THAT HIS DECISION TO VOID

09:11AM    2       THE TEST WAS VOLUNTARY, BUT CLARIFIED THAT IT WOULD HAVE BEEN

09:11AM    3       INCORRECT NOT TO DO SO.      BASED ON HIS REVIEW OF DATA, IT WAS

09:11AM    4       NECESSARY TO VOID THE TEST."

09:11AM    5             AGAIN, THIS DOESN'T GO TO -- THIS GOES TO A MATTER OF

09:11AM    6       DISCRETION.    THERE'S SOME AMBIGUITY THERE, AND THIS

09:11AM    7       DEMONSTRATES IT, AND THIS IS WHY WE SUGGESTED VOIR DIRING THE

09:11AM    8       WITNESS OUTSIDE THE JURY JUST TO CLARIFY BECAUSE I DON'T THINK

09:11AM    9       IT'S QUITE AS CLEAR AS THE GOVERNMENT IS SUGGESTING WITH

09:11AM   10       RESPECT.

09:11AM   11                   THE COURT:    AND YOU THINK VOIR DIRE ON THIS

09:11AM   12       PARTICULAR ISSUE AS TO WHETHER OR NOT THIS WITNESS FELT IT WAS

09:11AM   13       VOLUNTARY OR HE HAD AN OBLIGATION, IS THAT WHAT YOU WANT TO

09:11AM   14       CLEAR UP?

09:11AM   15                   MR. WADE:    YEAH.   WAS THERE A LEGAL OBLIGATION OR

09:11AM   16       WAS IT A VOLUNTARY DISCRETIONARY ACT THAT HE TOOK TO BE

09:11AM   17       CONSERVATIVE IN AN ABUNDANCE OF CAUTION?

09:12AM   18                   THE COURT:    WOULD THAT BE A FOUNDATIONAL QUESTION

09:12AM   19       THAT MR. LEACH COULD ASK HIM BEFORE THE TESTIMONY?

09:12AM   20                   MR. WADE:    I SUPPOSE.

09:12AM   21                   THE COURT:    MR. LEACH?

09:12AM   22                   MR. LEACH:    THAT'S AN APPROPRIATE APPROACH.       I DON'T

09:12AM   23       THINK WE'RE REQUIRED TO DO THAT, BUT WE'RE HAPPY TO DO THAT.

09:12AM   24             AND I WOULD POINT THE COURT TO THE ENTIRETY OF THE

09:12AM   25       PARAGRAPH FROM THE MOI --



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 38
                                                                               39 of
                                                                                  of 203
                                                                                     204
                                                                                           5708


09:12AM    1                    THE COURT:   INVOKING 106, MR. WADE.

09:12AM    2                    MR. WADE:    RULE OF COMPLETENESS.

09:12AM    3                    THE COURT:   YES.

09:12AM    4                    MR. LEACH:   I THINK A FAIR UNDERSTANDING OF WHAT

09:12AM    5       DR. DAS WAS SAYING HERE IS THAT WHEN I'M -- AS THE LAB

09:12AM    6       DIRECTOR, I'M COMPELLED TO LOOK AT ISSUES, AND WHEN I'M LOOKING

09:12AM    7       AT ISSUES I COULD GO EITHER WAY.       BUT ONCE I FIND THE ERROR, I

09:12AM    8       MUST VOID.    THAT'S THE TENOR OF WHAT THE COURT WILL HEAR.

09:12AM    9                    THE COURT:   OKAY.    I APPRECIATE ONE AVENUE TO

09:12AM   10       RESOLVE THIS IS A VOIR DIRE OF THE WITNESS, BUT IT SEEMS LIKE

09:12AM   11       IT'S A FOUNDATIONAL QUESTION ALSO THAT AT LEAST YOU PUT

09:13AM   12       MR. LEACH ON NOTICE AND YOU PUT ME ON NOTICE ABOUT, AND THAT

09:13AM   13       MIGHT BE THE MOST EFFICIENT WAY TO GO.

09:13AM   14                    MR. WADE:    I THINK WE STILL HAVE, YOUR HONOR, THE

09:13AM   15       PARTICULAR ASPECTS OF THE CMS REPORT.

09:13AM   16                    THE COURT:   RIGHT.   I KNOW MR. LOOBY HAS BEEN

09:13AM   17       SCRATCHING HIS FEET BACK THERE AND HE WANTS TO GET UP HERE.

09:13AM   18                    MR. WADE:    AND THE REDACTIONS OF THOSE LATER

09:13AM   19       EXHIBITS.

09:13AM   20                    THE COURT:   YES.    WELL, THAT'S THE QUESTION THAT I

09:13AM   21       HAVE ABOUT THESE REDACTIONS.

09:13AM   22             MR. LOOBY, GOOD MORNING.

09:13AM   23                    MR. LOOBY:   GOOD MORNING.    THANK YOU, YOUR HONOR.

09:13AM   24             SO YOUR HONOR WILL RECALL THAT THE COURT'S ORDER AT

09:13AM   25       DOCKET 989 ON THE DEFENSE'S PRETRIAL MOTIONS ORDERED THE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 39
                                                                               40 of
                                                                                  of 203
                                                                                     204
                                                                                           5709


09:13AM    1       GOVERNMENT TO PROVIDE BOTH THE DEFENSE AND THE COURT WITH

09:13AM    2       ADVANCE NOTICE OF THE PORTIONS OF THE CMS REPORT THAT IT

09:13AM    3       INTENDED TO OFFER.

09:13AM    4                   THE COURT:    IT DID THAT IN 1133.

09:14AM    5                   MR. LOOBY:    YES.   AND I SUPPOSE WE GOT OUR NOTICE

09:14AM    6       LAST THURSDAY AT THE END OF COURT THAT THE ANSWER IS ALL OF IT,

09:14AM    7       TWO MONTHS LATER, AND THAT WAS KIND OF THE SUM AND SUBSTANCE OF

09:14AM    8       THE NOTICE.

09:14AM    9             AND THEN -- SO WHERE DOES THAT LEAVE US?

09:14AM   10             WE HAD PROPOSED REDACTIONS ON MULTIPLE GROUNDS, AND TWO OF

09:14AM   11       THEM, I THINK, REMAIN PARTICULARLY IMPORTANT TODAY, AND ONE OF

09:14AM   12       THEM IS RELATED TO THE TESTS NOT IN THE INDICTMENT AND BILL OF

09:14AM   13       PARTICULARS, AND THEN THE SECOND CATEGORY -- AND THAT'S

09:14AM   14       REDACTION CATEGORY A IN OUR PROPOSED REDACTIONS.

09:14AM   15             AND THAT PROPOSED REDACTIONS ARE AT 898-6, AND THE

09:14AM   16       PROPOSED REDACTIONS FOR DOUBLE HEARSAY WHICH IS CATEGORY B AT

09:14AM   17       THAT SAME DOCKET ENTRY.

09:14AM   18             SO THE GOVERNMENT, UNDER THE COURT'S PRETRIAL MOTION IN

09:14AM   19       LIMINE ORDER, HAS TO OFFER A PURPOSE OTHER THAN ACCURACY AND

09:15AM   20       RELIABILITY FOR EVIDENCE PERTAINING EXCLUSIVELY TO TESTS NOT AT

09:15AM   21       ISSUE IN THE INDICTMENT AND BILL OF PARTICULARS.

09:15AM   22             SEVERAL OF THE CMS REPORT CITATIONS FALL DIRECTLY INTO

09:15AM   23       THAT CATEGORY.

09:15AM   24             TO DATE, I MEAN, I MINED THE PLEADINGS AND THE ARGUMENTS

09:15AM   25       AND TRANSCRIPTS, AND I HAVE NOT HEARD A NONACCURACY AND



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 40
                                                                               41 of
                                                                                  of 203
                                                                                     204
                                                                                           5710


09:15AM    1       RELIABILITY RELATED ISSUE UNTIL TODAY WHEN I HEARD THAT IT'S

09:15AM    2       RELEVANT TO STATE OF MIND WHICH KIND OF IS NEW BECAUSE

09:15AM    3       PREVIOUSLY IT WAS TO BE ADMITTED FOR THE TRUTH AND RELATED TO

09:15AM    4       ACCURACY AND RELIABILITY.

09:15AM    5             BUT MY QUESTION WOULD BE STATE OF MIND AS TO WHAT.          IF A

09:15AM    6       CITATION IN A CMS REPORT RELATES TO SAY A PROFICIENCY TESTING

09:15AM    7       ISSUE ON AN ASSAY ON AN FDA APPROVED DEVICE THAT IS NOT

09:15AM    8       INVOLVED IN THE CASE, WHETHER OR NOT MS. HOLMES BECAME AWARE OF

09:15AM    9       THAT IN JANUARY 2016 WHEN THE REPORT WAS ISSUED, I DON'T SEE

09:16AM   10       HOW THAT BEARS ON HER STATE OF MIND AS IS RELEVANT TO THE CASE.

09:16AM   11             TO ME THIS IS -- THERE'S PULLED PORTIONS OF THIS REPORT

09:16AM   12       THAT ARE IRRELEVANT UNDER THE COURT'S ORDER, AND WE NEED TO

09:16AM   13       SQUARE THE ORDER ON THE BILL OF PARTICULARS AND THE ORDER

09:16AM   14       ADMITTING THE CMS REPORT.      THAT'S WHAT OUR PROPOSED REDACTIONS

09:16AM   15       IN AUGUST WERE MEANT TO DO.        WE HOPED IT WOULD START A DIALOGUE

09:16AM   16       OVER WHICH PORTIONS THE GOVERNMENT INTENDED TO OFFER.           IT

09:16AM   17       SOUNDS LIKE TODAY THEY HAVE A FEW PAGES PICKED OUT, AND THIS IS

09:16AM   18       THE FIRST THAT WE'RE HEARING ABOUT THAT.

09:16AM   19                   THE COURT:    THESE ARE THE PAGES MR. LEACH IDENTIFIED

09:16AM   20       EARLIER YOU'RE REFERRING TO?

09:16AM   21             IS THAT RIGHT, MR. LOOBY?

09:16AM   22                   MR. LOOBY:    YEAH.    AND I HEARD 45 TO 58.     I HAVE NOT

09:16AM   23       HAD A CHANCE TO REVIEW THOSE IN PARTICULAR.

09:16AM   24                   THE COURT:    RIGHT.

09:16AM   25                   MR. LOOBY:    BUT, OF COURSE, THE CMS REPORT IS



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 41
                                                                               42 of
                                                                                  of 203
                                                                                     204
                                                                                           5711


09:16AM    1       128 PAGES LONG.

09:16AM    2                    THE COURT:    WELL, HE'S DONE YOU A FAVOR.      HE'S

09:16AM    3       REALLY CUT IT DOWN SIGNIFICANTLY.

09:16AM    4                    MR. LOOBY:    YES.    I MEAN, I WILL BE INTERESTED TO

09:17AM    5       SEE WHAT THOSE ARE, AND, YOU KNOW, WHETHER OR NOT -- BUT ALSO,

09:17AM    6       MR. LEACH SAID THAT THEY BELIEVED THAT THE ENTIRE REPORT SHOULD

09:17AM    7       COME INTO EVIDENCE.       AND WE, OF COURSE, OBJECT TO THAT FOR THE

09:17AM    8       REASONS THAT WE'VE PREVIOUSLY STATED.

09:17AM    9                    THE COURT:    SURE.    SO LET ME SAY -- IT'S A QUARTER

09:17AM   10       AFTER, AND WE'VE ASKED OUR JURY TO COME IN AT 9:30.          AND LET ME

09:17AM   11       JUST SAY, I'M GOING TO BE VERY MINDFUL OF TIMING BECAUSE I'D

09:17AM   12       LIKE TO KEEP US ALL ON TRACK HERE, AND WE'RE DOING A GOOD JOB

09:17AM   13       OF THAT.

09:17AM   14             I DO -- I HOPE WE CAN START AT 9:30, AND I THINK I SHOULD

09:17AM   15       GIVE YOU TIME TO REVIEW 45 THROUGH 58 TO SEE.

09:17AM   16             IT'S UNLIKELY THAT WE'LL GET TO THAT THIS MORNING,

09:17AM   17       MR. LEACH?    IS THAT FAIR?

09:17AM   18                    MR. LEACH:    I'M NOT SURE HOW MUCH MR. WADE HAS WITH

09:17AM   19       DR. SAWYER.

09:17AM   20                    THE COURT:    I THINK HE TOLD US ABOUT AN HOUR.

09:17AM   21                    MR. LEACH:    I THINK AT SOME POINT AFTER OUR FIRST

09:17AM   22       BREAK IT WILL EMERGE.

09:17AM   23                    THE COURT:    RIGHT.   SO WE MAY HAVE TO -- I DO WANT

09:17AM   24       TO GIVE YOU AN OPPORTUNITY TO REVIEW WHAT MR. LEACH HAS

09:17AM   25       SUGGESTED, AND MAYBE THAT WILL CULL SOME OF YOUR CONCERNS.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 42
                                                                               43 of
                                                                                  of 203
                                                                                     204
                                                                                           5712


09:18AM    1                   MR. LOOBY:    WELL, YOUR HONOR, I BELIEVE IT'S THE

09:18AM    2       GOVERNMENT'S INTENTION STILL TO ADMIT THE ENTIRETY OF THE

09:18AM    3       REPORT.    WHAT I HEARD IS THAT THEY WANTED TO ADMIT THE ENTIRETY

09:18AM    4       OF THE REPORT AND ONLY PUBLISH CERTAIN PORTIONS WITH DR. DAS.

09:18AM    5             SO I THINK REGARDLESS OF WHAT THESE PORTIONS ARE, AND I

09:18AM    6       FOR SURE DO WANT TO REVIEW THEM, AND I APPRECIATE THE

09:18AM    7       OPPORTUNITY FROM THE COURT TO DO THAT.

09:18AM    8             I THINK REGARDLESS OF THAT, I THINK THE ISSUE OF THE

09:18AM    9       ADMISSIBILITY OF THE REPORT WHOLESALE IS STILL GOING TO BE AN

09:18AM   10       ISSUE AND SO WE CAN TAKE THAT UP, YOU KNOW, WHENEVER THE COURT

09:18AM   11       BELIEVES IT'S MOST EFFICIENT.

09:18AM   12             AND THEN THERE ARE OTHER -- THERE ARE TWO OTHER ISSUES

09:18AM   13       THAT I WAS HOPING TO ADDRESS WITH THE COURT THIS MORNING, AND

09:18AM   14       THEY RELATE TO GOVERNMENT EXHIBITS -- AND SO I'LL PREVIEW THEM

09:18AM   15       QUICKLY.

09:18AM   16                   THE COURT:    SURE.

09:18AM   17                   MR. LOOBY:    THEY RELATE TO GOVERNMENT EXHIBITS THAT

09:18AM   18       RELATED TO CMS.     THESE ARE IDENTIFIED IN MS. HOLMES'S NOTICE

09:18AM   19       FROM YESTERDAY AT 1134.

09:19AM   20             ONE OF THEM IS 5274, AND THAT IS A SEPTEMBER 26TH DRAFT

09:19AM   21       CMS DOCUMENT ATTACHED IN AN EMAIL FROM A THERANOS LAB DIRECTOR,

09:19AM   22       LISA HELFEND, TO DR. DAS.

09:19AM   23             SO WE HAVE OBJECTIONS TO THAT COMING INTO EVIDENCE.

09:19AM   24             AND THEN THE OTHER BUCKET OF EXHIBITS, AND THEY CAN BE

09:19AM   25       ADDRESSED TOGETHER, ARE ALSO FLAGGED IN OUR NOTICE FROM



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 43
                                                                               44 of
                                                                                  of 203
                                                                                     204
                                                                                           5713


09:19AM    1       YESTERDAY, AND THOSE ARE GOVERNMENT EXHIBITS 3144, 4943, 5257,

09:19AM    2       5260, 5471.

09:19AM    3             AND THESE COLLECTIVELY ARE THE DOWNSTREAM CORRESPONDENCE

09:19AM    4       BETWEEN THERANOS AND CMS RESPONDING TO THE JANUARY 2016 REPORT.

09:19AM    5       THESE DOCUMENTS HAVE SEVERAL ISSUES THAT ARE KIND OF -- THEY

09:19AM    6       SHARE IN COMMON WITH THE CMS REPORT BECAUSE THE CMS REPORT

09:19AM    7       ADDRESSES SO MANY TESTS NOT AT ISSUE AND LAB PRACTICES RELATING

09:20AM    8       TO TESTS NOT AT ISSUE, IT'S OUR POSITION THAT THE CMS REPORT

09:20AM    9       SHOULD BE REDACTED FOR THOSE REASONS, BUT ALSO THOSE REDACTIONS

09:20AM   10       SHOULD CARRY THROUGH TO THE PORTIONS OF THOSE LETTERS THAT

09:20AM   11       SPECIFICALLY ADDRESS THOSE SAME DEFICIENCIES.

09:20AM   12             SO EACH OF THE LETTERS KIND OF MARCHES THROUGH EACH

09:20AM   13       DEFICIENCY AND SAYS, YOU KNOW, THIS IS WHAT CMS SAID, THIS IS

09:20AM   14       THERANOS'S RESPONSE, THIS IS CMS'S RESPONSE.         SO IT IS LIKE A

09:20AM   15       SERIATIM BACK AND FORTH, AND SO THEY JUST KIND OF ADD ON TO

09:20AM   16       EACH OTHER.

09:20AM   17             AND THEN THEY ALSO POSE SOME RELEVANCE AND 403 ISSUES THAT

09:20AM   18       I THINK ARE UNIQUE TO THESE LATER LETTERS THAT AREN'T SHARED

09:20AM   19       WITH THE CMS REPORT AND AREN'T COVERED BY OUR PRIOR

09:20AM   20       CONVERSATIONS, ALTHOUGH THEY ARE RELATED TO OUR PRIOR

09:20AM   21       CONVERSATION ABOUT THE JULY 7TH LETTER THAT YOUR HONOR

09:20AM   22       MENTIONED AT 3217 WITH MR. LEACH AND MR. WADE, WHICH IS

09:20AM   23       ACTUALLY AN EXHIBIT THAT THE GOVERNMENT HAS NOT NOTICED AN

09:21AM   24       INTENT TO INTRODUCE THROUGH DR. DAS.

09:21AM   25                   THE COURT:    3217?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 44
                                                                               45 of
                                                                                  of 203
                                                                                     204
                                                                                           5714


09:21AM    1                   MR. LOOBY:    YEAH.   BUT A LOT OF THE SAME ISSUES THAT

09:21AM    2       WE DISCUSSED WITH THAT ARE SHARED WITH THIS OTHER

09:21AM    3       CORRESPONDENCE WHICH IS, YOU KNOW, THIS ISN'T EVIDENCE OF CMS'S

09:21AM    4       FINDINGS NECESSARILY, IT'S AN ONGOING DIALOGUE ABOUT THE

09:21AM    5       ADEQUACY OF THERANOS'S RESPONSES.

09:21AM    6             I HAVEN'T HEARD A RELEVANCE THEORY THAT WOULD SWEEP THOSE

09:21AM    7       IN.   I DON'T KNOW PRECISELY WHY THAT IS RELEVANT.

09:21AM    8             BUT IT DOES POSE UNIQUE 403 CONCERNS BECAUSE OF SOME OF

09:21AM    9       THE LANGUAGE THAT WE REVIEWED TOGETHER IN REJECTING THERANOS'S

09:21AM   10       RESPONSES GOES TO WORDS LIKE CREDIBLE, YOU KNOW, WHICH IS THE

09:21AM   11       LINGO OF THE REGULATIONS, BUT HERE IN THE CONTEXT OF A CRIMINAL

09:21AM   12       CASE POSES SOME UNIQUE ISSUES.

09:21AM   13             AND THEN THERE ARE ALSO 702 ISSUES KIND OF WRAPPED UP IN

09:21AM   14       SOME OF THESE REPORTS.      AND IN PARTICULAR EXHIBIT 4943 ARE A

09:22AM   15       COMPILATION OF PATIENT IMPACT ASSESSMENTS THAT ARE COMPILED BY

09:22AM   16       THERANOS WITH DR. DAS'S INVOLVEMENT, AND THEY MARCH THROUGH ON

09:22AM   17       AN ASSAY-BY-ASSAY BASIS, YOU KNOW, HERE ARE SOME OF THE ISSUES

09:22AM   18       THAT WE SPOTTED, AND THEY GET PRETTY TECHNICAL PRETTY QUICK,

09:22AM   19       YOU KNOW, GOING THROUGH TRENDS IN QC DATA ON SPECIFIC DATES,

09:22AM   20       CALCULATIONS BASED OFF OF THAT, EXTRAPOLATIONS AND OPINIONS

09:22AM   21       ABOUT WHAT THAT DATA MEANS.

09:22AM   22             DR. DAS HAS NOT BEEN NOTICED AS AN EXPERT TO WALK THE JURY

09:22AM   23       THROUGH THOSE.    SEVERAL OF THOSE PATIENT IMPACT ASSESSMENTS

09:22AM   24       RELATES TO TESTS THAT ARE NOT AT ISSUE IN THE INDICTMENT SO

09:22AM   25       THEY HAVE THAT SAME FLAW AS, YOU KNOW, PORTIONS OF THE CMS



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 45
                                                                               46 of
                                                                                  of 203
                                                                                     204
                                                                                           5715


09:22AM    1       REPORT.

09:22AM    2             SO THERE'S A LOT OF THORNY ISSUES, AND I KNOW YOUR HONOR

09:22AM    3       SAW WHEN YOU GOT THE PLEADINGS YESTERDAY, IT'S BIG DOCUMENTS

09:22AM    4       THAT THE GOVERNMENT IS PUTTING IN AND CUMULATIVELY THE

09:22AM    5       IMPRESSION THAT THESE GIVE, EVEN BEYOND THE PARTICULARS, WHICH

09:23AM    6       ARE PRETTY TECHNICAL AND PREJUDICIAL IN THEIR OWN, IS EVIDENCE

09:23AM    7       OF A LOT OF CIVIL KIND OF REGULATORY VIOLATIONS THAT ARE BEING

09:23AM    8       KIND OF PUSHED INTO THE CASE PERHAPS WITHOUT AN ADEQUATE

09:23AM    9       NARRATION OF WHAT IT ALL MEANS TO BE PUT IN FRONT OF THE JURY.

09:23AM   10             AND WE HAVE SERIOUS CONCERNS ABOUT THE UNFAIR PREJUDICE

09:23AM   11       FROM THEM.

09:23AM   12                    THE COURT:   WELL, THANK YOU.

09:23AM   13             YOUR COLLEAGUE SUGGESTS A PROPOSED JURY INSTRUCTION THAT

09:23AM   14       BE READ CONTEMPORANEOUS WITH ANY OF THE CIVIL REGULATIONS THAT

09:23AM   15       COME IN, OR CERTAINLY HE'S GOING TO ASK.         I'M SURE YOUR TEAM IS

09:23AM   16       GOING TO ASK FOR A SIMILAR FINAL INSTRUCTION THAT TALKS ABOUT

09:23AM   17       THE JURY NOT BEING ABLE TO USE ANY CIVIL VIOLATIONS OR

09:23AM   18       REGULATIONS AT ALL IN THEIR DELIBERATION AS TO WHETHER OR NOT

09:23AM   19       YOUR CLIENT HAS VIOLATED ANY CRIMINAL STATUTE, AND I THINK IT

09:23AM   20       PROBABLY WOULD BE APPROPRIATE TO INCLUDE SOME TYPE OF

09:24AM   21       INSTRUCTION IN THE FINAL INSTRUCTIONS TO THAT, TO THAT EXTENT

09:24AM   22       JUST FOR PROPHYLACTIC MEASURES.

09:24AM   23             MR. LEACH, DID YOU WANT TO COMMENT?

09:24AM   24                    MR. LEACH:   I HAVEN'T HAD A CHANCE TO FULSOMELY

09:24AM   25       REVIEW THE DEFENSE'S PROPOSED INSTRUCTION, BUT I CAN SAY NOW I



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 46
                                                                               47 of
                                                                                  of 203
                                                                                     204
                                                                                           5716


09:24AM    1       DON'T THINK IT SHOULD BE GIVEN IN THE MOMENT, AND THE COURT

09:24AM    2       SHOULD HEAR FULSOME BRIEFING FROM THE PARTIES ABOUT THE

09:24AM    3       PROPRIETARY OF THAT AT THE END OF THE DAY.

09:24AM    4              WITH RESPECT TO THE CMS REPORT, I DON'T MEAN TO ADD TO

09:24AM    5       MR. LOOBY'S BURDEN, BUT I OVERLOOKED ONE ADDITIONAL PAGE OF THE

09:24AM    6       REPORT, WHICH IS PAGE 7 THROUGH 8, AND THESE ARE THE TRIAL

09:24AM    7       EXHIBIT PAGES, BUT THOSE ARE THE ONLY PAGES I INTEND TO DISPLAY

09:24AM    8       WITH DR. DAS.

09:24AM    9              I THINK THE DEFENSE WANTS -- YOU KNOW, THE DEFENSE

09:24AM   10       PROFFERED DOCUMENTS FROM THE MARCH TIME PERIOD WITH GLOWING

09:25AM   11       REVIEWS ABOUT THE TECHNOLOGY AT A HIGH LEVEL, THE NANOTAINER

09:25AM   12       WORKS, WE CAN TEST SMALL SAMPLES RELIABLY.         THESE ARE AT 7653

09:25AM   13       AND 10512.

09:25AM   14              AND IT CAN'T BE A RESPONSE THAT YOU CAN SHOW THE

09:25AM   15       DEFENDANT'S STATE OF MIND WITH THESE PITHY GLOWING REVIEWS BUT

09:25AM   16       NOT THE GRANULAR DETAIL OF WHAT SHE'S GETTING FROM THE CLIA

09:25AM   17       LAB.

09:25AM   18              IT GOES TO HOW SERIOUSLY SHE TOOK THESE ISSUES, IT GOES TO

09:25AM   19       HER CONTROL OF THE LAB, IT GOES TO WHETHER SHE LEAPT INTO

09:25AM   20       ACTION.    AND, YES, SEVERAL OF THEM ARE TECHNICAL AND OF A

09:25AM   21       VARIETY THAT REQUIRES SOME EXPLANATION FROM THE WITNESS, BUT

09:25AM   22       THEY WANT TO PRESENT IT AT A HIGH LEVEL AND AVOID ANY

09:25AM   23       GRANULARITY ON THE ARGUMENT THAT THE GRANULARITY SOMEHOW

09:25AM   24       PREJUDICES THEM.

09:25AM   25              SO THE WHOLE THING IS RELEVANT TO HER SPEED.        IF DOCUMENTS



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 47
                                                                               48 of
                                                                                  of 203
                                                                                     204
                                                                                           5717


09:25AM    1       GOING TO HER IN MARCH OF 2016 ARE RELEVANT TO HER STATE OF

09:25AM    2       MIND, THIS DOCUMENT IS RELEVANT TO HER STATE OF MIND.

09:25AM    3             WITH RESPECT TO -- I DO INTEND TO STICK TO ASSAYS THAT ARE

09:26AM    4       IN THE BILL OF PARTICULARS.       WE'VE NOTICED, YOU KNOW, FOR THE

09:26AM    5       POSSIBILITY OF REFRESHING OR IF THE DEFENSE GOES THERE, CERTAIN

09:26AM    6       EXHIBITS.    SO I DON'T INTEND TO PUT IN ALL OF THE LETTERS BACK

09:26AM    7       AND FORTH BETWEEN CMS AND THERANOS, BUT I WOULD SAY THESE

09:26AM    8       AREN'T EXPERT OPINIONS.      THESE ARE STATEMENTS BY THERANOS

09:26AM    9       AUTHORIZED BY MS. HOLMES TO TRY TO EXPLAIN WHAT HAPPENED.

09:26AM   10       THEY'RE CLEARLY RELEVANT.

09:26AM   11             THE ONE I DO INTEND TO INTRODUCE, YOUR HONOR, IS 493,

09:26AM   12       PAGE 9, WHICH IS A PATIENT IMPACT ASSESSMENT RELATING TO THE

09:26AM   13       EDISON DEVICE.    THE EDISON DEVICE IS IN THE BILL OF

09:26AM   14       PARTICULARS.

09:26AM   15             THE COURT HAS HEARD LOTS OF TESTIMONY ABOUT THE EDISON

09:26AM   16       DEVICE.   AND THIS IS A STATEMENT THAT GOES TO CMS IN AN ATTEMPT

09:26AM   17       TO EXPLAIN WHETHER THE DEVICE WAS OR WAS NOT WORKING IN THE WAY

09:27AM   18       IT WAS SUPPOSED TO AND WHAT THE QUALITY SYSTEMS WERE OR WEREN'T

09:27AM   19       DOING.    IT'S AN ADMISSION BY MS. HOLMES AND THERANOS.         IT'S NOT

09:27AM   20       AN EXPERT OPINION.     NONE OF -- THERE'S NO ISSUES WITH RESPECT

09:27AM   21       TO OTHER ASSAYS, AND THIS IS VERY MUCH A PART OF THE

09:27AM   22       GOVERNMENT'S PROOF WITH DR. DAS.

09:27AM   23             BUT I THINK THE OTHER LENGTHY BACK AND FORTH, I URGE THE

09:27AM   24       COURT TO WAIT AND SEE, BECAUSE I DON'T THINK AT THE END OF THE

09:27AM   25       DAY THE GOVERNMENT IS GOING TO NEED THEM.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 48
                                                                               49 of
                                                                                  of 203
                                                                                     204
                                                                                           5718


09:27AM    1                   MR. LOOBY:    AND JUST ONE POINT ON THE ISSUE OF THE

09:27AM    2       ENTIRETY OF THE REPORT BEING RELEVANT TO STATE OF MIND.           AND

09:27AM    3       THE GOVERNMENT IS MUSHING TOGETHER REPRESENTATIONS AND

09:27AM    4       STATEMENTS AND FACTS ABOUT THE TECHNOLOGY WITH THE FINDINGS OF

09:27AM    5       THE CMS REPORT, WHICH RELATE TO LAB PRACTICES, AND WHICH COVER

09:27AM    6       THE WHOLE GAMUT OF THE LAB WHICH, OF COURSE, INCLUDED

09:27AM    7       TECHNOLOGY THAT WASN'T MANUFACTURED BY THERANOS.

09:27AM    8             AND SO THERE ISN'T A ONE-TO-ONE CONNECTION BETWEEN KIND OF

09:28AM    9       THE ISSUES IN THE CASE THAT ARE ACTUALLY IN THE CASE AND THE

09:28AM   10       ENTIRETY OF THE CMS REPORT.

09:28AM   11             IT DOES SOUND LIKE THE GOVERNMENT, IN PREPARING ITS

09:28AM   12       WITNESSES, HAS LOCATED THE SPECIFIC D TAGS IN THE CMS REPORT

09:28AM   13       THAT IT WOULD LIKE TO HIGHLIGHT, AND IT HAS LOCATED THE

09:28AM   14       PARTICULAR PATIENT IMPACT ASSESSMENT, BUT IT'S PROPOSED TO PUT

09:28AM   15       INTO EVIDENCE STACKS OF PAPERS WHERE THESE ARE JUST A FEW PAGES

09:28AM   16       OF THEM.

09:28AM   17             AND I THINK IT PAYS TO BE PRECISE AND TO LOOK AT THE

09:28AM   18       ENTIRETY OF THESE REPORTS AND WHAT THEY SAY AND DON'T SAY

09:28AM   19       BEFORE THEY'RE PUT INTO EVIDENCE AND GO BACK WITH THE JURY FOR

09:28AM   20       DELIBERATIONS.

09:28AM   21             SO, YOU KNOW, I WOULD, I WOULD -- WE MAINTAIN OUR

09:28AM   22       OBJECTION TO PORTIONS OF THE REPORT OTHER THAN THOSE, YOU KNOW,

09:28AM   23       THAT ARE -- WE MAINTAIN OUR OBJECTIONS OF CATEGORIES A AND B IN

09:28AM   24       OUR PROPOSED REDACTIONS AT 898-6.       WE STILL MAINTAIN THAT THOSE

09:29AM   25       ARE APPROPRIATE.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 49
                                                                               50 of
                                                                                  of 203
                                                                                     204
                                                                                           5719


09:29AM    1             AND JUST ONE WORD ON THE DOUBLE HEARSAY ISSUE, WHICH I

09:29AM    2       DON'T BELIEVE HAS BEEN SOLVED.       THE GOVERNMENT'S ARGUMENT, AS I

09:29AM    3       UNDERSTAND IT, IS ESSENTIALLY BECAUSE THESE LAB STAFF WERE

09:29AM    4       INTERVIEWED ARE WHAT THEY CALL HIGH LEVEL LAB STAFF.

09:29AM    5             I MEAN, IF YOU GO TO THE PRESENTATION THAT WAS IN EVIDENCE

09:29AM    6       THAT WAS GIVEN AT THE START OF THE CMS INSPECTION, I MEAN, I

09:29AM    7       THINK IT'S MORE FAIR TO CHARACTERIZE THEM AS MID LEVEL.

09:29AM    8             MS. HOLMES -- THERE HAS NOT BEEN TESTIMONY OR EVIDENCE

09:29AM    9       THAT MS. HOLMES HAD DAY-TO-DAY SUPERVISION OF THE LAB.           THERE

09:29AM   10       HAS NOT BEEN TESTIMONY FROM THESE PARTICULAR WITNESSES, THESE

09:29AM   11       PARTICULAR LAB STAFF THAT MS. HOLMES CONTROLLED THEIR

09:29AM   12       ACTIVITIES.

09:29AM   13             THERE HASN'T BEEN A FOUNDATION TO CONNECT AN AGENCY

09:29AM   14       RELATIONSHIP BETWEEN MS. HOLMES AND THESE PARTICULAR WITNESSES.

09:29AM   15             THE COURT HAD REJECTED THE GOVERNMENT'S EFFORT TO, TO LUMP

09:30AM   16       IN ALL THERANOS EMPLOYEES AS MS. HOLMES'S AGENTS.          IT SEEMS

09:30AM   17       HERE WE'RE JUST KIND OF TRYING TO LOWER THE BAR DOWN THE

09:30AM   18       CORPORATE HIERARCHY, THAT'S THE SENSE OF THE ARGUMENT THAT I

09:30AM   19       GET, BUT THAT'S NOT PARTICULAR ENOUGH TO FORM THE AGENCY LINK.

09:30AM   20       SO I DON'T THINK THEY'VE CLEARED THAT HURDLE YET.

09:30AM   21                   THE COURT:    AND YOU'RE REFERENCING THE COURT'S 798,

09:30AM   22       THE COURT'S ORDERS AND THE MILS WHICH WAS IN MAY, I THINK

09:30AM   23       MAY 22ND OF THIS YEAR?

09:30AM   24                   MR. LOOBY:    CORRECT, YEAH.

09:30AM   25                   THE COURT:    AND NOW -- OF COURSE WE'VE HAD SOME



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 50
                                                                               51 of
                                                                                  of 203
                                                                                     204
                                                                                           5720


09:30AM    1       TESTIMONY.    WE'VE HAD TEN WEEKS OF TESTIMONY AND EVIDENCE.

09:30AM    2       PART OF THAT TESTIMONY, IF I RECALL, HAS BEEN WITNESSES,

09:30AM    3       DIFFERENT WITNESSES WHO TESTIFY ABOUT YOUR CLIENT'S CONTROL OF

09:30AM    4       THE LAB, AND WHO IS ALLOWED AND WHO ISN'T, CERTAIN PERSONNEL

09:30AM    5       THAT WERE PERMITTED TO GO IN THERE.

09:30AM    6             AND MY SENSE FROM THE GOVERNMENT'S PLEADING IS THAT THERE

09:31AM    7       IS A STRONG INFERENCE THAT ANYBODY WHO WAS THERE FOR THE CMS

09:31AM    8       EVENT, WHICH WAS AN IMPORTANT EVENT IN THE LIFE OF THE COMPANY,

09:31AM    9       WAS THERE WITH KNOWLEDGE AND CONSENT OF THE CEO OF THE COMPANY

09:31AM   10       SUCH THAT THAT DECISION WAS MADE TO ALLOW THEM TO BE THERE FOR

09:31AM   11       THAT IMPORTANT EVENT.

09:31AM   12             AND I THINK WHAT MR. LEACH, I THINK WHAT I AM INFORMED

09:31AM   13       FROM HIS PLEADINGS, SUGGESTS IT'S A FAIR INFERENCE, IF NOT

09:31AM   14       CIRCUMSTANTIAL EVIDENCE, THAT THEY WERE THERE WITH HER

09:31AM   15       IMPRIMATUR.

09:31AM   16                    MR. LOOBY:   WELL, THE TECHNICAL SUPERVISOR, THE

09:31AM   17       GENERAL SUPERVISOR, AND THE QA/QC MANAGER OF THE THERANOS CLIA

09:31AM   18       LABORATORY, SO THEY WOULD BE OBLIGATED AND EXPECTED TO BE

09:31AM   19       THERE TO ANSWER CMS -- THEY WORK IN THE LAB, AND THE CMS

09:31AM   20       INSPECTION IS AN INSPECTION OF THE LAB.

09:31AM   21             SO I THINK IT'S NOT THE CORRECT QUESTION TO ASK WAS --

09:31AM   22       WERE THEY THERE WITH MS. HOLMES'S PERMISSION?         OF COURSE THEY

09:32AM   23       ARE EMPLOYEES OF THERANOS.

09:32AM   24             BUT THE QUESTION IS WHETHER OR NOT MS. HOLMES -- THEY'RE

09:32AM   25       AGENTS OF MS. HOLMES AS THEY WERE ACTING ON THAT DAY?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 51
                                                                               52 of
                                                                                  of 203
                                                                                     204
                                                                                           5721


09:32AM    1             AND I THINK THERE HASN'T BEEN TESTIMONY ABOUT MS. HOLMES

09:32AM    2       AND A PRESENCE IN OR INVOLVEMENT IN THE LAB IN THE 2014, 2015

09:32AM    3       PERIOD.    I MEAN, THE LAB DIRECTOR AT THE TIME TESTIFIED THAT HE

09:32AM    4       HADN'T MET MS. HOLMES.      SO I THINK THERE'S A GAP THERE.

09:32AM    5                   THE COURT:    OKAY.   MR. LEACH, DO YOU WANT TO COMMENT

09:32AM    6       ON THAT?

09:32AM    7                   MR. LEACH:    THERE ARE TEXT MESSAGES, YOUR HONOR,

09:32AM    8       WHERE MS. HOLMES IS PRAYING DURING THE SEPTEMBER 2015 CMS

09:32AM    9       EXAMINATION.

09:32AM   10             THE DEFENSE -- OR AFTER THE COURT DENIED A MOTION

09:32AM   11       IN LIMINE TO EXCLUDE A DOCUMENT THAT MR. BALWANI HANDED TO CMS

09:32AM   12       DURING THE INSPECTION, AFTER THE COURT DENIED THAT MOTION, THE

09:32AM   13       DEFENSE INTRODUCED THAT DOCUMENT THROUGH DR. DHAWAN.

09:32AM   14             THERE'S AMPLE EVIDENCE THAT MS. HOLMES WAS AWARE OF AND

09:33AM   15       DIRECTING AND SENDING OUT AGENTS FOR THE PURPOSE OF THE CMS

09:33AM   16       INSPECTION, WHICH WAS, AS THE COURT NOTES, AN IMPORTANT EVENT

09:33AM   17       IN THE COMPANY.

09:33AM   18             I DON'T SEE A DOUBLE HEARSAY PROBLEM HERE, AND I DON'T

09:33AM   19       HAVE ANYTHING MORE TO ADD THAN WHAT WE HAVE IN OUR --

09:33AM   20                   THE COURT:    YOU SUGGEST THAT AT LEAST FOR PURPOSES

09:33AM   21       OF OVERCOMING A HEARSAY OBJECTION THIS -- THAT TESTIMONY OR

09:33AM   22       THOSE OBSERVATIONS ARE ADMISSIBLE UNDER AN AGENCY THEORY?

09:33AM   23                   MR. LEACH:    YES, YOUR HONOR.

09:33AM   24                   THE COURT:    OKAY.   OKAY.

09:33AM   25                   MR. LOOBY:    YOUR HONOR, UNDER THE TEST FOR AGENCY OF



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 52
                                                                               53 of
                                                                                  of 203
                                                                                     204
                                                                                           5722


09:33AM    1       AUTHORIZATION AND CONTROL OF THE EMPLOYEES'S ACTIONS, I DON'T

09:33AM    2       THINK THERE IS A FOUNDATION THERE.        I THINK WHAT MR. LEACH JUST

09:33AM    3       DESCRIBED IS MS. HOLMES AWARENESS OF THE CMS INSPECTION, HER

09:33AM    4       HOPES THAT IT WOULD GO WELL, HER PRAYERS THAT IT WOULD GO WELL.

09:33AM    5             I MEAN, THAT DOESN'T CONNECT TO WHETHER OR NOT THESE

09:33AM    6       PARTICULAR LAB EMPLOYEES RESPONDED TO MS. HOLMES, REPORTED TO

09:34AM    7       MS. HOLMES, INTERACTED WITH MS. HOLMES, THAT SHE AUTHORIZED

09:34AM    8       SPECIFIC REPRESENTATIONS THAT THEY WOULD HAVE MADE DURING THE

09:34AM    9       INSPECTION.

09:34AM   10             THEY'RE EMPLOYEES OF THE LAB, AND THEY WERE BEING

09:34AM   11       INTERVIEWED AS EMPLOYEES OF THE LAB.

09:34AM   12                   THE COURT:    OF THERANOS?

09:34AM   13                   MR. LOOBY:    YES.

09:34AM   14                   THE COURT:    MR. LEACH?

09:34AM   15                   MR. LEACH:    I HAVE NOTHING FURTHER, YOUR HONOR.

09:34AM   16                   THE COURT:    OKAY.   I'M INFORMED THAT IT'S GOING TO

09:34AM   17       TAKE US TEN MINUTES TO REBOOT OUR SYSTEM TO ALLEVIATE SOME OF

09:34AM   18       THE PROBLEMS THAT WE'VE HAD THIS MORNING, ELECTRICAL PROBLEMS.

09:34AM   19             I'LL STEP DOWN, AND WE'LL GET THAT STARTED.

09:34AM   20             I THINK WE'RE GOING TO BREAK AT ABOUT 11:00 O'CLOCK AND

09:34AM   21       THEN AGAIN AT 1:30.      AND I THINK I TOLD YOU I HAVE SOMETHING

09:34AM   22       FROM 12:30 TO 1:00.      SO WE'LL TRY TO INCORPORATE ALL OF THAT IN

09:34AM   23       TODAY.

09:34AM   24             AND I THINK WE'RE GOING UNTIL 4:00 TODAY.

09:34AM   25                   MR. LOOBY:    AND, YOUR HONOR, FOR EXHIBIT 5274, I'M



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 53
                                                                               54 of
                                                                                  of 203
                                                                                     204
                                                                                           5723


09:34AM    1       NOT SURE -- THIS IS THE SEPTEMBER 2016 DRAFT CMS DOCUMENT.              I'M

09:35AM    2       NOT SURE IF THE GOVERNMENT INTENDS TO OFFER THAT INTO EVIDENCE.

09:35AM    3             BUT EITHER AT A BREAK OR AT A SIDE-BAR WE MAY WANT TO

09:35AM    4       DEVOTE A FEW MINUTES TO DISCUSSING THAT.

09:35AM    5                   THE COURT:    OKAY.   THANK YOU.    OKAY.

09:35AM    6             ANYTHING FURTHER?

09:35AM    7                   MR. LEACH:    THANK YOU, YOUR HONOR.      NOT FROM THE

09:35AM    8       GOVERNMENT.

09:35AM    9                   MR. WADE:    THANK YOU, YOUR HONOR.

09:35AM   10                   THE CLERK:    COURT IS IN RECESS.

09:35AM   11             (RECESS FROM 9:35 A.M. UNTIL 11:11 A.M.)

11:11AM   12             (JURY IN AT 11:11 A.M.)

11:11AM   13                   THE COURT:    ALL RIGHT.    THANK YOU.    WE ARE ON THE

11:11AM   14       RECORD IN THE HOLMES MATTER.       ALL COUNSEL ARE PRESENT.

11:11AM   15       MS. HOLMES IS PRESENT.

11:11AM   16             OUR JURY IS PRESENT.

11:11AM   17             GOOD AFTERNOON, LADIES AND GENTLEMEN.

11:11AM   18             (LAUGHTER.)

11:11AM   19                   THE COURT:    I WANT TO TELL YOU, WE'VE HAD SOME

11:11AM   20       TECHNICAL PROBLEMS, AND OUR VIDEO SYSTEM IS COMPROMISED.           YOUR

11:11AM   21       SCREENS WILL NOT BE WORKING.       THE SCREENS IN FRONT OF ALL OF US

11:11AM   22       ARE NOT WORKING.

11:11AM   23             WE HAVE, DURING THE BREAK, COUNSEL HAVE TRIED TO BE

11:11AM   24       EFFICIENT AND GOOD AND TRY TO WORK OUT COMPROMISES.          WHAT YOU

11:12AM   25       SEE ON THE SCREEN IN FRONT OF YOU IS THE DEVICE THAT IS



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 54
                                                                               55 of
                                                                                  of 203
                                                                                     204
                                                                                           5724


11:12AM    1       PROJECTING ON THE WALL.      AND AFTER DOING VARIOUS TESTING, I

11:12AM    2       THINK THE PARTIES HAVE AGREED THAT THIS IS PROBABLY THE BEST

11:12AM    3       THAT WE'LL BE ABLE TO DO TODAY.

11:12AM    4             I'M INFORMED THAT TO PROPERLY CORRECT THE ISSUE, WE WILL

11:12AM    5       NEED TO SHUT THE SYSTEM DOWN, AND THEY'RE GOING TO HAVE TO DO

11:12AM    6       THAT AT THE END OF TODAY.

11:12AM    7             SO WHAT I WOULD LIKE TO DO TODAY, AFTER I ASK YOU A

11:12AM    8       QUESTION ABOUT YOUR WEEKENDS AND WHETHER OR NOT YOU'VE HAD AN

11:12AM    9       OCCASION TO SEE ANYTHING OR TALK TO ANYONE OR COME ACROSS

11:12AM   10       ANYTHING TO DO WITH THIS CASE, WHAT WE WILL DO IS TURN THE

11:12AM   11       LIGHTS DOWN, AND WE'VE THOUGHT ABOUT TURNING SOME OF THESE

11:12AM   12       LIGHTS OFF SUCH THAT THIS SCREEN CAN BE MORE VISIBLE.

11:12AM   13             AND WHAT I'D LIKE TO DO IS TO ASK YOU TO LOOK AT THIS AND

11:12AM   14       LOOK AT OUR SCREEN HERE, AND TELL ME IF THIS PRESENTS ANY

11:13AM   15       PROBLEMS AS FAR AS VIEWING ANY OF THE EXHIBITS.

11:13AM   16             SO THAT'S WHAT WE'RE GOING TO DO FIRST BEFORE WE RESUME

11:13AM   17       TESTIMONY.

11:13AM   18             SO AS TO MY QUESTION AND THE ADMONITION, HAS ANYONE COME

11:13AM   19       ACROSS ANYTHING, DISCUSSED WITH ANYONE, HEARD, READ, OR

11:13AM   20       LISTENED TO ANYTHING ABOUT THIS CASE SUCH THAT YOU THINK YOU

11:13AM   21       SHOULD INFORM ME?

11:13AM   22             IF SO, PLEASE RAISE YOUR HANDS.

11:13AM   23             I SEE NO HANDS.

11:13AM   24             THANK YOU VERY MUCH AGAIN.

11:13AM   25             SO WHAT WE'LL DO NOW, COUNSEL, WE'LL TURN DOWN THE LIGHTS



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 55
                                                                               56 of
                                                                                  of 203
                                                                                     204
                                                                                           5725


11:13AM    1       TO A LEVEL THAT YOU AGREED THAT WE'D LOOK AT, AND THEN I'LL ASK

11:13AM    2       THE JURORS WHETHER OR NOT THEY'RE ABLE TO SEE THE EXHIBITS.

11:13AM    3             MS. KRATZMANN.

11:13AM    4                    THE CLERK:    YES, YOUR HONOR.

11:13AM    5             (PAUSE IN PROCEEDINGS.)

11:13AM    6                    THE COURT:    I'LL GIVE THE JURORS A COUPLE OF MINUTES

11:13AM    7       TO LOOK AT THAT.

11:13AM    8             DOES THAT PRESENT ANYONE ANY ISSUE TO SEE AND UNDERSTAND,

11:13AM    9       TO READ AND COMPREHEND AT LEAST THIS DOCUMENT THAT WE HAVE

11:14AM   10       DISPLAYED HERE AS A SAMPLE?       IF SO, IF THAT'S A PROBLEM, IF YOU

11:14AM   11       COULD PLEASE RAISE YOUR HAND.

11:14AM   12             AND THIS IS IMPORTANT.      IF YOU'RE NOT ABLE TO SEE THIS,

11:14AM   13       THEN WE'LL HAVE TO DO SOMETHING ELSE.         IT'S IMPORTANT THAT THE

11:14AM   14       JURY BE ABLE TO SEE AND FOLLOW THE EXHIBITS AS THE TESTIMONY IS

11:14AM   15       GIVEN.

11:14AM   16             YES.

11:14AM   17                    JUROR:   NO, I'M GOOD.

11:14AM   18                    THE COURT:    THAT'S A THUMBS UP?

11:14AM   19                    JUROR:   YOUR HONOR, IF I COULD RETURN TO THE ROOM

11:14AM   20       AND GET A PAIR OF GLASSES, I WILL BE ABLE TO SEE THAT.

11:14AM   21                    THE COURT:    WHY DON'T WE DO THAT.      AND THANK YOU FOR

11:14AM   22       THAT.

11:16AM   23             (PAUSE IN PROCEEDINGS.)

11:16AM   24                    THE COURT:    ALL RIGHT.   THE RECORD SHOULD REFLECT

11:16AM   25       THAT OUR JUROR HAS RETURNED WITH GLASSES.



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 56
                                                                               57 of
                                                                                  of 203
                                                                                     204
                                                                                           5726


11:16AM    1             IS THAT WORKING OKAY?

11:16AM    2                     JUROR:   YES.

11:16AM    3                     THE COURT:    ALL RIGHT.

11:16AM    4             IS THERE ANYONE HAVING A PROBLEM WITH THIS, NOT JUST

11:16AM    5       VIEWING THIS, BUT ANYTHING ABOUT THE LIGHTING IN THE COURTROOM

11:16AM    6       THAT WILL CAUSE A JUROR ANY IMPEDIMENT AS TO BE ABLE TO FOLLOW

11:16AM    7       THE EVIDENCE, BOTH THE SPOKEN EVIDENCE AS WELL AS THE VISUAL

11:16AM    8       EVIDENCE?

11:16AM    9             DOES ANYONE FEEL THAT THE CURRENT CONDITION WILL NOT SERVE

11:16AM   10       THEM THE OPPORTUNITY TO ACCOMPLISH THAT?

11:16AM   11             IF SO, RAISE YOUR HAND.

11:16AM   12             I SEE NO HANDS.

11:16AM   13             OKAY.    ALL RIGHT.     THANK YOU.

11:16AM   14             LET ME APOLOGIZE, LADIES AND GENTLEMEN.          I JUST WANT TO

11:16AM   15       BE -- I'M VERY EMBARRASSED THAT OUR COURTROOM HAS HAD THESE

11:16AM   16       PROBLEMS.     WE HAD WATER OUTAGES TWO WEEKS AGO AND NOW OUR

11:16AM   17       SYSTEM IS, FOR SOME REASON, NOT FUNCTIONING.           I APOLOGIZE TO

11:17AM   18       YOU AS MEMBERS OF THE PUBLIC AS PART OF THIS TRIAL, AND COUNSEL

11:17AM   19       AND ALL OF THE PARTIES HERE.

11:17AM   20             I'M SORRY, THIS IS NOT SUPPOSED TO HAPPEN.         WE SHOULD NOT

11:17AM   21       HAVE THESE DISRUPTIONS.        WE'VE LOST VALUABLE TIME THIS MORNING.

11:17AM   22             BUT MORE THAN THAT, IT'S REGRETTABLY A DISPLAY OF ISSUES

11:17AM   23       WITH OUR COURT THAT I'M NOT PROUD OF.         AND WE'LL LOOK INTO

11:17AM   24       THIS.   I'LL LOOK INTO THIS AND SEE WHAT WE CAN DO TO CORRECT

11:17AM   25       THIS TO MAKE YOUR TIME WITH US A LITTLE MORE ENJOYABLE.



                                          UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 57
                                                                               58 of
                                                                                  of 203
                                                                                     204
                                                                                           5727


11:17AM    1             SO THANK YOU FOR THAT.

11:17AM    2             IF AT ANY TIME A JUROR DOES HAVE AN ISSUE WITH FOLLOWING,

11:17AM    3       TRACKING, PLEASE RAISE YOUR HAND AND LET US KNOW SO I CAN TAKE

11:17AM    4       APPROPRIATE ACTION.

11:17AM    5             LET ME TELL YOU SCHEDULE WISE, I HOPE YOU RECALL WE'RE

11:17AM    6       GOING TO TAKE A BREAK FROM 12:30 TO 1:00 O'CLOCK, I THINK.              I

11:17AM    7       HOPE THAT WILL WORK.      AND THEN WE'RE GOING UNTIL 4:00 O'CLOCK

11:17AM    8       TODAY.   SO WE'LL PROBABLY HAVE ANOTHER BREAK PUT IN THERE IN

11:18AM    9       THE AFTERNOON SOMETIME.

11:18AM   10             ALL RIGHT.    THANK YOU.

11:18AM   11             ANYTHING FURTHER, MR. SCHENK?

11:18AM   12                   MR. SCHENK:    NO, YOUR HONOR.

11:18AM   13                   MR. DOWNEY:    NO, YOUR HONOR.

11:18AM   14                   THE COURT:    ALL RIGHT.    LET ME ASK, DO BOTH SIDES

11:18AM   15       CONSENT TO PROCEEDING IN THIS FASHION?

11:18AM   16                   MR. SCHENK:    YES, WE DO.

11:18AM   17                   MR. DOWNEY:    WE DO, YOUR HONOR.

11:18AM   18                   THE COURT:    ALL RIGHT.    THANK YOU VERY MUCH.

11:18AM   19             LET'S SEE.    WE HAVE A WITNESS.     I THINK, MR. WADE, HAVE

11:18AM   20       YOU -- YOU HAVE SOME QUESTIONS STILL FOR MS. SAWYER?

11:18AM   21                   MR. WADE:    I DO.

11:18AM   22                   THE COURT:    ALL RIGHT.    WE'LL BRING MS. SAWYER IN.

11:18AM   23                   THE CLERK:    DID YOU WANT ME TO TURN ON THE LIGHTS

11:18AM   24       FOR NOW, YOUR HONOR?

11:18AM   25                   THE COURT:    WHY DON'T WE TURN THEM ON UNTIL WE HAVE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 58
                                                                               59 of
                                                                                  of 203
                                                                                     204
                                                                                           5728


11:18AM    1       AN EXHIBIT?

11:18AM    2              COUNSEL, DO YOU WANT A LIGHT FOR THE LECTERNS?

11:18AM    3                   MR. WADE:    I THINK I'M OKAY WITH THE LIGHT HERE AND

11:18AM    4       MY GLASSES.

11:18AM    5                   THE COURT:    OKAY.

11:19AM    6              MS. SAWYER, GOOD AFTERNOON.     PLEASE COME FORWARD.      THANK

11:19AM    7       YOU.

11:19AM    8              IF YOU COULD RESUME THE STAND AGAIN, PLEASE.

11:19AM    9              MAKE YOURSELF COMFORTABLE AGAIN.

11:19AM   10              DR. SAWYER, WHEN YOU ARE COMFORTABLE, WOULD YOU PLEASE

11:19AM   11       STATE YOUR NAME AGAIN FOR THE RECORD, PLEASE.

11:19AM   12                   THE WITNESS:    LYNETTE SAWYER.

11:19AM   13                   THE COURT:    THANK YOU.    I REMIND YOU THAT YOU'RE

11:19AM   14       STILL UNDER OATH.

11:19AM   15              AND YOU CAN REMOVE YOUR MASK AS YOU DID LAST WEEK WHEN YOU

11:19AM   16       TESTIFIED IF YOU WOULD LIKE.

11:19AM   17                   THE WITNESS:    THANK YOU.

11:19AM   18              (GOVERNMENT'S WITNESS, LYNETTE SAWYER, WAS PREVIOUSLY

11:19AM   19       SWORN.)

11:19AM   20                   THE COURT:    THANK YOU.

11:19AM   21                   MR. WADE:    YOUR HONOR, WOULD YOU LIKE TO UPDATE THE

11:19AM   22       WITNESS ON THE CONDITIONS THAT WE'RE GOING TO BE WORKING UNDER,

11:19AM   23       OR WOULD YOU LIKE ME TO DO THAT?

11:19AM   24                   THE COURT:    WELL, NO.

11:19AM   25              LET ME TELL YOU, DOCTOR, WE'VE HAD SOME TIME TODAY AND



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 59
                                                                               60 of
                                                                                  of 203
                                                                                     204
                                                                                           5729


11:19AM    1       WE'VE TRIED TO SOLVE A PROBLEM THAT IS UNSOLVABLE.

11:19AM    2             OUR VIDEO FOR SOME REASON HAS CHOSEN TODAY TO GO OUT.

11:20AM    3                   THE WITNESS:    OKAY.

11:20AM    4                   THE COURT:    I'M SURE THIS IS A CASE OF FIRST

11:20AM    5       IMPRESSION TO YOU.

11:20AM    6             SO WHAT WE'RE GOING TO DO IS TO GO FORWARD TODAY.          WE PUT

11:20AM    7       THIS LITTLE LAMP NEXT TO YOU.

11:20AM    8             IF THERE ARE EXHIBITS THAT COUNSEL ARE GOING TO USE, WE'RE

11:20AM    9       GOING TO DIM THE LIGHTS AND PROJECT THEM ON THE SCREEN UP HERE.

11:20AM   10       YOU WON'T HAVE BENEFIT OF THE TELEVISION MONITOR THERE.           YOU'LL

11:20AM   11       HAVE TO LOOK AT THAT SCREEN.

11:20AM   12                   THE WITNESS:    OKAY.

11:20AM   13                   THE COURT:    SO IF AT ANY TIME YOU'RE UNABLE TO SEE

11:20AM   14       THAT SCREEN, YOU SHOULD LET US KNOW.        LET ME KNOW, PLEASE --

11:20AM   15                   THE WITNESS:    OKAY.

11:20AM   16                   THE COURT:    -- SO WE CAN TAKE ANY OTHER ACTION.

11:20AM   17             OR IF ANY OF THIS IS DISRUPTIVE TO YOUR ABILITY TO

11:20AM   18       PARTICIPATE, YOU NEED TO LET ME KNOW AND WE'LL TAKE CORRECTIVE

11:20AM   19       ACTIONS.

11:20AM   20                   THE WITNESS:    OKAY.

11:20AM   21                   THE COURT:    FOR THE TIME BEING, I'M JUST GOING TO

11:20AM   22       LEAVE THAT CHARMING LAMP THERE AND LEAVE IT ON, AND HOPEFULLY

11:20AM   23       IT WILL BE OF SOME ASSISTANCE.       THANK YOU.

11:20AM   24             COUNSEL.

11:20AM   25                   MR. WADE:    THANK YOU, YOUR HONOR.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 60
                                                                               61 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5730


11:20AM    1                           CROSS-EXAMINATION (RESUMED)

11:20AM    2       BY MR. WADE:

11:20AM    3       Q.    GOOD MORNING, DR. SAWYER.

11:20AM    4       A.    GOOD MORNING.

11:20AM    5       Q.    DO YOU RECALL THAT WHEN WE BROKE LAST WEEK WE WERE -- I

11:20AM    6       WAS ASKING YOU SOME QUESTIONS ABOUT THE CONSULTING AGREEMENT

11:21AM    7       UNDER WHICH YOU WERE RETAINED?

11:21AM    8       A.    YES.

11:21AM    9       Q.    AND THAT WAS A CONSULTING AGREEMENT WITH LABORATORY

11:21AM   10       CONSULTING SERVICES?

11:21AM   11       A.    YES.

11:21AM   12       Q.    AND THAT SET FORTH THE WORK THAT YOU WERE GOING TO PROVIDE

11:21AM   13       THROUGH THAT ENTITY.

11:21AM   14             DO YOU RECALL THAT?

11:21AM   15       A.    YES.

11:21AM   16       Q.    LET'S BRING THAT BACK UP.

11:21AM   17             THAT'S 10586 WHICH IS IN EVIDENCE.

11:21AM   18             MAY I PUBLISH, YOUR HONOR?

11:21AM   19                    THE COURT:   YES, THANK YOU.

11:21AM   20       BY MR. WADE:

11:21AM   21       Q.    AND IT'S ALSO IN YOUR BOOK, SO IF IT'S EASIER FOR YOU TO

11:21AM   22       READ IN YOUR BOOK, PLEASE FEEL FREE TO DO THAT.

11:21AM   23             IF I COULD CALL YOUR ATTENTION TO EXHIBIT 81.

11:21AM   24                    THE COURT:   PARDON ME, MR. WADE.

11:21AM   25             IS THERE ANY MEMBER OF THE JURY WHO IS HAVING DIFFICULTY



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 61
                                                                               62 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5731


11:22AM    1       VIEWING THIS?

11:22AM    2             I SEE NO HANDS.

11:22AM    3             IF ANY EXHIBIT IS BEING SHOWN AND YOU CAN'T SEE IT, PLEASE

11:22AM    4       RAISE YOUR HAND AND WE'LL TRY TO REFOCUS AND DO WHAT WE NEED TO

11:22AM    5       DO.

11:22AM    6             THANK YOU, MR. WADE.

11:22AM    7                     MR. WADE:   THANK YOU, YOUR HONOR.

11:22AM    8       Q.    AND I BELIEVE THAT WE WERE GOING THROUGH SOME QUESTIONS ON

11:22AM    9       THIS WHEN WE BROKE LAST TIME.

11:22AM   10             YOU RECOGNIZE THIS AS THE SCOPE OF SERVICES AND

11:22AM   11       COMPENSATION FOR THE WORK THAT YOU WERE GOING TO DO AT

11:22AM   12       THERANOS; CORRECT?

11:22AM   13       A.    RIGHT.

11:22AM   14       Q.    AND ON THAT TOP PARAGRAPH NUMBER 1, DO YOU SEE THAT YOU'RE

11:22AM   15       PROVIDED A CONTACT THERE AND THAT IS MR. BALWANI; CORRECT?

11:22AM   16       A.    CORRECT.

11:22AM   17       Q.    AND I BELIEVE YOU TESTIFIED LAST WEEK THAT YOU HAD TWO

11:22AM   18       INTERACTIONS WITH MR. BALWANI; RIGHT?

11:22AM   19       A.    AS I RECALL, YES.

11:22AM   20       Q.    OKAY.    AND DO YOU RECALL UNDERSTANDING AT THE TIME THAT

11:22AM   21       YOU BEGAN THIS ENGAGEMENT THAT HE WAS TO BE YOUR PRINCIPAL

11:22AM   22       POINT OF CONTACT AT THE COMPANY?

11:23AM   23       A.    I DON'T ACTUALLY RECALL ONE WAY OR THE OTHER.

11:23AM   24       Q.    OKAY.    DO YOU REMEMBER THAT YOU RECALL THAT WE SAW THIS

11:23AM   25       DOCUMENT THAT WAS SIGNED BY MR. HURST?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 62
                                                                               63 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5732


11:23AM    1       A.    YES.

11:23AM    2       Q.    OKAY.   DO YOU RECALL WHETHER MR. HURST EVER TOLD YOU, IF

11:23AM    3       YOU HAVE ANY QUESTIONS OR HAVE ANY NEEDS, YOUR POINT OF CONTACT

11:23AM    4       SHOULD BE MR. BALWANI?

11:23AM    5       A.    I DO NOT RECALL HIM TELLING ME THAT.

11:23AM    6       Q.    OKAY.   THE AGREEMENT THEN SETS FORTH SERVICES THAT YOU'RE

11:23AM    7       TO PROVIDE, AND JUST UNDER THIS SECOND PARAGRAPH, IF WE CAN

11:23AM    8       GRAB THE NEXT SECTION OF THE DOCUMENT BELOW THIS SECTION, DO

11:24AM    9       YOU SEE IT SAYS THAT YOU'RE TO FUNCTION AS THE CO-LAB DIRECTOR?

11:24AM   10             DO YOU SEE THAT?

11:24AM   11       A.    UH-HUH.

11:24AM   12       Q.    AND THAT WAS CLEAR FROM THE OUTSET; CORRECT?

11:24AM   13       A.    CORRECT.

11:24AM   14       Q.    AND THERE ARE THEN -- IF WE CAN BLOW -- IF WE CAN GO BACK

11:24AM   15       TO THE MAIN DOCUMENT AND GRAB, SAY, THE BOTTOM -- FROM THERE

11:24AM   16       DOWN, PLEASE.

11:24AM   17             THERE ARE A BUNCH OF POTENTIAL SERVICES THAT YOU MAY

11:24AM   18       PROVIDE THERE.

11:24AM   19             DO YOU SEE THAT?

11:24AM   20       A.    YES.

11:24AM   21       Q.    AND THEY ALL SAY IF REQUESTED BY THE COMPANY; RIGHT?

11:24AM   22       A.    YES.

11:24AM   23       Q.    AND THERE -- AND YOU UNDERSTOOD AT THE TIME THAT THE

11:24AM   24       NATURE OF SERVICES THAT YOU WERE TO PROVIDE WAS GOING TO BE

11:24AM   25       LIMITED IN NATURE; CORRECT?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 63
                                                                               64 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5733


11:24AM    1       A.    YES.

11:24AM    2       Q.    AND IF PARTICULAR SUBSETS OF SERVICES WERE REQUIRED, THE

11:24AM    3       COMPANY WOULD CONTACT YOU AND ASK YOU TO PERFORM THOSE

11:25AM    4       SERVICES; CORRECT?

11:25AM    5       A.    YES.

11:25AM    6       Q.    AND THE COMPANY DID CONTACT YOU WITH RESPECT TO A NUMBER

11:25AM    7       OF DIFFERENT POLICIES THAT THEY ASKED YOU TO REVIEW; RIGHT?

11:25AM    8       A.    THEY HAD ME REVIEW A NUMBER OF SOP'S, YES.

11:25AM    9       Q.    AND DO YOU RECALL THAT ONE OF THE THINGS THAT THE COMPANY

11:25AM   10       WAS SEEKING ASSISTANCE WITH IN THIS TIME PERIOD WAS IMPROVING

11:25AM   11       THE PAPERWORK AND ITS POLICIES GIVEN SOME DEFICIENCIES WITH

11:25AM   12       RESPECT TO A PRIOR LAB DIRECTOR?

11:25AM   13       A.    NO.

11:25AM   14       Q.    OKAY.   BUT YOU DO RECALL THAT YOU WERE SENT A NUMBER OF

11:25AM   15       POLICIES THROUGHOUT YOUR TENURE TO REVIEW; CORRECT?

11:25AM   16       A.    YES.    BUT THAT WOULD NOT HAVE NECESSARILY HAD ANYTHING TO

11:25AM   17       DO WITH DEFICIENCIES BECAUSE A NEW LAB DIRECTOR MUST SIGN

11:25AM   18       DOCUMENT -- MUST SIGN SOP'S WITHIN A REASONABLE TIME.

11:25AM   19       Q.    OKAY.   RIGHT.

11:25AM   20             SO IF THERE WERE NEW POLICIES OR CHANGES IN POLICIES THAT

11:26AM   21       WERE PUT IN PLACE, YOU WERE THERE TO REVIEW THEM AND SIGN OFF

11:26AM   22       ON THEM; IS THAT CORRECT?

11:26AM   23       A.    YES.

11:26AM   24       Q.    AND, AND WE'LL GET TO SOME OF THOSE.

11:26AM   25             BUT YOU DID THAT, IT LOOKS LIKE, FOR HUNDREDS OF POLICIES



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 64
                                                                               65 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5734


11:26AM    1       MAYBE; RIGHT?

11:26AM    2       A.    THAT IS TRUE.

11:26AM    3       Q.    OKAY.    AND THAT WAS ON A REGULAR BASIS?      DURING YOUR

11:26AM    4       TENOR, YOU WOULD BE SENT DOCUMENTATION FOR YOU TO REVIEW AND

11:26AM    5       APPROVE; CORRECT?

11:26AM    6       A.    YES.

11:26AM    7       Q.    OKAY.    AND IF WE CAN GO TO PAGE 2 --

11:26AM    8                     THE COURT:   WHILE THAT IS BEING DRAWN UP -- PARDON

11:26AM    9       ME, MR. WADE -- LADIES AND GENTLEMEN, YOU SHOULD BE ABLE TO SEE

11:26AM   10       THE WITNESS ALSO.     IF ANYONE CANNOT SEE THE WITNESS AS SHE

11:26AM   11       TESTIFIES, PLEASE RAISE YOUR HAND.        THAT'S AN IMPORTANT PART OF

11:26AM   12       THE EVIDENCE ALSO.

11:26AM   13             I SEE NO HANDS.

11:26AM   14             I ASSUME THEN EVERYONE HAS THE OPPORTUNITY TO SEE THE

11:26AM   15       WITNESS AS SHE TESTIFIES.       ALL RIGHT.   THANK YOU.

11:27AM   16             SORRY, MR. WADE.

11:27AM   17                     MR. WADE:    SORRY, MR. BENNETT.

11:27AM   18             IF WE CAN GO TO ATTACHMENT 2, PAGE 1, BATES RANGE 809.

11:27AM   19       Q.    OKAY.    AND DO YOU SEE THIS SETS FORTH THE COMPENSATION

11:27AM   20       THAT WAS TO BE PAID IN CONNECTION WITH THE SERVICES?

11:27AM   21             DO YOU SEE THAT?

11:27AM   22       A.    YES.

11:27AM   23       Q.    AND DO YOU RECALL LAST WEEK YOU TESTIFIED THAT AT THE

11:27AM   24       OUTSET IT WAS CONTEMPLATED THAT THE ENGAGEMENT WOULD BE FOR A

11:27AM   25       COUPLE OF MONTHS?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 65
                                                                               66 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5735


11:27AM    1             DO YOU RECALL THAT?

11:27AM    2       A.    TWO TO MAYBE THREE.

11:27AM    3       Q.    OKAY.   LET'S TAKE A LOOK AT THE LANGUAGE WITHIN THIS

11:27AM    4       COMPENSATION.    IF WE CAN FOCUS ON THIS LANGUAGE HERE

11:27AM    5       (INDICATING), "PAYMENTS WILL BE MADE WITHIN 30 DAYS."

11:27AM    6             DO YOU SEE THAT?

11:27AM    7             AND THEN LET'S HIGHLIGHT THE NEXT SENTENCE AS WELL,

11:27AM    8       PLEASE, MR. BENNETT.

11:28AM    9             DO YOU SEE THERE WITHIN THE AGREEMENT IT SETS FORTH THAT

11:28AM   10       THE DURATION OF THIS AGREEMENT WILL BE THROUGH MAY 19TH, 2015?

11:28AM   11             DO YOU SEE THAT?

11:28AM   12       A.    YES.

11:28AM   13       Q.    AND THIS AGREEMENT, DO YOU RECALL, WAS SIGNED ON

11:28AM   14       NOVEMBER 19TH --

11:28AM   15       A.    YES.

11:28AM   16       Q.    -- 2014?

11:28AM   17             DO YOU RECALL THAT?

11:28AM   18       A.    YES.

11:28AM   19       Q.    OKAY.   AND SO THE AGREEMENT SETS FORTH A PERIOD OF SIX

11:28AM   20       MONTHS; CORRECT?

11:28AM   21       A.    YES.

11:28AM   22       Q.    OKAY.   AND UP HERE IT SAYS THAT AT THAT POINT WE WILL

11:28AM   23       ASSESS THIS AGREEMENT AND THE TERMS OF THE SERVICES OF THE

11:28AM   24       AGREEMENT GOING FORWARD.

11:28AM   25             DO YOU SEE THAT?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 66
                                                                               67 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5736


11:28AM    1       A.    UH-HUH.

11:28AM    2       Q.    AND THEN A DECISION WOULD BE MADE AS TO WHETHER OR NOT

11:28AM    3       THOSE SERVICES WOULD CONTINUE; CORRECT?

11:28AM    4       A.    CORRECT.

11:28AM    5       Q.    OKAY.   AND THE FACT THAT THIS -- I'LL STRIKE THAT.

11:28AM    6             LET ME GO TO THE NEXT PAGE, EXHIBIT A-2.

11:29AM    7             AND IN ADDITION TO YOUR SERVICES, THE COMPANY ALSO

11:29AM    8       RETAINED THE SERVICES OF JERRY HURST.

11:29AM    9             DO YOU SEE THAT?

11:29AM   10       A.    I SEE THAT.

11:29AM   11       Q.    AND DO YOU SEE THAT THAT SETS FORTH, IF YOU LOOK IN THE

11:29AM   12       LAST PARAGRAPH UNDER NUMBER 2, "GENERAL CONSULTATION ON STATE

11:29AM   13       AND FEDERAL (CLIA) REQUIREMENTS, COMPLIANCE, AND CLINICAL

11:29AM   14       LABORATORY OPERATIONS, OTHER SERVICES, EACH TO THE EXTENT

11:29AM   15       REQUESTED BY THE COMPANY."

11:29AM   16             DO YOU SEE THAT?

11:29AM   17       A.    I SEE THAT.

11:29AM   18       Q.    AND THAT'S A -- THAT WAS A SIX MONTH CONTRACT AS WELL;

11:29AM   19       CORRECT?

11:29AM   20       A.    IT WOULD APPEAR SO.

11:29AM   21       Q.    AND I THINK WE TALKED A LITTLE BIT ABOUT MR. HURST LAST

11:29AM   22       WEEK, BUT HE WAS A VERY EXPERIENCED LAB PERSON, WAS HE NOT?

11:30AM   23       A.    YES.

11:30AM   24       Q.    HE, HE HAD BEEN, HE HAD BEEN A LABORATORY CONSULTANT FOR

11:30AM   25       MANY YEARS.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 67
                                                                               68 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5737


11:30AM    1              DO YOU RECALL YOUR TESTIMONY RELATING TO THAT?

11:30AM    2       A.     HE HAS BEEN A LABORATORY CONSULTANT FOR SEVERAL YEARS,

11:30AM    3       YES.

11:30AM    4       Q.     AND THAT WAS AFTER HE WAS A CLIA INSPECTOR FOR THE STATE

11:30AM    5       OF CALIFORNIA; CORRECT?

11:30AM    6       A.     TECHNICALLY HE WAS NOT A CLIA INSPECTOR.       HE WAS A STATE

11:30AM    7       OF CALIFORNIA INSPECTOR.      THEY DID INSPECTIONS FOR CLIA.       HE

11:30AM    8       WAS NOT A CLIA EMPLOYEE.

11:30AM    9       Q.     FAIR POINT.

11:30AM   10              HE WORKED FOR THE STATE OF CALIFORNIA; RIGHT?

11:30AM   11       A.     YES.

11:30AM   12       Q.     AND HE DID CLIA INSPECTIONS PURSUANT TO A JOINT

11:30AM   13       ARRANGEMENT BETWEEN THE STATE AND FEDERAL GOVERNMENTS; CORRECT?

11:30AM   14       A.     CORRECT.

11:30AM   15       Q.     OKAY.   BUT THERE WERE THE FEDERAL CLIA REGULATIONS HE WAS

11:30AM   16       LOOKING AT; RIGHT?

11:30AM   17       A.     YES.

11:30AM   18       Q.     AND HE HAS A LOT OF EXPERTISE IN THAT AREA, DOES HE NOT?

11:30AM   19       A.     I BELIEVE SO.

11:30AM   20       Q.     AND I THINK YOU TESTIFIED LAST WEEK THAT HE'S A GUY WHO

11:30AM   21       WOULD FREQUENTLY CONSULT WITH A VARIETY OF COMPANIES THAT

11:31AM   22       OPERATED LABS IN THIS AREA; CORRECT?

11:31AM   23       A.     TO THE BEST OF MY KNOWLEDGE, BUT I DON'T KEEP TABS ON

11:31AM   24       EXACTLY WHO HE WORKS WITH.

11:31AM   25       Q.     OKAY.   DO YOU RECALL, FOR EXAMPLE, THAT HE HAD DONE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 68
                                                                               69 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5738


11:31AM    1       CONSULTING WORK FOR QUEST DIAGNOSTICS?

11:31AM    2       A.    NO, I DID NOT KNOW THAT.

11:31AM    3       Q.    OKAY.   DO YOU RECALL THAT HE HAD DONE CONSULTING WORK FOR,

11:31AM    4       YOU KNOW, ABOUT 50 DIFFERENT LAB COMPANIES?

11:31AM    5       A.    I WOULD HAVE NO IDEA OF THE NUMBER.        I KNOW A VARIETY

11:31AM    6       OF -- THAT HE HAS DONE WORK FOR A VARIETY OF LABS, YES.

11:31AM    7       Q.    OKAY.   AND DO YOU KNOW THAT HE ALSO HAS -- HE'S CALLED

11:31AM    8       UPON FOR HIS EXPERTISE FROM TIME TO TIME?

11:31AM    9             DO YOU KNOW THAT?

11:31AM   10       A.    YES.

11:31AM   11       Q.    AND INCLUDING HE SERVED AS AN EXPERT FOR THE UNITED STATES

11:31AM   12       DEPARTMENT OF JUSTICE.

11:31AM   13             ARE YOU AWARE OF THAT?

11:31AM   14       A.    NO.

11:31AM   15       Q.    OKAY.   ARE YOU AWARE THAT HE SERVED AS AN INDEPENDENT

11:31AM   16       EXPERT CONSULTANT FOR THE CENTER FOR MEDICARE AND MEDICAID

11:31AM   17       SERVICES?

11:32AM   18       A.    NO.

11:32AM   19       Q.    AND HE'S SOMEONE WHO YOU HAD INTERACTED WITH FREQUENTLY

11:32AM   20       WHILE YOU WERE WORKING WITH HIS COMPANY; IS THAT FAIR?

11:32AM   21       A.    RELATIVELY, YES.

11:32AM   22       Q.    AND YOU HAVE RESPECT FOR MR. HURST?

11:32AM   23       A.    YES.

11:32AM   24       Q.    AND YOU THINK HE'S A HIGHLY COMPETENT PROFESSIONAL?

11:32AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 69
                                                                               70 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5739


11:32AM    1       Q.    OKAY.    NOW, THE PART-TIME ARRANGEMENT THAT YOU HAD WITH

11:32AM    2       THE COMPANY, THAT WAS GENERALLY FOR A LIMITED PERIOD OF HOURS A

11:32AM    3       WEEK; CORRECT?

11:32AM    4       A.    YES.

11:32AM    5       Q.    AND I THINK WE TALKED ABOUT LAST WEEK THAT YOU WERE -- IT

11:32AM    6       WAS UNDERSTOOD THAT YOU WEREN'T GOING TO BE ON SITE; CORRECT?

11:32AM    7       A.    CORRECT.

11:32AM    8       Q.    OKAY.    LET'S TAKE A LOOK AT EXHIBIT 2553, WHICH IS IN

11:32AM    9       EVIDENCE.

11:32AM   10             MAY I PUBLISH, YOUR HONOR?

11:32AM   11                     THE COURT:   YES.

11:32AM   12                     MR. WADE:    AND IF WE CAN GO TO PAGE 4 OF THE

11:33AM   13       EXHIBIT.     LET'S BLOW UP THE TOP THIRD OR SO.

11:33AM   14             BOY, AND THIS IS A TOUGH ONE.

11:33AM   15       Q.    DO YOU SEE THAT THIS IS A RENEWAL OF CLINICAL LABORATORY

11:33AM   16       LICENSE?     IT MIGHT BE EASIER FOR YOU TO SEE IT IN THE BOOK.

11:33AM   17       A.    YES.

11:33AM   18       Q.    AND YOU'VE SEEN THESE FORMS BEFORE; CORRECT?

11:33AM   19       A.    YES.

11:33AM   20       Q.    OKAY.    AND THIS IS ONE THAT WAS SUBMITTED ON BEHALF OF

11:33AM   21       THERANOS IN JUNE OF 2015.

11:33AM   22             DO YOU SEE THAT?

11:33AM   23             LET ME GO TO THE NEXT PAGE.      I'LL, I'LL -- IF YOU'LL --

11:33AM   24       A.    I'M NOT ACTUALLY SEEING THE DATE RIGHT NOW.

11:33AM   25       Q.    LET'S BLOW THIS UP RIGHT HERE, AND IF WE CAN HIGHLIGHT THE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 70
                                                                               71 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5740


11:34AM    1       DATE THERE (INDICATING)?

11:34AM    2       A.    OKAY.

11:34AM    3       Q.    DO YOU SEE IT SAYS -- IS THAT JUNE 12TH, MAYBE, 2015?

11:34AM    4       A.    MAYBE.

11:34AM    5       Q.    OKAY.    AND IF YOU -- BUT YOU'VE SEEN DOCUMENTS OF THIS

11:34AM    6       KIND BEFORE; CORRECT?

11:34AM    7       A.    YES.

11:34AM    8       Q.    OKAY.    AND THIS IS KIND OF A STANDARD RENEWAL FOR A

11:34AM    9       CLINICAL LABORATORY LICENSE?

11:34AM   10       A.    I BELIEVE SO.

11:34AM   11       Q.    OKAY.    AND IF WE GO JUST UP FROM THE PARAGRAPH THAT IS

11:34AM   12       BLOWN UP, IF WE GO TO THE TOP OF EXHIBIT -- PAGE 5 OF

11:34AM   13       EXHIBIT 2553.

11:34AM   14             DO YOU SEE THERE THAT YOU'RE IDENTIFIED AS ONE OF THE

11:34AM   15       LABORATORY DIRECTORS?

11:34AM   16             DO YOU SEE THAT?

11:34AM   17       A.    YES.

11:34AM   18       Q.    AND DO YOU SEE OVER ON THE RIGHT-HAND SIDE IT SAYS ONE TO

11:34AM   19       FIVE HOURS AS NEEDED?

11:34AM   20       A.    I SEE THAT.

11:34AM   21       Q.    AND DO YOU BELIEVE THAT TO BE AN ACCURATE STATEMENT OF THE

11:34AM   22       SERVICES THAT YOU WERE TO BE PROVIDING?

11:34AM   23       A.    PROBABLY.

11:34AM   24       Q.    OKAY.    AND DO YOU RECALL LAST WEEK THAT YOU, YOU HAD SAID

11:35AM   25       THAT YOU WANTED TO HAVE A ROSTER OF PERSONNEL WITHIN THE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 71
                                                                               72 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5741


11:35AM    1       LABORATORY?

11:35AM    2       A.    YES.

11:35AM    3       Q.    AND I THINK WE ESTABLISHED THAT YOU HAD TWO CONVERSATIONS

11:35AM    4       WITH MR. BALWANI.

11:35AM    5             DO YOU THINK THAT YOU ASKED FOR THAT IN THAT FIRST

11:35AM    6       CONVERSATION WITH MR. BALWANI?

11:35AM    7       A.    YES.

11:35AM    8       Q.    OKAY.

11:35AM    9       A.    YES.

11:35AM   10       Q.    AND HE, HE MUST HAVE FORGOTTEN TO SEND IT OR SOMETHING;

11:35AM   11       RIGHT?

11:35AM   12                     MR. LEACH:   OBJECTION.

11:35AM   13                     THE WITNESS:   SOMETHING.

11:35AM   14                     MR. LEACH:   OBJECTION.

11:35AM   15                     THE COURT:   IT CALLS FOR SPECULATION, I THINK.

11:35AM   16             THE ANSWER IS STRICKEN.      YOU CAN ASK ANOTHER QUESTION.

11:35AM   17                     MR. WADE:    OKAY.

11:35AM   18       Q.    IN ANY EVENT, YOU DIDN'T RECEIVE A COPY OF IT; RIGHT?

11:35AM   19       A.    CORRECT.

11:35AM   20       Q.    OKAY.    AND DID YOU EVER GO BACK TO MR. BALWANI AND ASK HIM

11:35AM   21       AGAIN FOR THAT?

11:35AM   22       A.    I DID NOT.

11:35AM   23       Q.    OKAY.    LET'S GO FORWARD TO PAGE 11 OF THIS DOCUMENT.

11:35AM   24             AND IF WE CAN JUST BLOW UP THE MIDDLE THIRD OR SO.

11:36AM   25       A.    HMM.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 72
                                                                               73 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5742


11:36AM    1       Q.    DO YOU HAVE THAT IN FRONT OF YOU, DR. SAWYER?

11:36AM    2       A.    YES, I DO.

11:36AM    3       Q.    AND THIS IS THE TYPE OF LABORATORY PERSONNEL REPORT THAT

11:36AM    4       YOU WERE SEEKING?

11:36AM    5       A.    YES.

11:36AM    6       Q.    OKAY.    AND YOU SEE IT'S FILLED OUT AND IDENTIFIES THE

11:36AM    7       DIRECTORS AT THIS TIME AND THE TESTING PERSONNEL?

11:36AM    8       A.    YEP.

11:36AM    9       Q.    OKAY.    SO THIS WAS JUST SOMETHING THAT YOU WERE HOPING TO

11:36AM   10       HAVE AT THE TIME THAT YOU JOINED THE COMPANY?

11:36AM   11       A.    YES.

11:36AM   12       Q.    OKAY.    LET'S GO TO 10562, WHICH I DON'T BELIEVE IS IN

11:37AM   13       EVIDENCE.

11:37AM   14                     THE CLERK:   IT IS.

11:37AM   15                     MR. WADE:    IT IS IN EVIDENCE?

11:37AM   16                     THE CLERK:   YES.

11:37AM   17                     MR. WADE:    CAN WE GO TO THE SECOND PAGE OF THIS.

11:37AM   18       Q.    YEAH.    I THINK THE GOVERNMENT SHOWED YOU THE LAST PAGE OF

11:37AM   19       THIS DOCUMENT LAST WEEK.

11:37AM   20             DO YOU RECALL THAT?

11:37AM   21       A.    YES.

11:37AM   22       Q.    IF WE CAN BLOW UP THE BOTTOM OF THAT PAGE THERE WITH YOUR

11:37AM   23       SIGNATURE.

11:37AM   24             THIS IS DATED NOVEMBER 19TH, 2014; RIGHT?

11:37AM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 73
                                                                               74 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5743


11:37AM    1       Q.    THAT'S THE DATE ON WHICH YOUR CONSULTING CONTRACT WAS

11:37AM    2       DATED; RIGHT?

11:37AM    3       A.    YES.

11:37AM    4       Q.    AND HERE -- DO YOU SEE THERE, THERE'S A BOX FOR WHETHER

11:37AM    5       YOU'RE GOING TO BE THE CLIA DIRECTOR?

11:37AM    6       A.    I DO.

11:37AM    7       Q.    AND YOU WERE NOT TO BE THE CLIA DIRECTOR; RIGHT?          THAT'S

11:38AM    8       WHAT THAT SAYS?

11:38AM    9       A.    CORRECT.

11:38AM   10       Q.    OKAY.   AND, AGAIN, YOU UNDERSTOOD THAT AT THE TIME, THAT

11:38AM   11       YOU WERE GOING TO BE A CO-DIRECTOR?

11:38AM   12       A.    YES.

11:38AM   13       Q.    OKAY.   LET'S GO TO 13 -- WELL, BEFORE I GO TO THE NEXT

11:38AM   14       EXHIBIT, YOU RECALL THAT THERE WAS SOME TESTIMONY ABOUT YOUR

11:38AM   15       DEPARTURE FROM THE COMPANY WHEN YOU STOPPED WORKING AT

11:38AM   16       THERANOS?

11:38AM   17       A.    YES.

11:38AM   18       Q.    AND YOU SAID SOMETHING TO THE EFFECT OF YOU WERE -- YOU

11:38AM   19       WEREN'T COMFORTABLE WITH THE CONDITIONS UNDER WHICH YOU WERE

11:38AM   20       WORKING, SO YOU WANTED TO DEPART?

11:38AM   21       A.    YES.

11:38AM   22       Q.    OKAY.   AND BETWEEN NOVEMBER 19TH, 2014, AND THE TIME

11:38AM   23       PERIOD WHERE YOU COMMUNICATED WITH MR. BALWANI, DID YOU

11:38AM   24       COMMUNICATE WITH ANYONE AT THE COMPANY ABOUT THE FACT THAT YOU

11:39AM   25       WANTED TO MAKE SOME CHANGES TO BE MORE COMFORTABLE WITH THE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 74
                                                                               75 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5744


11:39AM    1       CONDITIONS?

11:39AM    2       A.    I ATTEMPTED TO COMMUNICATE CHANGES TO SOME OF THE SOP'S I

11:39AM    3       WAS SIGNING.

11:39AM    4       Q.    OKAY.   AND WHO -- DID YOU CALL YOUR PRIMARY POINT OF

11:39AM    5       CONTACT, MR. BALWANI --

11:39AM    6       A.    NO.

11:39AM    7       Q.    -- TO COMMUNICATE THOSE?

11:39AM    8       A.    NO.

11:39AM    9       Q.    OKAY.   DO YOU KNOW WHO YOU CONTACTED TO COMMUNICATE THOSE?

11:39AM   10       A.    I CONTACTED THE WOMAN WHO HAD SENT ME THE SOP'S.

11:39AM   11       Q.    OKAY.   AND DID YOU COMMUNICATE WITH HER?

11:39AM   12       A.    YEAH.

11:39AM   13       Q.    AND DID YOU TELL HER --

11:39AM   14       A.    THROUGH EMAIL.

11:39AM   15       Q.    I'M SORRY?

11:39AM   16       A.    THROUGH EMAIL, YES.

11:39AM   17       Q.    THROUGH EMAIL.    BUT YOU DIDN'T CALL ANYONE TO HAVE A

11:39AM   18       CONVERSATION TO TRY TO CHANGE THE CONDITIONS UNDER WHICH YOU

11:39AM   19       WORKED?

11:39AM   20       A.    NO.

11:39AM   21       Q.    OKAY.   AND THE, THE -- AT YOUR DEPARTURE, I THINK YOU SAID

11:39AM   22       THAT YOU HAD A CONVERSATION WITH MR. BALWANI AND THAT HE WAS

11:39AM   23       KIND OF PUSHY.

11:39AM   24             DO YOU RECALL THAT?

11:40AM   25       A.    I RECALL SAYING THAT.     THAT IS MY RECOLLECTION, YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 75
                                                                               76 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5745


11:40AM    1       Q.    OKAY.    AND THAT IS BECAUSE YOU WERE, YOU WERE -- IT WAS

11:40AM    2       YOUR BELIEF THAT YOU WERE TRYING TO DEPART OR -- DESCRIBE FOR

11:40AM    3       US WHY YOU SAY HE WAS PUSHY.

11:40AM    4       A.    HE WAS JUST HOPING I WOULD STAY LONGER.

11:40AM    5       Q.    OH.    SO HE WANTED YOU TO STAY WITH THE COMPANY?

11:40AM    6       A.    UH-HUH.

11:40AM    7                     THE COURT:   IS THAT YES?   EXCUSE ME, IS THAT YES

11:40AM    8       DR. SAWYER?

11:40AM    9                     THE WITNESS:   YES.   SORRY.

11:40AM   10                     THE COURT:   THANK YOU.

11:40AM   11       BY MR. WADE:

11:40AM   12       Q.    YEAH, WE HAVE TO MAKE SURE OUR ANSWERS ARE AUDIBLE TO MAKE

11:40AM   13       OUR RECORD CLEAR WITH OUR COURT REPORTER.

11:40AM   14       A.    YES.

11:40AM   15       Q.    SO WHEN YOU SAY HE WAS PUSHY, HE WAS HOPING THAT YOU WERE

11:40AM   16       GOING TO STAY A LITTLE BIT LONGER; IS THAT RIGHT?

11:40AM   17       A.    YES.

11:40AM   18       Q.    OKAY.    LET'S TAKE A LOOK AT EXHIBIT 13047.

11:41AM   19             DO YOU HAVE THAT IN FRONT OF YOU?

11:41AM   20       A.    I DO.

11:41AM   21       Q.    AND DO YOU RECOGNIZE THIS TO BE AN EMAIL CHAIN WITH YOU,

11:41AM   22       MR. HURST, AND MR. BALWANI IN CONNECTION WITH THE EXPIRATION OF

11:41AM   23       YOUR CONTRACT?

11:41AM   24       A.    I DO.    BUT I DON'T KNOW THAT I'M ACTUALLY A RECIPIENT ON

11:41AM   25       THIS EMAIL CHAIN.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 76
                                                                               77 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5746


11:41AM    1       Q.    IF YOU LOOK IN THE SECOND EMAIL DOWN, DO YOU SEE THAT?

11:41AM    2       A.    YES, THERE I AM.      OKAY.

11:41AM    3                    MR. WADE:    MOVE THE ADMISSION OF 13047.

11:41AM    4                    THE WITNESS:    GOT IT.

11:41AM    5                    MR. LEACH:   NO OBJECTION, YOUR HONOR.

11:41AM    6                    THE COURT:   IT'S ADMITTED.     IT MAY BE PUBLISHED.

11:41AM    7             (DEFENDANT'S EXHIBIT 13047 WAS RECEIVED IN EVIDENCE.)

11:41AM    8       BY MR. WADE:

11:41AM    9       Q.    LET'S START BRIEFLY ON THE BOTTOM.       I'M GOING TO GO

11:41AM   10       THROUGH AND ASK YOU A COUPLE OF QUESTIONS ABOUT THAT.           OKAY?

11:41AM   11             LET'S START ON THE BOTTOM.       DO YOU SEE THIS IS AN EMAIL

11:42AM   12       FROM MR. HURST TO MR. BALWANI ON APRIL 5TH, 2015, AND THE

11:42AM   13       SUBJECT IS LYNETTE'S DIRECTOR CONTRACT.

11:42AM   14             DO YOU SEE THAT?

11:42AM   15       A.    UH-HUH.

11:42AM   16       Q.    AND IT SAYS "HI SUNNY."

11:42AM   17             AND THEN WE HAVE TO GO TO THE NEXT PAGE TO LOOK AT THE

11:42AM   18       REST OF THE EMAIL.

11:42AM   19             AND DO YOU SEE IT NOTES, "I RECENTLY TALKED WITH LYNETTE

11:42AM   20       ABOUT HER CO-DIRECTOR POSITION AND SHE WOULD LIKE TO TERMINATE

11:42AM   21       HER POSITION.    HER CURRENT CONTRACT ENDS ON MAY 19TH, 2015, BUT

11:42AM   22       SHE IS HAPPY TO EXTEND HER RESPONSIBILITIES THROUGH THE END OF

11:42AM   23       MAY IF THAT IS BETTER FOR YOU."

11:42AM   24             DO YOU SEE THAT?

11:42AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 77
                                                                               78 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5747


11:42AM    1       Q.    OKAY.    AND THAT WAS MR. HURST GIVING MR. BALWANI NOTICE

11:42AM    2       THAT AT THE END OF THAT SIX MONTH CONTRACT YOU WERE GOING TO,

11:42AM    3       YOU WERE GOING TO STOP WORKING WITH THERANOS; RIGHT?

11:42AM    4       A.    YEAH, I WAS NOT GOING TO RENEW THE CONTRACT.

11:42AM    5       Q.    RIGHT.    AND THE CONTRACT ACTUALLY SPECIFICALLY

11:42AM    6       CONTEMPLATED THAT.     IT SAYS LET'S LOOK AFTER SIX MONTHS AND SEE

11:43AM    7       WHAT HAPPENS; RIGHT?

11:43AM    8       A.    UH-HUH.

11:43AM    9       Q.    IS THAT A YES?

11:43AM   10       A.    YES, IT DID.

11:43AM   11       Q.    OKAY.    BUT YOU KINDLY AGREED TO STAY UNTIL THE END OF MAY

11:43AM   12       IF THAT WOULD HELP FACILITATE THE TRANSITION; RIGHT?

11:43AM   13       A.    YES, BECAUSE THE MIDDLE OF THE MONTH IS KIND OF AN ODD

11:43AM   14       TIME IN GENERAL TO HIRE PEOPLE LIKE DIRECTORS.

11:43AM   15       Q.    UNDERSTOOD.    LET'S WORK OUR WAY UP THE CHAIN AND GO TO

11:43AM   16       MR. BALWANI'S RESPONSE.

11:43AM   17             DO YOU SEE HE RESPONDS TO YOU BOTH AND NOTES THAT THE "END

11:43AM   18       OF JUNE WOULD BE IDEAL FOR US BUT IF THIS IS NOT A POSSIBILITY

11:43AM   19       THEN WE WILL WORK WITH END OF MAY TIMELINE."

11:43AM   20             DO YOU SEE THAT?

11:43AM   21       A.    YES.

11:43AM   22       Q.    AND HE THANKS YOU BOTH FOR YOUR EFFORTS.

11:43AM   23             DO YOU SEE THAT?

11:43AM   24       A.    YES.

11:43AM   25       Q.    OKAY.    SO HE WAS JUST SAYING HERE HE WOULD LIKE YOU TO



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 78
                                                                               79 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5748


11:44AM    1       STAY, BUT IF NOT, NO BIG DEAL?

11:44AM    2       A.    YES.

11:44AM    3       Q.    AND YOU ACTUALLY AGREED TO STAY UNTIL THE END OF JUNE?

11:44AM    4       A.    I DID.

11:44AM    5       Q.    OKAY.    LET'S FOCUS ON SOME OF THE WORK THAT YOU DID WHILE

11:44AM    6       YOU WERE THERE, OKAY?      I WANT TO ASK YOU SOME QUESTIONS ABOUT

11:44AM    7       THAT.

11:44AM    8       A.    OKAY.

11:44AM    9       Q.    WE TALKED ABOUT HOW YOU REVIEWED SOP'S AND THE LIKE.

11:44AM   10             DO YOU RECALL THAT?

11:44AM   11       A.    YES.

11:44AM   12       Q.    AND DO YOU RECALL ABOUT A YEAR AGO THE GOVERNMENT CALLED

11:44AM   13       AND ASKED YOU, ASKED YOU SOME QUESTIONS, SOME GOVERNMENT AGENTS

11:44AM   14       WHO WORK WITH THIS TEAM?

11:44AM   15       A.    YES.

11:44AM   16       Q.    OKAY.    AND DO YOU RECALL WHAT THEY ASKED YOU FOR -- AND

11:44AM   17       THEY TALKED TO YOU ABOUT THE FACT THAT YOU WERE THE

11:45AM   18       CO-LABORATORY DIRECTOR; RIGHT?

11:45AM   19       A.    YES.

11:45AM   20       Q.    AND THEY ASKED YOU SOME QUESTIONS ABOUT YOUR WORK; RIGHT?

11:45AM   21       A.    YES.

11:45AM   22       Q.    AND THEY ASKED YOU IF YOU COULD PROVIDE ANY DOCUMENTS THAT

11:45AM   23       YOU HAVE RELATING TO YOUR WORK.

11:45AM   24             DO YOU RECALL THAT?

11:45AM   25       A.    UM, I DON'T RECALL THEM ASKING SPECIFICALLY IN THAT WAY,



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 79
                                                                               80 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5749


11:45AM    1       BUT I DID PROVIDE THEM WITH DOCUMENTS.

11:45AM    2       Q.    OKAY.   WELL, AND IN SOME WAY --

11:45AM    3       A.    YEAH.

11:45AM    4       Q.    -- THERE WAS AN AGREEMENT THAT YOU WOULD FIND WHATEVER

11:45AM    5       DOCUMENTS YOU COULD LOCATE AND YOU WOULD GIVE THEM TO THE

11:45AM    6       GOVERNMENT.

11:45AM    7             DO YOU RECALL THAT?

11:45AM    8       A.    YES.

11:45AM    9       Q.    AND I THINK AT THE TIME YOU INFORMED THEM THAT YOU HAD

11:45AM   10       SWITCHED COMPUTERS OR SOMETHING AND SO YOU PROBABLY DIDN'T HAVE

11:45AM   11       ALL OF THE DOCUMENTS THAT YOU HAD WORKED WITH.

11:45AM   12             DO YOU RECALL THAT?

11:45AM   13       A.    I DON'T KNOW THAT I TOLD THEM THAT AT THE TIME.         I HAVE

11:45AM   14       TOLD THEM THAT SINCE.

11:45AM   15       Q.    OKAY.   BUT IN ANY EVENT --

11:45AM   16       A.    YEAH.

11:45AM   17       Q.    -- YOU RECOGNIZE THAT BECAUSE OF COMPUTER CHANGES AND THE

11:45AM   18       LIKE, YOU MAY NOT HAVE EVERYTHING THAT YOU LOOKED AT?

11:45AM   19       A.    CORRECT.

11:45AM   20       Q.    OKAY.   AND THE WAY THAT YOU WERE ABLE TO IDENTIFY

11:46AM   21       PARTICULAR DOCUMENTS THAT YOU COULD PROVIDE TO THEM WAS, WAS IT

11:46AM   22       DOCUMENTS THAT WERE BASED IN THE CLOUD THAT YOU HAD SIGNED

11:46AM   23       ELECTRONICALLY --

11:46AM   24       A.    YES.

11:46AM   25       Q.    -- YOU WERE ABLE TO PULL DOWN?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 80
                                                                               81 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5750


11:46AM    1       A.    YES.

11:46AM    2       Q.    OKAY.   AND SO IF YOU HAD -- WHATEVER YOU STILL HAD ACCESS

11:46AM    3       TO FOR THOSE PURPOSES, YOU WERE ABLE TO GIVE THEM, BUT I THINK

11:46AM    4       YOU SAID YOU COULDN'T GUARANTEE THAT THERE WAS -- THIS WAS

11:46AM    5       EVERYTHING BECAUSE YOU HAD CHANGED COMPUTERS A COUPLE OF TIMES?

11:46AM    6       A.    YES.

11:46AM    7       Q.    OKAY.   BUT IN ANY EVENT, YOU WERE, YOU WERE ABLE TO FIND

11:46AM    8       SOME OF THE SOP'S THAT YOU LOOKED AT; RIGHT?

11:46AM    9       A.    CORRECT.

11:46AM   10       Q.    OKAY.   LET'S -- AND DO YOU RECALL THAT YOU KIND OF

11:46AM   11       PROVIDED THEM IN GROUPS TO THE GOVERNMENT?

11:46AM   12       A.    YES.

11:46AM   13       Q.    OKAY.   LET'S TAKE A LOOK AT ONE OF THOSE GROUPS.

11:46AM   14             TAKE A LOOK AT EXHIBIT 1366 -- I'M SORRY, 13655.

11:47AM   15             AND DO YOU HAVE THAT IN FRONT OF YOU --

11:47AM   16       A.    UH-HUH, YES, I DO.

11:47AM   17       Q.    -- DR. SAWYER?

11:47AM   18       A.    YES, I DO.

11:47AM   19       Q.    AND DO YOU RECOGNIZE THIS TO BE ONE OF THOSE GROUPS OF

11:47AM   20       SOP'S THAT YOU REVIEWED AT THE TIME?

11:47AM   21       A.    NOT SPECIFICALLY, BUT IT PROBABLY -- IT LOOKS LIKE IT

11:47AM   22       COULD BE, YES.

11:47AM   23       Q.    AND DO YOU SEE THE BATES LABEL ON THE BOTTOM RIGHT-HAND

11:47AM   24       CORNER?

11:47AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 81
                                                                               82 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5751


11:47AM    1       Q.    OKAY.    AND THESE ARE DOCUMENTS THAT YOU SIGNED, CORRECT,

11:47AM    2       ELECTRONICALLY?

11:47AM    3       A.    YES.

11:47AM    4       Q.    OKAY.

11:47AM    5             MOVE THE ADMISSION OF 13655.

11:47AM    6                     MR. LEACH:   NO OBJECTION.

11:47AM    7                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

11:48AM    8             (DEFENDANT'S EXHIBIT 13655 WAS RECEIVED IN EVIDENCE.)

11:48AM    9       BY MR. WADE:

11:48AM   10       Q.    AND THIS PARTICULAR DOCUMENT, THIS HAPPENS TO BE THE FIRST

11:48AM   11       PAGE IN EXHIBIT 13655, BUT THIS IS SORT OF A STANDARD TEMPLATE

11:48AM   12       OF A POLICY OR PROCEDURE THAT YOU WERE ASKED TO REVIEW; IS THAT

11:48AM   13       RIGHT?

11:48AM   14       A.    YES.

11:48AM   15       Q.    OKAY.    I WANT TO ASK YOU JUST A COUPLE OF QUESTIONS ABOUT

11:48AM   16       THIS.

11:48AM   17             IF I COULD BRING YOU TO THE PAGE BATES LABEL ENDING 558 IN

11:48AM   18       THE BOTTOM RIGHT-HAND CORNER.

11:48AM   19       A.    YES.

11:48AM   20       Q.    DO YOU SEE THAT?

11:48AM   21       A.    YES.

11:48AM   22       Q.    AND DO YOU SEE THAT THAT IS THERANOS LIS APPLICATION USER

11:48AM   23       GUIDE?

11:48AM   24             DO YOU SEE THAT?

11:49AM   25       A.    I'M SORRY, WHAT BATES LABEL IS THIS?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 82
                                                                               83 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5752


11:49AM    1       Q.    558 IN THE BOTTOM RIGHT CORNER.

11:49AM    2       A.    I'M SORRY.    HOLD ON.   WRONG PAGE.

11:49AM    3             YES.

11:49AM    4       Q.    OKAY.   DO YOU SEE THAT?

11:49AM    5       A.    YES.

11:49AM    6       Q.    OKAY.   AND IT'S ALSO PROJECTED UP HERE.       DO YOU SEE --

11:49AM    7       A.    YEP.

11:49AM    8       Q.    SO THIS WAS A THERANOS LIS APPLICATION USER GUIDE?

11:49AM    9       A.    YES.

11:49AM   10       Q.    AND LIS STANDS FOR LABORATORY INFORMATION SYSTEMS; IS THAT

11:49AM   11       CORRECT?

11:49AM   12       A.    YES.

11:49AM   13       Q.    OKAY.   AND AM I -- IS IT CORRECT THAT THE LABORATORY

11:49AM   14       INFORMATION SYSTEM IS THE DATABASE THAT STORES ALL OF THE

11:49AM   15       LABORATORY TESTING INFORMATION AND PATIENT INFORMATION?

11:49AM   16       A.    YES.

11:49AM   17       Q.    AND QUALITY CONTROL INFORMATION?

11:50AM   18       A.    YEAH.   IT SHOULD, YES.

11:50AM   19       Q.    OKAY.   AND THIS WAS ONE OF THE POLICIES THAT YOU WERE

11:50AM   20       ASKED TO REVIEW AND SIGN?

11:50AM   21       A.    YES.

11:50AM   22       Q.    OKAY.   LET'S -- AND LET'S JUST GO TO PAGE 560 IN THE

11:50AM   23       BOTTOM RIGHT-HAND CORNER.

11:50AM   24             AND THE DEFINITIONS AND ABBREVIATIONS SECTION THERE,

11:50AM   25       SECTION 3, DO YOU SEE THAT?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 83
                                                                               84 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5753


11:50AM    1       A.    YES.

11:50AM    2       Q.    AND THIS SETS FORTH DIFFERENT SPECIFICATIONS FOR SOME OF

11:50AM    3       THE TERMS THAT ARE GOING TO BE USED IN THE POLICY AND THE

11:50AM    4       INFORMATION THAT IS CONTAINED WITHIN THE LIS; CORRECT?

11:50AM    5       A.    IT -- YEAH, IT SETS FORTH DEFINITIONS.        IT DEFINES TERMS

11:50AM    6       THAT ARE USED IN THE SOP.

11:50AM    7       Q.    OKAY.   AND WITHIN THIS APPLICATION USER GUIDE, IT ALSO

11:51AM    8       TALKS ABOUT, NOT NECESSARILY THE DEFINITION SPECIFICALLY, BUT

11:51AM    9       THE, THE USER GUIDE TALKS ABOUT HOW ONE CAN GO ABOUT USING THE

11:51AM   10       LIS AND OBTAIN INFORMATION FROM THE LIS; CORRECT?

11:51AM   11       A.    YES.

11:51AM   12       Q.    LET'S GO TO PAGE 652 AND LOOK AT 3.19.

11:51AM   13             FOR EXAMPLE, CRITICAL VALUES ARE SOMETHING THAT WAS

11:51AM   14       TRACKED WITHIN THE LIS; RIGHT?

11:51AM   15       A.    IT WOULD APPEAR SO, YES.

11:51AM   16       Q.    AND SO IN THE LIS YOU WOULD BE ABLE TO QUERY FOR THOSE

11:51AM   17       VALUES; RIGHT?

11:51AM   18       A.    I DON'T KNOW.    I HAVE NO EXPERIENCE WITH THEIR LIS.

11:51AM   19       Q.    OKAY.   BUT YOU UNDERSTAND WHAT THE POLICY IS SAYING;

11:51AM   20       RIGHT?

11:51AM   21       A.    YEAH.

11:51AM   22       Q.    AND THEN IF WE CAN GO DOWN TO 3.23, THERE'S A TEST LIST

11:52AM   23       DIRECTORY.

11:52AM   24             DO YOU SEE THAT?

11:52AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 84
                                                                               85 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5754


11:52AM    1       Q.     AND YOU UNDERSTOOD THAT TESTS AND LISTS OF PANELS WERE

11:52AM    2       SOMETHING THAT WAS ORDINARILY TRACKED WITHIN AN LIS?

11:52AM    3       A.     IT WAS APPARENTLY TRACKED WITHIN THE THERANOS LIS.

11:52AM    4       Q.     OKAY.   AND IF WE GO TO 565, AND WE BLOW UP THE MIDDLE OF

11:52AM    5       THE PAGE.

11:52AM    6              THIS SHOWS HOW YOU CAN SEARCH FOR RECORDS WITHIN THE LIS;

11:52AM    7       RIGHT?

11:52AM    8       A.     IT WOULD APPEAR SO, YES.

11:52AM    9       Q.     AND IF WE CAN GO TO 569.

11:53AM   10              DO YOU HAVE THAT PAGE UP?

11:53AM   11       A.     YES.

11:53AM   12       Q.     IF WE CAN FOCUS ON THE BOTTOM.

11:53AM   13              DO YOU SEE WHERE IT SAYS REVIEW IMAGE?         IF WE CAN -- ABOUT

11:53AM   14       THREE-QUARTERS OF THE WAY DOWN.

11:53AM   15       A.     OH, OKAY.

11:53AM   16       Q.     DO YOU SEE RIGHT HERE (INDICATING)?

11:53AM   17       A.     AH.    OKAY.

11:53AM   18       Q.     AND IT SAYS THAT THERE WAS A WAY WITHIN THE LIS THAT YOU

11:53AM   19       COULD VIEW THE NANOTAINER IMAGE?

11:53AM   20       A.     I WOULD NOT NECESSARILY INTERPRET THAT THAT'S WHAT THAT

11:53AM   21       SAYS.

11:53AM   22              IT IS TELLING YOU THAT THE NANOTAINER IMAGE NEEDS TO BE

11:53AM   23       VIEWED.      IT DOESN'T TELL ME THAT YOU CAN DO THAT WITHIN THE

11:53AM   24       LIS.

11:53AM   25       Q.     OKAY.   FAIR ENOUGH.



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 85
                                                                               86 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5755


11:53AM    1             WHAT IS A NANOTAINER?

11:53AM    2       A.    I DON'T KNOW.

11:53AM    3       Q.    OKAY.   DID YOU UNDERSTAND THAT IT WAS THE SMALL SAMPLE

11:54AM    4       VIAL --

11:54AM    5       A.    NO.

11:54AM    6       Q.    -- THAT THERANOS USED AT THE TIME?

11:54AM    7       A.    NO.

11:54AM    8       Q.    YOU DIDN'T UNDERSTAND THAT AT THE TIME?

11:54AM    9       A.    NO.

11:54AM   10       Q.    DID YOU ASK MR. BALWANI ANY QUESTIONS ABOUT THE

11:54AM   11       NANOTAINER?

11:54AM   12       A.    NO.

11:54AM   13       Q.    OKAY.   IF WE GO TO 583 AND BLOW UP THE TOP.

11:54AM   14             DO YOU SEE THAT THIS PAGE AND THE PAGE THAT FOLLOWS TALKS

11:54AM   15       ABOUT HOW YOU CAN PULL UP ALL OF THE RESULTS FOR PARTICULAR

11:54AM   16       PATIENTS OR PHYSICIANS OR PROVIDERS?

11:55AM   17       A.    YES, IT APPEARS THAT WAY.

11:55AM   18       Q.    OKAY.   IF WE CAN GO TO 585.     IF WE CAN PULL UP THE THIRD

11:55AM   19       BULLET.

11:55AM   20             AND DO YOU SEE THERE THAT THERE WAS AN OPTION WITHIN THE

11:55AM   21       LIS TO INDICATE THAT VENOUS DRAWS ONLY COULD BE IDENTIFIED AS A

11:55AM   22       PREFERENCE?

11:55AM   23       A.    I SEE THAT, YES.

11:55AM   24       Q.    AND SO DID YOU UNDERSTAND THAT IF DOCTORS DIDN'T WANT THE

11:55AM   25       MICRO-SAMPLE TAKEN, THAT THEY COULD, THEY COULD LET THE COMPANY



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 86
                                                                               87 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5756


11:55AM    1       KNOW THAT VENOUS DRAWS COULD BE USED AS A DEFAULT?

11:55AM    2       A.    I WAS NOT AWARE OF POLICY AROUND DRAWING -- THE DECISIONS

11:55AM    3       FOR DRAWING VENOUS OR CAPILLARY BLOOD.

11:56AM    4       Q.    OKAY.    AND IN ADDITION TO THIS LIS POLICY, THERE WERE

11:56AM    5       HUNDREDS OF POLICIES THAT YOU REVIEWED IN CONNECTION WITH YOUR

11:56AM    6       WORK AT THE COMPANY.

11:56AM    7             IS THAT FAIR?

11:56AM    8       A.    YEAH, PROBABLY A COUPLE HUNDRED.

11:56AM    9       Q.    AND I THINK SOMETIMES THAT WOULD INCLUDE, SOMETIMES THAT

11:56AM   10       WOULD INCLUDE ASSAY VERIFICATION INFORMATION?

11:56AM   11       A.    YES.

11:56AM   12       Q.    RIGHT?    FOR FDA CLEARED DEVICES?

11:56AM   13       A.    YES, YES.

11:56AM   14       Q.    AND DO YOU RECALL THERE WERE A COUPLE INSTANCES WHERE

11:56AM   15       THERE WERE LAB DEVELOPED TESTS THAT YOU LOOKED AT AS WELL?

11:56AM   16       A.    YES.

11:56AM   17       Q.    AND IN ADDITION TO -- AND THOSE WOULD REQUIRE VALIDATION

11:57AM   18       PLANS; RIGHT?

11:57AM   19       A.    YES.

11:57AM   20       Q.    THE -- AND IF WE CAN LOOK AT EXHIBIT 4533, WHICH IS IN

11:57AM   21       EVIDENCE.

11:57AM   22             MAY I PUBLISH, YOUR HONOR?

11:57AM   23                     THE COURT:   YES.

11:57AM   24       BY MR. WADE:

11:57AM   25       Q.    DO YOU RECALL THIS DOCUMENT?      THE GOVERNMENT ASKED YOU A



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 87
                                                                               88 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5757


11:57AM    1       FEW QUESTIONS ABOUT THIS.

11:57AM    2       A.    IS THIS 4533?

11:57AM    3       Q.    4533, CORRECT.

11:57AM    4             CAN WE GO BACK?

11:57AM    5             DO YOU RECALL THIS DOCUMENT?

11:57AM    6       A.    I CAN'T REALLY SEE IT, AND I AM NOT SEEING 4533 ON HERE --

11:57AM    7       IN HERE.

11:57AM    8       Q.    IT'S IN EVIDENCE.     I THINK THE GOVERNMENT DIDN'T -- JUST

11:58AM    9       CALLED IT UP BECAUSE IT WAS IN EVIDENCE.

11:58AM   10             MAYBE I'LL PUT IT ON YOUR SCREEN, AND IF NEED BE, I CAN

11:58AM   11       TRY TO GET YOU A HARD COPY.       OKAY?   I JUST HAVE A COUPLE OF

11:58AM   12       QUESTIONS.

11:58AM   13       A.    OKAY.   THANK YOU.

11:58AM   14       Q.    AND DO YOU RECALL THIS DOCUMENT -- IF WE LOOK AT THE CHART

11:58AM   15       ON THE BOTTOM, THIS RELATED TO TESTS THAT WERE DONE ON

11:58AM   16       THERANOS'S DEVICE?

11:58AM   17       A.    OH, RIGHT.

11:58AM   18       Q.    AND DO YOU RECALL THAT MR. LEACH ASKED YOU SOME QUESTIONS

11:58AM   19       ABOUT THIS?

11:58AM   20       A.    YES.

11:58AM   21       Q.    AND I JUST WANT TO FOCUS ON, IF WE CAN HIGHLIGHT THE

11:58AM   22       INITIAL COLUMN GOING DOWN.

11:58AM   23             DO YOU SEE THAT?

11:58AM   24       A.    YES.

11:58AM   25       Q.    OKAY.   AND JUST SO WE'RE CLEAR, NONE OF THOSE TESTS CAME



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 88
                                                                               89 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5758


11:58AM    1       INTO THE LAB WHEN YOU WERE SERVING AS THE LABORATORY DIRECTOR;

11:58AM    2       CORRECT?

11:58AM    3       A.    CORRECT.

11:58AM    4       Q.    OKAY.   AND SO ORDINARILY BEFORE A TEST COMES INTO THE LAB,

11:58AM    5       THERE'S A VALIDATION REPORT THAT NEEDS TO BE PREPARED IF IT'S

11:58AM    6       AN LDT; CORRECT?

11:58AM    7       A.    CORRECT.

11:58AM    8       Q.    AND THAT HAPPENS BEFORE YOU COULD OFFER THE TEST WITHIN A

11:59AM    9       CLIA LAB?

11:59AM   10       A.    CORRECT.

11:59AM   11       Q.    AND NONE OF THESE PARTICULAR LDT'S CAME ON BOARD WHEN YOU

11:59AM   12       WERE SERVING AS CO-LABORATORY DIRECTOR; CORRECT?

11:59AM   13       A.    CORRECT.

11:59AM   14       Q.    AND IF THE COMPANY STOPPED DOING CERTAIN LDT'S FOR

11:59AM   15       BUSINESS REASONS OF SOME KIND, THAT WOULDN'T NECESSARILY BE

11:59AM   16       SOMETHING THAT YOU WOULD NEED TO OPINE ON, WOULD IT?

11:59AM   17       A.    NO.

11:59AM   18       Q.    THE -- THERE WERE -- YOU WERE ASKED ABOUT DELEGATIONS LAST

12:00PM   19       TIME.

12:00PM   20             DO YOU RECALL THAT?

12:00PM   21       A.    I DO.

12:00PM   22       Q.    AND I BELIEVE YOU SAID THERE WAS A DELEGATION MADE, I

12:00PM   23       THINK YOU RECALLED ONE DELEGATION TO A TECHNICAL SUPERVISOR?

12:00PM   24       A.    I LOOKED AT MY NOTES AND MY INFORMATION OVER THE WEEKEND.

12:00PM   25       THERE WAS, YES, ONE DELEGATION, BUT IT WAS NOT THE TECHNICAL



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 89
                                                                               90 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5759


12:00PM    1       SUPERVISOR.    IT WAS THE QA/QC MANAGER.

12:00PM    2       Q.    OKAY.   OKAY.    SO YOU WENT AND DID SOME RESEARCH OVER THE

12:00PM    3       WEEKEND?

12:00PM    4       A.    I LOOKED AT MY NOTES, YEAH.

12:00PM    5       Q.    OKAY.   DID THE GOVERNMENT ASK YOU FOR A COPY OF YOUR

12:00PM    6       NOTES, BY ANY CHANCE, WHEN THEY TALKED TO YOU?

12:00PM    7       A.    NO.

12:00PM    8       Q.    AND IT WAS A QA/QC SUPERVISOR.

12:00PM    9             WAS THAT A MR. GEE, LANGLY GEE?

12:00PM   10       A.    I THINK SO, YEAH.     IT WAS ACTUALLY A MANAGER, NOT A

12:01PM   11       SUPERVISOR.

12:01PM   12       Q.    OKAY.   DO YOU RECALL IT BEING MR. GEE, LANGLY GEE?

12:01PM   13       A.    YES.

12:01PM   14       Q.    OKAY.   AND THE QA/QC SUPERVISOR IS THE PERSON WHO IS

12:01PM   15       RESPONSIBLE FOR DOING ALL OF THE QUALITY CONTROL WORK WITHIN

12:01PM   16       THE LAB; RIGHT?

12:01PM   17       A.    OR REVIEWING IT.     NOT NECESSARILY DOING IT, BUT REVIEWING

12:01PM   18       IT AND ANALYZING IT.

12:01PM   19       Q.    AND YOU RECALL THAT YOU REVIEWED A FORMAL WRITTEN

12:01PM   20       DELEGATION FOR HIM THAT WAS SENT TO YOU AT SOME POINT?

12:01PM   21       A.    YES.

12:01PM   22       Q.    OKAY.   AND THAT WASN'T NECESSARILY ONE OF THE MATERIALS

12:01PM   23       THAT EXISTED WITHIN YOUR COMPUTER GIVEN --

12:01PM   24       A.    YES, IT WAS.

12:01PM   25       Q.    OH, IT WAS?



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 90
                                                                               91 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5760


12:01PM    1       A.    YES.

12:01PM    2       Q.    AND SO YOU SIGNED THAT DELEGATION FOR MR. GEE SO HE COULD

12:01PM    3       DO THAT WORK?

12:01PM    4       A.    YES.

12:01PM    5       Q.    AND YOU DON'T RECALL AS YOU SIT HERE TODAY WHETHER YOU SAW

12:02PM    6       ANY OTHER DELEGATIONS?

12:02PM    7       A.    I DO NOT BELIEVE THAT I DID.

12:02PM    8       Q.    OKAY.    AND DO YOU RECALL WHETHER THERE WERE ANY

12:02PM    9       DELEGATIONS THAT WERE IN PLACE AT THE TIME THAT YOU CAME IN?

12:02PM   10       A.    I DID NOT SEE ANY.

12:02PM   11       Q.    OKAY.    SO THERE MAY HAVE BEEN DELEGATIONS, YOU JUST DIDN'T

12:02PM   12       SEE ANY?

12:02PM   13       A.    CORRECT.

12:02PM   14       Q.    THE -- I WANT TO ASK YOU ABOUT ONE MORE SOP.

12:02PM   15       A.    OKAY.

12:02PM   16                     MR. WADE:    MAY I APPROACH, YOUR HONOR?

12:03PM   17                     THE COURT:   YES.

12:03PM   18       BY MR. WADE:

12:03PM   19       Q.    (HANDING.)

12:03PM   20       A.    THANK YOU.

12:03PM   21       Q.    I'M HANDING YOU WHAT IS MARKED AS EXHIBIT 5400.         AND YOU

12:03PM   22       RECOGNIZE -- THIS IS A POLICY RELATING TO FINGERSTICK

12:03PM   23       COLLECTION DATED 11-17-2015.

12:03PM   24             DO YOU SEE THAT?

12:03PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 91
                                                                               92 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5761


12:03PM    1       Q.    AND IF YOU LOOK AT THE LAST PAGE UNDER THE REVISION

12:03PM    2       HISTORY --

12:03PM    3       A.    OKAY.

12:03PM    4       Q.    -- DO YOU SEE THAT OTHER VERSIONS OF THIS WERE APPROVED

12:03PM    5       DURING YOUR TENURE AS CO-LABORATORY DIRECTOR?

12:04PM    6       A.    YES.

12:04PM    7                     MR. WADE:    MOVE THE ADMISSION OF 5400.

12:04PM    8                     MR. LEACH:   FOUNDATION.

12:04PM    9                     THE COURT:   CAN YOU ASK A FEW MORE QUESTIONS

12:04PM   10       REGARDING FOUNDATION?

12:04PM   11                     MR. WADE:    SURE.

12:04PM   12       Q.    DO YOU RECALL REVIEWING THE FINGERSTICK COLLECTION SOP?

12:04PM   13       A.    ONCE.

12:04PM   14       Q.    OKAY.    AND YOU UNDERSTAND THAT WITHIN THE LAB SOME

12:04PM   15       VERSIONS -- SOMETIMES VERSIONS ARE UPDATED AND THEY CHANGE OVER

12:04PM   16       TIME?

12:04PM   17       A.    YES.

12:04PM   18       Q.    OKAY.    AND THIS ISN'T THE PRECISE VERSION THAT YOU SAW;

12:04PM   19       CORRECT?

12:04PM   20       A.    CORRECT.

12:04PM   21       Q.    OKAY.    I'D LIKE TO ASK SOME QUESTIONS ABOUT HOW THIS MAY

12:04PM   22       HAVE DIFFERED FROM YOUR VERSION IF YOU RECALL.

12:04PM   23             AND I WOULD OFFER 5400.

12:04PM   24                     MR. LEACH:   SAME OBJECTION, YOUR HONOR.

12:04PM   25                     THE COURT:   ARE YOU GOING TO CONTINUE A LITTLE BIT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 92
                                                                               93 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5762


12:04PM    1       MORE FOUNDATION ABOUT HOW SHE KNOWS THIS?

12:04PM    2                    MR. WADE:   SURE.

12:04PM    3       Q.    AS PART OF THE REVIEW OF POLICIES, YOU WERE -- YOU WOULD

12:05PM    4       BE SENT DIFFERENT PAPERS THROUGH DOCUSIGN?

12:05PM    5             DO YOU RECALL THAT?

12:05PM    6       A.    YES.

12:05PM    7       Q.    AND I THINK YOU JUST TESTIFIED A FEW MINUTES AGO THAT

12:05PM    8       BECAUSE OF THE COMPUTER CHANGE, YOU DIDN'T NECESSARILY HAVE ALL

12:05PM    9       OF THE POLICIES IN YOUR POSSESSION.

12:05PM   10       A.    YES, THAT'S TRUE.

12:05PM   11       Q.    AND DO YOU RECALL THAT WHEN YOU MET WITH THE GOVERNMENT,

12:05PM   12       YOU MENTIONED TO THEM HOW YOU HAD LOOKED AT SOME OF -- A

12:05PM   13       FINGERSTICK SOP?

12:05PM   14       A.    YES.

12:05PM   15       Q.    AND, AND DO YOU RECALL THAT THAT FINGERSTICK SOP SET FORTH

12:05PM   16       THE SPECIFIC METHODS BY WHICH THERANOS WOULD GO ABOUT

12:05PM   17       COLLECTING FINGERSTICK SAMPLES?

12:05PM   18       A.    YES.

12:05PM   19       Q.    AND THEY HAD, THEY HAD A SPECIFIC PROCESS IN PLACE; RIGHT?

12:05PM   20       A.    YES.

12:05PM   21       Q.    AND THEY -- YOU HAD SIGNED A COUPLE OF DIFFERENT VERSIONS

12:05PM   22       OF THAT?

12:05PM   23       A.    NO.    I SIGNED ONE.

12:05PM   24       Q.    JUST ONE?

12:05PM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 93
                                                                               94 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5763


12:05PM    1       Q.    OKAY.   AND THAT WAS AN UPDATE ON A PRIOR POLICY THAT WAS

12:05PM    2       PUT IN PLACE?

12:05PM    3       A.    I BELIEVE SO.

12:05PM    4       Q.    OKAY.   AND HAD YOU AT THE TIME EVER SEEN SUCH AN ELABORATE

12:06PM    5       AND SPECIFIC PROCEDURE FOR FINGERSTICK?

12:06PM    6       A.    FOR FINGERSTICKS?

12:06PM    7       Q.    YEAH.

12:06PM    8       A.    NO.

12:06PM    9       Q.    OKAY.   AND SO IS THAT PART OF THE REASON WHY IT STANDS,

12:06PM   10       STANDS OUT IN YOUR MIND?

12:06PM   11       A.    UM, NO, NOT PARTICULARLY.

12:06PM   12             IT STANDS OUT IN MY MIND BECAUSE I KNEW THAT THEY WERE

12:06PM   13       WORKING ON SOME FINGERSTICK TECHNOLOGY, AND I WAS INTERESTED IN

12:06PM   14       THAT, AND SO I RECALLED SEEING SOMETHING -- I WAS INTERESTED IN

12:06PM   15       SOMETHING THAT MIGHT RELATE TO IT, AND THAT'S WHY I RECALL

12:06PM   16       SEEING IT.

12:06PM   17       Q.    OKAY.   AND DO YOU RECALL SEEING SOME SPECIFIC PICTURES

12:06PM   18       ABOUT EXACTLY HOW BLOOD WOULD BE DRAWN AND THE LIKE?

12:06PM   19       A.    YOU KNOW, I DON'T.     I CAN'T SAY THAT THEY WEREN'T THERE,

12:06PM   20       BUT I DO NOT RECALL PICTURES IN THE VERSION THAT I SIGNED.

12:06PM   21       Q.    OKAY.   AND DO YOU RECALL THAT THERE WERE SOME PICTURES

12:07PM   22       ABOUT -- WITH THE CTN DEVICE THAT THERANOS USED?

12:07PM   23       A.    I DON'T.

12:07PM   24       Q.    OKAY.   DO YOU RECALL THAT THERE WAS A PRETTY ELABORATE

12:07PM   25       PROCESS WHERE THEY WOULD WARM THE FINGER AND NOTE SPECIFIC



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 94
                                                                               95 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5764


12:07PM    1       PLACES ON THE FINGER WHERE THEY WOULD DRAW THE SAMPLE FROM?

12:07PM    2       A.    THAT'S PRETTY STANDARD FOR FINGERSTICKS.

12:07PM    3       Q.    OKAY.

12:07PM    4       A.    ACTUALLY, I DON'T RECALL THAT.       AND I ACTUALLY DO NOT

12:07PM    5       BELIEVE THAT THERE WERE ANY PICTURES OF THE COLLECTION DEVICE

12:07PM    6       BECAUSE LOOKING -- I JUST FOUND ONE IN THIS, AND THAT IS NOT

12:07PM    7       SOMETHING THAT I HAVE EVER SEEN BEFORE.

12:07PM    8       Q.    OKAY.    AND DO YOU RECALL REFERENCES TO THERANOS'S

12:07PM    9       NANOTAINERS?

12:07PM   10       A.    POSSIBLY.    I DON'T SPECIFICALLY RECALL.

12:07PM   11       Q.    OKAY.

12:08PM   12             I'LL OFFER THE DOCUMENT.

12:08PM   13                     MR. LEACH:   SAME OBJECTION, YOUR HONOR.

12:08PM   14                     THE COURT:   I DON'T THINK THERE'S ENOUGH FOUNDATION

12:08PM   15       AS TO THIS DOCUMENT.       SHE HAS KNOWLEDGE ABOUT THIS AREA, BUT

12:08PM   16       NOT THIS DOCUMENT, SO I'LL SUSTAIN THE OBJECTION.

12:08PM   17                     MR. WADE:    RIGHT.   I UNDERSTAND.

12:08PM   18       Q.    YOUR RECOLLECTION AS YOU SIT HERE TODAY IS THAT THE

12:08PM   19       FINGERSTICK COLLECTION WOULD HAVE BEEN AN EARLIER VERSION OF

12:08PM   20       THE DOCUMENT I'VE HANDED YOU; IS THAT RIGHT?

12:08PM   21       A.    YES.

12:08PM   22       Q.    OKAY.    FAIR ENOUGH.

12:08PM   23             THE -- LET ME GO TO -- THE -- AT THE TIME THAT YOU

12:09PM   24       TRANSITIONED OUT OF SERVING AS THE CO-LABORATORY DIRECTOR, DO

12:09PM   25       YOU RECALL THAT THAT WAS COMMUNICATED TO THE COMPANY, THAT YOU



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 95
                                                                               96 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5765


12:09PM    1       WERE GOING TO BE MAKING THE TRANSITION AND FILING SOME

12:09PM    2       PAPERWORK?

12:09PM    3       A.    YES.

12:09PM    4       Q.    LET'S LOOK AT 10584.

12:10PM    5             DO YOU HAVE THAT IN FRONT OF YOU?

12:10PM    6       A.    YES.

12:10PM    7       Q.    AND IS THIS A DOCUMENT THAT RELATES TO YOUR TRANSITION --

12:10PM    8       YOUR FORMAL TRANSITION FROM A PAPERWORK STANDPOINT OUT OF

12:10PM    9       THERANOS?

12:10PM   10       A.    YES.

12:10PM   11                    MR. WADE:    OKAY.   MOVE THE ADMISSION OF 10584.

12:10PM   12                    MR. LEACH:   NO OBJECTION.

12:10PM   13                    THE COURT:   IT'S ADMITTED, AND IT MAY BE PUBLISHED.

12:10PM   14             (DEFENDANT'S EXHIBIT 10584 WAS RECEIVED IN EVIDENCE.)

12:10PM   15                    MR. WADE:    AND IF WE CAN GO JUST GO TO THE BOTTOM

12:10PM   16       EMAIL.

12:10PM   17       Q.    AND THIS IS AN EMAIL FROM MR. HURST WHERE HE JUST PROVIDES

12:10PM   18       MR. BALWANI WITH THAT REMINDER THAT YOU'RE GOING TO BE ENDING

12:10PM   19       YOUR SERVICES AS CO-DIRECTOR JUNE 30TH.

12:10PM   20             DO YOU SEE THAT?

12:10PM   21       A.    YES.

12:10PM   22       Q.    AND THIS WAS WHERE YOU AGREED TO STAY ABOUT -- WAS IT

12:10PM   23       ABOUT A MONTH AND A HALF PAST YOUR INITIAL CONTRACT?

12:11PM   24       A.    YES.

12:11PM   25       Q.    AND IT NOTES THAT YOU'LL FILE THAT NOTIFICATION WITH LFS,



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 96
                                                                               97 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5766


12:11PM    1       OR MR. HURST WILL.

12:11PM    2             DO YOU SEE THAT?

12:11PM    3       A.    I WILL, YEAH.

12:11PM    4       Q.    AND WHAT IS LFS?

12:11PM    5       A.    LABORATORY FIELD SERVICES.

12:11PM    6       Q.    AND IS THAT THE PART OF THE CALIFORNIA DEPARTMENT OF

12:11PM    7       HEALTH THAT DEALS WITH LABS?

12:11PM    8       A.    YES.

12:11PM    9       Q.    OKAY.   AND HE BASICALLY SAYS, IF YOU HAVE ANY QUESTIONS,

12:11PM   10       MR. BALWANI IS INVITED TO ASK THEM; CORRECT?

12:11PM   11       A.    YES.

12:11PM   12       Q.    AND THERE'S NO INDICATION -- THIS WAS JUST TO END THE

12:11PM   13       PORTION OF THE SERVICES RELATING TO YOUR CO-DIRECTORSHIP;

12:11PM   14       RIGHT?

12:11PM   15       A.    CORRECT.

12:11PM   16       Q.    ALL RIGHT.    AND IF WE JUST GO UP THE CHAIN.       MR. BALWANI

12:11PM   17       THANKS YOU AND SAYS, "PLEASE LET US KNOW IF ANYTHING HAS

12:12PM   18       CHANGED OR CHANGES AND LYNETTE WANTS TO CONTINUE WORKING;"

12:12PM   19       RIGHT?

12:12PM   20       A.    CORRECT.

12:12PM   21       Q.    HE WAS HAPPY TO CONTINUE TO HAVE YOUR SERVICES; RIGHT?

12:12PM   22       A.    YES.

12:12PM   23       Q.    OKAY.   AND LET'S GO UP.

12:12PM   24             YOU NOTE THAT, FOR THE RECORDS, ATTACHED IS THE FORM 193

12:12PM   25       THAT IS GOING TO BE SENT TO LABORATORY FIELD SERVICES?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 97
                                                                               98 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5767


12:12PM    1             DO YOU SEE THAT?

12:12PM    2       A.    YES.

12:12PM    3       Q.    OKAY.   AND IT'S GOING TO BE -- EVEN THOUGH YOU'RE SENDING

12:12PM    4       THIS ON JUNE 23RD, IT'S GOING TO BE EFFECTIVE -- IT'S GOING TO

12:12PM    5       BE EFFECTIVE JUNE 30TH.

12:12PM    6             DO YOU SEE THAT?

12:12PM    7       A.    YES.

12:12PM    8       Q.    AND YOU NOTE -- YOU'RE STILL LOOKING AT A BATCH OF

12:12PM    9       DOCUMENTS; RIGHT?

12:12PM   10       A.    YES.

12:12PM   11       Q.    AND SO YOU WORKED RIGHT UP UNTIL THE END?

12:12PM   12       A.    YES.

12:12PM   13       Q.    OKAY.   AND IF WE GO TO THE ATTACHMENT, THIS IS A LETTER

12:13PM   14       THAT NOTIFIES THERANOS THAT YOU'RE GOING TO BE STEPPING DOWN AS

12:13PM   15       CO-DIRECTOR; CORRECT?

12:13PM   16       A.    NO.    THAT'S ACTUALLY A LETTER SENT TO THE LABORATORY FIELD

12:13PM   17       SERVICES REGARDING THERANOS.

12:13PM   18       Q.    FAIR ENOUGH.

12:13PM   19             IS THAT THE 111 BROADWAY?      IF WE GO UP ON THE TOP.

12:13PM   20       A.    YEAH -- NO.

12:13PM   21       Q.    THERE'S AN ADDRESS MISSING THERE, BUT --

12:13PM   22       A.    YES.

12:13PM   23       Q.    -- DO YOU HAVE IT IN YOUR DOCUMENT?

12:13PM   24       A.    YES.

12:13PM   25       Q.    AND SO IT WAS ADDRESSED TO LABORATORY FIELD SERVICES?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 98
                                                                               99 of
                                                                                  of 203
                                                                                     204
                   SAWYER CROSS BY MR. WADE (RES.)                                         5768


12:13PM    1       A.    THE OVERALL MAILING WAS ADDRESSED TO LABORATORY FIELD

12:13PM    2       SERVICES.

12:13PM    3       Q.    OKAY.    AND IF WE GO TO THE NEXT PAGE --

12:13PM    4       A.    THAT'S THE FORM THAT THE LETTER WENT WITH.

12:13PM    5       Q.    OKAY.    AND IT NOTES ON THIS FORM THAT YOU WERE REMOVED AS

12:13PM    6       OF JUNE 30TH; CORRECT?

12:13PM    7       A.    RIGHT.

12:13PM    8       Q.    OKAY.    AND DO YOU RECALL THAT A LITTLE BIT LATER THERE WAS

12:13PM    9       SOME CONFUSION AS TO WHETHER THE PAPERWORK HAD BEEN PROCESSED

12:14PM   10       CORRECTLY?

12:14PM   11       A.    I DO.

12:14PM   12       Q.    AND DO YOU RECALL THAT IN CONNECTION WITH SOME MOCK AUDIT

12:14PM   13       WORK THAT MR. HURST WAS DOING, THAT THEY REALIZED THAT YOU WERE

12:14PM   14       STILL ON THE PAPERWORK?

12:14PM   15       A.    I DID NOT KNOW THAT.

12:14PM   16                     MR. LEACH:   OBJECTION.   VAGUE, FOUNDATION.

12:14PM   17                     THE COURT:   WELL, I'LL ALLOW THAT LAST ANSWER TO

12:14PM   18       REMAIN.   THE LAST ANSWER WAS THAT SHE WAS NOT AWARE OF THAT.

12:14PM   19       BY MR. WADE:

12:14PM   20       Q.    YOU WERE NOT AWARE OF THAT.       OKAY.

12:14PM   21             DO YOU RECALL BEING CONTACTED BY SOMEONE AT THE COMPANY IN

12:14PM   22       AUGUST OF 2015 TO RAISE THIS ISSUE WITH YOU?

12:14PM   23       A.    YES.

12:14PM   24       Q.    AND DO YOU RECALL WHO AT THE COMPANY CONTACTED YOU?

12:14PM   25       A.    I BELIEVE IT WAS MR. YOUNG.



                                        UNITED STATES COURT REPORTERS
               Case:
                Case 22-10312, 04/25/2023,
                     5:18-cr-00258-EJD     ID: 12702996,
                                        Document   1285 DktEntry: 36-11, Page
                                                         Filed 01/18/22  Page 100
                                                                              99 ofof203
                                                                                      204
                   SAWYER CROSS BY MR. WADE (RES.)                                      5769


12:15PM    1       Q.    DANIEL YOUNG?

12:15PM    2       A.    YEAH.

12:15PM    3       Q.    AND WERE YOU AWARE AT THE TIME THAT, AS MR. HURST'S

12:15PM    4       SERVICES CONTINUED, HE WAS DOING MOCK AUDITS TO HELP THE

12:15PM    5       COMPANY PREPARE FOR A CLIA INSPECTION?

12:15PM    6                     MR. LEACH:   OBJECTION.    ASSUMES FACTS.

12:15PM    7                     THE COURT:   WELL, OVERRULED AS TO THE FORM OF THE

12:15PM    8       QUESTION, IT WAS WHETHER SHE WAS AWARE.

12:15PM    9                     THE WITNESS:    NO, I WAS NOT AWARE.

12:15PM   10       BY MR. WADE:

12:15PM   11       Q.    YOU WEREN'T AWARE OF THAT.        OKAY.

12:15PM   12             AND SO -- WELL, LET'S GO TO EXHIBIT 13158.

12:15PM   13       A.    UH-HUH.

12:15PM   14       Q.    DO YOU ALSO RECALL THAT THERE WAS A NEED THAT AROSE TO GET

12:15PM   15       A COPY OF YOUR CLINICAL LABORATORY BIOANALYST CERTIFICATE?

12:16PM   16       A.    YES.

12:16PM   17       Q.    SO THAT THE COMPANY WOULD HAVE IT FOR ITS PAPERWORK IN

12:16PM   18       ADVANCE OF AN INSPECTION THAT THEY WERE ANTICIPATING?

12:16PM   19       A.    I DIDN'T KNOW WHETHER IT WAS IN ADVANCE OF THE INSPECTION

12:16PM   20       OR AS A RESULT OF THE INSPECTION, BUT YES.

12:16PM   21       Q.    OKAY.    FAIR ENOUGH.

12:16PM   22             AND IS EMAIL 13158 AN EMAIL THAT YOU SENT TO DANIEL YOUNG

12:16PM   23       RELATING TO THAT LICENSE?

12:16PM   24       A.    YES.

12:16PM   25       Q.    OKAY.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 100
                                                                               101 of
                                                                                   of 203
                                                                                      204
                   SAWYER CROSS BY MR. WADE (RES.)                                      5770


12:16PM    1             MOVE THE ADMISSION OF 13158.

12:16PM    2                     MR. LEACH:   NO OBJECTION, YOUR HONOR.

12:16PM    3                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:16PM    4             (DEFENDANT'S EXHIBIT 13158 WAS RECEIVED IN EVIDENCE.)

12:16PM    5       BY MR. WADE:

12:16PM    6       Q.    AND THIS IS AN EMAIL WHERE YOU SAY, "HI DANIEL,

12:16PM    7             "ATTACHED IS A SCANNED IMAGE OF MY CURRENT BIOANALYST

12:17PM    8       LICENSE."

12:17PM    9             DO YOU SEE THAT?

12:17PM   10       A.    YES.

12:17PM   11       Q.    AND I THINK YOU SAID THIS ON DIRECT TESTIMONY, BUT IS THE

12:17PM   12       REASON THAT THEY NEED THAT IS BECAUSE THAT BIOANALYST LICENSE

12:17PM   13       IS WHAT GAVE YOU THE ABILITY TO SERVE AS A LABORATORY DIRECTOR?

12:17PM   14       A.    YES.

12:17PM   15       Q.    AND SO AS PART OF THE DOCUMENTATION THAT THE COMPANY WAS

12:17PM   16       MAINTAINING, THEY WANTED TO MAKE SURE THAT THEY HAD A COPY OF

12:17PM   17       THAT IN THEIR FILES; IS THAT RIGHT?

12:17PM   18       A.    YES.

12:17PM   19       Q.    AND YOU SENT THIS TO DANIEL YOUNG.

12:17PM   20             DID DANIEL YOUNG CALL YOU TO ASK YOU FOR IT?

12:17PM   21       A.    I DON'T RECALL WHETHER IT WAS -- I DON'T BELIEVE IT WAS A

12:17PM   22       CALL, NO.

12:17PM   23       Q.    OKAY.    YOU SEE MR. HURST IS COPIED HERE?

12:17PM   24       A.    YES.

12:17PM   25       Q.    AND DO YOU KNOW WHETHER YOU HEARD ABOUT THIS FROM



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 101
                                                                               102 of
                                                                                   of 203
                                                                                      204
                   SAWYER CROSS BY MR. WADE (RES.)                                      5771


12:17PM    1       MR. HURST?

12:17PM    2       A.    I DON'T RECALL.

12:17PM    3       Q.    YOU DON'T RECALL.

12:17PM    4             BUT YOU KNEW SOMEONE IN THIS TIME PERIOD WAS ASKING FOR A

12:17PM    5       COPY OF THAT PAPERWORK?

12:17PM    6       A.    UH-HUH.

12:17PM    7       Q.    AND YOU DON'T RECALL WHETHER IT WAS IN CONNECTION WITH

12:17PM    8       AUDIT PREPARATION?

12:17PM    9       A.    NO, I DIDN'T KNOW WHETHER IT WAS IN CONNECTION WITH

12:18PM   10       PREPARATION OR WHETHER IT WAS THE RESULT OF AN AUDIT FINDING.

12:18PM   11       Q.    FAIR ENOUGH.

12:18PM   12             THERE WAS ALSO -- IN AND AROUND THE SAME TIME PERIOD,

12:18PM   13       THERE WAS A NEED TO TRY TO CLEAR UP THAT MISCOMMUNICATION TO

12:18PM   14       MAKE SURE THAT YOU WERE REMOVED FROM THE PAPERWORK?

12:18PM   15       A.    YES.

12:18PM   16       Q.    DO YOU RECALL THAT?

12:18PM   17             AND YOU WORKED COOPERATIVELY WITH THE COMPANY TO MAKE SURE

12:18PM   18       THAT THAT WAS ADDRESSED; RIGHT?

12:18PM   19       A.    OH, YES.

12:18PM   20       Q.    AND THAT WAS JUST AN ADMINISTRATIVE ISSUE; RIGHT?

12:18PM   21       A.    YES.

12:18PM   22       Q.    OKAY.

12:18PM   23             THE COURT'S INDULGENCE FOR ONE MOMENT?

12:18PM   24                     THE COURT:   YES.

12:18PM   25             (DISCUSSION AMONGST DEFENSE COUNSEL OFF THE RECORD.)



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 102
                                                                               103 of
                                                                                   of 203
                                                                                      204
                   SAWYER REDIRECT BY MR. LEACH                                         5772


12:18PM    1                     MR. WADE:    THANK YOU, DR. SAWYER.

12:18PM    2             I HAVE NO FURTHER QUESTIONS AT THIS TIME.

12:18PM    3                     THE COURT:    MR. LEACH.

12:18PM    4                     MR. LEACH:    VERY BRIEFLY, YOUR HONOR.

12:19PM    5             MAY I INQUIRE, YOUR HONOR?

12:19PM    6                     THE COURT:    YES.

12:18PM    7                                  REDIRECT EXAMINATION

12:18PM    8       BY MR. LEACH:

12:19PM    9       Q.    GOOD AFTERNOON, DR. SAWYER.        I JUST HAVE A FEW QUESTIONS.

12:19PM   10             COUNSEL DREW YOUR ATTENTION TO EXHIBIT 2553.

12:19PM   11             DO YOU HAVE THAT IN THE BINDER IN FRONT OF YOU?

12:19PM   12       A.    YES, GOT IT.

12:20PM   13       Q.    AND THIS APPEARS TO BE A LETTER DATED JUNE 12TH, 2015

12:20PM   14       ATTACHING SOME PAPERWORK?

12:20PM   15       A.    YES.

12:20PM   16       Q.    AND THE PAPERWORK INCLUDES A LIST OF LABORATORY PERSONNEL?

12:20PM   17       A.    IT DOES.

12:20PM   18       Q.    OKAY.    THIS IS WHAT YOU HAD BEEN LOOKING FOR, FOR THE PAST

12:20PM   19       FEW MONTHS IN YOUR WORK AS CO-LAB DIRECTOR?

12:20PM   20       A.    YES.

12:20PM   21       Q.    AND I JUST WANT TO BE CLEAR, YOU DON'T SIGN ANY OF THESE

12:20PM   22       LETTERS OR REPORTS IN HERE, DO YOU?

12:20PM   23       A.    I -- A LAB DIRECTOR NEEDS TO SIGN THEM.

12:20PM   24       Q.    BUT YOUR SIGNATURE IS NOT ON THESE; IS THAT CORRECT?

12:20PM   25       A.    NO.    IF THERE'S MORE THAN ONE LAB DIRECTOR, THERE DOESN'T



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 103
                                                                               104 of
                                                                                   of 203
                                                                                      204
                   SAWYER REDIRECT BY MR. LEACH                                         5773


12:20PM    1       NEED TO BE BOTH OF US.      AND, YES, MY SIGNATURE IS NOT ON IT.

12:20PM    2       Q.    BUT THERE'S NOTHING ON THE FACE OF THESE DOCUMENTS THAT

12:20PM    3       THESE EVER WENT TO YOU?

12:20PM    4       A.    CORRECT.

12:20PM    5       Q.    OKAY.   YOU WERE ALSO ASKED SOME QUESTIONS ABOUT 13047.

12:21PM    6             DO YOU HAVE THAT IN FRONT OF YOU?

12:21PM    7       A.    I WILL IN A SECOND.

12:21PM    8       Q.    AND I'M NOT GOING TO DISPLAY THIS BECAUSE I ONLY HAVE ONE

12:21PM    9       QUESTION ABOUT THIS.

12:21PM   10             IS THIS THE EMAIL WHERE MR. HURST INDICATED THAT YOU

12:21PM   11       WANTED TO TERMINATE YOUR SERVICES AS THE CO-LAB DIRECTOR?

12:21PM   12       A.    YES.

12:21PM   13       Q.    AND YOU WANTED TO TERMINATE BECAUSE YOU WEREN'T SATISFIED

12:21PM   14       WITH THE LEVEL OF INFORMATION THAT YOU WERE GETTING?

12:21PM   15       A.    YES.

12:21PM   16       Q.    AND THE DATE OF THE EMAIL IS APRIL 5TH, 2015; IS THAT

12:21PM   17       CORRECT?

12:21PM   18       A.    YES.

12:21PM   19       Q.    SO YOU COME ON AT SOME POINT IN LATE 2014, AND BY APRIL OF

12:21PM   20       2015 YOU WANT OUT?

12:21PM   21       A.    YES.

12:21PM   22       Q.    YOU WERE ASKED A NUMBER OF QUESTIONS ABOUT THE DOCUMENTS

12:21PM   23       THAT YOU OBTAINED FROM YOUR WORK AS THE CO-LAB DIRECTOR.

12:21PM   24             DO YOU RECALL THAT QUESTIONING?

12:21PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 104
                                                                               105 of
                                                                                   of 203
                                                                                      204
                   SAWYER REDIRECT BY MR. LEACH                                         5774


12:21PM    1       Q.    AND IF YOU SIGNED AN SOP OR A VERIFICATION DOCUMENT, IS

12:21PM    2       THAT SOMETHING THAT YOU ALWAYS SENT BACK TO THERANOS?

12:21PM    3       A.    YES.    WELL, I WAS SIGNING THEM VIA DOCUSIGN, SO THEN

12:21PM    4       DOCUSIGN GAVE COPIES TO -- WENT TO THERANOS, AND USUALLY I GOT

12:21PM    5       A COPY ALSO.

12:22PM    6       Q.    OKAY.   AND WAS IT YOUR EXPECTATION THAT THERANOS WOULD

12:22PM    7       HAVE EQUAL ACCESS TO THE DOCUMENTS THAT YOU SIGNED?

12:22PM    8       A.    OH, YES.

12:22PM    9       Q.    YOU DIDN'T HAVE SOME SECRET SOP THAT YOU DIDN'T SHARE WITH

12:22PM   10       THEM?

12:22PM   11       A.    NO.

12:22PM   12       Q.    YOU WERE ASKED A NUMBER OF QUESTIONS ABOUT SOMETHING

12:22PM   13       CALLED LIS.

12:22PM   14             DO YOU REMEMBER THAT?

12:22PM   15       A.    YES.

12:22PM   16       Q.    AND YOU NEVER SAW THE LIS SYSTEM, DID YOU?

12:22PM   17       A.    NO.

12:22PM   18       Q.    YOU NEVER USED THE LIS SYSTEM, DID YOU?

12:22PM   19       A.    NO.

12:22PM   20       Q.    YOU NEVER DREW A PATIENT RECORD FROM THE LIS SYSTEM?

12:22PM   21       A.    I DID NOT.

12:22PM   22       Q.    AND YOU NEVER HEARD ABOUT ANYBODY DOING THAT, DID YOU?

12:22PM   23       A.    NO, BUT I WOULDN'T REALLY EXPECT TO HEAR THAT.

12:22PM   24       Q.    OKAY.   WE SAW REFERENCE IN THE LIS SOP ABOUT SOMETHING

12:22PM   25       CALLED THE NANOTAINER.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 105
                                                                               106 of
                                                                                   of 203
                                                                                      204
                   SAWYER REDIRECT BY MR. LEACH                                         5775


12:22PM    1             AND I THINK YOU SAID YOU DIDN'T KNOW WHAT THAT WAS?

12:22PM    2       A.    YES, YES.

12:22PM    3       Q.    AND THERE WAS SOME REFERENCE TO PULLING UP RESULTS FOR

12:22PM    4       DOCTORS.

12:22PM    5             YOU NEVER DID THAT THROUGH THE LIS SYSTEM; CORRECT?

12:22PM    6       A.    NO, I DID NOT.

12:22PM    7       Q.    THERE WAS ALSO A REFERENCE IN THERE TO VENOUS DRAWS.

12:22PM    8             DO YOU REMEMBER THAT?

12:22PM    9       A.    YES.

12:22PM   10       Q.    AND DID YOU HAVE AN UNDERSTANDING AT THE TIME THAT

12:22PM   11       THERANOS WAS TESTING FROM FINGERSTICKS ON THEIR OWN DEVICES?

12:23PM   12       A.    NOT THAT THEY WERE TESTING, NO.

12:23PM   13       Q.    DID YOU HAVE AN UNDERSTANDING THAT THERANOS WAS ACTUALLY

12:23PM   14       USING FINGERSTICK BLOOD TO TEST ON MODIFIED THIRD PARTY

12:23PM   15       DEVICES?

12:23PM   16       A.    NO.

12:23PM   17       Q.    YOU SIGNED SOME SOP'S OR SOME VERIFICATION REPORTS

12:23PM   18       RELATING TO LDT'S?

12:23PM   19       A.    NO, NO.

12:23PM   20             I DID SIGN A COUPLE OF VALIDATIONS RELATING TO LDT'S.

12:23PM   21       Q.    OKAY.   AND TELL ME YOUR MEMORY OF THOSE.

12:23PM   22       A.    THEY EITHER PERTAINED TO STOOL SAMPLES AND FINDING A

12:23PM   23       COUPLE OF DIFFERENT SPECIFIC BACTERIA ASSAYS TO FIND SOME

12:23PM   24       SPECIFIC BACTERIA IN STOOL SAMPLES, OR -- A COUPLE OF DIFFERENT

12:23PM   25       BACTERIA SAMPLES, OR THEY PERTAINED TO ANTIBIOTIC



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 106
                                                                               107 of
                                                                                   of 203
                                                                                      204
                   SAWYER REDIRECT BY MR. LEACH                                         5776


12:23PM    1       SUSCEPTIBILITY TESTING OF BACTERIA.

12:23PM    2       Q.     OKAY.   SO NOTHING RELATING TO AN EDISON?

12:23PM    3       A.     CORRECT.

12:23PM    4       Q.     AND NOTHING RELATING TO DRAWING FINGERSTICK FOR USE ON A

12:24PM    5       MODIFIED SIEMENS MACHINE?

12:24PM    6       A.     DRAWING FINGERSTICK, YES.     BUT NO USE OF IT.     IT WAS

12:24PM    7       SIMPLY THE PHLEBOTOMY SOP.

12:24PM    8       Q.     AND IF -- WITHDRAWN.

12:24PM    9              YOU WERE ALSO ASKED SOME QUESTIONS ABOUT JERRY HURST.

12:24PM   10              DO YOU RECALL THAT?

12:24PM   11       A.     YES.

12:24PM   12       Q.     AND DID YOU EVER SEE JERRY HURST IN THE LAB?

12:24PM   13       A.     AT A THERANOS LAB?    NO.

12:24PM   14       Q.     THAT'S BECAUSE YOU DIDN'T PERSONALLY GO TO THE THERANOS

12:24PM   15       LAB?

12:24PM   16       A.     CORRECT.

12:24PM   17       Q.     AND DID YOU EVER CONSULT WITH MR. HURST ABOUT THE SOP'S

12:24PM   18       RELATING TO THE FDA MACHINES THAT YOU REVIEWED?

12:24PM   19       A.     NO.

12:24PM   20       Q.     FDA APPROVED MACHINES?

12:24PM   21       A.     NO.

12:24PM   22       Q.     YOU DON'T RECALL TALKING TO HIM ABOUT THOSE?

12:24PM   23       A.     I DON'T RECALL.    I DON'T THINK SO.

12:24PM   24       Q.     AT THE TIME YOU WERE A LAB DIRECTOR, OTHER THAN EXPRESSING

12:24PM   25       THE VIEW THAT YOU WANTED TO GET OUT, DID YOU EVER HAVE ANY



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 107
                                                                               108 of
                                                                                   of 203
                                                                                      204
                   SAWYER RECROSS BY MR. WADE                                           5777


12:24PM    1       SUBSEQUENT CONVERSATIONS WITH MR. HURST?

12:24PM    2       A.    NOT ABOUT THERANOS.      NOT THAT I RECALL.

12:25PM    3       Q.    OKAY.

12:25PM    4             MAY I HAVE A MOMENT, YOUR HONOR?

12:25PM    5                     THE COURT:   YES.

12:25PM    6             (DISCUSSION AMONGST GOVERNMENT COUNSEL OFF THE RECORD.)

12:25PM    7                     MR. LEACH:   I HAVE NO FURTHER QUESTIONS, YOUR HONOR.

12:25PM    8             THANK YOU, DR. SAWYER.

12:25PM    9                     THE WITNESS:   THANK YOU.

12:25PM   10                     MR. WADE:    BRIEFLY, YOUR HONOR.

12:25PM   11                                  RECROSS-EXAMINATION

12:25PM   12       BY MR. WADE:

12:25PM   13       Q.    DR. SAWYER, MR. LEACH ASKED YOU ABOUT THE EMAIL WHERE THE

12:25PM   14       COMPANY WAS INFORMED THAT YOU WERE NOT GOING TO EXTEND YOUR

12:25PM   15       CONTRACT?

12:25PM   16       A.    YES.

12:25PM   17       Q.    DO YOU RECALL THAT?

12:25PM   18             THAT WAS AN EMAIL DATED APRIL 5TH, 2015; RIGHT?

12:25PM   19       A.    YES.

12:25PM   20       Q.    AND YOUR CONTRACT WAS SET TO EXPIRE IN MID-MAY; CORRECT?

12:26PM   21       A.    YES.

12:26PM   22       Q.    AND ISN'T IT CUSTOMARY TO GIVE NOTICE IN ADVANCE SO THAT

12:26PM   23       IF THE COMPANY NEEDS TO FIND A NEW LABORATORY DIRECTOR, THEY

12:26PM   24       HAVE ENOUGH TIME TO DO THAT?

12:26PM   25       A.    THAT'S WHY WE SENT IT, OR THAT'S WHY NOTICE WAS GIVEN IN



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 108
                                                                               109 of
                                                                                   of 203
                                                                                      204
                   SAWYER RECROSS BY MR. WADE                                           5778


12:26PM    1       MAY OR APRIL, YES.

12:26PM    2       Q.    AND RIGHT.    SO YOU STARTED IN NOVEMBER AND YOU GAVE NOTICE

12:26PM    3       IN APRIL OF THE FACT THAT YOU WERE NOT INTENDING TO EXTEND THE

12:26PM    4       CONTRACT; RIGHT?

12:26PM    5       A.    YES.

12:26PM    6       Q.    AND THEN YOU MADE THE DECISION TO EXTEND IT ANOTHER

12:26PM    7       45 DAYS OR SO AT THE REQUEST OF MR. BALWANI; IS THAT RIGHT?

12:26PM    8       A.    RIGHT.   SOMETHING LIKE THAT.      ABOUT SIX WEEKS.

12:26PM    9       Q.    ABOUT A MONTH AND A HALF OR SO, UNTIL THE END OF JUNE?

12:26PM   10       A.    YES.

12:26PM   11                    MR. WADE:    I HAVE NO FURTHER QUESTIONS, YOUR HONOR.

12:26PM   12             THANK YOU, YOUR HONOR.

12:26PM   13                    THE COURT:    MR. LEACH?

12:26PM   14                    MR. LEACH:    NO, YOUR HONOR.

12:26PM   15                    THE COURT:    MAY THIS WITNESS BE EXCUSED?

12:26PM   16                    MR. LEACH:    YES.

12:26PM   17                    MR. WADE:    YES.

12:27PM   18                    THE COURT:    YOU MAY BE EXCUSED.

12:27PM   19             THE GOVERNMENT HAS ANOTHER WITNESS TO CALL?

12:27PM   20                    MR. LEACH:    WE DO, YOUR HONOR.     I NOTICE IT'S 12:26.

12:27PM   21                    THE COURT:    I THINK WE SHOULD TAKE OUR BREAK NOW.         I

12:27PM   22       SAID WE WOULD HAVE TO TAKE A BREAK AT 12:30, AND WE'LL RETURN

12:27PM   23       AT 1:00 OR 5 AFTER 1:00.         AND SO LET'S TAKE OUR BREAK NOW, AND

12:27PM   24       WE'LL COME BACK AND CALL YOUR NEXT WITNESS.

12:27PM   25                    MR. LEACH:    THANK YOU, YOUR HONOR.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 109
                                                                               110 of
                                                                                   of 203
                                                                                      204
                                                                                        5779


12:27PM    1                    THE COURT:    GREAT.   THANK YOU.

12:27PM    2             (JURY OUT AT 12:27 P.M.)

01:04PM    3             (LUNCH RECESS TAKEN AT 12:27 P.M.)

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          25



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 110
                                                                               111 of
                                                                                   of 203
                                                                                      204
                                                                                        5780


01:04PM    1                                   AFTERNOON SESSION

01:13PM    2              (JURY IN AT 1:13 P.M.)

01:13PM    3                    THE COURT:    WE'RE BACK ON THE RECORD.      OUR JURY IS

01:13PM    4       PRESENT.    ALL COUNSEL ARE PRESENT, AND MS. HOLMES IS PRESENT.

01:13PM    5              THE GOVERNMENT HAS AN ADDITIONAL WITNESS?

01:13PM    6                    MR. LEACH:    YES, YOUR HONOR.

01:13PM    7              THE UNITED STATES CALLED KINGSHUK DAS.

01:14PM    8                    THE COURT:    GOOD AFTERNOON.    IF YOU WOULD COME

01:14PM    9       FORWARD.    IF YOU COULD WALK UP HERE AND FACE OUR COURTROOM

01:14PM   10       DEPUTY WHILE YOU RAISE YOUR RIGHT HAND, SHE HAS A QUESTION FOR

01:14PM   11       YOU.

01:14PM   12              (GOVERNMENT'S WITNESS, KINGSHUK DAS, WAS SWORN.)

01:14PM   13                    THE WITNESS:    YES.

01:14PM   14                    THE CLERK:    THANK YOU.

01:14PM   15                    THE COURT:    PLEASE HAVE A SEAT HERE, SIR.

01:14PM   16              I'LL INVITE YOU TO MAKE YOURSELF COMFORTABLE.         FEEL FREE

01:14PM   17       TO ADJUSTS THE CHAIR AND THE MICROPHONE AS YOU NEED.

01:14PM   18              I'LL ENCOURAGE YOU TO SPEAK DIRECTLY INTO THE MICROPHONE.

01:14PM   19              WHEN YOU ARE COMFORTABLE, WOULD YOU PLEASE STATE YOUR NAME

01:14PM   20       AND THEN SPELL IT, PLEASE.

01:14PM   21                    THE WITNESS:    YES.   SHALL I KEEP MY MASK ON, SIR?

01:14PM   22                    THE COURT:    HAVE YOU BEEN VACCINATED, SIR?

01:14PM   23                    THE WITNESS:    YES.

01:14PM   24                    THE COURT:    YES, YOU MAY, YOU MAY TAKE IT OFF.

01:15PM   25                    THE WITNESS:    THANK YOU.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 111
                                                                               112 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5781


01:15PM    1             MY NAME IS KINGSHUK DAS.      THAT IS SPELLED K-I-N-G-S-H-U-K.

01:15PM    2       LAST NAME DAS, D-A-S.

01:15PM    3                     THE COURT:   THANK YOU.

01:15PM    4             COUNSEL.

01:15PM    5                     MR. LEACH:   THANK YOU, YOUR HONOR.

01:15PM    6                                  DIRECT EXAMINATION

01:15PM    7       BY MR. LEACH:

01:15PM    8       Q.    GOOD AFTERNOON, DR. DAS.

01:15PM    9             IN OR ABOUT DECEMBER OF 2015, WERE YOU ENGAGED TO SERVE AS

01:15PM   10       THE LABORATORY DIRECTOR OF THERANOS'S CALIFORNIA CLINICAL

01:15PM   11       LABORATORY?

01:15PM   12       A.    YES, I WAS.

01:15PM   13       Q.    OKAY.    HOW LONG DID YOU SERVE IN THAT ROLE?

01:15PM   14       A.    APPROXIMATELY TWO AND A HALF YEARS.

01:15PM   15       Q.    OKAY.    LET'S TALK A LITTLE BIT ABOUT YOUR EDUCATIONAL AND

01:15PM   16       PROFESSIONAL BACKGROUND.

01:15PM   17             DO YOU HAVE A COLLEGE DEGREE?

01:15PM   18       A.    I DO.

01:15PM   19       Q.    WHERE DID YOU GET YOUR COLLEGE DEGREE FROM?

01:15PM   20       A.    AT CASE WESTERN RESERVE UNIVERSITY.

01:15PM   21       Q.    AND WHAT WAS YOUR DEGREE IN?

01:15PM   22       A.    IT WAS A BACHELOR OF ARTS IN BIOCHEMISTRY.

01:15PM   23       Q.    AND WHEN DID YOU OBTAIN YOUR BACHELOR OF ARTS IN

01:15PM   24       BIOCHEMISTRY FROM CASE WESTERN?

01:15PM   25       A.    THAT WOULD HAVE BEEN 1996.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 112
                                                                               113 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5782


01:15PM    1       Q.    AND DO YOU HAVE A MEDICAL DEGREE?

01:16PM    2       A.    I DO.

01:16PM    3       Q.    AND IS THAT ALSO FROM CASE WESTERN RESERVE UNIVERSITY?

01:16PM    4       A.    YES.

01:16PM    5       Q.    AND WHEN DID YOU GET YOUR MEDICAL DEGREE?

01:16PM    6       A.    THAT WOULD HAVE BEEN 2002.

01:16PM    7       Q.    OKAY.    AFTER OBTAINING YOUR MEDICAL DEGREE, DID YOU DO AN

01:16PM    8       INTERNSHIP?

01:16PM    9       A.    I DID.

01:16PM   10       Q.    AND WHAT WAS YOUR INTERNSHIP IN?

01:16PM   11       A.    INTERNAL MEDICINE.

01:16PM   12       Q.    AND WHERE DID YOU PERFORM YOUR INTERNSHIP?

01:16PM   13       A.    THAT WAS AT THE UCLA WEST LOS ANGELES MEDICAL CENTER.

01:16PM   14       Q.    IS THAT IN WESTWOOD?

01:16PM   15       A.    YES, IT IS.

01:16PM   16       Q.    OKAY.    AND DID YOU PERFORM A RESIDENCY?

01:16PM   17       A.    I DID.

01:16PM   18       Q.    AND WHAT WAS YOUR RESIDENCY IN?

01:16PM   19       A.    IN CLINICAL PATHOLOGY.

01:16PM   20       Q.    WHAT IS CLINICAL PATHOLOGY?

01:16PM   21       A.    THAT IS A DISCIPLINE OF PATHOLOGY THAT SPECIALIZES IN

01:16PM   22       LABORATORY MEDICINE.

01:16PM   23       Q.    AFTER -- AND WHERE DID YOU PERFORM YOUR RESIDENCY?

01:16PM   24       A.    IT WAS BETWEEN TWO SITES.      FIRST AT WASHINGTON UNIVERSITY

01:16PM   25       IN ST. LOUIS, FOLLOWED BY THE UNIVERSITY OF SOUTHERN



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 113
                                                                               114 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5783


01:16PM    1       CALIFORNIA.

01:16PM    2       Q.    SO YOU WENT FROM UCLA TO U.S.C.?

01:16PM    3       A.    THAT IS CORRECT, SIR.

01:17PM    4       Q.    OKAY.    AND DID YOU GO BACK TO UCLA AT SOME POINT AFTER

01:17PM    5       YOUR RESIDENCY?

01:17PM    6       A.    I DID.

01:17PM    7       Q.    TELL US ABOUT THAT, PLEASE.

01:17PM    8       A.    I PURSUED A FELLOWSHIP IN MOLECULAR GENETICS AT UCLA.

01:17PM    9       Q.    AND DID YOU ALSO SERVE ON THE FACULTY AT UCLA?

01:17PM   10       A.    I DID AFTERWARD.

01:17PM   11       Q.    AND WHAT POSITIONS ON THE FACULTY DID YOU HOLD?

01:17PM   12       A.    I STARTED OFF AS AN ASSOCIATE MEDICAL DIRECTOR FOR THEIR

01:17PM   13       MOLECULAR PATHOLOGY DEPARTMENT, AND THAT WAS FOLLOWED BY A ROLE

01:17PM   14       AS DIRECTOR OF OPERATIONS OF GENETIC MEDICINE, AFTER WHICH I

01:17PM   15       WAS ASSOCIATE MEDICAL DIRECTOR OF CLINICAL LABORATORIES.

01:17PM   16       Q.    OKAY.    AND HAVE YOU SERVED IN SOMETHING CALLED UCLA

01:17PM   17       CLINICAL LABORATORIES?

01:17PM   18       A.    YES.

01:17PM   19       Q.    AND WHAT IS THAT?

01:17PM   20       A.    THAT IS THE ACADEMIC MEDICAL CENTER LABORATORY AT UCLA.

01:17PM   21       Q.    AND DID YOU HOLD A POSITION EQUIVALENT TO A LABORATORY

01:17PM   22       DIRECTOR IN THAT INSTITUTION?

01:17PM   23       A.    CORRECT.

01:17PM   24       Q.    ARE YOU LICENSED TO PRACTICE MEDICINE?

01:17PM   25       A.    YES, I AM.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 114
                                                                               115 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5784


01:17PM    1       Q.    IN WHAT STATES?

01:18PM    2       A.    IN THE STATES OF CALIFORNIA AND MINNESOTA.

01:18PM    3       Q.    AND DO YOU HOLD ANY BOARD CERTIFICATIONS?

01:18PM    4       A.    I DO.

01:18PM    5       Q.    IN WHAT?

01:18PM    6       A.    IN CLINICAL PATHOLOGY.

01:18PM    7       Q.    I WANT TO DRAW YOUR ATTENTION TO THE TIME PERIOD DECEMBER

01:18PM    8       OF 2015.    IN OR ABOUT THAT TIME PERIOD, DID YOU LEARN OF A

01:18PM    9       COMPANY CALLED THERANOS?

01:18PM   10       A.    I DID.

01:18PM   11       Q.    OKAY.    HOW DID THERANOS COME TO YOUR ATTENTION?

01:18PM   12       A.    I RESPONDED TO A JOB POSTING ON THE THERANOS WEBSITE.

01:18PM   13       Q.    AND WHAT WAS THE JOB POSTING FOR?

01:18PM   14       A.    IT WAS FOR A LABORATORY DIRECTOR OF THEIR NEWARK,

01:18PM   15       CALIFORNIA LAB.

01:18PM   16       Q.    AND DID YOU INTERVIEW FOR THAT POSITION?

01:18PM   17       A.    I DID.

01:18PM   18       Q.    AND DID YOU INTERVIEW WITH MS. HOLMES?

01:18PM   19       A.    I DID.

01:18PM   20       Q.    AND DID YOU ULTIMATELY GET THE JOB?

01:18PM   21       A.    I DID.

01:18PM   22       Q.    WHEN YOU WERE HIRED, WERE YOU ABLE TO START RIGHT AWAY IN

01:18PM   23       DECEMBER OF 2015?

01:18PM   24       A.    NOT RIGHT AWAY.

01:18PM   25       Q.    OKAY.    WHY WAS THAT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 115
                                                                               116 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5785


01:18PM    1       A.    I HAD ADDITIONAL RESPONSIBILITIES AT UCLA THAT NEEDED

01:18PM    2       ATTENDING TO.

01:18PM    3       Q.    OKAY.    AND WHEN WERE YOU ABLE TO START FULL TIME AS THE

01:19PM    4       LABORATORY DIRECTOR AT THERANOS?

01:19PM    5       A.    FULL TIME WOULD HAVE BEEN -- I FORGET THE EXACT DATE, BUT

01:19PM    6       IT WOULD HAVE BEEN A MONDAY IN MID-MARCH 2016.

01:19PM    7       Q.    OKAY.    AND IN BETWEEN MID-MARCH AND DECEMBER, DID YOU

01:19PM    8       SERVE IN A CONTRACTING ROLE FOR THERANOS AS YOU WRAPPED UP

01:19PM    9       THINGS AT UCLA?

01:19PM   10       A.    I DID.

01:19PM   11       Q.    OKAY.    I WANT TO TALK A LITTLE BIT ABOUT THE ROLE OF

01:19PM   12       LABORATORY DIRECTOR.

01:19PM   13             YOU HAD SERVED IN THAT CAPACITY BEFORE YOUR TIME AT

01:19PM   14       THERANOS; IS THAT CORRECT?

01:19PM   15       A.    CORRECT.

01:19PM   16       Q.    OKAY.    AND IN THE COURSE OF SERVING AS A LAB DIRECTOR, DID

01:19PM   17       YOU BECOME FAMILIAR WITH SOMETHING CALLED CMS?

01:19PM   18       A.    YES.

01:19PM   19       Q.    AND WHAT IS CMS?

01:19PM   20       A.    IT IS THE CENTER FOR MEDICARE AND MEDICAID SERVICES.

01:19PM   21       Q.    OKAY.    AND HOW IS CMS RELEVANT TO YOUR JOB AS A LABORATORY

01:19PM   22       DIRECTOR?

01:19PM   23       A.    THEY ADMINISTER THE CLIA AMENDMENTS AND, THEREFORE,

01:19PM   24       OVERSEE CLINICAL LABORATORIES IN THE UNITED STATES.

01:19PM   25       Q.    OKAY.    CLIA IS AN ACRONYM?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 116
                                                                               117 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5786


01:20PM    1       A.    YES.

01:20PM    2       Q.    OKAY.   AND TO YOUR KNOWLEDGE, DOES CMS CONDUCT ON-SITE

01:20PM    3       SURVEYS TO DETERMINE WHETHER ANY GIVEN LABORATORY IS MEETING

01:20PM    4       THE CONDITIONS AND STANDARDS SET FORTH IN THE FEDERAL

01:20PM    5       REGULATIONS?

01:20PM    6       A.    THAT IS MY UNDERSTANDING.

01:20PM    7       Q.    OKAY.   AND HAVE YOU PARTICIPATED IN SURVEYS LIKE THAT

01:20PM    8       BEFORE?

01:20PM    9       A.    I HAVE NOT.

01:20PM   10       Q.    OKAY.   PRIOR TO YOUR TIME AT THERANOS, HAVE YOU

01:20PM   11       PARTICIPATED IN A SURVEY SUCH AS THAT?

01:20PM   12       A.    NO.

01:20PM   13       Q.    OKAY.   DO CLIA REGULATIONS PLACE CERTAIN RESPONSIBILITIES

01:20PM   14       ON YOU WHEN SERVING AS A LABORATORY DIRECTOR?

01:20PM   15       A.    YES, THAT'S CORRECT.

01:20PM   16       Q.    OKAY.   DO THE CLIA REGULATIONS ALSO PROVIDE POSSIBLE

01:20PM   17       CONSEQUENCES FOR THE OWNERS AND OPERATORS OF LABORATORIES?

01:20PM   18       A.    THAT IS MY UNDERSTANDING.

01:20PM   19       Q.    OKAY.   DR. DAS, WE ARE HAVING SOME TECHNOLOGY ISSUES IN

01:20PM   20       THE COURTROOM TODAY, AND SO FOR THE DISPLAY OF DOCUMENTS, WE'RE

01:20PM   21       GOING TO BE DISPLAYING THEM UP ON THE WALL AND DIMMING THE

01:20PM   22       LIGHTS, AND THAT'S WHY WE HAVE A LIGHT NEAR YOU.

01:21PM   23             SO FOR CERTAIN DOCUMENTS, YOU SHOULD HAVE A COPY RIGHT IN

01:21PM   24       FRONT OF YOU IN YOUR BINDER, AND FOR OTHER ONES THAT ARE IN

01:21PM   25       EVIDENCE, WE MAY JUST BE DISPLAYING THEM.         BUT AT ANY POINT IF



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 117
                                                                               118 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5787


01:21PM    1       YOU NEED ASSISTANCE OR CAN'T SEE SOMETHING OR NEEDS GLASSES,

01:21PM    2       JUST LET ME KNOW.

01:21PM    3             BUT I WANTED TO DRAW YOUR ATTENTION TO WHAT IS IN EVIDENCE

01:21PM    4       AS DOCUMENT 7603.

01:21PM    5             PERMISSION TO DISPLAY, YOUR HONOR?

01:21PM    6                     THE COURT:   YES.   THAT'S NOT IN THE BINDER -- IT IS

01:21PM    7       IN THE BINDER?

01:21PM    8                     MR. LEACH:   YES.

01:21PM    9                     THE WITNESS:   IT IS HERE.

01:21PM   10       BY MR. LEACH:

01:21PM   11       Q.    DR. DAS, IF I COULD PLEASE DRAW YOUR ATTENTION TO PAGE 118

01:21PM   12       OF EXHIBIT 7603.

01:21PM   13             AND, MS. HOLLIMAN, IF WE COULD PLEASE HIGHLIGHT THE TOP

01:21PM   14       PORTION OF THE RIGHT COLUMN UNDERNEATH THE BOLD HEADING, THE

01:22PM   15       FIRST TWO PARAGRAPHS BENEATH THAT HEADING.

01:22PM   16             DR. DAS, I'M DRAWING YOUR ATTENTION TO PAGE 118 OF THE

01:22PM   17       TRIAL EXHIBIT.

01:22PM   18             DO YOU HAVE THAT IN FRONT OF YOU?

01:22PM   19       A.    I DO NOW.

01:22PM   20       Q.    OKAY.    ARE YOU ABLE TO SEE IT OKAY WITH THE LIGHT THERE?

01:22PM   21       A.    YES, I CAN SEE IT JUST FINE.

01:22PM   22       Q.    OKAY.    DO YOU SEE THE SECTION HEADING 493.1840,

01:22PM   23       "SUSPENSION, LIMITATION, OR REVOCATION OF ANY TYPE OF CLIA

01:22PM   24       CERTIFICATE"?

01:22PM   25             DO YOU SEE THAT HEADING?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 118
                                                                               119 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5788


01:22PM    1       A.    I DO.

01:22PM    2                     MR. WADE:    YOUR HONOR, OBJECTION FOR THE REASONS

01:22PM    3       PREVIOUSLY STATED.

01:22PM    4                     THE COURT:   WE DISCUSSED THIS.     OVERRULED.    THIS IS

01:22PM    5       IN EVIDENCE.     IT CAN BE EXAMINED.

01:22PM    6       BY MR. LEACH:

01:22PM    7       Q.    IS THIS ONE OF THE CLIA REGULATIONS, DR. DAS, THAT AFFECTS

01:23PM    8       LABORATORY DIRECTORS?

01:23PM    9       A.    YES, I BELIEVE SO.

01:23PM   10       Q.    IN PARAGRAPH A IT SAYS, "ADVERSE ACTION BASED ON ACTIONS

01:23PM   11       OF THE LABORATORY'S OWNER, OPERATOR, OR EMPLOYEES."

01:23PM   12             DO YOU SEE THAT LANGUAGE?

01:23PM   13       A.    I DO.

01:23PM   14       Q.    AND DO YOU SEE WHERE IT SAYS, "CMS MAY INITIATE ADVERSE

01:23PM   15       ACTION TO SUSPEND, LIMIT, OR REVOKE ANY CLIA CERTIFICATE IF CMS

01:23PM   16       FINDS THAT A LABORATORY'S OWNER OR OPERATOR OR ONE OF ITS

01:23PM   17       EMPLOYEES HAS --"

01:23PM   18             DO YOU SEE THAT LANGUAGE?

01:23PM   19       A.    I DO.

01:23PM   20       Q.    AND THEN IS THERE A LIST OF CERTAIN CONDUCT THAT --

01:23PM   21       FOLLOWING PARAGRAPH A IN THAT SUBSECTION?

01:23PM   22       A.    YES, THERE IS.

01:23PM   23       Q.    OKAY.    LET ME DRAW YOUR ATTENTION DOWN TO THE BOTTOM

01:23PM   24       PORTION OF THIS COLUMN.

01:23PM   25             AND IF WE CAN HIGHLIGHT PARAGRAPH 4 ALL OF THE WAY DOWN,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 119
                                                                               120 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5789


01:24PM    1       MS. HOLLIMAN.

01:24PM    2             DO YOU SEE WHERE IT SAYS IN PARAGRAPH 6, "VIOLATED OR

01:24PM    3       AIDED AND ABETTED IN THE VIOLATION OF ANY PROVISIONS OF CLIA

01:24PM    4       AND ITS IMPLEMENTING REGULATIONS"?

01:24PM    5       A.    I DO.

01:24PM    6       Q.    AND IS THAT ONE OF THE CONDITIONS WHERE CMS MAY INITIATE

01:24PM    7       ACTION TO SUSPEND, LIMIT, OR REVOKE ANY CLIA CERTIFICATE IF IT

01:24PM    8       MAKES THAT FINDING?

01:24PM    9                     MR. WADE:    SAME OBJECTION, YOUR HONOR.

01:24PM   10                     THE COURT:   OVERRULED.

01:24PM   11                     THE WITNESS:   YES, I BELIEVE SO.

01:24PM   12       BY MR. LEACH:

01:24PM   13       Q.    AND FURTHER DOWN BELOW IN PARAGRAPH 8, DO YOU SEE WHERE IT

01:24PM   14       SAYS, "WITHIN THE PRECEDING TWO-YEAR PERIOD, OWNED OR OPERATED

01:24PM   15       A LABORATORY THAT HAD ITS CLIA CERTIFICATE REVOKED."

01:25PM   16             DO YOU SEE THAT?

01:25PM   17       A.    I DO SEE THAT.

01:25PM   18       Q.    IS THAT ONE OF THE PROVISIONS RELATING TO OWNERS AND

01:25PM   19       OPERATORS OF LABORATORIES?

01:25PM   20       A.    YES, I BELIEVE SO.

01:25PM   21       Q.    IF I COULD DRAW YOUR ATTENTION NOW TO PAGE 8 -- EXCUSE ME,

01:25PM   22       PAGE 7 OF THE EXHIBIT WHICH IS IN EVIDENCE.

01:25PM   23             MS. HOLLIMAN, IF WE COULD PLEASE HIGHLIGHT THE COLUMN ON

01:25PM   24       THE FAR RIGHT STARTING WITH THE ITALICIZED WORD "OPERATOR."

01:25PM   25             DOWN A LITTLE MORE, PLEASE.       A LITTLE MORE.    THAT WILL DO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 120
                                                                               121 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5790


01:26PM    1             DR. DAS, WE'RE ON PAGE 7 OF EXHIBIT 4603, THE CLIA

01:26PM    2       REGULATIONS.

01:26PM    3             DO YOU SEE SOME DEFINITIONS LISTED OUT ON THIS PAGE?

01:26PM    4       A.    I DO.

01:26PM    5       Q.    AND DO YOU SEE A DEFINITION FOR "OPERATOR"?

01:26PM    6       A.    YES, I DO.

01:26PM    7       Q.    AND DOES THIS READ, "OPERATOR MEANS THE INDIVIDUAL OR

01:26PM    8       GROUP OF INDIVIDUALS WHO OVERSEE ALL FACETS OF THE OPERATION OF

01:26PM    9       A LABORATORY AND WHO BEAR PRIMARY RESPONSIBILITY FOR THE SAFETY

01:26PM   10       AND RELIABILITY OF THE RESULTS OF ALL SPECIMEN TESTING

01:26PM   11       PERFORMED IN THAT LABORATORY"?

01:26PM   12             DID I READ THAT DEFINITION CORRECTLY?

01:26PM   13       A.    YES.

01:26PM   14       Q.    AND FURTHER DOWN BELOW, IS THERE A DEFINITION FOR THE

01:26PM   15       "OWNER" OF A LABORATORY?

01:26PM   16       A.    YES.

01:26PM   17       Q.    AND WAS THIS PART OF THE REGULATIONS THAT YOU UNDERSTOOD

01:26PM   18       YOU WERE SUBJECT TO IN YOUR ROLE OF THE -- AS THE LABORATORY

01:27PM   19       DIRECTOR?

01:27PM   20       A.    YES, THAT'S CORRECT.

01:27PM   21       Q.    OKAY.   LET ME FOCUS --

01:27PM   22             WE CAN TAKE THAT DOWN, MS. HOLLIMAN.        THANK YOU.

01:27PM   23             LET ME FOCUS ON WHAT YOU DID UPON YOUR ARRIVAL AT THE

01:27PM   24       COMPANY.

01:27PM   25             IF WE CAN BREAK IT INTO THE TIME PERIOD WHEN YOU WERE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 121
                                                                               122 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5791


01:27PM    1       INITIALLY WORKING PART-TIME COMING UP FROM UCLA, DESCRIBE FOR

01:27PM    2       US WHAT YOU DID TO ORIENT YOURSELF WITH THE LABORATORY.

01:27PM    3       A.    I WAS COMING UP FOR ABOUT ONE DAY PER WEEK UNTIL I JOINED

01:27PM    4       FULL TIME, AND MOST OF THAT TIME WAS SPENT GETTING TO KNOW THE

01:27PM    5       PHYSICAL SPACE, THE LABORATORY, THE EMPLOYEES, THE CONSULTANTS,

01:27PM    6       AS WELL AS DEALING WITH SOME PAPERWORK FROM CMS.

01:27PM    7       Q.    WHEN YOU STARTED IN THE -- AND THIS IS LEADING UP TO YOUR

01:27PM    8       TIME PERIOD IN MARCH?

01:27PM    9       A.    THAT'S CORRECT.

01:27PM   10       Q.    AND HOW REGULARLY WERE YOU COMING UP?

01:27PM   11       A.    ONCE PER WEEK.

01:27PM   12       Q.    OKAY.

01:27PM   13       A.    ONE DAY PER WEEK.

01:27PM   14       Q.    AS YOU WERE GETTING ORIENTED WITH THE LAB, DID YOU DEVELOP

01:28PM   15       A FAMILIARITY WITH WHAT TYPE OF TESTS THERANOS WAS CURRENTLY

01:28PM   16       PERFORMING AND HAD BEEN PERFORMING IN ITS LABORATORY?

01:28PM   17       A.    YES, I DID.

01:28PM   18       Q.    OKAY.   AT THE TIME THAT YOU STARTED, WAS THERANOS

01:28PM   19       PERFORMING ANY LAB DEVELOPED TESTS?

01:28PM   20       A.    NOT TO MY KNOWLEDGE.

01:28PM   21       Q.    OKAY.   AND ARE YOU FAMILIAR WITH THE ACRONYM LDT?

01:28PM   22       A.    YES, I AM.

01:28PM   23       Q.    AND IS THAT FOR LABORATORY DEVELOPED TESTS?

01:28PM   24       A.    CORRECT.

01:28PM   25       Q.    AND WHAT DOES THAT MEAN?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 122
                                                                               123 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5792


01:28PM    1       A.    IT MEANS ANY TEST THAT IS EITHER DEVELOPED BY THE

01:28PM    2       LABORATORY OR AN FDA APPROVED METHOD THAT IS MODIFIED

01:28PM    3       GENERALLY.

01:28PM    4       Q.    SO IF YOU TAKE AN FDA APPROVED METHOD AND MAKE SOME TYPE

01:28PM    5       OF TWEAK TO IT, THAT CONVERTS IT TO A LAB DEVELOPED TEST?

01:28PM    6       A.    IT'S ANALOGOUS TO A LAB DEVELOPED TEST, YES.

01:28PM    7       Q.    AND AT THE TIME THAT YOU STARTED IN THE LAB, WAS THERANOS

01:28PM    8       PERFORMING ANY TESTS ON THERANOS MANUFACTURED ANALYZERS?

01:29PM    9       A.    NOT TO MY KNOWLEDGE.

01:29PM   10       Q.    TO YOUR KNOWLEDGE, WAS IT PERFORMING ANY TESTS ON

01:29PM   11       SOMETHING CALLED EDISON?

01:29PM   12       A.    NOT TO MY KNOWLEDGE.

01:29PM   13       Q.    WAS IT PERFORMING ANY TESTS ON SOMETHING CALLED THE

01:29PM   14       MINILAB?

01:29PM   15       A.    NOT TO MY KNOWLEDGE.

01:29PM   16       Q.    HOW ABOUT SOMETHING CALLED THE TSPU?

01:29PM   17       A.    AGAIN, NOT TO MY KNOWLEDGE.

01:29PM   18       Q.    AND TO YOUR KNOWLEDGE, WAS IT PERFORMING ANY TESTS ON

01:29PM   19       FINGERSTICK SAMPLES ON NON-FDA APPROVED MACHINES?

01:29PM   20       A.    NO, NOT TO MY KNOWLEDGE.

01:29PM   21       Q.    I'D LIKE TO DISPLAY FOR YOU WHAT IS -- WITHDRAWN.

01:29PM   22             WHEN YOU JOINED THE LAB IN SEPTEMBER OF 2015, IN THE

01:29PM   23       INTERIM PERIOD, DID YOU DEVELOP A SENSE OF THE ANNUAL VOLUME OF

01:29PM   24       TESTS THAT WERE PERFORMED IN THE CALIFORNIA LAB BEFORE YOU

01:29PM   25       JOINED?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 123
                                                                               124 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5793


01:29PM    1       A.    I BELIEVE THERE WAS AN ESTIMATE IN SOME OF THE FEDERAL

01:30PM    2       PAPERWORK.

01:30PM    3       Q.    AND WHAT WAS THAT ESTIMATE?

01:30PM    4       A.    I BELIEVE IT WAS SOMEWHERE BETWEEN 800- AND 900,000 TESTS.

01:30PM    5       Q.    AND WAS THAT ON AN ANNUAL BASIS?

01:30PM    6       A.    I BELIEVE SO.

01:30PM    7       Q.    AND AS YOU ARE BECOMING FAMILIAR WITH THERANOS AND THE

01:30PM    8       LABORATORY AS THE LABORATORY DIRECTOR IN CALIFORNIA, DID YOU

01:30PM    9       ALSO DEVELOP AN AWARENESS THAT THERANOS HAD A LAB IN ARIZONA?

01:30PM   10       A.    I WAS AWARE OF THAT.

01:30PM   11       Q.    AND WHAT WAS YOUR UNDERSTANDING?        WHAT DID YOU UNDERSTAND

01:30PM   12       ABOUT THAT LAB?

01:30PM   13       A.    MY UNDERSTANDING WAS THAT THAT LABORATORY IN SCOTTSDALE

01:30PM   14       WAS A MODERATE COMPLEXITY LABORATORY.

01:30PM   15       Q.    AND WHAT DOES THAT MEAN TO BE A MODERATE COMPLEXITY

01:30PM   16       LABORATORY?

01:30PM   17       A.    IN THIS CONTEXT IT MEANS THAT THAT TYPE OF LABORATORY RUNS

01:30PM   18       FDA APPROVED TESTING.

01:30PM   19       Q.    SO WOULD THAT LABORATORY BE RUNNING AN EDISON?

01:30PM   20       A.    I DON'T BELIEVE SO.

01:30PM   21       Q.    WOULD THAT LABORATORY BE RUNNING A FINGERSTICK TEST ON A

01:30PM   22       MODIFIED FDA APPROVED MACHINE?

01:30PM   23       A.    NO, I DON'T BELIEVE SO.

01:31PM   24       Q.    AND HOW DID THE MODERATE COMPLEXITY IN THE ARIZONA LAB

01:31PM   25       COMPARE TO THE CALIFORNIA LAB THAT YOU TOOK THE REINS OF IN THE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 124
                                                                               125 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5794


01:31PM    1       LATE 2015, EARLY 2016 TIME PERIOD?

01:31PM    2       A.    THE NEWARK, CALIFORNIA LABORATORY WAS CONSIDERED HIGH

01:31PM    3       COMPLEXITY AND COULD OFFER SUCH TESTING.

01:31PM    4       Q.    SUCH AS LDT'S?

01:31PM    5       A.    SUCH AS LDT'S, YES.

01:31PM    6       Q.    AND AS YOU'RE BECOMING THE LABORATORY DIRECTOR, DID YOU

01:31PM    7       DEVELOP A SENSE OF THE RELATIVE VOLUME OF TESTING BETWEEN THE

01:31PM    8       MODERATE COMPLEXITY LAB IN ARIZONA AND THE HIGH COMPLEXITY LAB

01:31PM    9       IN CALIFORNIA?

01:31PM   10       A.    I DID NOT HAVE A GOOD SENSE OF THE PROPORTION OF TESTING

01:31PM   11       DONE IN BOTH LABS.

01:31PM   12       Q.    AT SOME POINT DID YOU DEVELOP THAT UNDERSTANDING?

01:31PM   13       A.    I DID NOT.

01:31PM   14       Q.    OKAY.   DID YOU HAVE ANY INTERACTIONS WITH SUNNY BALWANI?

01:31PM   15       A.    YES, TO SOME EXTENT.

01:31PM   16       Q.    OKAY.   A LOT OF INTERACTIONS?      A FEW INTERACTIONS?

01:32PM   17       DESCRIBE THOSE FOR US.

01:32PM   18       A.    QUITE MINIMUM NUMBER OF INTERACTIONS.        I BELIEVE SUNNY

01:32PM   19       LEFT THE COMPANY NOT TOO LONG AFTER I JOINED.

01:32PM   20       Q.    SO SOMETIME IN THE MARCH 2016 TIME PERIOD?

01:32PM   21       A.    YEAH.   I'M NOT CLEAR ON THE EXACT DATES, BUT WE HAD VERY

01:32PM   22       LIMITED CHANCES TO INTERACT.

01:32PM   23       Q.    LET'S MOVE FORWARD IN TIME TO THE TIME PERIOD OF MARCH OF

01:32PM   24       2016.    THAT'S WHEN YOU BEGAN WORKING ON A FULL-TIME BASIS IN

01:32PM   25       THE LAB?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 125
                                                                               126 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5795


01:32PM    1       A.    THAT'S CORRECT.

01:32PM    2       Q.    AND YOU LEFT YOUR RESPONSIBILITIES IN UCLA?

01:32PM    3       A.    YES.

01:32PM    4       Q.    AND DID YOU MOVE UP TO CALIFORNIA TO WORK IN THE LAB

01:32PM    5       HERE -- MOVE UP TO THE BAY AREA TO WORK IN THE LAB?

01:32PM    6       A.    I DID.

01:32PM    7       Q.    OKAY.    AND YOU MENTIONED EARLIER PART OF YOUR

01:32PM    8       RESPONSIBILITIES INITIALLY WAS DEALING WITH PAPERWORK FROM CMS.

01:32PM    9             WHAT WERE YOU TALKING ABOUT?

01:32PM   10       A.    IT WAS RELATED TO AN AUDIT, I BELIEVE, THAT WOULD HAVE

01:32PM   11       BEEN BEFORE I JOINED, AND A STATEMENT OF DEFICIENCIES FROM THAT

01:33PM   12       AUDIT.

01:33PM   13       Q.    AND WAS A SIGNIFICANT PART OF YOUR JOB AS THE LAB DIRECTOR

01:33PM   14       REVIEWING THAT STATEMENT, DEVELOPING AN UNDERSTANDING OF IT,

01:33PM   15       AND RESPONDING TO IT?

01:33PM   16       A.    YES.    THAT WAS NEARLY THE SOLE RESPONSIBILITY THAT I HAD.

01:33PM   17       Q.    OKAY.    IN THIS EARLY MARCH 2016 TIME PERIOD, WHAT TYPES OF

01:33PM   18       DOCUMENTS DID YOU REVIEW AND GATHER IN CONNECTION WITH, WITH

01:33PM   19       RESPONDING TO THIS STATEMENT OF DEFICIENCIES?

01:33PM   20       A.    OH, THERE WERE A VARIETY OF DOCUMENTS.

01:33PM   21             DO YOU NEED SPECIFIC EXAMPLES, OR ARE YOU REFERRING TO

01:33PM   22       SPECIFIC EXAMPLES?

01:33PM   23       Q.    IF YOU COULD PUT THEM INTO BUCKETS FOR US, THAT WOULD BE

01:33PM   24       GREAT.

01:33PM   25       A.    I WOULD SAY THE MAJORITY OF MY RESPONSIBILITY IN



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 126
                                                                               127 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5796


01:33PM    1       RESPONDING TO THAT FORM, THAT STATEMENT OF DEFICIENCIES, WAS TO

01:33PM    2       PERFORM WHAT ARE CALLED PATIENT IMPACT ASSESSMENTS.

01:34PM    3             I BELIEVE THE DOCUMENTATION WAS GENERALLY SPLIT INTO ABOUT

01:34PM    4       THREE BUCKETS.

01:34PM    5       Q.    OKAY.   WHAT ARE THOSE?

01:34PM    6       A.    THE FIRST ONE WAS VALIDATION REPORTS FOR THE TESTS

01:34PM    7       PERFORMED.

01:34PM    8       Q.    WHAT WAS THE SECOND?

01:34PM    9       A.    THE SECOND ONE WAS GENERALLY QUALITY CONTROL RESULTS AND

01:34PM   10       REPORTS.

01:34PM   11       Q.    AND THE THIRD?

01:34PM   12       A.    THE THIRD WAS PATIENT TEST RESULT DISTRIBUTIONS AND

01:34PM   13       CALCULATIONS FROM THOSE.

01:34PM   14       Q.    AND DID YOU HAVE A TEAM WORKING WITH YOU IN RESPONDING TO

01:34PM   15       THIS REPORT FROM, OR STATEMENT OF DEFICIENCIES FROM CMS?

01:34PM   16       A.    YES, INDEED.

01:34PM   17       Q.    OKAY.   AND WHO WAS ON YOUR TEAM?

01:34PM   18       A.    OKAY.   IT WAS QUITE A LARGE TEAM.       I WON'T REMEMBER ALL OF

01:34PM   19       THE NAMES.    THE PEOPLE THAT I WORKED MOST CLOSELY WITH I COULD

01:34PM   20       NAME IF THAT'S OF HELP.

01:35PM   21       Q.    THAT WOULD BE HELPFUL.      THANK YOU.

01:35PM   22       A.    THE DIRECTORS THAT I WORKED WITH VERY CLOSELY WERE

01:35PM   23       DOCTORS TSCHIRHART AND HELFEND.

01:35PM   24       Q.    COULD YOU SPELL TSCHIRHART FOR US, PLEASE.

01:35PM   25       A.    YES, I HOPE I CAN.     I BELIEVE THAT'S T-S-C-H-I-R-H-A-R-T.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 127
                                                                               128 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5797


01:35PM    1       FIRST NAME IS DONALD.

01:35PM    2       Q.    AND YOU MENTIONED DR. HELFEND.

01:35PM    3       A.    YES, LISA HELFEND.

01:35PM    4       Q.    IS THAT H-E-L-F-U-N-D?

01:35PM    5       A.    H-E-L-F-E-N-D.

01:35PM    6       Q.    OKAY.   DID THEY COME ON AT AROUND THE TIME YOU CAME ON AS

01:35PM    7       LAB DIRECTOR?

01:35PM    8       A.    I BELIEVE DON JOINED THE EXACT SAME DAY I JOINED, AND LISA

01:35PM    9       WAS ALREADY THERE AS A CONTRACT DIRECTOR.

01:35PM   10       Q.    LET ME DRAW YOUR ATTENTION, PLEASE, TO WHAT HAS BEEN

01:35PM   11       MARKED FOR IDENTIFICATION AS 4621.

01:36PM   12       A.    YES.

01:36PM   13       Q.    DO YOU RECOGNIZE THIS DOCUMENT?

01:36PM   14       A.    YES, I DO.

01:36PM   15       Q.    AND WHAT IS IT?

01:36PM   16       A.    THIS APPEARS TO BE THE COVER LETTER FOR THE STATEMENT OF

01:36PM   17       DEFICIENCIES.

01:36PM   18       Q.    AND DOES THE COVER LETTER COMPRISE PAGES 1 THROUGH 4 OF

01:36PM   19       EXHIBIT 4621?

01:36PM   20       A.    YES.

01:36PM   21       Q.    AND DOES THE STATEMENT OF DEFICIENCIES BEGIN ON PAGE 5?

01:36PM   22       A.    YES.

01:36PM   23       Q.    OKAY.   LET ME DRAW YOUR ATTENTION TO THE BOTTOM OF PAGE 5.

01:36PM   24             DO YOU SEE TO THE LEFT WHERE IT SAYS FORM 6 CMS 2567?

01:36PM   25       A.    YES, I DO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 128
                                                                               129 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5798


01:36PM    1       Q.    AND DO YOU SEE A DATE IN THE UPPER RIGHT-HAND CORNER,

01:37PM    2       JANUARY 25TH, 2016?

01:37PM    3       A.    I DO.

01:37PM    4       Q.    AND TO THE LEFT DO YOU SEE A BOX THAT SAYS, FOR THE TITLE

01:37PM    5       OF THE DOCUMENT, STATEMENT OF DEFICIENCIES AND PLAN OF

01:37PM    6       CORRECTION?

01:37PM    7       A.    YES.

01:37PM    8       Q.    OKAY.   IS THIS THE FORM THAT YOU TESTIFIED YOU SPENT A

01:37PM    9       SIGNIFICANT AMOUNT OF YOUR TIME RESPONDING TO IN YOUR ROLE AS

01:37PM   10       THE LAB DIRECTOR?

01:37PM   11       A.    YES, THAT'S CORRECT.

01:37PM   12       Q.    OKAY.   HOW MANY PAGES IS THE STATEMENT OF DEFICIENCIES?

01:37PM   13       A.    IT LOOKS LIKE IN MY COPY 121.

01:37PM   14       Q.    IN YOUR ROLE AS LABORATORY DIRECTOR, WHO DID YOU REPORT

01:37PM   15       TO?

01:37PM   16       A.    I REPORTED TO MS. HOLMES.

01:37PM   17       Q.    AND IN THE COURSE OF RESPONDING TO THE FORM 2567, THE

01:38PM   18       STATEMENT OF DEFICIENCIES, DID YOU HAVE CONVERSATIONS WITH

01:38PM   19       MS. HOLMES?

01:38PM   20       A.    YES.

01:38PM   21       Q.    MORE THAN ONE?

01:38PM   22       A.    MANY CONVERSATIONS.

01:38PM   23       Q.    AND DID THOSE RELATE TO WHAT YOU WERE FIND -- OR WHAT CMS

01:38PM   24       HAD BROUGHT TO THE COMPANY'S ATTENTION, WHAT YOU WERE FINDING

01:38PM   25       AND HOW THE COMPANY WAS GOING TO RESPOND?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 129
                                                                               130 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5799


01:38PM    1       A.    YES, AMONG OTHERS.

01:38PM    2       Q.    OKAY.   DID YOU TRAVEL TO WASHINGTON, D.C. WITH MS. HOLMES

01:38PM    3       TO MEET WITH INDIVIDUALS FROM CMS?

01:38PM    4       A.    YES, I DID.

01:38PM    5       Q.    AND WAS THAT IN CONNECTION WITH RESPONDING TO THE FORM

01:38PM    6       2567?

01:38PM    7       A.    YES, IT WAS.

01:38PM    8       Q.    WE'RE GOING TO COME BACK TO 4621, BUT I'D LIKE TO BRIEFLY

01:38PM    9       DRAW YOUR ATTENTION TO EXHIBIT 5260.

01:39PM   10       A.    OKAY.

01:39PM   11       Q.    AND IF I COULD DRAW YOUR ATTENTION TO PAGE 90, IS THAT

01:39PM   12       YOUR SIGNATURE?

01:39PM   13       A.    YES.

01:39PM   14       Q.    AND IF WE CAN GO TO PAGE 2 OF THE EXHIBIT, DO YOU SEE A

01:39PM   15       DATE AT THE TOP OF MARCH 28TH, 2016?

01:39PM   16       A.    YES, I DO.

01:39PM   17       Q.    AND IS THIS A LETTER THAT YOU SENT TO CMS IN RESPONSE TO A

01:39PM   18       LETTER FROM CMS TO DR. SUNIL DHAWAN, ELIZABETH HOLMES, AND

01:39PM   19       SUNNY BALWANI?

01:39PM   20       A.    YES, I BELIEVE SO.

01:39PM   21       Q.    OKAY.   AND IS THIS LETTER IN CONNECTION WITH THE COMPANY'S

01:39PM   22       RESPONSE TO THE 2567?

01:39PM   23       A.    THAT'S CORRECT.

01:39PM   24       Q.    OKAY.   AND DID YOU HAVE MANY CONVERSATIONS WITH MS. HOLMES

01:40PM   25       BOTH ABOUT WHAT CMS BROUGHT TO THE COMPANY'S ATTENTION IN 2567



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 130
                                                                               131 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5800


01:40PM    1       AND HOW THE COMPANY WAS GOING TO RESPOND?

01:40PM    2       A.    YES, THAT'S CORRECT.

01:40PM    3       Q.    PLEASE LOOK BRIEFLY AT EXHIBIT 3144.

01:40PM    4             IS THAT YOUR -- AND I DRAW YOUR ATTENTION TO PAGE 93.

01:40PM    5       A.    YES.

01:40PM    6       Q.    IS THAT YOUR SIGNATURE?

01:40PM    7       A.    YES, THAT'S CORRECT.

01:40PM    8       Q.    OKAY.   AND IF WE CAN GO BACK TO PAGE 1, DOES THIS APPEAR

01:40PM    9       TO BE AN APRIL 1ST, 2016 LETTER FROM YOU TO THERANOS UPDATING A

01:40PM   10       RESPONSE TO A LETTER FROM CMS TO DR. SUNIL DHAWAN,

01:41PM   11       ELIZABETH HOLMES, AND SUNNY BALWANI?

01:41PM   12       A.    YES, THAT'S CORRECT, FROM THERANOS.

01:41PM   13       Q.    OKAY.   AND WE'VE JUST LOOKED AT SOME LETTERS FROM THE

01:41PM   14       MARCH AND APRIL TIME PERIOD, BUT YOU HAD -- DID YOU HAVE A

01:41PM   15       NUMBER OF CONVERSATIONS WITH MS. HOLMES ABOUT THE 2567 AND WHAT

01:41PM   16       WAS BEING REPORTED TO THE COMPANY?

01:41PM   17       A.    YES, PERIODICALLY.

01:41PM   18       Q.    OKAY.   LET ME GO -- WAS THERE SOME URGENCY IN RESPONDING

01:41PM   19       TO THE CMS 2567?

01:41PM   20       A.    YES, THERE WAS.

01:41PM   21       Q.    WHY WAS THAT?

01:41PM   22       A.    I BELIEVE THERE WAS A DEADLINE IMPOSED BY CMS FOR A

01:41PM   23       RESPONSE.

01:41PM   24       Q.    OKAY.   LET ME DRAW YOUR ATTENTION BACK TO 4621.

01:41PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 131
                                                                               132 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5801


01:41PM    1       Q.     AND I'D LIKE TO FOCUS ON THE COVER LETTER, PAGES 1 THROUGH

01:41PM    2       4.   ON PAGE 2, DO YOU SEE REFERENCE TO, IN PARAGRAPH 3, A

01:42PM    3       DEADLINE IMPOSED BY CMS?

01:42PM    4       A.     YES, I DO.

01:42PM    5       Q.     OKAY.    AND ON -- ABOVE THAT DO YOU SEE SOME LANGUAGE

01:42PM    6       SUGGESTING REASONING BEHIND THE DATE THAT IS BEING IMPOSED BY

01:42PM    7       CMS?

01:42PM    8                      MR. WADE:    YOUR HONOR, THE DOCUMENT IS NOT IN

01:42PM    9       EVIDENCE, BUT WE'RE REFERRING TO SUBSTANTIAL PARTS OF IT HERE.

01:42PM   10                      THE COURT:   MR. LEACH?

01:42PM   11                      MR. LEACH:   I'M TRYING TO LAY A FOUNDATION TO ADMIT

01:42PM   12       IT INTO EVIDENCE, YOUR HONOR, AND I THINK MY NEXT QUESTION IS,

01:42PM   13       DID HE DISCUSS THIS WITH MS. HOLMES?

01:42PM   14                      THE COURT:   ALL RIGHT.   THANK YOU.

01:42PM   15       BY MR. LEACH:

01:42PM   16       Q.     DID YOU DISCUSS THE CIRCUMSTANCES DESCRIBED IN THIS LETTER

01:42PM   17       WITH MS. HOLMES?

01:42PM   18       A.     YES, THE CIRCUMSTANCES WERE DESCRIBED OR DISCUSSED.

01:42PM   19                      MR. LEACH:   YOUR HONOR, I OFFER PAGES 1 THROUGH 4 OF

01:42PM   20       EXHIBIT 4621.

01:43PM   21                      MR. WADE:    YOUR HONOR, WE OBJECT TO ALL OF THE

01:43PM   22       REFERENCE OF THE EXHIBIT FOR REASONS WE DISCUSSED WITH COUNSEL

01:43PM   23       AND THE COURT THIS MORNING AND THE REASONS SET FORTH IN THE

01:43PM   24       MOTION PAPERS.

01:43PM   25                      THE COURT:   ALL RIGHT.   THANK YOU.



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 132
                                                                               133 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5802


01:43PM    1             SO YOU'RE ASKING FOR 1 THROUGH 4 ONLY?

01:43PM    2                     MR. LEACH:   YES.

01:43PM    3                     THE COURT:   OF 4621?

01:43PM    4                     MR. LEACH:   YES.

01:43PM    5                     THE COURT:   ALL RIGHT.   I DO YOU THINK AN

01:43PM    6       APPROPRIATE FOUNDATION HAS BEEN LAID TO ADMIT THIS, OVERRULING

01:43PM    7       THE OBJECTIONS THAT WERE MADE EARLIER.

01:43PM    8             SO THIS WILL BE ADMITTED OVER OBJECTION.         THANK YOU.

01:43PM    9                     MR. LEACH:   THANK YOU.

01:43PM   10                     THE COURT:   AND IT CAN BE, IT CAN BE DISPLAYED IF

01:43PM   11       YOU WISH.

01:43PM   12             (GOVERNMENT'S EXHIBIT 4621, PAGES 1 THROUGH 4, WAS

01:43PM   13      RECEIVED IN EVIDENCE.)

01:43PM   14                     MR. LEACH:   IF WE CAN PLEASE START AT THE TOP,

01:43PM   15       MS. HOLLIMAN, CATCHING THE CMS HEADER IF YOU COULD, PLEASE.

01:44PM   16       Q.    DR. DHAWAN, IS THIS THE COVER LETTER THAT ACCOMPANIED CMS

01:44PM   17       DEFICIENCY NOTICE?

01:44PM   18       A.    I'M SORRY.

01:44PM   19       Q.    I'M TERRIBLY SORRY, I'M READING THE DOCUMENT AND MOVING

01:44PM   20       TOO QUICKLY.

01:44PM   21             DR. DAS, IS THIS THE COVER LETTER THAT ACCOMPANIED THE

01:44PM   22       STATEMENT OF DEFICIENCIES FROM CMS?

01:44PM   23       A.    YES.

01:44PM   24       Q.    OKAY.    AND DO YOU SEE THE DATE JANUARY 25TH, 2016?

01:44PM   25       A.    I DO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 133
                                                                               134 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5803


01:44PM    1       Q.    OKAY.   AND THIS IS ADDRESSED TO SOMEONE NAMED

01:44PM    2       SUNIL DHAWAN.     DID YOU HAVE AN UNDERSTANDING OF WHO

01:44PM    3       SUNIL DHAWAN WAS?

01:44PM    4       A.    YES.

01:44PM    5       Q.    AND WHO WAS HE?

01:44PM    6       A.    MY UNDERSTANDING IS THAT HE WAS THE PRIOR LABORATORY

01:44PM    7       DIRECTOR BEFORE I JOINED.

01:44PM    8       Q.    IN THE RE LINE, IT SAYS, CONDITION LEVEL DEFICIENCIES -

01:44PM    9       IMMEDIATE JEOPARDY.

01:44PM   10             DO YOU SEE THAT LANGUAGE?

01:44PM   11       A.    YES, I DO.

01:44PM   12       Q.    AND THEN IN THE FIRST PARAGRAPH -- WELL, I'M SORRY, IN THE

01:45PM   13       SECOND PARAGRAPH IT SAYS, "THE CENTERS FOR MEDICARE AND

01:45PM   14       MEDICAID SERVICES CONDUCTED A CLIA RECERTIFICATION AND

01:45PM   15       COMPLAINT SURVEY OF THE LABORATORY."

01:45PM   16             I'LL RESTATE, MS. RODRIGUEZ.       THANK YOU.

01:45PM   17             IS IT YOUR UNDERSTANDING THAT A SURVEY WAS PERFORMED BY

01:45PM   18       CMS PRIOR TO JANUARY THAT GENERATED THIS STATEMENT OF

01:45PM   19       DEFICIENCIES?

01:45PM   20       A.    YES, THAT IS MY UNDERSTANDING.

01:45PM   21       Q.    OKAY.   IT GOES ON TO SAY, "THE ONSITE SURVEY WAS COMPLETED

01:45PM   22       ON NOVEMBER 20TH, 2015.      HOWEVER, THE SURVEY CONCLUDED WITH THE

01:45PM   23       RECEIPT OF CRITICAL INFORMATION RECEIVED FROM THE LABORATORY ON

01:45PM   24       DECEMBER 23RD, 2015."

01:45PM   25             DO YOU SEE THAT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 134
                                                                               135 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5804


01:45PM    1       A.     YES, I DO.

01:45PM    2       Q.     THEN IT SAYS, "AS A RESULT OF THE SURVEY, IT WAS

01:45PM    3       DETERMINED THAT YOUR FACILITY WAS NOT IN COMPLIANCE WITH ALL OF

01:45PM    4       THE CONDITIONS REQUIRED FOR CERTIFICATION IN THE CLIA PROGRAM."

01:46PM    5              DO YOU SEE THAT?

01:46PM    6       A.     I DO.

01:46PM    7       Q.     AND IS "CONDITIONED" A TERM OF ART IN THE CLIA

01:46PM    8       REGULATIONS?

01:46PM    9       A.     YES, THAT IS.

01:46PM   10       Q.     AND WHAT IS A CONDITION?

01:46PM   11       A.     THESE ARE ANALOGOUS TO REQUIREMENTS OR REGULATIONS.

01:46PM   12       Q.     OKAY.   IT THEN SAYS, "IN ADDITION, BASED ON THE

01:46PM   13       CONDITION-LEVEL REQUIREMENT, HEMATOLOGY, IT WAS DETERMINED THAT

01:46PM   14       THE DEFICIENT PRACTICES OF THE LABORATORY POSE IMMEDIATE

01:46PM   15       JEOPARDY TO PATIENT HEALTH AND SAFETY."

01:46PM   16              DO YOU SEE THAT?

01:46PM   17       A.     YES, I DO.

01:46PM   18       Q.     AND IS THAT PART OF WHAT WAS TRIGGERING THE URGENCY FOR

01:46PM   19       YOUR RESPONSE TO CMS?

01:46PM   20       A.     YES, THAT IS CORRECT.

01:46PM   21       Q.     AND DID YOU HAVE DISCUSSIONS WITH MS. HOLMES ABOUT THE

01:46PM   22       NEED TO RESPOND URGENTLY TO CMS?

01:46PM   23       A.     YES, WE DID.

01:46PM   24       Q.     FURTHER DOWN THERE'S A LIST OF CONDITIONS THAT WERE NOT

01:46PM   25       MET.



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 135
                                                                               136 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5805


01:46PM    1             IF WE CAN ZOOM OUT, MS. HOLLIMAN AND HIGHLIGHT THE BOTTOM.

01:47PM    2             DR. DAS, DO YOU SEE THE REFERENCE D5024 COLON, AND THEN A

01:47PM    3       REFERENCE TO 42 CFR WITH ANOTHER NUMBER?

01:47PM    4       A.    YES, I SEE THAT.

01:47PM    5       Q.    OKAY.   DO YOU HAVE AN UNDERSTANDING OF WHAT THAT D NUMBER

01:47PM    6       REFERENCES?

01:47PM    7       A.    D IS REFERENCING A DEFICIENCY.

01:47PM    8       Q.    AND THE 42 CFR, IS THAT A REFERENCE TO A PARTICULAR CLIA

01:47PM    9       REGULATION?

01:47PM   10       A.    THAT'S CORRECT.

01:47PM   11       Q.    AND THIS PARTICULAR REFERENCE IS A REFERENCE TO

01:47PM   12       HEMATOLOGY?

01:47PM   13       A.    THAT IS MY UNDERSTANDING.

01:47PM   14       Q.    AND WHAT IS HEMATOLOGY?

01:47PM   15       A.    IT'S A STUDY OF THE BLOOD.

01:47PM   16       Q.    THE NEXT TAG D5400.

01:47PM   17             DO YOU SEE THAT?

01:47PM   18       A.    I DO.

01:47PM   19       Q.    AND TO THE RIGHT, THIS RELATES TO A CONDITION FOR ANALYTIC

01:47PM   20       SYSTEMS.    IS THAT A TERM THAT YOU'RE FAMILIAR WITH IN THE CLIA

01:47PM   21       REGULATIONS?

01:47PM   22       A.    YES, I'M FAMILIAR WITH THAT TERM.

01:48PM   23       Q.    AND WHAT DOES THAT REFER TO?

01:48PM   24       A.    IT GENERALLY REFERS TO INSTRUMENTS AND METHODS USED FOR

01:48PM   25       TESTING.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 136
                                                                               137 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5806


01:48PM    1       Q.    AND THEN D6076, DO YOU SEE THAT NUMBER IN THE THIRD ROW?

01:48PM    2       A.    YES.

01:48PM    3       Q.    OKAY.   AND THIS CONDITION IS LABORATORIES PERFORMING HIGH

01:48PM    4       COMPLEXITY TESTING; LABORATORY DIRECTOR.

01:48PM    5             DO YOU SEE THAT REFERENCE?

01:48PM    6       A.    I DO.

01:48PM    7       Q.    AND THERANOS'S CLIA LABORATORY IN CALIFORNIA WAS A HIGH

01:48PM    8       COMPLEXITY LAB?

01:48PM    9       A.    THAT IS CORRECT.

01:48PM   10       Q.    DESCRIBE FOR US HOW YOU WENT ABOUT RESPONDING TO CMS.

01:48PM   11       WHAT DID YOU DO IN TERMS OF RESPONDING TO THIS LETTER FROM CMS?

01:48PM   12       A.    HONESTLY, THE FIRST STEP WAS TO READ THE STATEMENT OF

01:48PM   13       DEFICIENCIES VERY CAREFULLY TO UNDERSTAND THE SPECIFICS OF THE

01:48PM   14       DEFICIENCIES.

01:48PM   15       Q.    AND I TRUST YOU DID THAT.

01:49PM   16       A.    YES, WE DID.

01:49PM   17       Q.    OKAY.   AND DID YOU HAVE MULTIPLE DISCUSSIONS WITH YOUR

01:49PM   18       TEAM ABOUT THE DEFICIENCIES THAT CMS IDENTIFIED?

01:49PM   19       A.    YES, WE DID.

01:49PM   20       Q.    DID YOU HAVE MULTIPLE DISCUSSIONS WITH MS. HOLMES ABOUT

01:49PM   21       THE DEFICIENCIES THAT CMS IDENTIFIED?

01:49PM   22       A.    YES.    SHE WAS PART OF SOME OF THOSE DISCUSSIONS.

01:49PM   23       Q.    OKAY.   LET ME -- I WANT TO DRAW YOUR ATTENTION, PLEASE, TO

01:49PM   24       PARTICULAR PROVISIONS WITHIN 2567, AND IF I COULD DRAW YOUR

01:49PM   25       ATTENTION, PLEASE, TO -- AND LET'S NOT DISPLAY THIS,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 137
                                                                               138 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5807


01:49PM    1       MS. HOLLIMAN.

01:49PM    2             BUT IF I COULD PLEASE DRAW YOUR ATTENTION TO PAGE 51.

01:49PM    3                    THE COURT:    I'M SORRY, WHAT PAGE?

01:49PM    4                    MR. LEACH:    51, YOUR HONOR.

01:49PM    5                    THE COURT:    THANK YOU.

01:49PM    6                    THE WITNESS:    OKAY.

01:49PM    7       BY MR. LEACH:

01:49PM    8       Q.    BEFORE I ASK QUESTIONS ABOUT PAGE 51, AFTER REVIEWING THE

01:49PM    9       CMS STATEMENT OF DEFICIENCIES IN ITS ENTIRETY, DID YOU LOOK AT

01:50PM   10       THE CATEGORIES OF DOCUMENTS THAT YOU DESCRIBED EARLIER?

01:50PM   11       A.    NOT IMMEDIATELY.

01:50PM   12       Q.    AT SOME POINT DID YOU?

01:50PM   13       A.    YES.

01:50PM   14       Q.    AND DID YOU LOOK AT THE DOCUMENTS THAT WERE REFERENCED IN

01:50PM   15       THE CMS STATEMENT OF DEFICIENCIES TO UNDERSTAND WHAT THEY WERE

01:50PM   16       REFERRING TO?

01:50PM   17       A.    YES, THAT'S CORRECT.

01:50PM   18       Q.    AND DID YOU HAVE DISCUSSION WITH YOUR TEAM ABOUT THOSE?

01:50PM   19       A.    YES, WE DID.

01:50PM   20       Q.    DID YOU, AND DID YOU HAVE DISCUSSIONS WITH MS. HOLMES

01:50PM   21       ABOUT THAT?

01:50PM   22       A.    TO SOME EXTENT, YES.

01:50PM   23       Q.    LET ME DRAW YOUR ATTENTION -- WE'RE ON PAGE 51.          AT THE

01:50PM   24       BOTTOM, DO YOU SEE ANOTHER ONE OF THOSE D NUMBERS TO THE LEFT

01:50PM   25       AT THE BOTTOM?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 138
                                                                               139 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5808


01:50PM    1       A.    I DO.

01:50PM    2       Q.    AND IF I COULD ASK YOU, PLEASE, TO CONTINUE READING -- OR

01:50PM    3       IF I COULD ASK YOU TO CONTINUE READING TO THE NEXT PAGE, DO YOU

01:50PM    4       SEE AT THE TOP LANGUAGE, A REFERENCE TO A STANDARD?

01:50PM    5       A.    MR. LEACH, IF I MAY?         ARE YOU REFERRING TO D5791?

01:51PM    6       Q.    YES.

01:51PM    7       A.    AND READ UNTIL WHEN?

01:51PM    8       Q.    IF YOU COULD PLEASE READ UNTIL PAGE 52, THERE'S A

01:51PM    9       REFERENCE TO STANDARD AT THE TOP.

01:51PM   10             DO YOU SEE THAT LANGUAGE?

01:51PM   11       A.    I DO.

01:51PM   12       Q.    AND --

01:51PM   13       A.    PLEASE GIVE ME A MINUTE.

01:51PM   14                     MR. WADE:    COUNSEL, IF I MAY INQUIRE, YOU'RE

01:51PM   15       REFERRING TO THE PAGE NUMBERS IN THE MIDDLE OF THE DOCUMENT OR

01:51PM   16       THE DOCUMENT ITSELF?

01:51PM   17                     MR. LEACH:   THE TRIAL EXHIBIT NUMBER.

01:51PM   18                     MR. WADE:    OKAY.    THANK YOU.

01:51PM   19       BY MR. LEACH:

01:51PM   20       Q.    AND DO YOU SEE A NUMBER 1 BENEATH THAT STANDARD LANGUAGE?

01:51PM   21       A.    YES, I DO.

01:51PM   22       Q.    OKAY.    I WANT TO SKIP OVER THE SUBSTANCE OF WHAT IS IN

01:51PM   23       NUMBER 1 AND GO TO NUMBER 2 ON THE NEXT PAGE, PAGE 53.

01:51PM   24       A.    YES.

01:51PM   25       Q.    OKAY.    AND DO YOU SEE A DESCRIPTION RELATING TO SOMETHING



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 139
                                                                               140 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5809


01:51PM    1       CALLED TPS IN NUMBER 2 DOWN AT THE BOTTOM OF PAGE 53?

01:52PM    2       A.    I DO.

01:52PM    3       Q.    OKAY.    AND ARE YOU FAMILIAR WITH THIS PORTION OF THE 2567?

01:52PM    4       A.    I'LL HAVE TO REVIEW IT CAREFULLY.

01:52PM    5       Q.    IF YOU COULD REVIEW CAREFULLY PAGES 53, 54, UP TO NUMBER 3

01:52PM    6       ON PAGE 55.

01:53PM    7             (PAUSE IN PROCEEDINGS.)

01:53PM    8                     THE WITNESS:   OKAY.   I'VE HAD A CHANCE TO REVIEW

01:53PM    9       THIS.

01:53PM   10       BY MR. LEACH:

01:53PM   11       Q.    OKAY.    ARE YOU FAMILIAR WITH THIS PORTION OF FORM 2567?

01:53PM   12       A.    YES.

01:53PM   13       Q.    OKAY.    AND DID YOU DISCUSS ISSUES RELATING TO QUALITY

01:53PM   14       CONTROL AND THE EDISON DEVICE WITH MS. HOLMES?

01:53PM   15       A.    YES, WE HAD DISCUSSED THAT.

01:53PM   16                     MR. LEACH:   YOUR HONOR, I OFFER PAGES 51 FROM THE

01:53PM   17       BOTTOM -- WITH THE D TAG BEGINNING D5791, THE TOP OF PAGE 52

01:53PM   18       WHERE IT SAYS "THE STANDARD IS" WITH SOME ADDITIONAL LANGUAGE

01:54PM   19       THERE.

01:54PM   20                     THE COURT:   LET ME -- YOU SAID 51 FROM D5791?

01:54PM   21                     MR. LEACH:   YES.

01:54PM   22                     THE COURT:   OKAY.

01:54PM   23                     MR. LEACH:   ALL THE WAY DOWN TO PAGE 52 DOWN TO THE

01:54PM   24       LINE INCLUDING "THIS STANDARD," AND THEN CONTINUING ON THE

01:54PM   25       BOTTOM OF PAGE 53 FROM THE INFORMATION UNDER NUMBER 2 TO



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 140
                                                                               141 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5810


01:54PM    1       PAGE 55 WITH THE INFORMATION NUMBERED L.

01:55PM    2             (PAUSE IN PROCEEDINGS.)

01:55PM    3                    MR. WADE:    I'M NOT SURE I TOTALLY FOLLOWED THE

01:55PM    4       PORTIONS THAT COUNSEL WAS OFFERING.

01:55PM    5                    THE COURT:    OKAY.   MR. LEACH, MAYBE YOU SHOULD JUST

01:55PM    6       WALK OVER AND SHOW MR. WADE WHERE IT IS.

01:55PM    7                    MR. LEACH:    SURE.

01:55PM    8             (DISCUSSION OFF THE RECORD.)

01:55PM    9                    MR. WADE:    YOUR HONOR, SAME OBJECTIONS AS PREVIOUSLY

01:55PM   10       NOTED.

01:55PM   11                    THE COURT:    THANK YOU.   I'LL NOTE THOSE OBJECTIONS

01:56PM   12       AND NOTE THE FOUNDATION THAT HAS BEEN LAID THIS AFTERNOON WITH

01:56PM   13       TESTIMONY.

01:56PM   14             SO THE OBJECTION IS OVERRULED.

01:56PM   15             (GOVERNMENT'S EXHIBIT 4621B, REDACTED PAGES 51 - 55, WAS

01:56PM   16      RECEIVED IN EVIDENCE.)

01:56PM   17                    MR. LEACH:    THANK YOU, YOUR HONOR.     AND WE'LL DO OUR

01:56PM   18       BEST TO DISPLAY JUST THOSE PORTIONS.

01:56PM   19             SO, MS. HOLLIMAN, IF WE COULD PLEASE DISPLAY PAGE 51,

01:56PM   20       BEGINNING -- REDACTING EVERYTHING EXCEPT THE BOTTOM OF THE PAGE

01:56PM   21       STARTING WITH 5791.

01:56PM   22                    THE COURT:    AND, MR. LEACH, THESE ARE ADMITTED

01:56PM   23       FOR -- I KNOW WE'VE DISCUSSED THIS -- FOR STATE OF MIND ISSUES?

01:56PM   24                    MR. LEACH:    YES, YOUR HONOR.

01:56PM   25                    THE COURT:    ALL RIGHT.   THANK YOU.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 141
                                                                               142 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5811


01:56PM    1             SO, LADIES AND GENTLEMEN, THESE PAGES THAT YOU'RE ABOUT TO

01:56PM    2       SEE ARE ADMITTED FOR THE STATE OF MIND OF THE DEFENDANT,

01:57PM    3       MR. LEACH?

01:57PM    4                    MR. LEACH:    YES, YOUR HONOR.

01:57PM    5                    THE COURT:    YES.   AS TO ANY ISSUE OF INTENT AND

01:57PM    6       KNOWLEDGE.

01:57PM    7             (PAUSE IN PROCEEDINGS.)

01:58PM    8                    MR. LEACH:    JUST ONE MOMENT, YOUR HONOR.

01:58PM    9                    THE COURT:    YES, OF COURSE.

01:58PM   10             (PAUSE IN PROCEEDINGS.)

01:58PM   11                    MR. WADE:    YOUR HONOR, WHILE COUNSEL IS LOOKING FOR

01:58PM   12       THAT, I MIGHT JUST CLARIFY.

01:58PM   13             I UNDERSTAND THE COURT'S DIRECTION OF THE LIMITED PURPOSE

01:58PM   14       FOR WHICH THEY'RE OFFERED FOR, BUT I JUST MIGHT ASK THAT IT BE

01:58PM   15       CLARIFIED, BUT NOT FOR THE TRUTH OF THE MATTER ASSERTED.

01:58PM   16                    THE COURT:    THAT WAS YOUR INTENT AS WELL, MR. LEACH?

01:58PM   17                    MR. LEACH:    YES.

01:58PM   18                    THE COURT:    LADIES AND GENTLEMEN, AS I SAID -- THANK

01:58PM   19       YOU, MR. WADE.

01:58PM   20             AS I SAID EARLIER, THESE ARE RECEIVED NOT FOR THE TRUTH OF

01:58PM   21       THE MATTER ASSERTED IN EACH OF THE DOCUMENTS, BUT THEY ARE

01:58PM   22       ADMITTED ONLY AS TO THE ISSUE OF KNOWLEDGE AND INTENT AS TO THE

01:59PM   23       DEFENDANT MS. HOLMES.

02:03PM   24             (PAUSE IN PROCEEDINGS.)

02:03PM   25                    MR. LEACH:    YOUR HONOR, WE'RE HAVING SOME TECHNICAL



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 142
                                                                               143 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5812


02:03PM    1       ISSUES WITH THE REDACTIONS AND DISPLAYING THEM UP THERE.

02:03PM    2             I THINK WHILE WE'RE RESOLVING THAT I'D LIKE TO GO THROUGH

02:03PM    3       ADDITIONAL PORTIONS OF THIS AND MAKE MY OFFER OF PROOF AND

02:03PM    4       HOPEFULLY SAVE EVERYBODY SOME TIME THAT WAY.

02:03PM    5                     THE COURT:   IT SEEMS TO BE THE ORDER OF THE DAY.

02:03PM    6                     MR. LEACH:   I APOLOGIZE TO THE COURT AND APPRECIATE

02:03PM    7       EVERYONE'S PATIENCE.

02:04PM    8       Q.    BEFORE WE DISPLAY THE PORTIONS THAT WERE JUST ADMITTED,

02:04PM    9       DR. DAS, LET ME DRAW YOUR ATTENTION TO PAGE 55 OF EXHIBIT 4621,

02:04PM   10       THE COVER LETTER AND THE STATEMENT OF DEFICIENCIES.

02:04PM   11       A.    YES.

02:04PM   12       Q.    AND DO YOU SEE THE NUMBER 3 IN THE COLUMN FOR SUMMARY

02:04PM   13       STATEMENT OF DEFICIENCIES?

02:04PM   14       A.    I DO.

02:04PM   15       Q.    OKAY.    AND PLEASE TAKE A MOMENT TO READ TO YOURSELF THE

02:04PM   16       INFORMATION BEGINNING AT 3 AND CONTINUING TO PAGE 57 THROUGH

02:04PM   17       THE SUBSTANCE OF NUMBER K IN THE MIDDLE OF THE PAGE.

02:04PM   18             (PAUSE IN PROCEEDINGS.)

02:06PM   19                     THE WITNESS:   THANKS FOR YOUR PATIENCE.

02:06PM   20       BY MR. LEACH:

02:06PM   21       Q.    HAVE YOU READ THOSE CAREFULLY TO YOURSELF?

02:06PM   22       A.    I HAVE.

02:06PM   23       Q.    AND IN THE MARCH AND APRIL TIME PERIOD, DID YOU HAVE

02:06PM   24       CONVERSATIONS WITH MS. HOLMES ABOUT THERANOS'S QUALITY CONTROL

02:06PM   25       RESULTS FOR THE TIME PERIOD JULY 2014 THROUGH JUNE OF 2015?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 143
                                                                               144 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5813


02:06PM    1       A.    YES, WE DID.

02:06PM    2                    MR. LEACH:    YOUR HONOR, I OFFER PAGE 55, BEGINNING

02:06PM    3       FROM THE NUMBER 3 ALL OF THE WAY THROUGH PAGE 57, STOPPING AT

02:07PM    4       THE NUMBER -- JUST ABOVE THE NUMBER 4.

02:07PM    5                    THE COURT:    MR. LEACH, COULD YOU TELL ME -- YOUR

02:07PM    6       LAST QUESTION WAS REGARDING CONVERSATIONS THAT THIS WITNESS HAD

02:07PM    7       WITH MS. HOLMES BETWEEN, WHAT WAS THE TIME PERIOD?

02:07PM    8                    MR. LEACH:    BETWEEN JULY -- RELATING TO QC DATA

02:07PM    9       BETWEEN JULY OF 2014 AND JUNE OF 2015.

02:08PM   10             (PAUSE IN PROCEEDINGS.)

02:08PM   11                    THE COURT:    COUNSEL?

02:08PM   12                    MR. WADE:    I MIGHT JUST INQUIRE.

02:08PM   13             FOR WHAT PURPOSE IS THIS ADMISSION?

02:08PM   14                    THE COURT:    IT'S NOT FOR THE TRUTH OF THE MATTER --

02:08PM   15       IS THIS LIKEWISE AS THE PREVIOUS ADMISSIONS?

02:08PM   16                    MR. LEACH:    YES, YOUR HONOR, FOR STATE OF MIND.

02:08PM   17                    THE COURT:    YES.

02:08PM   18                    MR. WADE:    I HAVE THE SAME OBJECTION, AND I WOULD

02:08PM   19       ADD 104 TO THIS AS WELL.

02:08PM   20                    THE COURT:    ALL RIGHT.   THANK YOU.

02:08PM   21             LADIES AND GENTLEMEN -- OVERRULED.

02:08PM   22             LADIES AND GENTLEMEN, THESE EXHIBITS WILL BE ADMITTED, AND

02:08PM   23       THEY ARE OFFERED NOT FOR THE TRUTH OF THE MATTER ASSERTED, BUT

02:08PM   24       ONLY AS TO THE STATE OF MIND OF MS. HOLMES, AS THE PREVIOUS

02:08PM   25       ADMISSIONS, AS TO INTENT AND KNOWLEDGE, AND THOSE ISSUES ONLY,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 144
                                                                               145 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5814


02:08PM    1       NOT FOR THE TRUTH OF THE MATTER ASSERTED, BUT ONLY AS TO THE

02:08PM    2       STATE OF MIND OF MS. HOLMES AS TO KNOWLEDGE AND INTENT.

02:08PM    3             (GOVERNMENT'S EXHIBIT 4621, PAGE 55 WAS RECEIVED IN

02:09PM    4      EVIDENCE.)

02:09PM    5                     MR. LEACH:   MS. HOLLIMAN, IF WE'RE ABLE TO, I THINK

02:09PM    6       WE CAN NOW DISPLAY THE ENTIRETY OF PAGE 55.

02:10PM    7             (PAUSE IN PROCEEDINGS.)

02:10PM    8                     MR. LEACH:   OKAY.   MS. HOLLIMAN, IF WE CAN PLEASE

02:10PM    9       ZOOM IN ON THE TOP PORTION OF PAGE 55 JUST TO ORIENT THE JURY

02:10PM   10       AT THE TOP OF THE PAGE.

02:10PM   11       Q.    DR. DAS, DO YOU SEE THE TOP PORTION OF PAGE 55 ON TRIAL

02:10PM   12       EXHIBIT 4621?

02:10PM   13       A.    I DO.

02:10PM   14       Q.    OKAY.    AND DO YOU SEE THE DATE IN THE UPPER RIGHT CORNER,

02:10PM   15       JANUARY 25TH, 2016?

02:10PM   16       A.    YES.

02:10PM   17       Q.    OKAY.    AND TO THE LEFT OF THE PAGE THERE'S A BOX

02:11PM   18       "STATEMENT OF DEFICIENCIES AND PLAN OF CORRECTION."

02:11PM   19             IS THAT PART OF THE CMS FORM?

02:11PM   20       A.    YES, IT IS.

02:11PM   21       Q.    AND TO THE RIGHT DO YOU SEE THE DATE OF NOVEMBER 20TH,

02:11PM   22       2015?

02:11PM   23       A.    YES.

02:11PM   24       Q.    OKAY.    AND IS THAT YOUR UNDERSTANDING OF THE DATE THAT THE

02:11PM   25       CMS SURVEY WAS COMPLETED?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 145
                                                                               146 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5815


02:11PM    1       A.    THAT IS MY UNDERSTANDING.

02:11PM    2       Q.    OKAY.   THERE'S A STREET ADDRESS LISTED FOR THE LABORATORY,

02:11PM    3       733 GATEWAY BOULEVARD.

02:11PM    4             IS THAT WHERE THE CLIA LABORATORY WAS LOCATED?

02:11PM    5       A.    THAT'S CORRECT.

02:11PM    6       Q.    THAT'S WHERE YOU WENT TO WORK IN YOUR JOB?

02:11PM    7       A.    YES.

02:11PM    8       Q.    OKAY.   IF WE COULD PLEASE ZOOM OUT, MS. HOLLIMAN.

02:11PM    9             IF WE CAN NOW CAPTURE EVERY -- THE TOP -- DOWN A LITTLE

02:11PM   10       BIT MORE TO NUMBER 3.

02:11PM   11             DR. DAS, DO YOU SEE THE NUMBER D5791 --

02:11PM   12       A.    I DO.

02:11PM   13       Q.    -- IN THE TOP LEFT CORNER?

02:12PM   14             AND IS THAT A REFERENCE TO SOME IDENTIFICATION TAG OR

02:12PM   15       PREFIX TAG?

02:12PM   16       A.    THAT'S CORRECT, D TAG.

02:12PM   17       Q.    OKAY.   WHAT DO YOU MEAN, D TAG?

02:12PM   18       A.    DEFICIENCY TAG.

02:12PM   19       Q.    AND DOWN ON 3 IT SAYS, "BASED ON REVIEW OF QUALITY

02:12PM   20       ASSESSMENT AND QA PROCEDURES, THE LABORATORY FAILED TO HAVE A

02:12PM   21       QUALITY ASSESSMENT PROCEDURE ESTABLISHED TO IDENTIFY AND

02:12PM   22       CORRECT PROBLEMS WITH THE QUALITY CONTROL PROGRAM FOR THE

02:12PM   23       THERANOS PROPRIETARY SYSTEM (TPS)."

02:12PM   24             DO YOU SEE THAT LANGUAGE?

02:12PM   25       A.    YES, I DO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 146
                                                                               147 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5816


02:12PM    1       Q.    AND DID YOU UNDERSTAND TPS TO BE THE EDISON 3.5 DEVICE?

02:12PM    2       A.    YES.

02:12PM    3       Q.    AND WHAT DID YOU UNDERSTAND QUALITY ASSESSMENT TO MEAN?

02:12PM    4       A.    MEANING THE TERM, MR. LEACH?

02:12PM    5       Q.    YES.

02:12PM    6       A.    THAT'S A TERM THAT ENCOMPASSES ALL QUALITY PROGRAMS, NOT

02:13PM    7       INCLUDING QUALITY CONTROL.

02:13PM    8       Q.    AND WHAT DO YOU MEAN BY "QUALITY PROGRAMS"?

02:13PM    9       A.    IN GENERAL, QUALITY CONTROL HAS TO DO WITH DAY-TO-DAY

02:13PM   10       RUNS, QUALITY OF DAY-TO-DAY RUNS.

02:13PM   11             AND QUALITY ASSESSMENT IS -- DESCRIBES ALL OF THE OTHER

02:13PM   12       QUALITY ACTIVITIES OUTSIDE OF THE DAY-TO-DAY RUNS ON ANY GIVEN

02:13PM   13       INSTRUMENT.

02:13PM   14       Q.    AND WAS PART OF YOUR JOB AS THE LAB DIRECTOR TO

02:13PM   15       INVESTIGATE THIS FINDING, UNDERSTAND IT, AND COME UP WITH THE

02:13PM   16       COMPANY'S RESPONSE?

02:13PM   17       A.    YES.

02:13PM   18       Q.    IF WE CAN GO FURTHER DOWN, PLEASE, MS. HOLLIMAN, ON

02:13PM   19       PAGE 55.

02:13PM   20             IT READS HERE, "MONTHLY QC REPORTS WERE REVIEWED FOR

02:13PM   21       JULY 2014, OCTOBER 2014, AND FEBRUARY THROUGH JUNE 2015."

02:13PM   22             DID YOU ALSO REVIEW MONTHLY QC REPORTS IN THE COURSE OF

02:14PM   23       YOUR WORK AS THE LABORATORY DIRECTOR?

02:14PM   24       A.    WE DID.    WE HAD THE REPORTS CREATED FOR US.

02:14PM   25       Q.    OKAY.   AND THAT WAS IN PART TO RESPOND TO THE 2567?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 147
                                                                               148 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5817


02:14PM    1       A.    THAT'S CORRECT.

02:14PM    2       Q.    AND IN NUMBER 2 IT SAYS, "THE TOTAL PERCENTAGE OF QC

02:14PM    3       VALUES GREATER THAN 2 STANDARD DEVIATIONS (SDS) WAS REVIEWED BY

02:14PM    4       THE SURVEYOR."

02:14PM    5             DO YOU SEE THAT LANGUAGE?

02:14PM    6       A.    I DO.

02:14PM    7       Q.    AND DO YOU UNDERSTAND WHAT IS MEANT BY "STANDARD

02:14PM    8       DEVIATIONS"?

02:14PM    9       A.    YES, I DO.

02:14PM   10       Q.    AND WHAT IS A STANDARD DEVIATION?

02:14PM   11       A.    WOULD YOU LIKE THE MORE TECHNICAL DEFINITION?

02:14PM   12       Q.    I'D LIKE THE LESS TECHNICAL DEFINITION IF YOU COULD.

02:14PM   13       A.    IT'S, IN GENERAL, AN ESTIMATE OF THE SPREAD OF A DATA SET,

02:14PM   14       HOW WIDELY THE VALUES VARY.

02:14PM   15       Q.    OKAY.

02:14PM   16       A.    IN LABORATORY PARLANCE, WE USE IT TO ESTIMATE PRECISION.

02:14PM   17       Q.    AND IF WE CAN GO TO THE NEXT PAGE, PLEASE, PAGE 56.

02:15PM   18             DR. DAS, DO SOME OF THE CMS FINDINGS CONTINUE -- WITH

02:15PM   19       RESPECT TO THIS D TAG CONTINUE ON TO THE NEXT PAGE?

02:15PM   20       A.    YES, I SEE THAT.

02:15PM   21       Q.    OKAY.   DO YOU SEE WHERE IT SAYS, "IN JULY 2014, THE DATA

02:15PM   22       REVEALED THE FOLLOWING TESTS SHOWED PERCENTAGE OF QC SAMPLES

02:15PM   23       WITH MORE THAN 15 PERCENT OF VALUES GREATER THAN 2 SD."           AND

02:15PM   24       THEN THERE'S TESTOSTERONE, TOTAL T4, VITAMIN D.

02:15PM   25             "OVERALL 16 PERCENT OF QC SAMPLES ON ALL TESTS ON ALL



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 148
                                                                               149 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5818


02:15PM    1       DEVICES HAD VALUES GREATER THAN 2 SDS."

02:15PM    2             DO YOU SEE THAT LANGUAGE?

02:15PM    3       A.    I DO SEE THAT.

02:15PM    4       Q.    OKAY.    AND WERE TST, TOTAL T4, AND VITAMIN D ASSAYS RUN ON

02:15PM    5       THE EDISON IN THE 2014 TIME PERIOD?

02:15PM    6       A.    THAT IS CORRECT.      I BELIEVE THAT'S WHAT THEY'RE REFERRING

02:15PM    7       TO.

02:15PM    8       Q.    AND DID YOU AND YOUR TEAM ALSO REVIEW THE DATA THAT IS

02:16PM    9       LISTED HERE ON THIS FORM?

02:16PM   10       A.    YES.

02:16PM   11       Q.    AND DID YOU REVIEW AN EVEN BROADER UNIVERSE OF QC DATA IN

02:16PM   12       ORDER TO RESPOND TO THE CMS REPORT?

02:16PM   13       A.    WE DID.

02:16PM   14       Q.    AND IS THIS -- IS THE FINDING LISTED HERE CONSISTENT WITH

02:16PM   15       WHAT YOU REVIEWED IN YOUR REVIEW OF DATA?

02:16PM   16                     MR. WADE:    YOUR HONOR, 702 ON THIS ISSUE,

02:16PM   17       PARTICULARLY GIVEN THE PURPOSE THAT THIS EVIDENCE HAS BEEN

02:16PM   18       OFFERED.

02:16PM   19                     THE COURT:   MR. LEACH, I THINK YOU'RE ON THE MARGINS

02:16PM   20       OF A 702 AREA, SO LET ME ASK YOU TO REPHRASE YOUR QUESTION.

02:16PM   21       BY MR. LEACH:

02:16PM   22       Q.    DID YOU ALSO -- DID YOU ALSO REVIEW THE DATA THAT IS

02:16PM   23       LISTED IN THIS REPORT, IN THIS PARAGRAPH E, DR. DAS?

02:16PM   24       A.    I DON'T RECALL THESE EXACT NUMBERS, BUT THESE TIME FRAMES

02:17PM   25       ARE CONSISTENT WITH MY RECOLLECTION.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 149
                                                                               150 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5819


02:17PM    1       Q.     OKAY.    AND IN RESPONDING TO CMS, DID -- OR YOU NEEDED TO

02:17PM    2       FORMULATE A RESPONSE TO CMS ON BEHALF OF THE COMPANY; IS THAT

02:17PM    3       CORRECT?

02:17PM    4       A.     YES, THAT IS CORRECT.

02:17PM    5       Q.     AND DID YOU LOOK AT NOT JUST DATA FOR JULY OF 2014, BUT A

02:17PM    6       BROADER UNIVERSE OF DATA IN ORDER TO UNDERSTAND AND RESPOND TO

02:17PM    7       CMS?

02:17PM    8       A.     YES, WE DID.

02:17PM    9       Q.     OKAY.    AT ANY POINT DID YOU TELL CMS THAT THE COMPANY

02:17PM   10       DISAGREED WITH THIS PARTICULAR FINDING?

02:17PM   11       A.     NO, I DON'T BELIEVE WE DID.

02:17PM   12       Q.     OKAY.    WHY NOT?

02:17PM   13       A.     THESE FINDINGS --

02:17PM   14                      MR. WADE:    YOUR HONOR, AGAIN, 702.   WE'RE JUST USING

02:17PM   15       REVERSE INSTEAD OF FORWARD.

02:17PM   16                      THE COURT:   I UNDERSTAND.

02:17PM   17              I THINK YOU'RE ASKING FOR AN OPINION THAT FALLS UNDER 702

02:17PM   18       THE WAY THE QUESTION IS FORMED, SO I'LL SUSTAIN THE OBJECTION.

02:17PM   19       BY MR. LEACH:

02:17PM   20       Q.     BUT YOU NEVER SAID TO ANYBODY AT CMS, "I DISAGREE WITH

02:17PM   21       THIS FINDING"?

02:18PM   22       A.     I DON'T RECALL SAYING THAT OR WRITING THAT.

02:18PM   23       Q.     LET'S GO TO NUMBER F.

02:18PM   24       A.     OKAY.

02:18PM   25       Q.     AND IF WE CAN ENLARGE THAT, MS. HOLLIMAN.



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 150
                                                                               151 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5820


02:18PM    1             I'M SORRY.    I THINK WE'RE DOWN ON H.      I WANTED TO FOCUS ON

02:18PM    2       F IF WE COULD:

02:18PM    3             THIS READS, DR. DAS, "IN OCTOBER 2014 THE DATA REVEALED

02:18PM    4       THE FOLLOWING TESTS SHOWED PERCENTAGE OF QC SAMPLES WITH MORE

02:18PM    5       THAN 15 PERCENT OF VALUES GREATER THAN 2 SD."

02:18PM    6             DO YOU SEE THAT LANGUAGE?

02:18PM    7       A.    I DO.

02:18PM    8       Q.    AND THEN THERE'S A LIST FOR ESTRADIOL, FREE T4, PROLACTIN,

02:18PM    9       SHBG, TSH, TST, TOTAL T3, TT4, VITAMIN D, AND VITAMIN B12.

02:19PM   10             DO YOU SEE THOSE?

02:19PM   11       A.    I DO.

02:19PM   12       Q.    AND ARE ALL OF THOSE ASSAYS THAT WERE RUN ON THE EDISON?

02:19PM   13       A.    YES.

02:19PM   14       Q.    AND AS A LAB DIRECTOR, IS IT DESIRABLE OR UNDESIRABLE TO

02:19PM   15       HAVE A CV OF GREATER THAN 15 PERCENT?

02:19PM   16       A.    THAT WOULD BE UNDESIRABLE.

02:19PM   17       Q.    THIS SAYS, "OVERALL 29 PERCENT OF QC SAMPLES ON ALL TESTS

02:19PM   18       ON ALL DEVICES HAD VALUES GREATER THAN 2 SD'S."

02:19PM   19             DO YOU SEE THAT?

02:19PM   20       A.    YES, I SEE THAT.

02:19PM   21       Q.    AND WHAT DID YOU UNDERSTAND THAT TO MEAN?

02:19PM   22       A.    THAT -- I UNDERSTAND THAT TO MEAN THAT 15 PERCENT OF THE

02:19PM   23       VALUES WERE VIOLATING THE 2 SD RULE, WHICH IS A COMMON QUALITY

02:19PM   24       CONTROL RULE.

02:19PM   25       Q.    AND DID YOU HAVE DISCUSSIONS WITH MS. HOLMES ABOUT THIS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 151
                                                                               152 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5821


02:19PM    1       QUALITY CONTROL RULE AND THE DATA THAT WAS BEING REPORTED BY

02:19PM    2       CMS?

02:19PM    3       A.     IN GENERAL, YES.

02:19PM    4       Q.     LET'S GO TO LETTER G.

02:20PM    5              DO YOU SEE WHERE IT SAYS, "IN FEBRUARY OF 2015, THE

02:20PM    6       DATA" -- OH, BEFORE I LEAVE G, DID YOU EVER TELL CMS THAT YOU

02:20PM    7       DISAGREED WITH THIS FINDING IN F?

02:20PM    8                      MR. WADE:    YOUR HONOR, I'M GOING TO OBJECT ON 702

02:20PM    9       GROUNDS TO THIS AS WELL.

02:20PM   10                      THE COURT:   OVERRULED.   YOU CAN ANSWER THE QUESTION.

02:20PM   11                      THE WITNESS:   NO, I DO NOT RECALL THAT.

02:20PM   12       BY MR. LEACH:

02:20PM   13       Q.     IN G IT SAYS, "IN FEBRUARY 2015, THE DATA REVEALED THE

02:20PM   14       FOLLOWING TESTS SHOWED THE PERCENTAGE OF QC SAMPLES WITH MORE

02:20PM   15       THAN 15 PERCENT OF VALUES GREATER THAN 2 SD."

02:20PM   16              AND IT LISTS FT4, SHBG, TT3, VITAMIN D, VITAMIN B12.

02:20PM   17              DO YOU SEE THAT?

02:20PM   18       A.     I DO.

02:20PM   19       Q.     AND THOSE ARE TESTS THAT ARE RUN ON EDISON?

02:20PM   20       A.     THAT IS CORRECT.

02:20PM   21       Q.     AND AT ANY POINT IN TIME DID YOU TELL CMS THAT YOU

02:20PM   22       DISAGREED WITH THIS FINDING?

02:20PM   23       A.     NO, I DON'T RECALL DOING SO.

02:20PM   24       Q.     LET'S LOOK AT H AND I.

02:21PM   25              DO YOU SEE WHERE IT SAYS, "IN MARCH OF 2015, THE DATA



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 152
                                                                               153 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5822


02:21PM    1       REVEALED THE FOLLOWING TESTS SHOWED PERCENTAGE OF QC SAMPLES

02:21PM    2       WITH MORE THAN 15 PERCENT OF VALUES GREATER THAN 2 SD."

02:21PM    3             DO YOU SEE THAT LANGUAGE?

02:21PM    4       A.    I DO.

02:21PM    5       Q.    OKAY.   AND DID YOU UNDERSTAND THIS TO BE A SIMILAR ISSUE

02:21PM    6       TO WHAT CMS WAS RAISING FOR FEBRUARY, OCTOBER, AND JULY?

02:21PM    7       A.    YES, I DO.

02:21PM    8       Q.    AND AT ANY POINT IN TIME DID YOU TELL CMS THAT YOU

02:21PM    9       DISAGREED WITH THIS FINDING?

02:21PM   10       A.    NO, I DON'T RECALL DOING SO.

02:21PM   11       Q.    AND THEN I SAYS, "IN APRIL THE DATA REVEALED THE FOLLOWING

02:21PM   12       TESTS, SHOWED PERCENTAGE OF QC SAMPLES WITH MORE THAN

02:21PM   13       15 PERCENT OF VALUES GREATER THAN 2 SD, SHBG," AND THEN THERE'S

02:22PM   14       A LIST OF ASSAYS CONTINUING ON TO PAGE 57.

02:22PM   15             IS THIS A SIMILAR ISSUE BEING RAISED IN THE FINDINGS THAT

02:22PM   16       WE JUST LOOKED AT PREVIOUSLY?

02:22PM   17       A.    YES, I AGREE.

02:22PM   18       Q.    AT ANY POINT IN TIME DID YOU TELL CMS THAT YOU DISAGREED

02:22PM   19       WITH THIS FINDING?

02:22PM   20       A.    NO, I DON'T RECALL DOING SO.

02:22PM   21       Q.    WAS TSA -- OR EXCUSE ME, PSA AN --

02:22PM   22             YOU CAN TAKE THIS DOWN, MS. HOLLIMAN.

02:22PM   23             WAS PSA ANOTHER ASSAY THAT WAS RUN ON THE EDISON DEVICE IN

02:22PM   24       THE TIME PERIOD BEFORE YOU BECAME THE LAB DIRECTOR?

02:22PM   25       A.    YES, THAT'S MY UNDERSTANDING.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 153
                                                                               154 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5823


02:22PM    1       Q.     OKAY.    AND IN CONNECTION WITH YOUR REVIEW OF THE CMS

02:22PM    2       REPORT AND RESPONDING TO CMS, DID YOU HAVE DISCUSSIONS WITH

02:22PM    3       MS. HOLMES ABOUT WHAT CMS WAS FINDING WITH RESPECT TO CMS AND

02:23PM    4       WHAT YOU WERE FINDING AND WHAT THAT -- HOW TO RESPOND TO THAT?

02:23PM    5       A.     I COULD USE A LITTLE MORE SPECIFICITY, MR. LEACH, IF YOU

02:23PM    6       MAY.

02:23PM    7       Q.     THAT WAS A COMPOUND QUESTION.      LET ME ASK IT BETTER.

02:23PM    8              IN THIS 2015 OR 2016, MARCH AND APRIL TIME PERIOD, DID YOU

02:23PM    9       HAVE DISCUSSIONS WITH MS. HOLMES ABOUT THE COMPANY'S PSA TEST?

02:23PM   10       A.     I DID.

02:23PM   11       Q.     AND WAS THAT IN THE CONTEXT OF SOME OF THE CMS FINDINGS

02:23PM   12       AND HOW TO RESPOND TO THAT?

02:23PM   13       A.     IT WAS RELATED TO THE CMS FINDINGS.

02:23PM   14       Q.     OKAY.    DESCRIBE TO US YOUR CONVERSATIONS WITH MS. HOLMES?

02:23PM   15       A.     I RECALL USING THE PSA TEST AS AN EXAMPLE OF THE EDISON'S

02:23PM   16       ERROR PROPENSITY OR GENERATING ERROR -- ERRONEOUS RESULTS.

02:23PM   17       Q.     OKAY.    AND DID YOU GIVE MS. HOLMES A PARTICULAR REASON WHY

02:23PM   18       YOU THOUGHT THE EDISON WAS PRONE TO ERRONEOUS RESULTS?

02:23PM   19       A.     YES.    IN REVIEWING THE DATA, IT ENDED UP BEING AN EASILY

02:24PM   20       DIGESTIBLE EXAMPLE OF THE EDISON'S ERRORS AND THAT I RECALL

02:24PM   21       QUITE A FEW FEMALE PATIENTS RETURNING PSA RESULTS, WHICH WOULD

02:24PM   22       BE HIGHLY UNLIKELY.

02:24PM   23       Q.     WHY WAS THAT A RED FLAG TO YOU?

02:24PM   24       A.     BECAUSE FEMALES SHOULD GENERALLY NOT HAVE PSA DETECTABLE.

02:24PM   25       IT SHOULD ONLY BE DETECTED IN MALES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 154
                                                                               155 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5824


02:24PM    1       Q.    AND WHY WERE YOU BRINGING THIS TO MS. HOLMES'S ATTENTION?

02:24PM    2       A.    IT WAS JUST TO EXEMPLIFY WHAT WE WERE DISCUSSING REGARDING

02:24PM    3       SOME OF THE ERRORS SEEN ON THE TSPU.

02:24PM    4       Q.    AND AFTER THIS CONVERSATION WITH MS. HOLMES, DID SHE COME

02:24PM    5       BACK TO YOU ABOUT WITH ANY LITERATURE RELATING TO PSA RESULTS?

02:24PM    6       A.    YES, I BELIEVE SO.     SHE OFFERED AN ALTERNATIVE

02:24PM    7       EXPLANATION.

02:24PM    8       Q.    AND WHAT WAS THE ALTERNATIVE EXPLANATION?

02:24PM    9       A.    I DON'T REMEMBER THE DETAILS, BUT IT WAS ALONG THE LINES

02:24PM   10       OF AN ARTICLE OR TWO DESCRIBING A FEW, I BELIEVE IT WAS A

02:25PM   11       FRACTION OF A SUBSET OF A RARE BREAST CANCER AND THOUGH FEMALES

02:25PM   12       FROM TIME TO TIME EXHIBITING PSA RESULTS FROM THEIR TUMORS.

02:25PM   13       Q.    AND WAS THAT EXPLANATION SATISFYING TO YOU?

02:25PM   14       A.    IT SEEMED IMPLAUSIBLE.

02:25PM   15       Q.    LET ME MOVE FORWARD IN TIME, PLEASE, TO THE END OF OR THE

02:25PM   16       LATE TIME PERIOD OF MARCH OF 2016.

02:25PM   17             HAVING REVIEWED THE FORM 2567, DID YOU WRITE BACK TO CMS

02:25PM   18       WITH THE COMPANY'S RESPONSES?

02:25PM   19       A.    YES, I DO RECALL THAT.

02:25PM   20       Q.    OKAY.   AND DID YOU -- YOU MENTIONED SOMETHING EARLIER

02:25PM   21       CALLED A PATIENT IMPACT ASSESSMENT.

02:25PM   22             WHAT IS THAT?

02:25PM   23       A.    YES.    THOSE WERE DESCRIPTIONS OF OUR ASSESSMENTS ON OUR

02:25PM   24       EVALUATION OF WHETHER THESE TESTS LED TO POTENTIAL FOR PATIENT

02:25PM   25       HARM.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 155
                                                                               156 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5825


02:25PM    1       Q.    AND IN THE COURSE OF, IN THE COURSE OF PREPARING THESE

02:26PM    2       PATIENT IMPACT ASSESSMENTS, WERE YOU -- DID YOU VIEW YOURSELF

02:26PM    3       AS FULFILLING YOUR OBLIGATIONS AS THE CLIA LAB DIRECTOR?

02:26PM    4       A.    YES, I DID.

02:26PM    5       Q.    AND WHY DID YOU FEEL THAT WAS PART OF YOUR OBLIGATIONS AS

02:26PM    6       THE CLIA LAB DIRECTOR?

02:26PM    7       A.    THAT'S NOT ONLY A REGULATORY OBLIGATION BUT A PROFESSIONAL

02:26PM    8       ONE AND AN ETHICAL ONE AS WELL.

02:26PM    9       Q.    OKAY.   LET ME DRAW YOUR ATTENTION BACK TO 7603,

02:27PM   10       SPECIFICALLY PAGES 82 AND 83.

02:27PM   11             DO YOU HAVE THAT IN FRONT OF YOU, DR. DAS?

02:27PM   12       A.    YES, I DO.    THANK YOU.

02:27PM   13       Q.    OKAY.   AND ON PAGE 82 THERE'S A CFR SECTION 493.1291,

02:27PM   14       STANDARD TEST REPORT.

02:27PM   15             DO YOU SEE THAT?

02:27PM   16       A.    YES, I SEE THAT.

02:27PM   17       Q.    AND IF YOU LOOK ON PAGE 83, THERE'S A SUBPARAGRAPH K.

02:27PM   18             DO YOU SEE WHERE IT SAYS, "WHEN ERRORS IN THE REPORTED

02:27PM   19       PATIENT TEST RESULTS ARE DETECTED, THE LABORATORY MUST DO THE

02:27PM   20       FOLLOWING"?

02:27PM   21       A.    I DO SEE THAT.

02:27PM   22       Q.    OKAY.   AND DOES THAT LAY OUT CERTAIN THINGS THAT YOU FELT

02:27PM   23       AS THE LABORATORY DIRECTOR NEEDED TO BE DONE IF THE CONDITION

02:27PM   24       IN K WAS SATISFIED?

02:27PM   25       A.    THAT'S CORRECT, THAT'S STANDARD PRACTICE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 156
                                                                               157 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5826


02:27PM    1       Q.    OKAY.   IN THE COURSE OF RESPONDING TO THE CMS 2567, DID

02:28PM    2       YOU, AS THE LABORATORY, DETECT ERRORS IN THE PATIENT REPORTED

02:28PM    3       TEST RESULTS?

02:28PM    4       A.    WE DID.

02:28PM    5       Q.    AND DID YOU FEEL THAT YOU WERE REQUIRED TO TAKE CERTAIN

02:28PM    6       ACTION PURSUANT TO THIS CLIA REGULATION AND YOUR PROFESSIONAL

02:28PM    7       RESPONSIBILITIES?

02:28PM    8       A.    YES, THAT'S CORRECT.

02:28PM    9       Q.    LET ME DRAW YOUR ATTENTION, PLEASE, TO EXHIBIT 4943.

02:28PM   10             DO YOU HAVE THAT IN FRONT OF YOU, DR. DAS?

02:28PM   11       A.    YES, I DO.

02:28PM   12       Q.    DO YOU RECOGNIZE THE FIRST PAGE OF 4943?

02:28PM   13       A.    I DO IN GENERAL, NOT THE SPECIFIC PAGE, THOUGH.

02:28PM   14       Q.    OKAY.   IN GENERAL, WHAT IS THIS?

02:28PM   15       A.    IT LOOKS LIKE IT'S A TABLE OF CONTENTS FOR THE EXHIBITS

02:29PM   16       THAT WE SUBMITTED TO CMS AS EVIDENCE.

02:29PM   17       Q.    AS PART OF YOUR REVIEW AND RESPONSE TO THE 2567?

02:29PM   18       A.    THAT'S CORRECT.

02:29PM   19       Q.    OKAY.   DO YOU SEE THAT THERE'S A ROW -- THE THIRD ROW FROM

02:29PM   20       THE BOTTOM WITH TAB NUMBER 3?

02:29PM   21       A.    YES, I DO.

02:29PM   22       Q.    OKAY.   AND WE CAN NOW TURN TO PAGE 9.

02:29PM   23             DO YOU SEE THE HEADING PATIENT IMPACT ASSESSMENT?

02:29PM   24       A.    I DO.   THE PRINT IS RATHER SMALL.

02:29PM   25       Q.    OKAY.   WE'LL, WE'LL --



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 157
                                                                               158 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5827


02:29PM    1       A.    WE'LL MANAGE.

02:29PM    2       Q.    AND IS THIS A PATIENT IMPACT ASSESSMENT THAT WAS PROVIDED

02:29PM    3       TO CMS FOLLOWING YOUR REVIEW OF THE 2567?

02:29PM    4       A.    I'LL NEED JUST A MOMENT TO REVIEW IT.

02:30PM    5       Q.    YES.   THANK YOU.

02:30PM    6             (PAUSE IN PROCEEDINGS.)

02:30PM    7                    THE WITNESS:    YES, I BELIEVE SO.

02:30PM    8                    MR. LEACH:    YOUR HONOR, I OFFER PAGE 1 AND 9 OF

02:30PM    9       4943.

02:30PM   10             (PAUSE IN PROCEEDINGS.)

02:30PM   11                    MR. WADE:    JUST THE SAME OBJECTIONS, YOUR HONOR.

02:30PM   12                    THE COURT:    ALL RIGHT.   THANK YOU.

02:30PM   13             THE COURT WILL OVERRULE THE OBJECTION.         THE FOUNDATION HAS

02:31PM   14       BEEN LAID.    I THINK THERE WAS A PREVIOUS 407 OBJECTION THAT WAS

02:31PM   15       MADE, AND THAT IS OVERRULED NOW BY THE TESTIMONY OF THE

02:31PM   16       WITNESS.     THE OBJECTION IS OVERRULED.

02:31PM   17             (GOVERNMENT'S EXHIBIT 4943, PAGES 1 AND 9, WAS RECEIVED IN

02:31PM   18      EVIDENCE.)

02:31PM   19                    MR. LEACH:    THANK YOU, YOUR HONOR.     MAY WE DISPLAY,

02:31PM   20       YOUR HONOR?

02:31PM   21                    THE COURT:    YES.

02:31PM   22       BY MR. LEACH:

02:31PM   23       Q.    JUST TO ORIENT THE JURY, DR. DAS, I WAS REFERENCING -- YOU

02:31PM   24       BELIEVE THIS WAS A DOCUMENT THAT WAS SUBMITTED TO CMS?

02:31PM   25       A.    YES, I BELIEVE SO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 158
                                                                               159 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                                5828


02:31PM    1       Q.    OKAY.   AND WE WERE TALKING ABOUT THE THIRD ROW.         TAB 3

02:31PM    2       THERE'S SOME REFERENCE TO TPS 3.5 EDISONS AND SOME CERTAIN

02:31PM    3       FINDINGS IN THE 2567.

02:31PM    4             AND DO YOU SEE THAT?

02:31PM    5       A.    YES, I DO.

02:31PM    6       Q.    OKAY.   AND IF WE CAN PLEASE DISPLAY PAGE 9.        AND LET'S

02:32PM    7       HIGHLIGHT THE FIRST HALF OR BLOW UP, ENLARGE THE FIRST TOP HALF

02:32PM    8       OF THE DOCUMENT RIGHT THERE ALL OF THE WAY DOWN TO PATIENT

02:32PM    9       IMPACT.

02:32PM   10             THAT'S FINE, MS. HOLLIMAN.       THANK YOU.

02:32PM   11             IS THIS SOMETHING THAT YOU HAD A HAND IN DRAFTING,

02:32PM   12       DR. DAS?

02:32PM   13       A.    I DON'T REMEMBER THE SPECIFIC DOCUMENT, BUT IT DOES LOOK

02:32PM   14       FAMILIAR.

02:32PM   15       Q.    OKAY.   YOU RECALL WORKING ON PATIENT IMPACT ASSESSMENT IN

02:32PM   16       RESPONSE TO 2567?

02:32PM   17       A.    YES, INDEED.

02:32PM   18       Q.    AND WAS THAT SOMETHING THAT YOU FELT YOU HAD TO DO AS THE

02:32PM   19       LAB DIRECTOR?

02:32PM   20       A.    THAT'S CORRECT.

02:32PM   21       Q.    OKAY.   UP AT THE TOP THERE'S A LIST OF DEFICIENCIES AND

02:32PM   22       THERE'S SOME D TAGS, D5403, D5481, D5791, D6102, AND D6115.

02:32PM   23             DO YOU SEE THOSE?

02:32PM   24       A.    I DO.

02:32PM   25       Q.    AND WHAT ARE THOSE?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 159
                                                                               160 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5829


02:32PM    1       A.    THOSE APPEAR TO BE THE SPECIFIC D TAGS REFERENCED IN THIS

02:33PM    2       PATIENT IMPACT ASSESSMENT.

02:33PM    3       Q.    AND THOSE D TAGS ORIGINATE FROM THE 2567?

02:33PM    4       A.    THAT'S CORRECT.

02:33PM    5       Q.    AND EARLIER WE WERE LOOKING AT A D TAG FOR 2571, FINDING

02:33PM    6       NUMBER 3?

02:33PM    7       A.    I BELIEVE WE WERE.

02:33PM    8       Q.    AND SO DO YOU BELIEVE THAT THIS PATIENT IMPACT ASSESSMENT

02:33PM    9       RELATES TO THE PORTION OF THE CMS REPORT THAT WE JUST LOOKED

02:33PM   10       AT?

02:33PM   11       A.    I EXPECT SO.

02:33PM   12       Q.    OKAY.   THIS SAYS, "THE LABORATORY AGREES THAT ITS

02:33PM   13       DESCRIPTION OF PRIOR ANALYSIS WERE LACKING SUFFICIENT DETAIL TO

02:33PM   14       EXPLAIN THE CONCLUSIONS SUBMITTED IN THE RESPONSE."

02:33PM   15             IS THAT A REFERENCE TO PRIOR RESPONSES THAT THERANOS HAD

02:33PM   16       MADE TO CMS?

02:33PM   17       A.    I BELIEVE SO.

02:33PM   18       Q.    IT THEN READS, "UPON A REVIEW OF THAT RESPONSE, INCLUDING

02:33PM   19       THE ENTIRETY OF THE PRIOR ANALYSIS OF TPS 3.5 QC DATA AND

02:33PM   20       PATIENT TEST RESULT DISTRIBUTIONS FOR ALL ANALYTES DURING THE

02:34PM   21       TIME PERIOD EXAMINED, THE LABORATORY MADE NOTE OF POOR QC

02:34PM   22       PERFORMANCE THROUGHOUT."

02:34PM   23             IS THAT AN ACCURATE STATEMENT?

02:34PM   24       A.    THAT IS AN ACCURATE STATEMENT.

02:34PM   25       Q.    AND THE PATIENT TEST RESULT DISTRIBUTIONS THAT YOU'RE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 160
                                                                               161 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5830


02:34PM    1       TALKING ABOUT THERE, DID THAT REFER TO ALL TESTS RUN ON THE

02:34PM    2       EDISON DEVICE?

02:34PM    3       A.    YES, ALL TESTS.

02:34PM    4       Q.    OKAY.   AND DO YOU HAVE A MEMORY OF HOW MANY TESTS WERE RUN

02:34PM    5       ON THE EDISON DEVICE?

02:34PM    6       A.    I BELIEVE IT WAS A TOTAL OF 12.

02:34PM    7       Q.    OKAY.   TWELVE TESTS RUN ON THE EDISON DEVICE THROUGHOUT

02:34PM    8       THE LIFE OF THE CLIA LAB?

02:34PM    9       A.    THAT IS MY UNDERSTANDING.

02:34PM   10       Q.    IT THEN SAYS, "THEREFORE, LABORATORY CONDUCTED AN EXPANDED

02:34PM   11       RETROSPECTIVE ANALYSIS FOR 2014 AND 2015 QC DATA."

02:34PM   12             WHAT DOES THAT MEAN?

02:34PM   13       A.    IN GENERAL THAT MEANS WE EXPAND THE RANGE OF THE QC DATA

02:34PM   14       THAT WE LOOKED AT BECAUSE WE IDENTIFIED ISSUES WITH THE

02:34PM   15       ORIGINAL DATA, MEANING WE WANTED TO SEE HOW FAR THE POOR

02:35PM   16       PERFORMANCE EXTENDED.

02:35PM   17       Q.    YOU WANTED TO LOOK AT A BROADER UNIVERSE?

02:35PM   18       A.    YES, THAT'S ONE WAY TO DESCRIBE IT.

02:35PM   19       Q.    OKAY.   AND THAT'S WHAT YOU'RE REPORTING TO CMS?

02:35PM   20       A.    YES, THAT'S CORRECT.

02:35PM   21       Q.    OKAY.   AFTER EXTENSIVE DIALOGUE WITH MS. HOLMES?

02:35PM   22       A.    I DON'T KNOW HOW TO DESCRIBE.

02:35PM   23       Q.    HOW ABOUT AFTER SOME DIALOGUE WITH MS. HOLMES?

02:35PM   24       A.    YES, SOME DIALOGUE.

02:35PM   25       Q.    IT THEN SAYS, "THE LABORATORY NOTED MULTIPLE AND RECURRENT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 161
                                                                               162 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5831


02:35PM    1       TIME PERIODS (ACROSS ALL ANALYTES TESTED) OF ABRUPT SHIFTS IN

02:35PM    2       QC TARGET MEANS."

02:35PM    3             WHAT DOES THAT MEAN?

02:35PM    4       A.    PLEASE GIVE A MINUTE TO REVIEW THAT.

02:35PM    5             (PAUSE IN PROCEEDINGS.)

02:35PM    6                    THE WITNESS:    SO THAT FIRST PART MEANS THAT THE

02:35PM    7       AVERAGE VALUES OF QUALITY CONTROL, THE TARGETS THAT WE WERE

02:36PM    8       TRYING TO REACH, OR THAT THE LABORATORY WAS TARGETING, WERE

02:36PM    9       BEING SHIFTED UNEXPLAINEDLY.

02:36PM   10       BY MR. LEACH:

02:36PM   11       Q.    "HIGH RATES OF 1-2S QC RULE FAILURES."

02:36PM   12             WHAT IS MEANT BY "1-2S"?

02:36PM   13       A.    SO THIS 1-2S ACTUALLY REFERS TO THE SAME QC RULE FAILURES

02:36PM   14       THAT THE CMS INSPECTORS WERE NOTING IN THAT D TAG.           I BELIEVE

02:36PM   15       IT WAS 5791, I BELIEVE.      SO THEY CALL IT A --

02:36PM   16       Q.    AND THE 1-2S, THAT'S STANDARD DEVIATIONS?

02:36PM   17       A.    YES.   SO THE 2S REFERS TO 2 SD ANALOGOUS TO WHAT IS BEING

02:36PM   18       REFERRED TO IN THE D TAG.

02:36PM   19       Q.    AND "QC CV'S FAR EXCEEDING LIMITS FOR A STABLE TESTING

02:36PM   20       PROCESS."

02:36PM   21             WHAT DID THAT MEAN?

02:36PM   22       A.    TO SIMPLIFY THAT ONE A BIT, IT JUST MEANS THAT THERE WAS A

02:37PM   23       LOT OF IMPRECISION NOTED.

02:37PM   24       Q.    AND IS IMPRECISION DESIRABLE OR UNDESIRABLE?

02:37PM   25       A.    UNDESIRABLE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 162
                                                                               163 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5832


02:37PM    1       Q.    LET'S ZOOM OUT, MS. HOLLIMAN, AND LOOK AT THE NEXT TWO

02:37PM    2       PARAGRAPHS IN THIS PATIENT IMPACT ASSESSMENT.

02:37PM    3             DO YOU SEE WHERE IT SAYS PATIENT IMPACT, DR. DAS?

02:37PM    4       A.    YES, I DO.

02:37PM    5       Q.    AND THIS READS, "ALTHOUGH THE MAGNITUDE OF QC DEVIATIONS

02:37PM    6       FROM TARGET MEANS DOES NOT NECESSARILY REFLECT THE EXACT NATURE

02:37PM    7       AND MAGNITUDE OF BIAS ON PATIENT RESULTS BECAUSE OF DIFFERENCES

02:37PM    8       IN MATRICES, THE QC FAILURES IDENTIFIED BY THIS COMPREHENSIVE

02:37PM    9       RETROSPECTIVE ANALYSIS REFLECT A GLOBAL AND LONG-TERM FAILURE

02:37PM   10       OF THE QUALITY CONTROL PROGRAM FOR THIS INSTRUMENT, AS WELL AS

02:37PM   11       FAILURES OF RELATED QUALITY ASSURANCE PROCEDURES THAT SHOULD

02:37PM   12       HAVE ALERTED THE LABORATORY TO CORRECT SUCH AN UNSTABLE

02:37PM   13       PROCESS."

02:37PM   14             WHY DID YOU INCLUDE THIS IN THE PATIENT IMPACT PORTION OF

02:38PM   15       THIS?

02:38PM   16       A.    FIRST OF ALL, THAT'S QUITE A MOUTHFUL.

02:38PM   17       Q.    YES.

02:38PM   18       A.    THIS WAS JUST TO DESCRIBE OUR FINDINGS.

02:38PM   19       Q.    AND "THE LABORATORY HAS CONCLUDED THAT THERE IS A POSSIBLE

02:38PM   20       PATIENT IMPACT FOR EVERY TEST REPORTED FROM THE LABORATORY'S

02:38PM   21       TPS 3.5 INSTRUMENTS."

02:38PM   22             IS THAT WHAT YOU COMMUNICATED TO CMS?

02:38PM   23       A.    YES, I BELIEVE SO.

02:38PM   24       Q.    AND WAS THAT YOUR VIEW AT THE TIME?

02:38PM   25       A.    YES, IT WAS.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 163
                                                                               164 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5833


02:38PM    1       Q.    IN CORRECTIVE ACTION IT READS, "THE FRACTION OF PATIENT

02:38PM    2       RESULTS TRULY IMPACTED, AND THE NATURE AND MAGNITUDE OF ANY

02:38PM    3       EFFECT ARE UNKNOWN.      OUT OF AN ABUNDANCE OF CAUTION, THE

02:38PM    4       LABORATORY HAS VOIDED ALL PATIENT TEST RESULTS REPORTED FROM

02:38PM    5       THE TPS 3.5 INSTRUMENTS."

02:38PM    6             DO YOU SEE THAT?

02:38PM    7       A.    I DO SEE THAT.

02:38PM    8       Q.    OKAY.   AND DID YOU, IN FACT, VOID ALL OF THE TEST RESULTS

02:38PM    9       FROM THE EDISON DEVICE FROM THE 2014, 2015 TIME PERIOD?

02:39PM   10       A.    YES, WE DID SO.

02:39PM   11       Q.    OKAY.   AND THEN IT SAYS, "MANY CORRECTED REPORTS HAVE BEEN

02:39PM   12       TRANSMITTED AND THE REMAINDER ARE BEING TRANSMITTED.

02:39PM   13       TRANSMISSION WILL BE COMPLETE BY MARCH 31ST, 2016."

02:39PM   14             DO YOU SEE THAT LANGUAGE?

02:39PM   15       A.    YES, I DO.

02:39PM   16       Q.    DID YOU HAVE DISCUSSIONS WITH MS. HOLMES ABOUT HOW TO

02:39PM   17       COMMUNICATE THE VOIDING OF THE TESTS TO CMS AND OTHER

02:39PM   18       CONSTITUENCIES?

02:39PM   19       A.    COULD YOU BE MORE SPECIFIC.

02:39PM   20       Q.    DID YOU HAVE CONVERSATIONS WITH MS. HOLMES ABOUT HOW TO

02:39PM   21       COMMUNICATE THERANOS'S VOIDING OF THE TESTS?

02:39PM   22       A.    YES, WE DID.

02:39PM   23       Q.    DESCRIBE THE SUBSTANCE OF WHAT WAS SAID?

02:39PM   24       A.    I DESCRIBED OUR RATIONALE FOR VOIDING THESE TESTS WHICH

02:39PM   25       RELIED ON SOME OF THE THINGS THAT WE DISCUSSED EARLIER, WHICH



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 164
                                                                               165 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5834


02:39PM    1       WAS THE VALIDATION DATA AS WELL AS THE QC DATA THAT IS

02:39PM    2       REFERENCED HERE, AS WELL AS THE PATIENT TEST RESULTS THAT WERE

02:40PM    3       REFERENCED HERE, AND IT WAS -- I CAN'T REMEMBER ALL OF THE

02:40PM    4       CONSTITUENTS AT THAT MEETING, BUT I TRIED TO PRESENT IT IN A

02:40PM    5       MORE UNDERSTANDABLE FORMAT.

02:40PM    6             SO I DESCRIBED THE ISSUE IN TERMS OF THE VALIDATION DATA

02:40PM    7       IN DESCRIBING THAT THESE INSTRUMENTS APPARENTLY WERE NOT

02:40PM    8       PERFORMING FROM THE VERY BEGINNING.

02:40PM    9       Q.    AND DID MS. HOLMES MAKE ANY STATEMENTS TO YOU ABOUT

02:40PM   10       WHETHER WHAT YOU JUST SAID SHOULD BE COMMUNICATED TO CMS OR

02:40PM   11       WHETHER SOMETHING ELSE SHOULD BE COMMUNICATED?

02:40PM   12       A.    YES.   I RECALL HER OFFERING AN ALTERNATIVE EXPLANATION.

02:40PM   13       Q.    TELL US ABOUT THAT, PLEASE.

02:40PM   14       A.    I DON'T REMEMBER THE EXACT WORDS, BUT SHE POINTED TO ONE

02:40PM   15       OF HER DEPUTIES AND PROVIDED AN ALTERNATIVE EXPLANATION, WHICH

02:40PM   16       WAS ALONG THE LINES OF IT NOT BEING AN INSTRUMENT FAILURE

02:40PM   17       PER SE BUT RATHER THE, QUOTE, "A FAILURE OF THE QUALITY CONTROL

02:40PM   18       AND QUALITY ASSURANCE PROGRAM AROUND IT."

02:41PM   19       Q.    AND DID YOU THINK IT WAS A COMPLETE EXPLANATION TO

02:41PM   20       DESCRIBE IT AS JUST A QUALITY CONTROL ISSUE?

02:41PM   21       A.    NO, SIR.

02:41PM   22       Q.    HOW COME?

02:41PM   23       A.    BECAUSE THE VALIDATION DATA HAD NO BEARING ON THE QUALITY

02:41PM   24       CONTROL OR QUALITY ASSURANCE PROGRAM.

02:41PM   25       Q.    AFTER THE TESTS WERE VOIDED, DR. DAS, DID THERANOS EVER



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 165
                                                                               166 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5835


02:41PM    1       RESUME TESTING ON THE 3.5 DEVICE IN THE CLIA?

02:41PM    2                      THE COURT:   I'M SORRY.

02:41PM    3                      THE WITNESS:    COULD YOU REPEAT THE QUESTION, PLEASE.

02:41PM    4       BY MR. LEACH:

02:41PM    5       Q.     AFTER THE VOIDING OF THE TESTS AT SOME POINT IN MARCH OR

02:41PM    6       APRIL OF 2016, DID THERANOS EVER RESUME TESTING ON THE 3.5 IN

02:41PM    7       THE CLIA LAB?

02:41PM    8       A.     NO, NOT TO MY KNOWLEDGE.

02:41PM    9       Q.     OKAY.    DID YOU EVER RECOMMEND THAT TESTING BE RESUMED IN

02:41PM   10       THE CLIA LAB?

02:41PM   11       A.     NO.

02:41PM   12       Q.     AND WHY WAS THAT?

02:41PM   13       A.     I FOUND THESE INSTRUMENTS TO BE UNSUITABLE FOR CLINICAL

02:41PM   14       USE.

02:42PM   15                      MR. LEACH:   YOUR HONOR, I NOTE THE TIME.     THERE'S

02:42PM   16       SOME ADDITIONAL PORTIONS OF THE CMS REPORT THAT I WANT TO GO

02:42PM   17       THROUGH, BUT I THINK I MAY BENEFIT FROM A BREAK TO WORK THROUGH

02:42PM   18       SOME OF THE REDACTIONS, AND THEN I THINK I'LL TENDER THE

02:42PM   19       WITNESS.

02:42PM   20                      THE COURT:   ALL RIGHT.     LET'S TAKE A BREAK NOW.

02:42PM   21       SHOULD WE TAKE 30 MINUTES?        IS 30 MINUTES GOOD?    LET'S DO THAT.

02:42PM   22       WE'LL TAKE A 30 MINUTE BREAK, LADIES AND GENTLEMEN, AND THEN

02:42PM   23       WE'LL FINISH OUR DAY.         THANK YOU.

02:42PM   24              YOU CAN STAND DOWN, SIR, AND COME BACK IN ABOUT

02:42PM   25       30 MINUTES.



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 166
                                                                               167 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5836


02:42PM    1                     THE WITNESS:   THANK YOU, YOUR HONOR.

02:42PM    2                     THE COURT:    YOU'RE WELCOME.

02:42PM    3             (JURY OUT AT 2:42 P.M.)

02:43PM    4                     THE COURT:    PLEASE BE SEATED.   THANK YOU.

02:43PM    5             DR. DAS, YOU CAN STAND DOWN IF YOU WOULD LIKE.

02:43PM    6                     THE WITNESS:   THANK YOU.

02:43PM    7                     THE CLERK:    YOU CAN GO OUTSIDE OF THE COURTROOM

02:43PM    8       PROBABLY.

02:43PM    9                     THE COURT:    ALL RIGHT.   THE RECORD SHOULD REFLECT

02:43PM   10       THAT OUR JURY HAS LEFT FOR OUR BREAK, AND THE WITNESS HAS LEFT

02:43PM   11       THE COURTROOM.

02:43PM   12             MR. LEACH, YOU WANT A BREAK TO DO SOME REDACTIONS I THINK

02:43PM   13       YOU SAID?

02:43PM   14                     MR. LEACH:    YES, YOUR HONOR.    I THINK THERE ARE TWO

02:43PM   15       MORE PORTIONS OF THE REPORT THAT I'D LIKE TO ADMIT THROUGH THIS

02:43PM   16       WITNESS ON THE BASIS THAT WE DISCUSSED EARLIER.          I'D LIKE TO

02:43PM   17       WORK THROUGH THE REDACTIONS AND THEN I WILL BE COMPLETE.

02:43PM   18                     THE COURT:    ALL RIGHT.   TO THE EXTENT THAT YOU FEEL

02:43PM   19       COMFORTABLE, MAYBE YOU CAN SHARE THE REDACTIONS WITH

02:44PM   20       MR. WADE --

02:44PM   21                     MR. LEACH:    YES.

02:44PM   22                     THE COURT:    -- SO WE CAN TAKE CARE OF ANY OBJECTIONS

02:44PM   23       OR ANYTHING IF WE CAN, IF THAT'S POSSIBLE.

02:44PM   24             OKAY.    THANK YOU.

02:44PM   25                     MR. LEACH:    THANK YOU.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 167
                                                                               168 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5837


02:44PM    1                    MR. WADE:    YOUR HONOR, IF I MIGHT BRIEFLY?

02:44PM    2             I DID JUST WANT TO RAISE AND REITERATE, THE POINT THAT WE

02:44PM    3       RAISED BEFORE ABOUT THE AIDING AND ABETTING LIABILITY AND WHICH

02:44PM    4       IS NOWHERE AT ISSUE IN THIS CASE, AND WE RAISED IT AND

02:44PM    5       SPECIFICALLY RAISED THE IDEA OF FOCUSSING ON THAT ISSUE.

02:44PM    6             IT'S MY UNDERSTANDING FROM THE COLLOQUY THIS MORNING THAT

02:44PM    7       MR. LEACH WAS NOT GOING TO SPECIFICALLY FOCUS ON THAT.

02:44PM    8             INSTEAD, IN THE EXAMINATION HE DID EXACTLY THAT.          HE WENT

02:44PM    9       EXACTLY TO THAT PROVISION.       HE FOCUSSED ON THAT PROVISION,

02:44PM   10       WHICH IS NOT AT ISSUE, BUT CREATES THE IMPLICATION WITH THIS

02:44PM   11       JURY THAT IT IS AT ISSUE.

02:44PM   12             AND SO WE WOULD ASK THAT THE CURATIVE INSTRUCTION -- THAT

02:44PM   13       THE INSTRUCTION THAT WE PROVIDE BE SUBMITTED AND AN INSTRUCTION

02:44PM   14       BE GIVEN THAT THAT PROVISION IS NOT RELEVANT TO THIS MATTER.

02:45PM   15             I UNDERSTAND THAT WE HAVE EXTENSIVELY QUESTIONED WITNESSES

02:45PM   16       ON REGULATORY RESPONSIBILITIES.        ALL OF THOSE REGULATORY

02:45PM   17       RESPONSIBILITIES ARE RELEVANT TO THE ACTIONS IN THE CASE.

02:45PM   18             FOCUSSING ON THAT PROVISION AND CREATING THE IMPRESSION

02:45PM   19       THAT THERE IS SOME LIABILITY ON THE PART OF THE OWNER FOR

02:45PM   20       AIDING AND ABETTING A CLIA VIOLATION WHEN THAT IS NOT AN ISSUE

02:45PM   21       IN THIS CASE IS INCREDIBLY PREJUDICIAL.         SO WE --

02:45PM   22                    THE COURT:    I APPRECIATE THAT, AND WE DID DISCUSS

02:45PM   23       THIS.    THIS DOCUMENT WAS PUT IN EVIDENCE, I THINK BY THE

02:45PM   24       DEFENSE, AND AS I INDICATED, IT'S FAIR GAME TO EXAMINE ON WHAT

02:45PM   25       IT IS.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 168
                                                                               169 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5838


02:45PM    1             I THINK WHAT WE TALKED ABOUT THIS MORNING WAS THE

02:45PM    2       GOVERNMENT WOULD NOT BE PERMITTED TO ARGUE TO THE JURY IN ANY

02:45PM    3       WAY THAT THIS IS AN AIDING AND ABETTING CASE BASED ON A

02:45PM    4       REGULATORY SCHEME.

02:45PM    5             MR. LEACH?

02:45PM    6                    MR. LEACH:    THAT IS CORRECT, YOUR HONOR, AND I DID

02:45PM    7       NOT ARGUE THAT.     I DREW ATTENTION TO THE PROVISION.        BUT I IN

02:46PM    8       NO WAY SUGGESTED THAT MS. HOLMES AIDED AND ABETTED A CLIA

02:46PM    9       VIOLATION.

02:46PM   10             I WAS BRINGING SOMETHING TO THE JURY'S ATTENTION THAT IS

02:46PM   11       IN EVIDENCE THAT IS A POSSIBLE CONSEQUENCE AFFECTING OWNERS AND

02:46PM   12       OPERATORS OF ALL LABORATORIES, AND I DON'T THINK THERE WAS

02:46PM   13       ANYTHING INAPPROPRIATE WITH THE GOVERNMENT'S EXAMINATION ON

02:46PM   14       THAT POINT.

02:46PM   15                    THE COURT:    I THINK THAT -- AND I UNDERSTAND YOUR

02:46PM   16       CONCERN, THE DEFENSE CONCERN ABOUT THAT.

02:46PM   17             MY SENSE IS I WILL -- AND YOU'LL DRAFT IF YOU HAVEN'T

02:46PM   18       ALREADY.    YOU SUBMITTED SOMETHING, BUT I DON'T THINK THAT'S

02:46PM   19       APPROPRIATE TO GIVE THAT NOW.       I THINK IT'S APPROPRIATE TO GIVE

02:46PM   20       IT WITH FINAL INSTRUCTIONS.

02:46PM   21             I THINK IF I GIVE AN INSTRUCTION NOW, IT WILL ONLY

02:46PM   22       HIGHLIGHT IT.

02:46PM   23                    MR. WADE:    I'M OKAY WITH HIGHLIGHTING THIS ISSUE,

02:46PM   24       YOUR HONOR, BECAUSE I THINK IT CREATES -- THE IMPRESSION IS

02:46PM   25       RIPE IN THE AIR.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 169
                                                                               170 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5839


02:46PM    1             I UNDERSTAND THERE'S EVIDENCE IN THE CASE, BUT THERE'S

02:46PM    2       QUESTIONING OVER OBJECTION ABOUT A PROVISION THAT IS NOT

02:46PM    3       RELEVANT IN THE CASE AND FOCUSSING -- THERE'S NO EVIDENTIARY

02:46PM    4       VALUE IN DOING THAT, AND THERE'S A HIGH DEGREE OF PREJUDICE.

02:47PM    5       SO WE WOULD AGAIN REQUEST THAT THE INSTRUCTION BE GIVEN.

02:47PM    6             WE THINK IT'S BEEN PUT BEFORE THE JURY IN A WAY THAT WAS

02:47PM    7       INCONSISTENT WITH WHAT COUNSEL HAD REPRESENTED WOULD BE DONE,

02:47PM    8       AND WE THINK IT'S INCREDIBLY PREJUDICIAL.         SO WE THINK THE ONLY

02:47PM    9       REMEDY FOR US AT THIS POINT IS TO GIVE THE INSTRUCTION NOW TO

02:47PM   10       MAKE SURE WE AVOID THAT CONFUSION.

02:47PM   11                    THE COURT:    WELL, THANK YOU FOR THAT.

02:47PM   12             I DID -- PART OF OUR COLLOQUY THIS MORNING WAS THAT I

02:47PM   13       RECOGNIZED THE CROSS-EXAMINATION OF THE TWO PREVIOUS LAB

02:47PM   14       DIRECTORS AND THERE WAS EXTENSIVE AND MULTIPLE QUESTIONS POSED

02:47PM   15       TO THOSE DIRECTORS REGARDING YOU'RE RESPONSIBLE, YOU'RE

02:47PM   16       RESPONSIBLE.

02:47PM   17             AND THAT'S APPROPRIATE QUESTIONS.        AND I THINK IT'S

02:47PM   18       LEGALLY CORRECT, THEY WERE RESPONSIBLE.

02:47PM   19             AS I OBSERVED, SHOWING WHAT WAS ALREADY IN EVIDENCE AND

02:47PM   20       TALKING ABOUT THAT MIGHT EQUATE TO A BALANCING OF, WELL, THERE

02:47PM   21       ARE OTHER REGULATIONS ABOUT THAT.

02:47PM   22             BUT I AGREE WITH YOU, AND I THINK MR. LEACH AGREES WITH

02:48PM   23       YOU AND ME, THAT THIS IS NOT GOING TO BE ARGUED AT ALL AS ANY

02:48PM   24       EVIDENCE FOR CONVICTION IN THIS CASE.

02:48PM   25             I DON'T THINK THAT -- AS I SAY, I DON'T THINK A JURY



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 170
                                                                               171 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5840


02:48PM    1       INSTRUCTION RIGHT NOW WILL IN ANY WAY ASSUAGE THE CONCERNS THAT

02:48PM    2       YOU HAVE, BUT I THINK IT WOULD CAUSE MORE DAMAGE TO DRAW

02:48PM    3       ATTENTION TO THAT.      THAT'S JUST MY OPINION NOW.      I JUST THINK

02:48PM    4       THAT DRAWING ATTENTION TO IT NOW WILL PERHAPS CAUSE THEM TO

02:48PM    5       THINK ABOUT IT IN AN UNTOWARD MANNER.

02:48PM    6             MR. LEACH, DO YOU WANT TO BE HEARD ON THIS?

02:48PM    7                    MR. LEACH:    I DO BRIEFLY, YOUR HONOR.

02:48PM    8             I DON'T MEAN TO PROLONG THIS, BUT THE FACT THAT OWNERS AND

02:48PM    9       OPERATORS FACE REVOCATION OF THEIR CLIA CERTIFICATION IF AN

02:48PM   10       EMPLOYEE OR ANYBODY WITHIN THE LAB VIOLATES OR AIDS AND ABETS A

02:48PM   11       CLIA VIOLATION IS A MOTIVE TO MAINTAIN A GOOD LAB, AND ALSO

02:49PM   12       REALLY SCARY IF YOU'RE BEING TOLD THAT YOU'RE NOT MAINTAINING A

02:49PM   13       GOOD LAB.

02:49PM   14             SO IT'S THE EXISTENCE OF THE REGULATION THAT IS RELEVANT.

02:49PM   15             AND IT'S ALSO RELEVANT TO CONFRONT THE FALSE SUGGESTION

02:49PM   16       THAT -- AND I DON'T CAST ASPERSION ON MY COLLEAGUE WITH THAT,

02:49PM   17       BUT THERE IS AN IMPRESSION, THROUGH THE EXAMINATION OF

02:49PM   18       DR. ROSENDORFF, THAT ONLY THE LAB DIRECTOR HAS ANY

02:49PM   19       RESPONSIBILITY.

02:49PM   20             SO WE ARE NOT ARGUING THAT MS. HOLMES AIDED AND ABETTED A

02:49PM   21       VIOLATION.

02:49PM   22             BUT WE ARE SAYING THAT THIS REGULATION EXISTS AND IT'S

02:49PM   23       SOMETHING THAT OWNERS AND OPERATORS IN GENERAL ARE AFFECTED AND

02:49PM   24       MOTIVATED BY, AND I THINK THAT'S FAIR.

02:49PM   25                    THE COURT:    I THINK THE WAY IT WAS PRESENTED,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 171
                                                                               172 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5841


02:49PM    1       MR. WADE, WAS THAT THE LABORATORY COULD LOSE THEIR LICENSE, AND

02:49PM    2       THAT'S SOMETHING THAT COULD HAPPEN.

02:49PM    3             IT, IT DIDN'T TALK ABOUT CRIMINAL LIABILITY.         IT'S NOT A

02:49PM    4       CRIMINAL STATUTE.     IT'S A CIVIL STATUTE THAT HAS OTHER

02:49PM    5       RAMIFICATIONS, AND I CONTINUE TO BE COGNIZANT OF THE FACT THAT

02:50PM    6       EVIDENCE OF A VIOLATION OF A CIVIL STATUTE CANNOT AND WILL NOT

02:50PM    7       BE PERMITTED TO BE ARGUED FOR A CONVICTION OF A CRIMINAL

02:50PM    8       STATUTE.    THAT'S INAPPROPRIATE, AND WE ALL KNOW THAT.

02:50PM    9             THE STATUTE THAT WAS READ TALKS ABOUT LICENSE, THE LOSS OF

02:50PM   10       A LICENSE, AND THAT -- I THINK THAT'S A DIFFERENT, A DIFFERENT

02:50PM   11       FACTOR.

02:50PM   12                    MR. WADE:    NO.   TO BE SURE, IT IS, YOUR HONOR.      MY

02:50PM   13       ONLY POINT IS THAT THERE'S ABSOLUTELY NO EVIDENCE OR ALLEGATION

02:50PM   14       IN THIS CASE THAT MY CLIENT AIDED AND ABETTED A CLIA VIOLATION.

02:50PM   15             SO BY PUTTING THAT UP THERE, THEY'RE CREATING THE

02:50PM   16       IMPRESSION THAT MY CLIENT DID.       THAT'S WHY I SOUGHT TO PREVENT

02:50PM   17       THE ADMISSION OF IT.

02:50PM   18             IT'S DIFFERENT FROM QUESTIONS TO A LABORATORY DIRECTOR

02:50PM   19       ABOUT DO YOU HAVE THIS RESPONSIBILITY AND DO YOU HAVE THAT

02:50PM   20       RESPONSIBILITY WITHIN THE LAB?       DO THE REGULATIONS SAY YOU HAVE

02:50PM   21       ULTIMATE RESPONSIBILITY?

02:50PM   22             BY THE WAY, THE ANSWER TO ALMOST ALL OF THOSE QUESTIONS

02:50PM   23       WAS YES, AND IT WAS RELEVANT BECAUSE THOSE ARE THE ONES WHO ARE

02:50PM   24       DISPATCHING THE OBLIGATIONS WITHIN THE LABORATORY.

02:51PM   25             OUR -- MY CLIENT DOESN'T HAVE THE SAME RESPONSIBILITY.             IF



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 172
                                                                               173 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                               5842


02:51PM    1       ANYTHING, SHE'S EFFECTIVELY STRICTLY LIABLE WITHIN THE

02:51PM    2       REGULATORY SCHEME FOR THE ACTIONS OF OTHERS.

02:51PM    3             SO THEY'RE NOT REALLY ANALOGOUS IN THE SENSE THAT SHE

02:51PM    4       DOESN'T HAVE THAT -- HER RESPONSIBILITY IS TO HIRE A LAB

02:51PM    5       DIRECTOR -- OR THE COMPANY'S RESPONSIBILITY IS TO HIRE A LAB

02:51PM    6       DIRECTOR, AND THEN IT'S THE LAB DIRECTOR'S RESPONSIBILITY TO

02:51PM    7       DISPENSE THOSE OBLIGATIONS.

02:51PM    8             SO I THINK IT'S A FALSE COMPARISON.        AND TO CREATE THE

02:51PM    9       IMPRESSION WITH THIS JURY THAT THERE'S SOME AIDING AND ABETTING

02:51PM   10       I THINK IS INCREDIBLY PREJUDICIAL.

02:51PM   11                    THE COURT:    I UNDERSTAND THAT.

02:51PM   12             AND I RECALL ONE OF THE LAST QUESTIONS THAT YOU ASKED

02:51PM   13       DR. ROSENDORFF WAS ABOUT HIS ISSUES SUBSEQUENT TO EMPLOYMENT AT

02:51PM   14       THE COMPANY AND THE FACT THAT HE WAS -- POTENTIALLY ONE OF THE

02:51PM   15       RAMIFICATIONS OF THAT CONDUCT COULD BE THE LOSS OF A LICENSE.

02:51PM   16       I THINK THAT'S WHAT YOU ASKED HIM AT THE LAST PART, RIGHT.

02:52PM   17             AND SO --

02:52PM   18                    MR. WADE:    THAT WENT TO BIAS, YOUR HONOR.

02:52PM   19                    THE COURT:    RIGHT.    RIGHT.

02:52PM   20             BUT THE LOSS OF A LICENSE IS A BIG THING FOR A LAB

02:52PM   21       DIRECTOR.    I THINK WE CAN ALL AGREE WITH THAT.        THIS IS THE

02:52PM   22       REGULATION, ONE OF THE REGULATIONS THAT POINTS TO THAT.

02:52PM   23             BUT I TAKE YOUR POINT.        I DON'T THINK IT'S NECESSARY TO

02:52PM   24       GIVE THE INSTRUCTION NOW.

02:52PM   25             MY SENSE IS THAT WE STILL HAVE A LOT OF EVIDENCE TO GO.            I



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 173
                                                                               174 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5843


02:52PM    1       KNOW THE JURY IS TAKING NOTES.       THEY'RE BEING ATTENTIVE OF

02:52PM    2       THIS.

02:52PM    3              BUT THIS IS NOT GOING TO BE ARGUED IN ANY WAY, BE

02:52PM    4       PERMITTED TO BE ARGUED WHY THE GOVERNMENT FEELS IN THEIR

02:52PM    5       CLOSING ARGUMENT THAT THE JURY SHOULD REACH A CONVICTION AT

02:52PM    6       ALL.

02:52PM    7              AND IF YOU WANT TO PREPARE AN INSTRUCTION FOR FINAL

02:52PM    8       INSTRUCTIONS, I'LL LOOK AT IT.

02:52PM    9              I INTEND TO GIVE ONE THAT IS PROPHYLACTIC TO THAT EXTENT,

02:52PM   10       MR. LEACH.    AND YOUR TEAM CAN PUT SOMETHING TOGETHER, TOO, IF

02:52PM   11       YOU WOULD LIKE, BUT THERE WILL BE AN INSTRUCTION THAT TALKS

02:52PM   12       ABOUT THIS, ASSUMING YOU WANT IT TO BE GIVEN AT THAT POINT.

02:52PM   13              SO WE'LL TALK ABOUT IT THEN.

02:53PM   14                    MR. WADE:    OKAY.   THANK YOU, YOUR HONOR.

02:53PM   15                    MR. LEACH:    THANK YOU, YOUR HONOR.

02:53PM   16                    THE COURT:    ALL RIGHT.   THANK YOU.

02:53PM   17              (RECESS FROM 2:53 P.M. UNTIL 3:22 P.M.)

03:22PM   18              (JURY IN AT 3:22 P.M.)

03:22PM   19                    THE COURT:    THANK YOU.   WE'RE BACK ON THE RECORD.

03:22PM   20       ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.

03:22PM   21       MS. HOLMES IS PRESENT.

03:22PM   22              DR. DAS IS ON THE STAND.

03:22PM   23              MR. LEACH?

03:22PM   24                    MR. LEACH:    THANK YOU, YOUR HONOR.

03:22PM   25       Q.     GOOD AFTERNOON, DR. DAS.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 174
                                                                               175 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                               5844


03:22PM    1             I'D LIKE TO GO BACK TO EXHIBIT 4621, AND I THINK WE'RE NOW

03:22PM    2       PREPARED TO DISPLAY THE PORTIONS OF 51, 52, 53, AND 54 THAT

03:22PM    3       WERE ADMITTED BUT WE WERE UNABLE TO REDACT IN THE MOMENT.

03:23PM    4                     THE COURT:    OH MY GOSH.   DOES IT HAVE TO WARM UP?

03:23PM    5                     MR. LEACH:    IT WAS TIRED.

03:23PM    6                     THE COURT:    I'LL SPARE COMMENT.    IT HAS TO WARM UP,

03:23PM    7       DOES IT?

03:23PM    8             AH.    THERE WE GO.

03:23PM    9                     MR. LEACH:    I BELIEVE WE'RE ONLY SHOWING THE BOTTOM

03:23PM   10       PORTION, THE D TAG 5791 AT THE BOTTOM OF THE PAGE.

03:24PM   11                     THE COURT:    AND COULD YOU IDENTIFY JUST FOR THE

03:24PM   12       RECORD THIS PAGE, PLEASE, MR. LEACH?

03:24PM   13                     MR. LEACH:    I WILL, YOUR HONOR.    YES, YOUR HONOR.

03:24PM   14             WE'RE LOOKING AT PAGE 51 OF EXHIBIT 4621.         DOWN AT THE

03:24PM   15       BOTTOM OF THE PAGE TO THE LEFT THERE'S AN I.D. PREFIX TAG

03:24PM   16       D5791.

03:24PM   17       Q.    DO YOU SEE THAT, DR. DAS?

03:24PM   18       A.    I DO.

03:24PM   19       Q.    AND JUST TO ORIENT US, TO THE RIGHT IS THERE A CODE

03:24PM   20       SECTION WITHIN CLIA?

03:24PM   21       A.    YES.

03:24PM   22       Q.    THAT'S 493.1289.      THAT'S ONE OF THE REGULATIONS RELATING

03:24PM   23       TO OPERATION OF THE CLIA LAB?

03:24PM   24       A.    YES.

03:24PM   25       Q.    AND THEN BENEATH THAT IN PARAGRAPH A IT SAYS, "THE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 175
                                                                               176 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5845


03:24PM    1       LABORATORY MUST ESTABLISH AND FOLLOW WRITTEN POLICIES AND

03:24PM    2       PROCEDURES FOR AN ONGOING MECHANISM TO MONITOR, ASSESS, AND

03:25PM    3       WHEN INDICATED, CORRECT PROBLEMS IDENTIFIED IN THE ANALYTIC

03:25PM    4       SYSTEMS SPECIFIED."

03:25PM    5              DO YOU SEE THAT LANGUAGE?

03:25PM    6       A.     YES.

03:25PM    7       Q.     AND IS THAT ESSENTIALLY SPELLING OUT THE CLIA REQUIREMENT?

03:25PM    8       A.     YES.

03:25PM    9       Q.     OKAY.   AND IF WE CAN GO TO PAGE 52, MS. HOLLIMAN, I THINK

03:25PM   10       ONLY THE TOP PORTION GOING -- THERE WE GO.

03:25PM   11              IF WE COULD HIGHLIGHT THE TOP PORTION OF THIS PAGE.

03:25PM   12              DR. DAS, DO YOU SEE THE REGULATORY REQUIREMENT CONTINUES

03:25PM   13       IN COLUMN 2 BENEATH THE WORDS "CONTINUED FROM PAGE 47"?

03:25PM   14       A.     YES.

03:25PM   15       Q.     IS THAT HOW YOU READ THIS DOCUMENT?

03:25PM   16       A.     YES.

03:25PM   17       Q.     AND THEN IT SAYS, "THIS STANDARD IS NOT MET AS EVIDENCED

03:26PM   18       BY."

03:26PM   19              DO YOU SEE THAT LANGUAGE?

03:26PM   20       A.     YES.

03:26PM   21       Q.     AND IS STANDARD A TERM OF ART IN THE CLIA REGULATIONS?

03:26PM   22       A.     YES.

03:26PM   23       Q.     AND HOW DOES A STANDARD COMPARE TO A CONDITION?

03:26PM   24       A.     I BELIEVE IT IS LESS SEVERE.

03:26PM   25       Q.     THEN DOES THE FORMAT OF THE 2567 LAY OUT PARTICULAR



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 176
                                                                               177 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5846


03:26PM    1       FINDINGS BY CMS AS TO HOW, IN CMS'S VIEW, THAT STANDARD WAS NOT

03:26PM    2       MET?

03:26PM    3       A.     YES.

03:26PM    4       Q.     AND THAT'S WHAT YOU'RE TRYING TO RESPOND TO IN THE COURSE

03:26PM    5       OF YOUR WORK?

03:26PM    6       A.     YES.

03:26PM    7       Q.     IF WE CAN GO TO PAGE 53, DO YOU SEE THE FINDING AT THE

03:26PM    8       BOTTOM, "BASED ON REVIEW OF QUALITY CONTROL DATA AND MONTHLY QC

03:27PM    9       REPORTS, THE LABORATORY FAILED TO HAVE A QUALITY ASSESSMENT

03:27PM   10       PROCEDURE TO IDENTIFY AND CORRECT PROBLEMS WITH QC VALUES FOR

03:27PM   11       THE THERANOS PROPRIETARY SYSTEM (TPS) WHEN PRECISION DID NOT

03:27PM   12       MEET THE LABORATORY'S REQUIREMENT FOR PRECISION."

03:27PM   13              DO YOU SEE THAT?

03:27PM   14       A.     YES.

03:27PM   15       Q.     AND IS PRECISION A TERM THAT YOU'RE FAMILIAR WITH IN YOUR

03:27PM   16       WORK AS THE LAB DIRECTOR?

03:27PM   17       A.     YES.

03:27PM   18       Q.     AND WHAT IS PRECISION?

03:27PM   19       A.     IT'S A MEASURE OF THE SPREAD OF DATA.

03:27PM   20       Q.     AND IN THE COURSE OF RESPONDING TO THE 2567, DID YOU

03:27PM   21       REVIEW A BROAD RANGE OF PRECISION DATA?

03:27PM   22       A.     YES.

03:27PM   23       Q.     LET'S GO TO PAGE 54, AND IF WE COULD ZOOM IN,

03:27PM   24       MS. HOLLIMAN, ON THE TAGS DOWN TO D.

03:28PM   25              DO YOU SEE IN B, DR. DAS, WHERE IT SAYS, "QC RESULTS WERE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 177
                                                                               178 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5847


03:28PM    1       REVIEWED FROM JUNE 2014 THROUGH NOVEMBER 2014 AND JANUARY

03:28PM    2       THROUGH FEBRUARY 2015 FOR VITAMIN B12, VITAMIN D, AND SEX

03:28PM    3       HORMONE BINDING GLOBULIN WHICH WERE USED FOR PATIENT TESTING ON

03:28PM    4       THE TPS DEVICES."

03:28PM    5             DO YOU SEE THAT LANGUAGE?

03:28PM    6       A.    YES.

03:28PM    7       Q.    AND IS THIS ALSO DATA THAT YOU REVIEWED IN THE COURSE OF

03:28PM    8       YOUR WORK?

03:28PM    9       A.    YES.

03:28PM   10       Q.    IN C IT SAYS, "VITAMIN B12 QC LEVEL 1 AND LEVEL 3 ON

03:28PM   11       DEVICE E 110 REVEALED THE FOLLOWING PERCENT CV:          34.3 PERCENT

03:28PM   12       AND 48.5 PERCENT RESPECTIVELY FROM JANUARY 5TH, '15 THROUGH

03:29PM   13       1-30-15."

03:29PM   14             DO YOU SEE THAT LANGUAGE?

03:29PM   15       A.    YES.

03:29PM   16       Q.    AND THE DEVICE E 110, DID YOU UNDERSTAND THAT TO REFER TO

03:29PM   17       A PARTICULAR EDISON DEVICE WITHIN THE LAB?         DID YOU UNDERSTAND

03:29PM   18       THAT TO REFER TO A DEVICE WITHIN THE LAB?

03:29PM   19       A.    YES.

03:29PM   20       Q.    AND THE QC LEVEL 1 AND LEVEL 3, WHAT DID YOU UNDERSTAND

03:29PM   21       THOSE TO REFER TO?

03:29PM   22       A.    THOSE ARE DIFFERENT LEVELS OF THE RESPECTIVE TEST QC, IN

03:29PM   23       THIS CASE VITAMIN B12.

03:29PM   24       Q.    AND CAN YOU -- AND WHAT IS THE PURPOSE OF DIFFERENT

03:29PM   25       LEVELS?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 178
                                                                               179 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5848


03:29PM    1       A.    A LABORATORY IS REQUIRED TO RUN MULTIPLE LEVELS FOR EVERY

03:29PM    2       QUANTITATIVE TEST, SO --

03:29PM    3       Q.    SO A HIGH LEVEL, A LOW LEVEL, SOMETHING IN BETWEEN?

03:29PM    4       A.    CORRECT.

03:29PM    5       Q.    OKAY.   AND THIS SAYS THE QC LEVEL 1 AND 3 WERE 34.3 AND

03:29PM    6       48.5 PERCENT.

03:29PM    7             WHAT WAS -- WHAT DID YOU UNDERSTAND THAT TO MEAN?

03:30PM    8       A.    IT APPEARS THEY'RE REFERENCING THOSE PARTICULAR LEVELS FOR

03:30PM    9       THOSE QC.

03:30PM   10       Q.    AND ARE THESE DESIRABLE LEVELS OF QC OR UNDESIRABLE LEVELS

03:30PM   11       OF QC?

03:30PM   12       A.    THOSE WOULD BE UNDESIRABLE.

03:30PM   13       Q.    AND IS THIS SOMETHING THAT YOU LOOKED INTO AS THE

03:30PM   14       LABORATORY DIRECTOR?

03:30PM   15       A.    YES.

03:30PM   16       Q.    AND IF WE COULD ZOOM IN.

03:30PM   17             IN D THERE'S SOME REFERENCE TO VITAMIN B12, QC1, AND QC3

03:30PM   18       ON DEVICE E 1085.

03:30PM   19             IS THIS SIMILAR INFORMATION RELATING TO A DIFFERENT EDISON

03:30PM   20       DEVICE THAT WAS BEING USED IN THE CLIA LAB?

03:30PM   21       A.    YES.

03:30PM   22       Q.    AND IS THAT SOMETHING THAT YOU INVESTIGATED?

03:30PM   23       A.    YES.

03:30PM   24       Q.    IF WE CAN ZOOM OUT, MS. HOLLIMAN, AND LOOK AT E THROUGH L,

03:30PM   25       OR E THROUGH LITTLE I.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 179
                                                                               180 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5849


03:31PM    1              DR. DAS, DID YOU UNDERSTAND THESE TO BE ADDITIONAL

03:31PM    2       EXAMPLES OF HIGH CV IN QC TESTING ON DEVICES WITHIN THE CLIA

03:31PM    3       LAB?

03:31PM    4       A.     YES.

03:31PM    5       Q.     AND SIMILAR TO WHAT WE LOOKED AT BEFORE, ARE THESE ISSUES

03:31PM    6       THAT YOU INVESTIGATED AS PART OF YOUR WORK?

03:31PM    7       A.     YES.

03:31PM    8       Q.     AND AT ANY POINT IN TIME, DID YOU DISAGREE WITH WHAT CMS

03:31PM    9       WAS FINDING HERE?

03:31PM   10       A.     NO.

03:31PM   11       Q.     LET ME DRAW YOUR ATTENTION TO --

03:31PM   12              YOU CAN TAKE THAT DOWN, MS. HOLLIMAN.

03:31PM   13              LET ME DRAW YOUR ATTENTION, PLEASE, TO PAGE 40 OF

03:31PM   14       EXHIBIT 4621.

03:32PM   15              DO YOU HAVE THAT IN FRONT OF YOU, SIR?

03:32PM   16       A.     I DO.

03:32PM   17       Q.     OKAY.    AND DO YOU SEE A D TAG, D5481?

03:32PM   18       A.     YES.

03:32PM   19       Q.     AND DOES THIS D TAG RELATE TO CONTROL PROCEDURES?

03:32PM   20       A.     YES.

03:32PM   21       Q.     INCLUDING CONTROL PROCEDURES FOR EDISON DEVICES AND ASSAY

03:32PM   22       PT INR?

03:32PM   23       A.     YES.

03:32PM   24                      MR. LEACH:   YOUR HONOR, I OFFER -- AND I'VE PROVIDED

03:32PM   25       THESE REDACTIONS TO MR. WADE, BUT AT THIS POINT I'M OFFERING



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 180
                                                                               181 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5850


03:32PM    1       EVERYTHING ON PAGE 40 FROM THE D TAG 5481 DOWN THROUGH PAGE 47,

03:33PM    2       WITH A REDACTION ON PAGE 45 BEGINNING WITH PARAGRAPH 1 IN THE

03:33PM    3       SECOND COLUMN FROM THE LEFT, AND WITH ANOTHER REDACTION ON

03:33PM    4       PAGE 46 WITH THE PARAGRAPH FOR B.

03:33PM    5             AND I'VE PROVIDED THESE TO THE DEFENSE.

03:33PM    6                    MR. WADE:    YOUR HONOR, I'M NOT SURE THE FOUNDATION

03:33PM    7       HAS BEEN LAID WITH RESPECT TO THESE.

03:33PM    8                    THE COURT:    CAN YOU LAY A FOUNDATION, MR. LEACH?

03:33PM    9                    MR. LEACH:    YES.

03:33PM   10                    THE COURT:    EXCUSE ME.   IS THAT YOUR -- OTHER THAN

03:33PM   11       THAT, THAT'S YOUR ONLY OBJECTION, WHICH IS TO SAY THAT YOU

03:33PM   12       AGREE WITH THE REDACTIONS?

03:33PM   13                    MR. WADE:    I UNDERSTAND THE REDACTIONS.      I MAY HAVE

03:33PM   14       AN OBJECTION.

03:33PM   15             BUT I'M JUST TRYING TO UNDERSTAND THE FOUNDATION AND THE

03:34PM   16       PURPOSE FOR WHICH THEY'RE OFFERED.

03:34PM   17                    THE COURT:    THANK YOU.

03:34PM   18                    MR. LEACH:    I'LL LAY MORE FOUNDATION, YOUR HONOR.

03:34PM   19       Q.    DR. DAS, IF YOU COULD JUST LOOK BRIEFLY AT PARAGRAPH 1 ON

03:34PM   20       PAGE 40, IS THERE A REFERENCE TO QC FOR AN ASSAY CALLED PT INR?

03:34PM   21       A.    YES.

03:34PM   22       Q.    AND WAS PT INR ONE OF THE TESTS THAT THERANOS VOIDED?

03:34PM   23       A.    YES.

03:34PM   24       Q.    AND DID YOU HAVE DISCUSSIONS WITH MS. HOLMES ABOUT THE

03:34PM   25       PT INR ASSAY AND HOW IT WAS RUN AT THERANOS?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 181
                                                                               182 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5851


03:34PM    1       A.    YES.

03:34PM    2       Q.    IF I DRAW YOUR ATTENTION TO PAGE 41, DO YOU SEE TOWARDS

03:34PM    3       THE BOTTOM IN PARAGRAPH 2 THERE BEGINS A DISCUSSION RELATING TO

03:35PM    4       QC AND VARIOUS ASSAYS ON THE EDISON DEVICE?

03:35PM    5       A.    YES.

03:35PM    6       Q.    AND DOES THAT CONTINUE TO PAGE 45?

03:35PM    7       A.    YES.

03:35PM    8       Q.    AND DID YOU DISCUSS WITH MS. HOLMES QC ISSUES RELATED TO

03:35PM    9       THE EDISON DEVICE DURING THE TIME PERIOD BEFORE YOU BECAME THE

03:35PM   10       LAB DIRECTOR?

03:35PM   11       A.    YES.

03:35PM   12       Q.    AND DID THERANOS ULTIMATELY VOID ALL OF THE TESTS ON THE

03:35PM   13       EDISON DEVICE?

03:35PM   14       A.    YES.

03:35PM   15       Q.    AND IF YOU CONTINUE ON PAGE 45, THERE'S A D TAG, D575

03:35PM   16       COMPARISON OF TEST RESULTS.

03:36PM   17             DO YOU SEE THAT?

03:36PM   18       A.    MR. LEACH, DO YOU MEAN D5775?

03:36PM   19       Q.    I DO.   THANK YOU.

03:36PM   20             AND DO YOU SEE THAT DISCUSSION CONTINUES ON TO PAGE 46 AND

03:36PM   21       47 WITH PARTICULAR REFERENCE TO THE EDISON DEVICE?

03:36PM   22       A.    YES.

03:36PM   23       Q.    AND DID YOU HAVE DISCUSSIONS WITH MS. HOLMES ABOUT STUDIES

03:36PM   24       THAT THERANOS HAD PREPARED RELATING TO THE EDISON DEVICE?

03:36PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 182
                                                                               183 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5852


03:36PM    1                    MR. LEACH:    YOUR HONOR, I OFFER THESE PAGES AS I'VE

03:36PM    2       DESCRIBED AS EVIDENCE OF STATE OF MIND.

03:36PM    3                    MR. WADE:    SAME OBJECTIONS AS PREVIOUSLY NOTED.

03:36PM    4             AND I TAKE IT STATE OF MIND AS OF THIS TIME PERIOD.

03:36PM    5                    THE COURT:    YES.

03:36PM    6                    MR. WADE:    YEAH.

03:36PM    7                    THE COURT:    IS THAT RIGHT, MR. LEACH?

03:36PM    8                    MR. LEACH:    YES.

03:36PM    9                    THE COURT:    ALL RIGHT.   THANK YOU.    THE OBJECTION IS

03:36PM   10       OVERRULED.

03:37PM   11             LADIES AND GENTLEMEN, THESE WILL BE ADMITTED NOT FOR THE

03:37PM   12       TRUTH OF THE MATTER ASSERTED IN THE DOCUMENTS, BUT RATHER TO

03:37PM   13       SHOW EVIDENCE OF THE STATE OF MIND AS TO INTENT, KNOWLEDGE.

03:37PM   14             IS THAT CORRECT, MR. LEACH, INTENT AND KNOWLEDGE --

03:37PM   15                    MR. LEACH:    YES, YOUR HONOR.

03:37PM   16                    THE COURT:    -- AS TO MS. HOLMES.      IT'S OFFERED FOR

03:37PM   17       THAT PURPOSE ONLY.

03:37PM   18             (GOVERNMENT'S EXHIBIT 4621, AS REDACTED, WAS RECEIVED IN

03:37PM   19      EVIDENCE.)

03:37PM   20       BY MR. LEACH:

03:37PM   21       Q.    AND MS. HOLLIMAN, IF WE CAN NOW PLEASE DISPLAY PAGE 40 AS

03:37PM   22       REDACTED.

03:37PM   23             DR. DAS, DO YOU SEE IN THE LEFT THERE'S THE NUMBER D5481?

03:37PM   24       A.    YES.

03:37PM   25       Q.    IS THAT A REFERENCE TO THE D TAG FOR THIS IDENTIFIED



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 183
                                                                               184 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5853


03:38PM    1       DEFICIENCY?

03:38PM    2       A.    YES.

03:38PM    3       Q.    OKAY.   AND IS THERE A RESTATEMENT OF THE REGULATORY

03:38PM    4       PROVISION IN THE COLUMN TO THE RIGHT BRIEFLY IN F AND G?

03:38PM    5       A.    YES.

03:38PM    6       Q.    OKAY.   AND THEN IT SAYS, "THIS STANDARD IS NOT MET AS

03:38PM    7       EVIDENCED BY."

03:38PM    8             DO YOU SEE THAT LANGUAGE?

03:38PM    9       A.    YES.

03:38PM   10       Q.    AND THEN DOES CMS LIST THE PARTICULAR FINDINGS AND

03:38PM   11       EVIDENCE THAT RELATE TO THIS PARTICULAR STANDARD?

03:38PM   12       A.    YES.

03:38PM   13       Q.    OKAY.   AND THIS RELATES TO QC FOR SOMETHING CALLED PT INR.

03:38PM   14             WHAT IS PT INR?

03:38PM   15       A.    IT IS A BLOOD CLOTTING TEST.

03:38PM   16       Q.    AND DID -- IN RESPONSE TO THE 2567, DID YOU ULTIMATELY

03:38PM   17       DETERMINE TO -- THAT THERE WERE ERRORS IN THE PT INR TEST?

03:38PM   18       A.    YES.

03:38PM   19       Q.    AND DESCRIBE THOSE FOR US, PLEASE.

03:39PM   20       A.    YES.    THERE WERE ACTUALLY A VARIETY OF FINDINGS.        ONE OF

03:39PM   21       THEM WAS ERRORS IN THE CALCULATION OF THE VALUES THAT HAS TO DO

03:39PM   22       WITH EACH LOT THAT IS USED FOR THIS ASSAY ON THE SIEMENS

03:39PM   23       INSTRUMENT.

03:39PM   24             THERE WERE ALSO DEVIATIONS IN THE PATIENT TEST RESULT

03:39PM   25       DISTRIBUTIONS, AS WELL AS QUALITY CONTROL ISSUES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 184
                                                                               185 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5854


03:39PM    1       Q.    AND DID --

03:39PM    2                    MR. WADE:    YOUR HONOR, PARDON ME.     JUST MOVE TO

03:39PM    3       STRIKE ON 702 GROUNDS.

03:39PM    4                    THE COURT:    I'M GOING TO SUSTAIN THE OBJECTION.

03:39PM    5             AND THAT LAST PORTION IS STRICKEN, LADIES AND GENTLEMEN.

03:39PM    6       BY MR. LEACH:

03:39PM    7       Q.    DID YOU -- IN COMMUNICATING TO CMS, DID YOU DESCRIBE THE

03:39PM    8       BASES -- DID YOU TELL CMS THAT THERANOS WAS VOIDING PT INR

03:39PM    9       TESTS?

03:39PM   10       A.    YES.

03:39PM   11       Q.    AND DID YOU EXPLAIN TO THEM WHY THERANOS WAS DOING THAT?

03:39PM   12       A.    YES.

03:39PM   13       Q.    WHAT DID YOU TELL CMS?

03:40PM   14       A.    I DO NOT RECALL THE EXACT LANGUAGE, BUT IT REFLECTED THE

03:40PM   15       INACCURATE CALCULATIONS, AS WELL AS QUALITY CONTROL ISSUES AND

03:40PM   16       INACCURACIES REFLECTED IN THE PATIENT TEST RESULT

03:40PM   17       DISTRIBUTIONS.

03:40PM   18       Q.    LET'S GO FURTHER IN TIME IN THIS DOCUMENT TO PAGE 41.              IF

03:40PM   19       WE CAN HIGHLIGHT D THROUGH H -- OR ACTUALLY D THROUGH I.            I'M

03:40PM   20       SORRY, MS. HOLLIMAN.

03:40PM   21             DO YOU SEE, DR. DAS, IN D WHERE IT SAYS, "ON

03:40PM   22       SEPTEMBER 7TH, 2015, CITROL 3 WAS RUN SEVEN TIMES WITHOUT

03:41PM   23       OBTAINING AN ACCEPTABLE QC VALUE"?

03:41PM   24       A.    YES.

03:41PM   25       Q.    AND FURTHER DOWN IN I, IT SAYS, "81 PATIENTS WERE REPORTED



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 185
                                                                               186 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5855


03:41PM    1       FROM APRIL 1ST, 2015 THROUGH 9/16/15."

03:41PM    2             DO YOU SEE THAT LANGUAGE?

03:41PM    3       A.    YES.

03:41PM    4       Q.    AND WHAT WAS THE THRUST OF THE DEFICIENCY AS YOU

03:41PM    5       UNDERSTOOD IT THAT WAS BEING BROUGHT TO YOUR ATTENTION?

03:41PM    6       A.    WHAT IS BEING REFERENCED HERE IS THAT PATIENT RESULTS WERE

03:41PM    7       RECORDED WHEN QUALITY CONTROLS WERE NOT RECORDED.

03:41PM    8       Q.    AND EXPLAIN WHY THAT'S, EXPLAIN WHY THAT'S AN ISSUE.

03:41PM    9       A.    QUALITY CONTROL MUST BE RUN DAILY WHEN PATIENT TEST

03:41PM   10       RESULTS ARE BEING RUN ON ANY ASSAY.

03:41PM   11       Q.    SO IF YOU RUN QUALITY CONTROL AND YOU FAIL QUALITY CONTROL

03:41PM   12       FOR WHATEVER REASON, YOU SHOULDN'T BE REPORTING A TEST?

03:41PM   13       A.    THAT'S RIGHT.

03:41PM   14       Q.    AND IS THIS LISTING EXAMPLES OF WHERE IT APPEARED THAT

03:41PM   15       THERANOS WAS RUNNING TESTS AFTER NOT PASSING QUALITY CONTROL?

03:41PM   16       A.    YES.

03:41PM   17                    MR. WADE:    YOUR HONOR, MOVE TO STRIKE.      IT'S BEYOND

03:42PM   18       THE SCOPE OF WHAT THE EVIDENCE IS OFFERED FOR.

03:42PM   19                    THE COURT:    YOU CAN ASK THAT IN A DIFFERENT WAY.

03:42PM   20       I'LL SUSTAIN THE OBJECTION AND STRIKE THAT ANSWER.

03:42PM   21       BY MR. LEACH:

03:42PM   22       Q.    AS PART OF YOUR WORK, DR. DAS, DID YOU INVESTIGATE WHETHER

03:42PM   23       THERE WERE INSTANCES WHERE THERANOS REPORTED PATIENT RESULTS

03:42PM   24       AFTER NOT PASSING QUALITY CONTROL?

03:42PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 186
                                                                               187 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5856


03:42PM    1       Q.    AND DID YOU FIND EXAMPLES OF THAT RELATING TO PT INR?

03:42PM    2       A.    YES.

03:42PM    3                    MR. WADE:    702, YOUR HONOR.

03:42PM    4                    THE COURT:    OVERRULED.

03:42PM    5       BY MR. LEACH:

03:42PM    6       Q.    YOU FOUND EXAMPLES OF THAT?

03:42PM    7       A.    YES.

03:42PM    8       Q.    DID YOU ALSO -- LOOKING DOWN AT PARAGRAPH 2, DO YOU SEE

03:42PM    9       THAT THE FINDING HERE IS BASED ON A REVIEW OF THE QUALITY

03:42PM   10       CONTROL PROCEDURE, QC RECORDS, AND RAW DATA FROM PATIENT TEST

03:43PM   11       RUNS AND INTERVIEW WITH THE GENERAL SUPERVISOR, THE LABORATORY

03:43PM   12       FAILED TO ENSURE THAT THE QC WAS ACCEPTABLE FOR THE TPS SYSTEM,

03:43PM   13       OR THERANOS PROPRIETARY SYSTEM, PRIOR TO REPORTING PATIENT TEST

03:43PM   14       RESULTS.

03:43PM   15             DO YOU SEE THAT?

03:43PM   16       A.    YES.

03:43PM   17       Q.    IN YOUR MIND, WAS THIS RAISING A SIMILAR ISSUE WITH THE

03:43PM   18       EDISONS THAT WAS RAISED WITH RESPECT TO PT INR?

03:43PM   19       A.    YES.

03:43PM   20                    MR. WADE:    702, YOUR HONOR.

03:43PM   21                    THE COURT:    OVERRULED.

03:43PM   22       BY MR. LEACH:

03:43PM   23       Q.    AND DID YOU INVESTIGATE WHETHER THERE WERE INSTANCES WHERE

03:43PM   24       THERANOS REPORTED PATIENT RESULTS FROM THE EDISON DEVICE AFTER

03:43PM   25       FAILING QUALITY CONTROL?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 187
                                                                               188 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5857


03:43PM    1       A.    YES.

03:43PM    2       Q.    AND DID YOU FIND INSTANCES OF THAT?

03:43PM    3       A.    YES.

03:43PM    4       Q.    MORE THAN ONE?

03:43PM    5       A.    YES.

03:43PM    6       Q.    AND WAS THAT AN ISSUE?

03:43PM    7       A.    YES.

03:43PM    8       Q.    WHY IS THAT?

03:43PM    9       A.    FOR THE REASONS I DELINEATED EARLIER.        IT'S REQUIRED TO DO

03:43PM   10       QUALITY CONTROL ON EVERY DAY THAT PATIENT TEST RESULTS ARE RUN.

03:44PM   11       Q.    LET ME GO, PLEASE, TO PAGE -- LET ME GO TO PAGE 42, AND I

03:44PM   12       WANT TO DRAW YOUR ATTENTION TO PARAGRAPHS D THROUGH G.

03:44PM   13             DO YOU SEE WHERE IT SAYS IN D, "QC RECORDS FOR SEX HORMONE

03:44PM   14       BINDING GLOBULIN, SHOWED THAT ON DEVICE E 1025, QC LEVEL 2'S,

03:44PM   15       24 EXPIRATION WAS ON 8/14/14 AT 18:54 AND WAS NOT RUN AGAIN

03:44PM   16       UNTIL 8/15/14.     PATIENT DATA SHOWED THAT PATIENT SESSION," AND

03:45PM   17       THERE'S A NUMBER, "WAS RUN ON 8/14/14 AT 19:09."

03:45PM   18             DO YOU SEE THAT LANGUAGE?

03:45PM   19       A.    YES.

03:45PM   20       Q.    AND IN YOUR MIND, DID YOU UNDERSTAND THIS -- WAS THIS CMS

03:45PM   21       RAISING THE ISSUE OF THERANOS REPORTING PATIENT RESULTS FOR

03:45PM   22       THIS PARTICULAR ASSAY AFTER FAILING QUALITY CONTROL?

03:45PM   23       A.    YES.

03:45PM   24       Q.    AND THAT'S AN ISSUE THAT YOU INVESTIGATED AS WELL?

03:45PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 188
                                                                               189 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                                5858


03:45PM    1       Q.    AND YOU FOUND INSTANCES WHERE THAT HAPPENED?

03:45PM    2       A.    YES.

03:45PM    3       Q.    LET ME DRAW YOUR ATTENTION, PLEASE, TO PAGE 43.          AND I

03:45PM    4       WANT TO DRAW YOUR ATTENTION TO THE FINDING L AT THE BOTTOM.

03:45PM    5             DO YOU SEE WHERE IT SAYS, "QC RECORDS FOR VITAMIN B12

03:45PM    6       SHOWED THAT ON DEVICE E 37, QC1 HAD A '10X WARNING' MESSAGE"?

03:46PM    7       A.    YES.

03:46PM    8       Q.    AND WHAT IS A 10X WARNING MESSAGE?

03:46PM    9       A.    THAT IS REFERRING TO A QUALITY CONTROL FAILURE WHERE THE

03:46PM   10       QUALITY CONTROL RESULTS LIE ON ONE SIDE OF THE MEAN EITHER

03:46PM   11       ABOVE OR BELOW TEN TIMES CONSECUTIVELY.

03:46PM   12       Q.    AND IN THE COURSE OF YOUR WORK, DID YOU SEE INSTANCES

03:46PM   13       WHERE THERANOS CONTINUED TO REPORT PATIENT RESULTS AFTER THIS

03:46PM   14       10X WARNING HAD COME UP?

03:46PM   15       A.    YES.

03:46PM   16       Q.    PLEASE LOOK AT THE NEXT PAGE, PAGE 44.

03:46PM   17             AND IF I COULD FOCUS ON THE SECOND HALF BEGINNING WITH THE

03:46PM   18       FINDING AT O THROUGH Q.

03:46PM   19             DO YOU SEE, DR. DAS, WHERE IT SAYS, "LEVEY-JENNINGS CHARTS

03:47PM   20       REVEALED THAT SHBG DEVICE E 26 QC1 HAD 13 CONSECUTIVE DAYS AND

03:47PM   21       QC2 HAD 15 CONSECUTIVE DAYS THAT THE RESULTS WERE AT LEAST TWO

03:47PM   22       STANDARD DEVIATIONS BELOW THE MEAN FROM SEPTEMBER 30TH, 2014,

03:47PM   23       THROUGH 10/29/14."

03:47PM   24             DO YOU SEE THAT LANGUAGE?

03:47PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 189
                                                                               190 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5859


03:47PM    1       Q.    DID YOU ALSO REVIEW LEVEY-JENNINGS CHARTS IN THE COURSE OF

03:47PM    2       YOUR WORK IN INVESTIGATING THE 2567?

03:47PM    3       A.    YES.

03:47PM    4       Q.    AND IT'S BEEN A WHILE SINCE WE'VE HEARD THAT TERM, BUT

03:47PM    5       WHAT IS A LEVEY-JENNINGS CHART?

03:47PM    6       A.    IT'S ALSO KNOWN AS A CONTROL CHART.        IT'S JUST A WAY TO

03:47PM    7       CHART QUALITY CONTROL VALUES OVER TIME WITH RESPECT TO THE

03:47PM    8       EXPECTED MEAN AND STANDARD DEVIATIONS.

03:47PM    9       Q.    AND AT ANY POINT IN TIME DID YOU COMMUNICATE TO CMS THAT

03:47PM   10       YOU DISAGREED WITH THIS FINDING?

03:47PM   11       A.    NO.

03:47PM   12       Q.    THAT WOULD BE TRUE OF THE FINDINGS IN P AND Q RELATED TO

03:48PM   13       THE LEVY-JENNINGS CHARTS?

03:48PM   14       A.    YES.

03:48PM   15       Q.    WE TALKED A LITTLE BIT ABOUT --

03:48PM   16             THANK YOU, MS. HOLLIMAN.      WE CAN TAKE THAT DOWN.

03:48PM   17             DURING THE COURSE OF YOUR WORK, DID YOU BECOME FAMILIAR

03:48PM   18       WITH THE ARIZONA LAB, THE MODERATE COMPLEXITY ARIZONA LAB?

03:48PM   19       A.    YES.

03:48PM   20       Q.    AND AS A RESULT OF YOUR WORK, THE TESTING THAT WAS DONE IN

03:48PM   21       THE ARIZONA LAB WAS NOT DONE ON ANY THERANOS DEVICES; IS THAT

03:48PM   22       CORRECT?

03:48PM   23       A.    YES.

03:48PM   24       Q.    AND IT WAS NOT DONE ON ANY MODIFIED THIRD PARTY DEVICES?

03:49PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 190
                                                                               191 of
                                                                                   of 203
                                                                                      204
                   DAS DIRECT BY MR. LEACH                                              5860


03:49PM    1       Q.    AND DID YOU UNDERSTAND THAT THE VOLUME OF TESTING IN

03:49PM    2       ARIZONA EXCEEDED THE VOLUME OF TESTING IN CALIFORNIA?

03:49PM    3       A.    YES.

03:49PM    4       Q.    BY SOME ORDER OF MAGNITUDE?

03:49PM    5       A.    COULD YOU BE MORE SPECIFIC?

03:49PM    6       Q.    BY WHAT ORDER OF MAGNITUDE APPROXIMATELY?

03:49PM    7       A.    I'M NOT AWARE OF THAT NUMBER.

03:49PM    8       Q.    OKAY.   WE TALKED EARLIER ABOUT THE VOIDING OF THE TEST

03:49PM    9       RESULTS FROM THE EDISON 3.5.

03:49PM   10             WHAT MECHANICALLY DID YOU DO TO VOID THE RESULTS?

03:49PM   11       A.    COULD YOU SPECIFY "MECHANICALLY"?

03:49PM   12       Q.    DID THE COMPANY SEND SOMETHING TO PATIENTS?         WHAT DID IT

03:49PM   13       DO?

03:49PM   14       A.    AH, YES.    CORRECTIVE REPORTS WERE SENT, IN THIS CASE

03:49PM   15       VOIDED REPORTS.

03:49PM   16       Q.    AND DID THE CORRECTED REPORTS GIVE A PARTICULAR NUMBER OR

03:49PM   17       DID IT JUST SAY VOID?

03:49PM   18       A.    EXACTLY, VOID.

03:49PM   19       Q.    APPROXIMATELY HOW MANY EDISON TESTS WERE VOIDED?

03:50PM   20       A.    I DON'T KNOW THE EXACT NUMBER, BUT IT WAS APPROXIMATELY

03:50PM   21       50- TO 60,000.

03:50PM   22       Q.    AND THAT'S THE TOTAL UNIVERSE OF TESTS THAT WERE RUN ON

03:50PM   23       EDISON IN THE CLIA LAB?

03:50PM   24       A.    YES.

03:50PM   25       Q.    DID YOU EVER RESUME TESTING ON THE EDISON 3.5 IN THE CLIA



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 191
                                                                               192 of
                                                                                   of 203
                                                                                      204
                   DAS CROSS BY MR. WADE                                                5861


03:50PM    1       LAB?

03:50PM    2       A.     NO.

03:50PM    3       Q.     DID YOU EVER RESUME TESTING ON ANY OTHER THERANOS

03:50PM    4       MANUFACTURED DEVICE IN THE CLIA LAB?

03:50PM    5       A.     NO.

03:50PM    6                      MR. LEACH:   MAY I HAVE A MOMENT, YOUR HONOR?

03:50PM    7                      THE COURT:   YES.

03:50PM    8              (DISCUSSION AMONGST GOVERNMENT COUNSEL OFF THE RECORD.)

03:50PM    9                      MR. LEACH:   I HAVE NO FURTHER QUESTIONS, YOUR HONOR.

03:50PM   10              THANK YOU.    THANK YOU, DR. DAS.

03:50PM   11                      THE COURT:   MR. WADE, DO YOU HAVE CROSS-EXAMINATION?

03:50PM   12                      MR. WADE:    I DO, YOUR HONOR.

03:51PM   13              (PAUSE IN PROCEEDINGS.)

03:51PM   14                                   CROSS-EXAMINATION

03:51PM   15       BY MR. WADE:

03:51PM   16       Q.     GOOD AFTERNOON, DR. DAS.

03:51PM   17       A.     GOOD AFTERNOON.

03:51PM   18       Q.     MY NAME IS LANCE WADE.      I REPRESENT ELIZABETH HOLMES, AND

03:52PM   19       I'LL ASK YOU A FEW QUESTIONS ON HER BEHALF HERE THIS AFTERNOON,

03:52PM   20       AND IT LOOKS LIKE PROBABLY GOING INTO TOMORROW AS WELL.

03:52PM   21              OKAY?

03:52PM   22       A.     YES.

03:52PM   23       Q.     OKAY.    I'D LIKE TO JUST START BY ORIENTING EVERYONE TO

03:52PM   24       SOME OF THE DATES HERE.

03:52PM   25              MR. LEACH ASKED YOU ABOUT THE CMS INSPECTION THAT WAS



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 192
                                                                               193 of
                                                                                   of 203
                                                                                      204
                   DAS CROSS BY MR. WADE                                                5862


03:52PM    1       REFLECTED IN THE REPORT THAT HE WAS SHOWING YOU.

03:52PM    2             DO YOU RECALL THAT?

03:52PM    3       A.    YES.

03:52PM    4       Q.    AND THAT INSPECTION OCCURRED, OR CONCLUDED, IN NOVEMBER OF

03:52PM    5       2015; CORRECT?

03:52PM    6       A.    YES.

03:52PM    7       Q.    AND YOU DIDN'T INTERACT WITH THE COMPANY UNTIL DECEMBER OF

03:52PM    8       2015; CORRECT?

03:52PM    9       A.    YES.

03:52PM   10       Q.    AND YOU ACCEPTED YOUR JOB IN MID-DECEMBER OF 2015?

03:52PM   11       A.    YES.

03:52PM   12       Q.    AND YOU STARTED ON A CONTRACT BASIS; CORRECT?

03:52PM   13       A.    YES.

03:52PM   14       Q.    AND THEN THE REPORT THAT MR. LEACH SHOWED YOU WAS ISSUED

03:53PM   15       TOWARDS THE END OF JANUARY; RIGHT?

03:53PM   16       A.    YES.

03:53PM   17       Q.    SO THERE WAS A PERIOD OF TIME BETWEEN WHEN YOU STARTED AND

03:53PM   18       WHEN YOU RECEIVED THE CMS REPORT; RIGHT?

03:53PM   19       A.    YES.

03:53PM   20       Q.    AND IN THAT PERIOD OF TIME BEFORE IT EVEN GOT THE CMS

03:53PM   21       REPORT, THERANOS WAS WORKING ON IMPROVING ITS LAB PRACTICES AND

03:53PM   22       STRENGTHENING ITS LAB PRACTICES, WAS IT NOT?

03:53PM   23       A.    YES.

03:53PM   24       Q.    AND, IN FACT, THERANOS HAD BROUGHT IN A LARGE TEAM OF

03:53PM   25       PEOPLE TO WORK ON THOSE EFFORTS, HAD IT NOT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 193
                                                                               194 of
                                                                                   of 203
                                                                                      204
                   DAS CROSS BY MR. WADE                                                5863


03:53PM    1       A.    COULD YOU SPECIFY "LARGE" PLEASE.

03:53PM    2       Q.    YOU RECALL -- I BELIEVE IN YOUR DIRECT TESTIMONY YOU SAID

03:53PM    3       THERE WAS A BIG GROUP OF PEOPLE WHO WERE WORKING ON THESE

03:53PM    4       ISSUES.

03:53PM    5             DO YOU RECALL THAT?

03:53PM    6       A.    YES.

03:53PM    7       Q.    AND THERE WERE ACTUALLY -- THERE ENDED UP BEING, I THINK,

03:53PM    8       THREE DIFFERENT LAB DIRECTORS WHO WERE DIRECTLY INVOLVED IN

03:53PM    9       IMPROVING THE LABORATORY AT THERANOS; RIGHT?

03:54PM   10       A.    YES.

03:54PM   11       Q.    THAT WAS DR. HELFEND; CORRECT?

03:54PM   12       A.    YES.

03:54PM   13       Q.    AND SHE WAS THERE INITIALLY?

03:54PM   14       A.    YES.

03:54PM   15       Q.    AND SHE WAS ACTUALLY THERE BEFORE YOU WERE EVEN HIRED;

03:54PM   16       RIGHT?

03:54PM   17       A.    YES.

03:54PM   18       Q.    AND BEFORE THE CMS REPORT WAS ISSUED?

03:54PM   19       A.    YES.

03:54PM   20       Q.    AND THEN YOU WERE HIRED BY MS. HOLMES; CORRECT?

03:54PM   21       A.    YES.

03:54PM   22       Q.    AND ONE OF THE THINGS THAT YOU WERE ASKED TO DO WAS TO GO

03:54PM   23       TO WORK ON IMPROVING THE LAB RIGHT AWAY; RIGHT?

03:54PM   24       A.    YES.

03:54PM   25       Q.    AND THEN IS IT DR. TSCHIRHART?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 194
                                                                               195 of
                                                                                   of 203
                                                                                      204
                   DAS CROSS BY MR. WADE                                                5864


03:54PM    1       A.    TSCHIRHART.

03:54PM    2       Q.    TSCHIRHART.    IS HE A DOCTOR?

03:54PM    3       A.    YES.

03:54PM    4       Q.    OKAY.   DR. TSCHIRHART WAS HIRED AS WELL; CORRECT?

03:54PM    5       A.    YES.

03:54PM    6       Q.    AND BOTH YOU AND DR. TSCHIRHART WERE HIRED BEFORE THE CMS

03:54PM    7       REPORT WAS ISSUED; RIGHT?

03:54PM    8       A.    YES.

03:54PM    9       Q.    BECAUSE THE COMPANY WANTED TO GO TO WORK TO STRENGTHEN ITS

03:54PM   10       LAB PRACTICES; RIGHT?

03:54PM   11       A.    YES.

03:54PM   12       Q.    AND YOU DID THAT ALMOST IMMEDIATELY; RIGHT?

03:54PM   13       A.    YES.

03:54PM   14       Q.    BEFORE THE CMS REPORT WAS ISSUED; RIGHT?

03:54PM   15       A.    YES.

03:54PM   16       Q.    OKAY.   AND IN ADDITION TO THAT, THE COMPANY HAD ALSO

03:55PM   17       RETAINED SOME LABORATORY CONSULTANTS TO WORK ON THOSE EFFORTS;

03:55PM   18       ISN'T THAT RIGHT?

03:55PM   19       A.    YES.

03:55PM   20       Q.    AND THESE WERE PEOPLE WHO HAD SOME PARTICULAR EXPERTISE IN

03:55PM   21       LAB PRACTICES; RIGHT?

03:55PM   22       A.    YES.

03:55PM   23       Q.    LIKE ARTHUR BACA?

03:55PM   24       A.    YES.

03:55PM   25       Q.    AND ARTHUR BACA HAD A LABORATORY CONSULTING FIRM; IS THAT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 195
                                                                               196 of
                                                                                   of 203
                                                                                      204
                   DAS CROSS BY MR. WADE                                                5865


03:55PM    1       RIGHT?

03:55PM    2       A.    YES.

03:55PM    3       Q.    AND HE WAS RETAINED EVEN BEFORE YOU WERE HIRED TO WORK ON

03:55PM    4       STRENGTHENING THE LAB PRACTICES; RIGHT?

03:55PM    5       A.    YES.

03:55PM    6       Q.    AND THERE WAS A FRANCIS YOUNG?

03:55PM    7       A.    YES.

03:55PM    8       Q.    DID SHE GO BY FRAN?      AM I UNDERSTANDING THAT?

03:55PM    9       A.    YES.

03:55PM   10       Q.    OKAY.   AND SHE ALSO HAD EXPERTISE IN LABORATORY PRACTICES?

03:55PM   11       A.    YES.

03:55PM   12       Q.    AND SHE WAS PART OF THE TEAM THAT WENT TO WORK ON

03:55PM   13       IMPROVING THE LAB PRACTICES?

03:55PM   14       A.    YES.

03:55PM   15       Q.    AND WAS SHE HIRED BEFORE YOU OR AFTER YOU?

03:56PM   16       A.    PRIOR TO.

03:56PM   17       Q.    OKAY.   AND MICHELLE CARBONE, AM I PRONOUNCING THAT

03:56PM   18       CORRECTLY?

03:56PM   19       A.    YES.

03:56PM   20       Q.    SHE WAS ANOTHER PERSON WHO THE COMPANY HAD HIRED TO GO TO

03:56PM   21       WORK ON STRENGTHENING THE LABORATORY PRACTICES; CORRECT?

03:56PM   22       A.    YES.

03:56PM   23       Q.    AND SHE WAS HIRED BEFORE YOU WERE HIRED AS WELL; CORRECT?

03:56PM   24       A.    YES.

03:56PM   25       Q.    AND BEFORE -- ALL OF THESE PEOPLE WERE HIRED BEFORE THE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 196
                                                                               197 of
                                                                                   of 203
                                                                                      204
                   DAS CROSS BY MR. WADE                                                5866


03:56PM    1       CMS REPORT WAS ISSUED IN LATE JANUARY OF 2016; CORRECT?

03:56PM    2       A.    YES.

03:56PM    3       Q.    AND THIS WAS ALL PART OF AN EFFORT TO TRY TO STRENGTHEN

03:56PM    4       THE CLIA LAB WITHIN THERANOS; RIGHT?

03:56PM    5       A.    YES.

03:56PM    6       Q.    AND JUST SO WE'RE CLEAR, THERE WERE THREE LABORATORY

03:56PM    7       DIRECTORS WHO WERE WORKING ON THIS AT THE TIME THAT YOU AND

03:56PM    8       DR. TSCHIRHART JOINED THE COMPANY; IS THAT RIGHT?

03:56PM    9       A.    YES.

03:56PM   10       Q.    OKAY.   AND THOSE THREE LABORATORY DIRECTORS CONTINUED FOR

03:56PM   11       MANY MONTHS TO WORK THROUGH THIS PROBLEM; IS THAT RIGHT?

03:57PM   12       A.    COULD YOU SPECIFY THE NUMBER OF MONTHS?

03:57PM   13       Q.    SIX MONTHS OR MORE?

03:57PM   14       A.    I DON'T REMEMBER THE EXACT NUMBER --

03:57PM   15       Q.    OKAY.

03:57PM   16       A.    -- OF MONTHS.

03:57PM   17       Q.    BUT SEVERAL MONTHS AT LEAST?

03:57PM   18       A.    YES.

03:57PM   19       Q.    AND YOU WERE THERE FOR A COUPLE OF YEARS; CORRECT?

03:57PM   20       A.    YES.

03:57PM   21       Q.    AND AS THE PEOPLE WERE WORKING TO DO THIS, WAS IT YOUR

03:57PM   22       OBSERVATION THAT THEY WERE -- LET ME STRIKE THAT.

03:57PM   23             YOU WERE ESSENTIALLY, ONCE YOU CAME ON BOARD, YOU WERE THE

03:57PM   24       CLIA DIRECTOR; RIGHT?

03:57PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 197
                                                                               198 of
                                                                                   of 203
                                                                                      204
                   DAS CROSS BY MR. WADE                                                5867


03:57PM    1       Q.    AND THERE WAS A DEGREE TO WHICH YOU WERE THE QUARTERBACK

03:57PM    2       FOR THAT WHOLE EFFORT; IS THAT FAIR?

03:57PM    3       A.    YES.

03:57PM    4       Q.    OKAY.   AND WAS IT YOUR OBSERVATION THAT THIS TEAM WAS

03:57PM    5       WORKING REALLY HARD?

03:57PM    6       A.    YES.

03:57PM    7       Q.    AND DILIGENTLY?

03:57PM    8       A.    YES.

03:57PM    9       Q.    AND IN GOOD FAITH?

03:57PM   10       A.    YES.

03:57PM   11       Q.    AND THAT THEY WERE TRYING TO DO EVERYTHING THAT THEY COULD

03:57PM   12       TO TRY TO STRENGTHEN THE LABORATORY PRACTICES AT THERANOS?

03:57PM   13       A.    YES.

03:57PM   14       Q.    AND THAT AS THEY WERE WORKING TO UNDERSTAND WAYS TO

03:57PM   15       IMPROVE, THEY WERE DIGGING INTO THE RELEVANT EVIDENCE AND FACTS

03:58PM   16       THAT WAS NECESSARY TO THEM TO UNDERSTAND THE ISSUES.           IS THAT

03:58PM   17       RIGHT?

03:58PM   18       A.    YES.

03:58PM   19       Q.    OKAY.   AND ALL OF THE PEOPLE WHO I HAVE JUST IDENTIFIED

03:58PM   20       WERE NOT PEOPLE WHO WERE PART OF THE HISTORICAL LAB OPERATIONS

03:58PM   21       AT THERANOS; CORRECT?

03:58PM   22       A.    YES.

03:58PM   23       Q.    AND THEY WERE ALL ESSENTIALLY OUTSIDERS WHO WERE BROUGHT

03:58PM   24       IN TO WORK ON STRENGTHENING THESE LAB PRACTICES; RIGHT?

03:58PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 198
                                                                               199 of
                                                                                   of 203
                                                                                      204
                   DAS CROSS BY MR. WADE                                                5868


03:58PM    1       Q.    OKAY.   AND WAS IT YOUR OBSERVATION WHEN THIS WAS HAPPENING

03:58PM    2       THAT MS. HOLMES WAS SUPPORTIVE OF THOSE EFFORTS?

03:58PM    3       A.    YES.

03:58PM    4       Q.    AND THAT SHE WAS SUPPORTIVE OF YOUR EFFORTS AS THE

03:58PM    5       QUARTERBACK OF THIS TEAM?

03:58PM    6       A.    YES.

03:58PM    7       Q.    AND INITIALLY, AGAIN, ALL OF THIS WORK STARTED BEFORE

03:58PM    8       THERE WAS ANY NOTICE OF THE KIND THAT MR. LEACH WAS PUTTING UP

03:58PM    9       ON THE SCREEN; RIGHT?

03:58PM   10       A.    YES.

03:58PM   11       Q.    OKAY.   AND IN THOSE EARLY DAYS, I TAKE IT YOU HAD TO KIND

03:59PM   12       OF DIG IN A LITTLE BIT AND GET A SENSE OF WHAT -- HOW THE LAB

03:59PM   13       OPERATED; IS THAT RIGHT?

03:59PM   14       A.    YES.

03:59PM   15       Q.    AND YOU HAD TO LOOK AT THE HISTORICAL RECORDS OF THE

03:59PM   16       COMPANY; RIGHT?

03:59PM   17       A.    YES.

03:59PM   18       Q.    AND, AND SOME OF THE DATA THAT THE COMPANY HAD?

03:59PM   19       A.    YES.

03:59PM   20       Q.    AND YOU -- I TAKE IT YOU SAT DOWN AND YOU TALKED WITH MANY

03:59PM   21       OF THE PEOPLE WHO HAD WORKED THERE HISTORICALLY ON -- IN THE

03:59PM   22       LAB AND ON THE TECHNOLOGY.

03:59PM   23       A.    YES, SOME OF THOSE EMPLOYEES.

03:59PM   24       Q.    TO TRY TO FAMILIARIZE YOURSELF WITH SOME OF THE HISTORICAL

03:59PM   25       PRACTICES; IS THAT FAIR?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 199
                                                                               200 of
                                                                                   of 203
                                                                                      204
                   DAS CROSS BY MR. WADE                                                5869


03:59PM    1       A.    YES.

03:59PM    2       Q.    OKAY.   AND YOU -- YOU TALKED WITH DR. YOUNG; IS THAT FAIR?

03:59PM    3       A.    YES.

03:59PM    4       Q.    AND DR. PANGARKAR?

03:59PM    5       A.    NOT AT THAT TIME.

03:59PM    6       Q.    NOT AT THAT TIME.     LATER ON YOU INTERACTED WITH

03:59PM    7       DR. PANGARKAR?

03:59PM    8       A.    YES.

03:59PM    9       Q.    OKAY.   AND THIS WAS ALL IN AN EFFORT FOR YOU TO FULLY

03:59PM   10       UNDERSTAND ALL OF THE RELEVANT FACTS SO THAT YOU COULD DIG IN

04:00PM   11       AND WORK ON IMPROVING THE LAB PRACTICES; RIGHT?

04:00PM   12       A.    COULD YOU SPECIFY "FULLY UNDERSTAND"?

04:00PM   13       Q.    WELL, YOU WANTED TO MAKE SURE THAT YOU UNDERSTOOD THE

04:00PM   14       FACTS NEEDED TO STRENGTHEN THE LAB AND BE COMFORTABLE WITH HOW

04:00PM   15       IT WAS OPERATING FROM A CLIA STANDPOINT; IS THAT RIGHT?

04:00PM   16       A.    YES.

04:00PM   17       Q.    OKAY.   AND, AND MS. HOLMES PLACED NO LIMITATIONS ON YOU

04:00PM   18       WHATSOEVER IN TERMS OF WHAT YOU COULD LOOK AT; RIGHT?

04:00PM   19       A.    YES.

04:00PM   20       Q.    AND THIS WAS A LOT OF WORK, WAS IT NOT, DR. DAS?

04:00PM   21       A.    YES.

04:00PM   22       Q.    AND, AND INITIALLY YOU WERE STILL HOLDING DOWN A JOB AT

04:00PM   23       UCLA AS WELL?

04:00PM   24       A.    YES.

04:00PM   25       Q.    AND THEN EVENTUALLY YOU CAME IN AND YOU WORKED FULL TIME



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 200
                                                                               201 of
                                                                                   of 203
                                                                                      204
                   DAS CROSS BY MR. WADE                                                5870


04:00PM    1       ON TACKLING THIS PROBLEM; RIGHT?

04:00PM    2       A.    YES.

04:00PM    3       Q.    AND YOU WORKED HARD ON THAT JOB AS WELL, DID YOU NOT?

04:00PM    4       A.    YES.

04:00PM    5       Q.    AND THE WHOLE TEAM THAT WAS WORKING HARD -- WAS WORKING

04:01PM    6       HARD ON THAT; IS THAT FAIR?

04:01PM    7       A.    YES.

04:01PM    8       Q.    BECAUSE YOU DISCUSSED EARLIER THAT YOU WERE UNDER A PRETTY

04:01PM    9       TIGHT TIMEFRAME TO BE IN A POSITION TO RESPOND TO THESE ISSUES;

04:01PM   10       RIGHT?

04:01PM   11       A.    YES.

04:01PM   12       Q.    AND INITIALLY THERE WAS A DESIRE BEFORE THE CMS REPORT,

04:01PM   13       THERE WAS A DESIRE THAT WAS COMMUNICATED TO STRENGTHEN THE LAB;

04:01PM   14       RIGHT?

04:01PM   15       A.    YES.

04:01PM   16       Q.    AND PEOPLE WANTED THAT DONE QUICKLY; RIGHT?

04:01PM   17       A.    YES.

04:01PM   18       Q.    AND THEN ONCE YOU GOT TO THE POINT WHERE THERE WAS A CMS

04:01PM   19       REPORT, THERE WERE ACTUALLY PRETTY FIRM DEADLINES AND A DESIRE

04:01PM   20       TO DIG IN AND TACKLE THOSE ISSUES AGGRESSIVELY; RIGHT?

04:01PM   21       A.    COULD YOU SPECIFY THE DEADLINES?

04:01PM   22       Q.    WELL, YOU RECALL MR. LEACH SHOWED YOU -- I THINK HE SHOWED

04:01PM   23       YOU A LETTER THAT SAID THAT THERE WERE TEN DAYS TO RESPOND, OR

04:01PM   24       SOMETHING TO THAT EFFECT, IN THE INITIAL -- TO THE INITIAL

04:01PM   25       NOTICE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 201
                                                                               202 of
                                                                                   of 203
                                                                                      204
                   DAS CROSS BY MR. WADE                                                   5871


04:01PM    1             DO YOU RECALL?

04:01PM    2       A.    YES.

04:01PM    3       Q.    AND THE COMPANY WANTED TO RESPOND QUICKLY; RIGHT?

04:01PM    4       A.    YES.

04:02PM    5       Q.    AND AGGRESSIVELY?

04:02PM    6       A.    COULD YOU SPECIFY "AGGRESSIVELY"?

04:02PM    7       Q.    SURE.    IT WANTED TO BE RESPONSIVE TO THE ISSUES THAT WERE

04:02PM    8       BEING RAISED BY CMS; IS THAT RIGHT?

04:02PM    9       A.    YES.

04:02PM   10       Q.    OKAY.

04:02PM   11             YOUR HONOR, THIS MIGHT BE A GOOD PLACE TO STOP.          WE'RE AT

04:02PM   12       4:00 O'CLOCK.

04:02PM   13             WE'LL PICK UP TOMORROW MORNING, DOCTOR.         THANK YOU.

04:02PM   14                     THE WITNESS:   THANK YOU.

04:02PM   15                     THE COURT:   SO WE'LL TAKE OUR RECESS TONIGHT, LADIES

04:02PM   16       AND GENTLEMEN.     I HOPE WE'LL BE ABLE TO START TOMORROW MORNING

04:02PM   17       AT 9:00 A.M.     WE'LL SEE WHAT SURPRISES AWAIT US.       I HAVE GREAT

04:02PM   18       CONFIDENCE IN OUR I.T. STAFF, THAT THEY'LL BE ABLE TO RESOLVE

04:02PM   19       THIS ISSUE.

04:02PM   20             SO THANK YOU FOR YOUR COURTESY IN GOING THROUGH -- IT WAS

04:02PM   21       A TRIP DOWN MEMORY LANE.       THIS IS HOW TRIALS USED TO BE DONE

04:02PM   22       YEARS AGO.     BEFORE WE HAD THE COMPUTERS, WE HAD PROJECTORS AND

04:02PM   23       THAT'S HOW IT WORKED, AND THOSE TRIALS WERE SUCCESSFUL.            IT

04:02PM   24       WORKS.

04:02PM   25             SO I APOLOGIZE FOR THE DISRUPTION TODAY.         I HOPE WE CAN



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1285 DktEntry:  36-11, Page
                                                         Filed 01/18/22   Page 202
                                                                               203 of
                                                                                   of 203
                                                                                      204
                                                                                         5872


04:02PM    1       ALLEVIATE THAT OVER THE EVENING.

04:03PM    2              BUT OVER THE EVENING, PLEASE REFRAIN AND AVOID

04:03PM    3       COMMUNICATING WITH ANYONE ABOUT ANYTHING ABOUT THIS CASE.

04:03PM    4       DON'T DO ANY RESEARCH.      DON'T MAKE ANY OPINIONS OR FORM ANY

04:03PM    5       OPINIONS OR REACH ANY CONCLUSIONS YET UNTIL THE CASE HAS BEEN

04:03PM    6       DELIVERED TO YOU FOR YOUR DELIBERATIONS.

04:03PM    7              HAVE A GOOD EVENING.     WE'LL SEE YOU TOMORROW AT 9:00 A.M.

04:03PM    8              AND, DR. DAS, YOU CAN STAND DOWN.       WE'LL SEE YOU TOMORROW

04:03PM    9       AT 9:00 A.M.

04:03PM   10                    THE WITNESS:    THANK YOU, YOUR HONOR.

04:03PM   11                    THE COURT:    YOU'RE WELCOME.

04:03PM   12              (JURY OUT AT 4:03 P.M.)

04:03PM   13                    THE COURT:    THANK YOU.   PLEASE BE SEATED.     THANK

04:03PM   14       YOU.

04:03PM   15              DOCTOR, YOU CAN STAND DOWN.      THANK YOU.

04:04PM   16              ALL RIGHT.   THE RECORD SHOULD REFLECT THAT OUR JURY HAS

04:04PM   17       LEFT FOR THE EVENING AND THE WITNESS HAS LEFT THE COURTROOM.

04:04PM   18              ANYTHING FURTHER BEFORE WE BREAK, MR. LEACH AND YOUR TEAM?

04:04PM   19                    MR. LEACH:    NOT FROM THE GOVERNMENT, NO, YOUR HONOR.

04:04PM   20                    MR. WADE:    NOT AT THIS TIME, YOUR HONOR.

04:04PM   21                    THE COURT:    ALL RIGHT.   THANK YOU.    HAVE A GOOD

04:04PM   22       EVENING.    WE'LL SEE YOU TOMORROW.      THANKS.

04:04PM   23                    THE CLERK:    COURT IS ADJOURNED.

04:04PM   24              (COURT ADJOURNED AT 4:04 P.M.)

          25



                                        UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1285 DktEntry:  36-11, Page
                                               Filed 01/18/22   Page 203
                                                                     204 of
                                                                         of 203
                                                                            204


 1

 2

 3                              CERTIFICATE OF REPORTERS

 4

 5

 6

 7             WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

 8       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9       CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10       HEREBY CERTIFY:

11             THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12       A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13       ABOVE-ENTITLED MATTER.

14

15
                                     ______________________________
16                                   IRENE RODRIGUEZ, CSR, CRR
                                     CERTIFICATE NUMBER 8076
17

18
                                     _______________________________
19                                   LEE-ANNE SHORTRIDGE, CSR, CRR
                                     CERTIFICATE NUMBER 9595
20

21                                   DATED:   NOVEMBER 9, 2021

22

23

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25



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